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Fill in this information to identify your case:

United States Bankruptcy Court for the:

SOUTHERN DISTRICT OF TEXAS

Case number (if known)                                                      Chapter      11
                                                                                                                              Check if this an
                                                                                                                              amended filing




Official Form 201
Voluntary Petition for Non-Individuals Filing for Bankruptcy                                                                                          4/19
If more space is needed, attach a separate sheet to this form. On the top of any additional pages, write the debtor's name and case number (if known).
For more information, a separate document, Instructions for Bankruptcy Forms for Non-Individuals, is available.


1.   Debtor's name                Walker County Hospital Corporation

2.   All other names debtor
     used in the last 8 years
     Include any assumed          DBA Huntsville Memorial Hospital
     names, trade names and
     doing business as names

3.   Debtor's federal
     Employer Identification      XX-XXXXXXX
     Number (EIN)


4.   Debtor's address             Principal place of business                                    Mailing address, if different from principal place of
                                                                                                 business

                                  110 Memorial Hospital Drive                                    P.O. Box 4001
                                  Huntsville, TX 77340                                           Huntsville, TX 77342-4001
                                  Number, Street, City, State & ZIP Code                         P.O. Box, Number, Street, City, State & ZIP Code

                                  Walker                                                         Location of principal assets, if different from principal
                                  County                                                         place of business

                                                                                                 Number, Street, City, State & ZIP Code


5.   Debtor's website (URL)       https://www.huntsvillememorial.com


6.   Type of debtor                   Corporation (including Limited Liability Company (LLC) and Limited Liability Partnership (LLP))
                                      Partnership (excluding LLP)
                                      Other. Specify:




Official Form 201                          Voluntary Petition for Non-Individuals Filing for Bankruptcy                                             page 1
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Debtor    Walker County Hospital Corporation                                                           Case number (if known)
          Name



7.   Describe debtor's business        A. Check one:
                                           Health Care Business (as defined in 11 U.S.C. § 101(27A))
                                           Single Asset Real Estate (as defined in 11 U.S.C. § 101(51B))
                                           Railroad (as defined in 11 U.S.C. § 101(44))
                                           Stockbroker (as defined in 11 U.S.C. § 101(53A))
                                           Commodity Broker (as defined in 11 U.S.C. § 101(6))
                                           Clearing Bank (as defined in 11 U.S.C. § 781(3))
                                           None of the above

                                       B. Check all that apply
                                          Tax-exempt entity (as described in 26 U.S.C. §501)
                                           Investment company, including hedge fund or pooled investment vehicle (as defined in 15 U.S.C. §80a-3)
                                           Investment advisor (as defined in 15 U.S.C. §80b-2(a)(11))

                                       C. NAICS (North American Industry Classification System) 4-digit code that best describes debtor.
                                          See http://www.uscourts.gov/four-digit-national-association-naics-codes.
                                                6221

8.   Under which chapter of the        Check one:
     Bankruptcy Code is the
                                           Chapter 7
     debtor filing?
                                           Chapter 9
                                           Chapter 11. Check all that apply:
                                                                 Debtor's aggregate noncontingent liquidated debts (excluding debts owed to insiders or affiliates)
                                                                 are less than $2,725,625 (amount subject to adjustment on 4/01/22 and every 3 years after that).
                                                                 The debtor is a small business debtor as defined in 11 U.S.C. § 101(51D). If the debtor is a small
                                                                 business debtor, attach the most recent balance sheet, statement of operations, cash-flow
                                                                 statement, and federal income tax return or if all of these documents do not exist, follow the
                                                                 procedure in 11 U.S.C. § 1116(1)(B).
                                                                 A plan is being filed with this petition.
                                                                 Acceptances of the plan were solicited prepetition from one or more classes of creditors, in
                                                                 accordance with 11 U.S.C. § 1126(b).
                                                                 The debtor is required to file periodic reports (for example, 10K and 10Q) with the Securities and
                                                                 Exchange Commission according to § 13 or 15(d) of the Securities Exchange Act of 1934. File the
                                                                 attachment to Voluntary Petition for Non-Individuals Filing for Bankruptcy under Chapter 11
                                                                 (Official Form 201A) with this form.
                                                                 The debtor is a shell company as defined in the Securities Exchange Act of 1934 Rule 12b-2.
                                           Chapter 12



9.   Were prior bankruptcy                No.
     cases filed by or against
     the debtor within the last 8         Yes.
     years?
     If more than 2 cases, attach a
     separate list.                              District                                 When                                  Case number
                                                 District                                 When                                  Case number


10. Are any bankruptcy cases              No
    pending or being filed by a
    business partner or an                Yes.
    affiliate of the debtor?
     List all cases. If more than 1,
     attach a separate list                      Debtor                                                                     Relationship
                                                 District                                 When                              Case number, if known




Official Form 201                              Voluntary Petition for Non-Individuals Filing for Bankruptcy                                               page 2
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Debtor   Walker County Hospital Corporation                                                        Case number (if known)
         Name




11. Why is the case filed in    Check all that apply:
    this district?
                                         Debtor has had its domicile, principal place of business, or principal assets in this district for 180 days immediately
                                         preceding the date of this petition or for a longer part of such 180 days than in any other district.
                                         A bankruptcy case concerning debtor's affiliate, general partner, or partnership is pending in this district.

12. Does the debtor own or          No
    have possession of any
    real property or personal       Yes. Answer below for each property that needs immediate attention. Attach additional sheets if needed.
    property that needs
    immediate attention?                    Why does the property need immediate attention? (Check all that apply.)
                                                It poses or is alleged to pose a threat of imminent and identifiable hazard to public health or safety.
                                               What is the hazard?
                                                It needs to be physically secured or protected from the weather.
                                                 It includes perishable goods or assets that could quickly deteriorate or lose value without attention (for example,
                                               livestock, seasonal goods, meat, dairy, produce, or securities-related assets or other options).
                                                Other
                                            Where is the property?
                                                                              Number, Street, City, State & ZIP Code
                                            Is the property insured?
                                                No
                                                Yes. Insurance agency
                                                        Contact name
                                                        Phone



         Statistical and administrative information

13. Debtor's estimation of      .         Check one:
    available funds
                                             Funds will be available for distribution to unsecured creditors.
                                             After any administrative expenses are paid, no funds will be available to unsecured creditors.

14. Estimated number of             1-49                                              1,000-5,000                                25,001-50,000
    creditors                       50-99                                             5001-10,000                                50,001-100,000
                                    100-199                                           10,001-25,000                              More than100,000
                                    200-999

15. Estimated Assets                $0 - $50,000                                      $1,000,001 - $10 million                   $500,000,001 - $1 billion
                                    $50,001 - $100,000                                $10,000,001 - $50 million                  $1,000,000,001 - $10 billion
                                    $100,001 - $500,000                               $50,000,001 - $100 million                 $10,000,000,001 - $50 billion
                                    $500,001 - $1 million                             $100,000,001 - $500 million                More than $50 billion

16. Estimated liabilities           $0 - $50,000                                      $1,000,001 - $10 million                   $500,000,001 - $1 billion
                                    $50,001 - $100,000                                $10,000,001 - $50 million                  $1,000,000,001 - $10 billion
                                    $100,001 - $500,000                               $50,000,001 - $100 million                 $10,000,000,001 - $50 billion
                                    $500,001 - $1 million                             $100,000,001 - $500 million                More than $50 billion




Official Form 201                           Voluntary Petition for Non-Individuals Filing for Bankruptcy                                                   page 3
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Debtor    Walker County Hospital Corporation                                                       Case number (if known)
          Name



          Request for Relief, Declaration, and Signatures

WARNING -- Bankruptcy fraud is a serious crime. Making a false statement in connection with a bankruptcy case can result in fines up to $500,000 or
           imprisonment for up to 20 years, or both. 18 U.S.C. §§ 152, 1341, 1519, and 3571.

17. Declaration and signature
    of authorized                The debtor requests relief in accordance with the chapter of title 11, United States Code, specified in this petition.
    representative of debtor
                                 I have been authorized to file this petition on behalf of the debtor.

                                 I have examined the information in this petition and have a reasonable belief that the information is true and correct.

                                 I declare under penalty of perjury that the foregoing is true and correct.

                                 Executed on      11/11/2019
                                                  MM / DD / YYYY


                             X /s/ Steven Smith                                                           Steven Smith
                                 Signature of authorized representative of debtor                         Printed name

                                 Title   CEO




18. Signature of attorney    X /s/ Blake D. Roth                                                           Date   11/11/2019
                                 Signature of attorney for debtor                                                 MM / DD / YYYY

                                 Blake D. Roth
                                 Printed name

                                 Waller Lansden Dortch & Davis LLP
                                 Firm name

                                 511 Union Street
                                 Suite 2700
                                 Nashville, TN 37219-1791
                                 Number, Street, City, State & ZIP Code


                                 Contact phone     615-244-6380                  Email address      blake.roth@wallerlaw.com


                                 2666808 UN
                                 Bar number and State




Official Form 201                         Voluntary Petition for Non-Individuals Filing for Bankruptcy                                                     page 4
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                   RESOLUTION OF THE BOARD OF DIRECTORS OF
                    WALKER COUNTY HOSPITAL CORPORATION

                                        October 24, 2019

        FOLLOWING A DULY CALLED MEETING OF the members of the Board of
Directors (the "Board'') of Walker County Hospital Corporation, a Texas corporation (the
"Company"), do hereby (i) make the following resolutions and (ii) direct that this resolution be
filed with the minutes of the meetings of the directors of the Company:

        WHEREAS, the Board of the Company has considered presentations by the management
and the financial and legal advisors of the Company regarding the liabilities and liquidity
situation of the Company, the strategic alternatives available to the Company and the effect of
the foregoing on the Company's business and enterprise value; and

        WHEREAS, the Board of the Company has consulted with the management and the
financial and legal advisors of the Company and fully considered each of the strategic
alternatives available to such Company.

         NOW, THEREFORE, BE IT,

        RESOLVED, that in the judgment of the Board of the Company, it is desirable and in the
best interests of the Company, its creditors and other parties in interest, that the Company shall
be, and hereby is, authorized to file or cause to be filed a voluntary petition for relief (the
"Chapter 11 Case") under the provisions of chapter 11 of title 11 of the United States Code (the
"Bankruptcy Code") in the United States Bankruptcy Court for the Southern District of Texas
(the "Bankruptcy Courf');

        FURTHER RESOLVED, that each officer of the Company, in his or her capacity as an
officer of the Company (each, individually, an "Authorized Officer" and, collectively, the
"Authorized Officers"), acting alone or with one or more other Authorized Officers be, and
hereby is, authorized, empowered and directed to execute and file in the name of and on behalf
of the Company all petitions, schedules, lists, applications, and motions, papers, instruments and
documents, and to take any and all action that such Authorized Officer deems necessary or
proper to obtain such relief, including, without limitation, (i) any action necessary to maintain
the ordinary course operation of the Company's business, and (ii) obtain credit, grant liens and
adequate protection, and sell assets free and clear of liens, claims, encumbrances and the rights
of others, propose plans of reorganization or liquidation and take any and all other actions
necessary for the successful prosecution of the Chapter 11 Case, provided that in the case of this
clause (ii), such action shall first have been expressly approved by the Board;

       FURTHER RESOLVED, that each of the Authorized Officers be, and hereby is,
authorized and directed to employ in the name of and on behalf of the Company the law firm of
Waller Lansden Dortch & Davis, LLP and such other law firms as may be employed by an
Authorized Officer (collectively, the "Bankruptcy Counsef') as general or special bankruptcy
co-counsel to represent and assist the Company in carrying out its duties under the Bankruptcy



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 Code, and to take any and all actions to advance the Company's rights and obligations, including
 filing any pleadings; and in connection therewith, each Authorized Officer, with power of
 delegation, is hereby authorized and directed to execute appropriate retention agreements, pay
 appropriate retainers, and to cause to be filed an appropriate application for authority to retain the
 services of the Bankruptcy Counsel;

        FURTHER RESOLVED, that each of the Authorized Officers be, and hereby is,
authorized and directed to employ the firm Healthcare Management Partners, LLC as financial
and restructuring advisor (the "Financial Advisor") to, among other things, assist the Company
in evaluating its business and prospects, developing a long-term business plan, developing
financial data for evaluation by the Board, creditors, or other third parties, in each case, as
requested by the Company, evaluating the Company's capital structure, responding to issues
related to the Company's financial liquidity, and in any sale, reorganization, business
combination, or similar disposition of the Company's assets; and in connection therewith, each
Authorized Officer, with power of delegation, is hereby authorized and directed to execute
appropriate retention agreements, pay appropriate retainers, and to cause to be filed an
appropriate application for authority to retain the services of the Financial Advisor;

       FURTHER RESOLVED, that each of the Authorized Officers be, and hereby is,
authorized and directed to employ the firm of Epiq Corporate Restructuring, LLC as notice and
claims agent to represent and assist the Company in carrying out its duties under the Bankruptcy
Code, and to take any and all actions to advance the Company's rights and obligations; and in
connection therewith, each Authorized Officer, with power of delegation, is hereby authorized
and directed to execute appropriate retention agreements, pay appropriate retainers, and to cause
to be filed appropriate applications for authority to retain the services of Epiq Corporate
Restructuring, LLC;

       FURTHER RESOLVED, that each of the Authorized Officers be, and hereby is,
authorized and directed to employ in the name of and on behalf of the Company any other
professionals to assist the Company in carrying out its duties under the Bankruptcy Code and
other applicable laws, regulations, and rules in the ordinary course of the Company's business;
and in connection therewith, each Authorized Officer, with power of delegation, is hereby
authorized and directed to execute appropriate retention agreements, pay appropriate retainers
and fees, and to cause to be filed an appropriate application for authority to retain the services of
any other professionals as necessary;

        FURTHER RESOLVED, that each of the Authorized Officers be, and hereby is, with
power of delegation, authorized, empowered and directed in the name of and on behalf of the
Company to execute and file all petitions, schedules, motions, lists, applications, pleadings, and
other papers and, in connection therewith, to employ and retain all assistance by legal counsel,
accountants, financial advisors, and other professionals and to take and perform any and all
further acts and deeds that such Authorized Officer deems necessary, proper, or desirable in
connection with the Chapter 11 Case, with a view to the successful prosecution of the Chapter 11
Case;




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        FURTHER RESOLVED, that in the judgment of the Board, it is desirable and in the
best interests of the Company, its creditors, and other parties in interest, that the Company shall
be, and hereby is, authorized to obtain senior secured superpriority postpetition financing (the
"DIP Financing") on the terms and conditions of the proposed debtor in possession financing
agreement or term sheet between the Company, as borrower, and MidCap Financial Trust and
the financial institutions from time to time party thereto as lenders (the "DIP Lenders"), and
MidCap Financial Trust, as the administrative agent (in such capacities, the "DIP Agent"), and
other agents and entities from time to time party thereto substantially in the form presented to the
Board on or in advance of the date of this resolution, with such changes, additions, and
modifications thereto as an Authorized Officer executing the same shall approve, such approval
to be conclusively evidenced by an Authorized Officer's execution and delivery thereof and to
grant to the DIP Agent for itself and for the benefit of the DIP Lenders liens on substantially all
of the Company's assets with priority under sections 3~4(c) and (d) of the Bankruptcy Code;

        FURTHER RESOLVED, that the Company will obtain benefits from the use of
collateral, including cash collateral, as that term is defined in section 363(a) of the Bankruptcy
Code (the "Cas/1 Collateraf'), which is security for certain prepetition secured lenders
(collectively, the "Secured Lenders") party to that certain Revolving Loan and Security
Agreement, dated as of May 16, 2014, by and among Walker County Hospital Corporation and
HMH Physician Organization, as "Borrowers," and Healthcare Finance Group, LLC, as the
Lender;

        FURTHER RESOLVED, that, in order to use and obtain the benefits of the Cash
Collateral, and in accordance with section 363 of the Bankruptcy Code, the Company will
provide certain adequate protection to the Secured Lenders (the "Adequate Protection
Obligations"), as documented in a proposed interim debtor in possession financing and cash
collateral order substantially in the form presented to the Board on or in advance of the date of
this resolution, with such changes, additions, and modifications thereto as an Authorized Officer
executing the same shall approve, such approval to be conclusively evidenced by an Authorized
Officer's execution and delivery thereof, (the "Interim DIP Financilig Order") to be submitted
for approval to the Bankruptcy Court;

        FURTHER RESOLVED, that the form, terms, and provisions of the Interim DIP
Financing Order to which the Company is or will be subject, and the actions and transactions
contemplated thereby be, and hereby are authorized, adopted, and approved, and each
Authorized Officer be, and hereby is, authorized and empowered, in the name of and on behalf
of the Company, to take such actions and negotiate or cause to be prepared and negotiated and to
execute, deliver, perform, and cause the performance of, the Interim DIP Financing Order, and
such other agreements, certificates, instruments, receipts, petitions, motions, or other papers or
documents to which such Company is or will be a party, including, but not limited to any
security and pledge agreement or guaranty agreement (collectively with the Interim DIP
Financing Order, the "DIP Documents"), incur and pay or cause to be paid all fees and expenses
and engage such persons, in each case, in the form or substantially in the form thereof presented
to the Board of the Company on or in advance of the date of this resolution, with such changes,
additions, and modifications thereto as an Authorized Officer executing the same shall approve,




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 such approval to be conclusively evidenced by an Authorized Officers' execution and delivery
 thereof;

         FURTHER RESOLVED, that the Company, as debtor and debtor in possession under
 the Bankruptcy Code be, and hereby is, authorized to negotiate and incur the Adequate
 Protection Obligations, grant liens, make periodic payments, and to undertake any and all related
 transactions on substantially the same tenns as contemplated under the DIP Documents
 (collectively, the ''Adequate Protection Transactions");

        FURTHER RESOLVED, that each of the Authorized Officers be, and hereby is,
authorized and directed, and empowered in the name of, and on behalf of, the Company, as
debtor and debtor in possession, to take such actions as in such Authorized Officer's reasonable
discretion is detennined to be necessary, desirable, or appropriate and execute the Adequate
Protection Transactions, including delivery of: (a) the DIP Documents and such agreements,
certificates, instruments, guaranties, notices, and any and all other documents, including, without
limitation, any amendments to any DIP Documents (collectively, the "Adequate Protection
Documents"); (b) such other instruments, certificates, notices, assignments, and documents as
may be reasonably requested by the DIP Agent; and (c) such fonns of deposit, account control
agreements, officer's certificates, and compliance certificates as may be required by the DIP
Documents or any other Adequate Protection Document;

        FURTHER RESOLVED, that each of the Authorized Officers be, and hereby is,
authorized, directed, and empowered in the name of, and on behalf of, the Company to file or to
authorize the DIP Agent to file any Unifonn Commercial Code (the "UCC') financing
statements, any other equivalent filings, any intellectual property filings and recordation and any
necessary assignments for security or other documents in the name of the Company that the DIP
Agent deems necessary or appropriate to perfect any lien or security interest granted under the
Interim DIP Financing Order, including any such UCC financing statement containing a generic
description of collateral, such as "all assets," "all property now or hereafter acquired" and other
similar descriptions of like import, and to execute and deliver, and to record or authorize the
recording of, such mortgages and deeds of trust in respect of real property of the Company and
such other filings in respect of intellectual and other property of the Company, in each case as
the DIP Agent may reasonably request to perfect the security interests of the DIP Agent under
the Interim DIP Financing Order;

        FURTHER RESOLVED, that each of the Authorized Officers be, and hereby is,
authorized, directed, and empowered in the name of, and on behalf of, the Company to take all
such further actions, including, without limitation, to pay or approve the payment of adequate
protection, appropriate fees and expenses payable in connection with the Adequate Protection
Transactions and appropriate fees and expenses incurred by or on behalf of the Company in
connection with the foregoing resolutions, in accordance with the terms of the Adequate
Protection Documents, which shall in such Authorized Officer's sole judgment be necessary,
proper, or advisable to perfonn any of the Company's obligations under or in connection with
the Interim DIP Financing Order or any of the other Adequate Protection Documents and the
transactions contemplated therein and to carry out fully the intent of the foregoing resolutions;




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       FURTHER RESOLVED, that, in addition to the specific authorizations heretofore
conferred upon each Authorized Officer, each Authorized Officer (and such Authorized Officer's
designees and delegates) be, and hereby is, authorized and empowered, in the name of and on
behalf of the Company, to take or cause to be taken any and all such other and further action, and
to execute, acknowledge, deliver and file any and all such agreements, certificates, instruments
and other documents and to pay all expenses, including but not limited to filing fees, in each case
as in such Authorized Officer's (or such Authorized Officer's designees' or delegates')
judgment, shall be necessary, advisable, or desirable in order to fully carry out the intent and
accomplish the purposes of the resolutions adopted herein;

        FURTHER RESOLVED, that the Board of the Company has received sufficient notice
of the actions and transactions relating to the matters contemplated by the foregoing resolutions,
as may be required by the organizational documents of the Company, or hereby waives any right
to have received such notice;

        FURTHER RESOLVED, that all acts, actions and transactions relating to the matters
contemplated by the foregoing resolutions done in the name of and on behalf of the Company,
which acts would have been approved by the foregoing resolutions except that such acts were
taken before the adoption of these resolutions, are hereby in all respects approved and ratified as
the true acts and deeds of the Company with the same force and effect as if each such act,
transaction, agreement, or certificate has been specifically authorized in advance by resolution of
theBoardoftheCompany; and

        FURTHER RESOLVED, that each Authorized Officer (and such Authorized Officer' s
designees and delegates) be, and hereby is, authorized and empowered to take all actions, or to
not take any action in the name of and on behalf of the Company, with respect to the transactions
contemplated by these resolutions hereunder, as such Authorized Officer shall deem necessary or
desirable in such Authorized Officer's reasonable business judgment, as may be necessary or
convenient to effectuate the purposes of the transactions contemplated herein.

        IN WITNESS WHEREOF, the corporate secretary hereby certifies that the foregoing is
a resolution of the Board.




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                               UNITED STATES BANKRUPTCY COURT
                              FOR THE SOUTHERN DISTRICT OF TEXAS
                                       HOUSTON DIVISION

    In re:                                                               Chapter 11

    WALKER COUNTY HOSPITAL CORPORATION,                                  Case No. ____________________
    d/b/a HUNTSVILLE MEMORIAL HOSPITAL,

                    Debtor and Debtor in Possession.1


                        BANKRUPTCY RULES 1007 AND 7007 DISCLOSURES

             Pursuant to Federal Rules of Bankruptcy Procedure 1007(a)(1), 1007(a)(3) and 7007.1,

Walker County Hospital Corporation, d/b/a Huntsville Memorial Hospital (the “Debtor”)

represents that it is the sole member of its non-debtor affiliate, HMH Physician Organization. The

Debtor has no other parent, subsidiary, or affiliate entities. The Debtor further states that it is a

non-profit organized under the laws of the State of Texas and, as such, has no equity security

interest holders.




1
 The last four digits of the Debtor’s federal tax identification number are: 0960. The location of the Debtor’s service
address is: P.O. Box 4001, Huntsville, TX 77342-4001, Attn: Steven Smith.
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      Fill in this information to Identify the case:

      Debtor Name: Walker County Hospital Corporation, d/b/a Huntsville Memorial Hospital
                                                                                                                                              Check if this is an
      United States Bankruptcy Court for the:          Southern District of Texas
                                                                                                                                              amended filing
      Case Number (If known):       19-xxxx1




  Official Form 204
  Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 20 Largest
  Unsecured Claims and Are Not Insiders                                                                                                                         12/15
  A list of creditors holding the 20 largest unsecured claims must be filed in a Chapter 11 or Chapter 9 case. Include claims which the debtor
  disputes. Do not include claims by any person or entity who is an insider, as defined in 11 U.S.C. § 101(31). Also, do not include claims by
  secured creditors, unless the unsecured claim resulting from inadequate collateral value places the creditor among the holders of the 20
  largest unsecured claims.


   Name of creditor and complete mailing       Name, telephone number,        Nature of the claim   Indicate if     Amount of unsecured claim
   address, including zip code                 and email address of           (for example, trade   claim is        If the claim is fully unsecured, fill in only unsecured
                                               creditor contact               debts, bank loans,    contingent,     claim amount. If claim is partially secured, fill in total
                                                                              professional          unliquidated,   claim amount and deduction for value of collateral or
                                                                              services, and         or disputed     setoff to calculate unsecured claim.
                                                                              government
                                                                              contracts)
                                                                                                                    Total claim, if        Deduction          Unsecured claim
                                                                                                                    partially secured      for value of
                                                                                                                                           collateral or
                                                                                                                                           setoff

  1       CAVALIER HEALTH SERVICES LLC         CONTACT: DAVID CAVALIER,       LITIGATION               C, U, D                                                    $4,558,546.63
          7105 OLD KATY RD APT 3101            PRESIDENT
          HOUSTON, TX 77024                    PHONE: 7038727520
                                               FAX: 7039972395
                                               INFO@CAVALIERHOMEHEAL
                                               TH.COM
  2       WALKER COUNTY HOSPITAL               CONTACT: ANNE                  LEASE                      U                                                      UNLIQUIDATED
          DISTRICT                             WOODARD, CHAIRMAN
          PO BOX 1267                          PHONE: 9362950038
          HUNTSVILLE, TX 77342                 FAX: 9362953114
                                               WCHD@SBCGLOBAL.NET
  3       INTUITIVE SURGICAL INC.              CONTACT: GARY GURHART,         CAPITAL LEASE                                                                       $1,420,720.91
          1266 KIFER ROAD                      CEO
          SUNNYVALE, CA 94086                  PHONE: 8045232100
                                               FAX: 4085231390
  4       SABRE INVESTMENTS LLC                PHONE: 2812969336              LITIGATION               C, U, D                                                    $1,391,660.11
          1 PASTORAL POND CIR                  FAX: 4324457044
          THE WOODLANDS, TX 77380
  5       PREMIER ANESTHESIA                   CONTACT: ANNI GLOVER, TRADE PAYABLE                                                                                $1,010,027.97
          2655 NORTHWINDS PKWY                 MARKETING DIRECTOR
          ALPHARETTA, GA 30009                 PHONE: 8552203662
                                               AGLOVER@PREMIERANESTH
                                               ESIA.COM
  6       BCBS OF TX                           CONTACT: NANCY C PRUITT,       TRADE PAYABLE                                                                         $578,725.13
          PO BOX 805107                        COUNSEL
          CHICAGO, IL 60680-4140               PHONE: 9727666900
                                               NANCY_PRUITT@HCSC.NET




Official Form 204                Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 20 Largest Unsecured Claims                                               Page 1
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  Debtor: Walker County Hospital Corporation, d/b/a Huntsville                                Case Number (if known): 19-xxxx1
   Name of creditor and complete mailing   Name, telephone number,    Nature of the claim   Indicate if     Amount of unsecured claim
   address, including zip code             and email address of       (for example, trade   claim is        If the claim is fully unsecured, fill in only unsecured
                                           creditor contact           debts, bank loans,    contingent,     claim amount. If claim is partially secured, fill in total
                                                                      professional          unliquidated,   claim amount and deduction for value of collateral or
                                                                      services, and         or disputed     setoff to calculate unsecured claim.
                                                                      government
                                                                      contracts)
                                                                                                            Total claim, if        Deduction          Unsecured claim
                                                                                                            partially secured      for value of
                                                                                                                                   collateral or
                                                                                                                                   setoff

  7     UNITEDHEALTH GROUP                 CONTACT: JASON RONNING     IDENTIFIED                                                                            $569,812.14
        INCORPORATED                       PHONE: 9529796215          OVERPAYMENT
        185 ASYLUM ST 03B                  JAYSON_RONNING@UHC.O
        HARTFORD, CT 06103                 M
  8     SHANNON L BROWN                                               LITIGATION               C, U, D                                                      $510,000.00
        28415 MONTEREY CLIFF LN
        HUFFMAN, TX 77336
  9     UTMB CORRECTIONAL MANAGED          CONTACT: DONNA K           TRADE PAYABLE                                                                         $375,079.06
        CARE                               SOLLENBERGER, MA., EVP
        301 UNIVERSITY BLVD                AND CEO
        GALVESTON, TX 77555                PHONE: 4097472600
                                           FAX: 4097631915
  10    PHILIPS HEALTHCARE                 CONTACT: SEAN LATHAM,      TRADE PAYABLE                                                                         $354,179.49
        3000 MINUTEMAN ROAD, MS 400        MGR AR
        ANDOVER, MA 01810                  PHONE: 4254828707
                                           FAX: 9786855372
                                           SEAN.LATHAM@​PHILIPS.​CO
                                           M
  11    MATRIX TRUST COMPANY               CONTACT: JADA BROWN,       PENSION                                                                               $307,000.00
        BROADRIDGE FINANCIAL               CLIENT SERVICES SPECIALIST OBLIGATION
        SOLUTIONS, INC.                    PHONE: 6022961977
        2800 N CENTRAL AVE STE 900         FAX: 6022961993
        PHOENIX, AZ 85004                  JADA.BROWN@BROADRIDGE
                                           .COM
  12    CAREFUSION SOLUTIONS, LLC          CONTACT: TODD BELL         CAPITAL LEASE                                                                         $257,227.85
        25082 NETWORK PL                   PHONE: 8888764287
        CHICAGO, IL 60673-1250             FAX: 8005314140
                                           TODD.BELL@CAREFUSION.C
                                           OM
  13    STROUDWATER ASSOCIATES             CONTACT: ERIC SHELL,       PROFESSIONAL                                                                          $215,645.15
        STROUDWATER CROSSING               CHAIRMAN                   SERVICES
        1685 CONGRESS ST STE 202           PHONE: 2072218250
        PORTLAND, ME 04102                 FAX: 2078280821
  14    MEDLINE INDUSTRIES, INC            CONTACT: DONALD TORRES,    TRADE PAYABLE                                                                         $198,912.03
        PO BOX 121080                      SR COLLECTIONS ADVISORY
        DALLAS, TX 75312-1080              SPEC
                                           PHONE: 8476434232
                                           DTORRES@MEDLINE.COM
  15    BAYLOR PATHOLOGY                   CONTACT: MARTIN            TRADE PAYABLE                                                                         $196,215.80
        ONE BAYLOR PLAZA 286A              MATZUK, M.D., PH.D.
        HOUSTON, TX 77030                  INTERIM CHAIR
                                           PHONE: 7137984661
                                           FAX: 7137985838
                                           MMATZUK@BCM.EDU
  16    MEDICARE                           CONTACT: VICTORIA ABRIL    IDENTIFIED                                                                            $189,382.13
        US DEPT OF HEALTH & MEDICAID       PHONE: 2126162500          OVERPAYMENT
        SERVICES                           VICTORIA.ABRIL@CMS.HHS.
        26 FEDERAL PLAZA RM 38-130         GOV
        NEW YORK, NY 10278
  17    A-S 103 SAM HOUSTON TOWN           CONTACT: KATHERINE         LEASE                                                                                 $189,256.34
        CENTER, LP                         HATCHER, PRESIDENT
        8827 W SAM HOUSTON PKWY            PHONE: 2814774300
        NORTH STE 200                      FAX: 2814774399
        HOUSTON, TX 77040                  KHATCHER@NEWQUEST.CO
                                           M



Official Form 204              Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 20 Largest Unsecured Claims                                         Page 2
                        Case 19-36300 Document 1 Filed in TXSB on 11/11/19 Page 13 of 240
  Debtor: Walker County Hospital Corporation, d/b/a Huntsville                               Case Number (if known): 19-xxxx1
   Name of creditor and complete mailing   Name, telephone number,   Nature of the claim   Indicate if     Amount of unsecured claim
   address, including zip code             and email address of      (for example, trade   claim is        If the claim is fully unsecured, fill in only unsecured
                                           creditor contact          debts, bank loans,    contingent,     claim amount. If claim is partially secured, fill in total
                                                                     professional          unliquidated,   claim amount and deduction for value of collateral or
                                                                     services, and         or disputed     setoff to calculate unsecured claim.
                                                                     government
                                                                     contracts)
                                                                                                           Total claim, if        Deduction          Unsecured claim
                                                                                                           partially secured      for value of
                                                                                                                                  collateral or
                                                                                                                                  setoff

  18    G&E HC REIT II LIVINGSTON MOB      CONTACT: KRISTI WRY       TRADE PAYABLE                                                                         $179,859.18
        1551 N TUSTIN AVE STE 300          PHONE: 7145582836
        SANTA ANNA, CA 92705               FAX: 7144157906
                                           KRISTIW@OCTITLE.COM
  19    CIGNA SPECIAL INVESTIGATION        CONTACT: DAVID CORDANI,   TRADE PAYABLE                                                                         $176,248.48
        UNIT                               PRESIDENT
        900 COTTAGE GROVE RD               PHONE: 8009971654
        HARTFORD, CT 06152
  20    HSS SYSTEMS, LLC                   CONTACT: TIMOTHY          TRADE PAYABLE                                                                         $158,229.99
        8101 W SAM HOUSTON PKWY STE        MCPHERSON, CEO
        100                                PHONE: 4122121400
        HOUSTON, TX 77072




Official Form 204              Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 20 Largest Unsecured Claims                                        Page 3
                        Case 19-36300 Document 1 Filed in TXSB on 11/11/19 Page 14 of 240




 Fill in this information to identify the case:

 Debtor name         Walker County Hospital Corporation

 United States Bankruptcy Court for the:            SOUTHERN DISTRICT OF TEXAS

 Case number (if known)
                                                                                                                                 Check if this is an
                                                                                                                                 amended filing



Official Form 202
Declaration Under Penalty of Perjury for Non-Individual Debtors                                                                                        12/15

An individual who is authorized to act on behalf of a non-individual debtor, such as a corporation or partnership, must sign and submit this
form for the schedules of assets and liabilities, any other document that requires a declaration that is not included in the document, and any
amendments of those documents. This form must state the individual’s position or relationship to the debtor, the identity of the document,
and the date. Bankruptcy Rules 1008 and 9011.

WARNING -- Bankruptcy fraud is a serious crime. Making a false statement, concealing property, or obtaining money or property by fraud in
connection with a bankruptcy case can result in fines up to $500,000 or imprisonment for up to 20 years, or both. 18 U.S.C. §§ 152, 1341,
1519, and 3571.



                Declaration and signature


       I am the president, another officer, or an authorized agent of the corporation; a member or an authorized agent of the partnership; or another
       individual serving as a representative of the debtor in this case.

       I have examined the information in the documents checked below and I have a reasonable belief that the information is true and correct:

                  Schedule A/B: Assets–Real and Personal Property (Official Form 206A/B)
                  Schedule D: Creditors Who Have Claims Secured by Property (Official Form 206D)
                  Schedule E/F: Creditors Who Have Unsecured Claims (Official Form 206E/F)
                  Schedule G: Executory Contracts and Unexpired Leases (Official Form 206G)
                  Schedule H: Codebtors (Official Form 206H)
                  Summary of Assets and Liabilities for Non-Individuals (Official Form 206Sum)
                  Amended Schedule
                  Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 20 Largest Unsecured Claims and Are Not Insiders (Official Form 204)
                  Other document that requires a declaration                 Corporate Ownership Statement

       I declare under penalty of perjury that the foregoing is true and correct.

        Executed on         11/11/2019                               X   /s/ Steven Smith
                                                                         Signature of individual signing on behalf of debtor

                                                                         Steven Smith
                                                                         Printed name

                                                                         CEO
                                                                         Position or relationship to debtor




Official Form 202                                             Declaration Under Penalty of Perjury for Non-Individual Debtors
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                        Case 19-36300 Document 1 Filed in TXSB on 11/11/19 Page 15 of 240




                                                               United States Bankruptcy Court
                                                                     Southern District of Texas
 In re      Walker County Hospital Corporation                                                    Case No.
                                                                                 Debtor(s)        Chapter     11




                                               VERIFICATION OF CREDITOR MATRIX


I, the CEO of the corporation named as the debtor in this case, hereby verify that the attached list of creditors is true and correct to the

best of my knowledge.




 Date:       November 11, 2019                                        /s/ Steven Smith
                                                                      Steven Smith/CEO
                                                                      Signer/Title




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                  Case 19-36300
1013 STAR COMMUNICATIONS, LLC         Document  1 HOSPICE,
                                        1ST CHOICE Filed inLLC
                                                             TXSB on 11/11/19 21Page 16CLINIC
                                                                                MEDICAL of 240LLC
PO BOX 609                               3001 OLD HOUSTON ROAD                 8180 HWY 75 SOUTH
CONROE, TX 77301                         HUNSTVILLE, TX 77340                  HUNTSVILLE, TX 77340




21ST MORTGAGE CORPORATION                24HOURWRISTBANDS.COM                  3 M ORTHOPEDIC DIVISION
PO BOX 148                               14550 BEECHNUT ST                     17132 PULLMAN ST
MEMPHIS, TN 38101-0148                   HOUSTON, TX 77083                     IRVINE, CA 92614




360TRAINING.COM, INC.                    3M COMPANY                            3M HEALTH INFORMATION SYSTEMS
13801 BURNET ROAD, 100                   PO BOX 844127                         575 WEST MURRAY BOULEVARD
AUSTIN, TX 78727                         DALLAS, TX 75284-4127                 MURRAY, UT 84123-4611




3M HEALTH INFORMATION SYSTEMS            3M                                    4 IMPRINT
PO BOX 120881                            575 W MURRAY BLVD                     101 COMMERCE STREET
DALLAS, TX 75312-0881                    MURRAY, UT 84123-4511                 OSHKOSK, WI 54901




A & B LABS                               A I CREDIT CORP                       A PRECISION
10100 EAST FWY SUITE 100                 1630 E SHAW AVE STE 160               3594 PEBBLE BEACH BLVD
HOUSTON, TX 77029                        FRESNO, CA 93710                      MONTGOMERY, TX 77356




A T & T INFORMATION                      AT&T                                  A&A GENPRO, INC.
PO BOX 78225                             PO BOX 78522                          4303 DACOMA STREET
PHOENIX, AZ 85062-8225                   PHOENIX, AZ 85062-8522                HOUSTON, TX 77092




A&J FIRE COMPANY                         A&L AIR CONDITIONING                  A.A.TELEHONE ANSWERING SERVICE
289 GREENBRIAR DRIVE                     PO BOX 42                             2308 ROCK SPRING ROAD
MAGNOLIA, TX 77355                       MADISONVILLE, TX 77864                FOREST HILL, MD 21050




A-1 AWARDS, INC.                         A-1 CONSTRUCTION COMPANY              A1 GLASS WORKS
2500 NORTH RITTER AVENUE                 16815 RABON CHAPEL RD.                PO BOX 301
INDIANAPOLIS, IN 46218                   MONTGOMERY, TX 77316                  HUNTSVILLE, TX 77342-0301




A-1 LIQUORS                              A-1 SMITHS SEPTIC SERVICE             AA FILTER
663 S SAM HOUSTON                        313-A FM 3478
HUNTSVILLE, TX 77340                     HUNTSVILLE, TX 77320




AAMI-ASSOCIATION FOR THE ADVANCEMNT      AAP IMPLANTS INC.                     AAPL INC
1110 N. GLEBE RD                         260 PEACHTREE STREET NW,SUITE 2200    PO BOX 13891
SUITE 220                                ATLANA, GA 30303                      MAUMELLE, AR 72113
ARLINGTON, VA 22201-4795
AARP              Case      19-36300 Document
                                       AATELL & 1  Filed in TXSB on 11/11/19 ABATEMENT
                                                JONES                          Page 17TECHNOLOGIES
                                                                                       of 240
601 E STREET, NW                          11D DANA HILL ROAD                 605 SATELLITE BLVD. SUITE 300
WASHINGTON, DC 20049                      STERLING, MA 01564                 SUWANEE, GA 30024




ABATIX                                    ABBOTT DIAGNOSTIC                  ABBOTT LABORATORIES INC.
7170 WEST 43RD STREET SUITE 200           100 ABBOTT PARK ROAD               100 ABBOTT PARK ROAD
HOUSTON, TX 77092                         ABBOT PARK, IL 60064               ABBOT PARK, IL 60064




ABBOTT LABORATORIES INC.                  ABBOTT NUTRITION                   ABBOTT VASCULAR
3200 LAKESIDE DRIVE                       75 REMITTANCE DR. STE 1310         3200 LAKESIDE DRIVE
SANTA CLARA, CA 75054                     CHICAGO, IL 60675-1310             SANTA CLARA, CA 75054




ABBOTT                                    ABBY DAY                           ABC PEST & LAWN SERVICES
1700 E ST ANDREW PLACE                    [ADDRESS REDACTED]                 4202 STATE HWY 6 SOUTH
SANTA ANA, CA 92705                                                          COLLEGE STATION, TX 77845




ABDULLAH, ARIF M.D., P.A.                 ABDULLAH, ARIF MD                  ABET
500 MEDICAL CENTER BLVD                   2 SPRUCE CANYON                    303 UNIVERSITY
STE 218                                   SPRING, TX 77382                   HUNTSVILLE, TX 77340
CONROE, TX 77304




ABH CAPITAL MANAGEMENT LLC                ABIGAIL L NAVARRO                  ABIGAIL RAWLEY SEBASTIAN
5306 HOLLISTER                            [ADDRESS REDACTED]                 [ADDRESS REDACTED]
HOUSTON, TX 77040




ABIGAIL ROSE STALNAKER                    ABILITY NETWORK, INC.              ABLE GLASS & MIRROR
[ADDRESS REDACTED]                        DEPT CH 16577                      PO BOX 783
                                          PALATINE, IL 60055-6577            HUNTSVILLE, TX 77340




ABMS SOLUTIONS LLC                        ABMS SOLUTIONS LLC                 ABPS
3050 PEACHTREE ROAD                       3525 PIEDMONT ROAD, BUILDING 5     11301 CORPORATE BLVD
SUITE 570                                 SUITE 402                          SUITE 300
ATLANTA, GA 30305                         ATLANTA, GA 30305                  ORLANDA, FL 32817




ABRAHAM, ROY                              ABRAHAM,WATKINS,NICHOLS,SORRELS,   ABRAXIS BIOSCIENCE,INC
202 CHATHAM AVE                           800 COMMERCE STREET                1107 MOMENTUM PLACE
SUGAR LAND, TX 77479                      HOUSTON, TX 77002-1776             CHICAGO, IL 60689-5311




ABRIL-WALKER, RINAJOYCE                   ABSOLUTE TESTING SERVICES, INC     ACADEMY BANDAGES
3320 BENT BOUGH PARK                      6829 GUHN ROAD                     11632 HIGH STREET STE A
HUNTSVILLE, TX 77340                      HOUSTON, TX 77040                  SEBASTIAN, FL 32958
ACADEMY OF LYMPHATICCase  19-36300
                       STUDIES       Document
                                       ACADEMY 1  Filed in TXSB
                                               OF NUTRITION        on 11/11/19 ACADIAN
                                                            AND DIETETICS        Page AMBULANCE
                                                                                       18 of 240 SERVICES
11632 HIGH STREET STE A                 120 SOUTH RIVERSIDE PLAZA              PO BOX 92970
SEBASTIAN, FL 32958                     SUITE 2000                             LAFAYETTE, LA 70509-2970
                                        CHICAGO, IL 60606




ACC USA INC.                            ACCESS CLOSURE INC                     ACCO BRANDS CORPORATION
700 SESCOND ST NE                       645 CLYDE AVENUE                       4 CORPORATE DRIVE
WASHINGTON, DC 20002                    MOUNTAIN VIEW, CA 94043                LAKE ZURLCH, IL 60047




ACCORD FINANCIAL, INC                   ACCOUNTABLE HEALTHCARE STAFFING, INC   ACCOUNTEMPS
PO BOX 6704                             999 YAMATO ROAD, STE 210               PO BOX 6000
GREENVILLE, SC 29606                    BOCA RATON, FL 33431                   SAN FRANCISCO, CA 94160




ACCRUENT LLC                            ACCUDATA SYSTEMS INC                   ACCUMETRICS, INC.
11500 ALTERRA PARKWAY STE 110           10713 W. SAM HOUSTON PKWY N.           3985 SORRENTO VALLEY BLVD., SUITE B
AUSTIN, TX 78758                        SUITE 600                              SAN DIEGO, CA 92121
                                        HOUSTON, TX 77064




ACCURATE SURGICAL SCIENTIFIC            ACCU-TECH                              ACE 2011
300 SHAMES DRIVE                        PO BOX 840781                          8529 SIX FORKS ROAD
WESTBURY, NY 11590                      DALLAS, TX 75284-0781                  RALEIGH, NC 27615




ACE AMERICAN                            ACE ELECTRIC                           ACE SELF STORAGE
436 WALNUT ST                           603 S MAY PO BOX 399                   3151 OLD HOUSTON ROAD
PHILADELPHIA, PA 19106                  MADISONVILLE, TX 77864                 HUNTSVILLE, TX 77340




ACELL, INC.                             ACETYLENE OXYGEN COMPANY               ACHE GREATER HOUSTON CHAPTER
6640 ELI WHITNEY DRIVE, SUITE 200       PO BOX 430                             2801 FRANCISCAN DRIVE
COLUMBIA, MD 21046                      HARLINGEN, TX 78551                    BRYAN, TX 77802




ACIST MEDICAL SYSTEMS, INC              ACMA                                   ACME ARCHITECTURAL HARDWARE
7905 FULLER ROAD                        11701 WEST 36TH STREET                 PO BOX 925566
EDEN PRARIE, MN 55344-2137              LITTLE ROCK, AR 72211                  HOUSTON, TX 77292




ACO MECHANICAL                          ACRATEC INC                            ACROVISTA, LLC
PO BOX 3637                             10501 MONTGOMERY NE                    12016 SKY WEST DR
BRYAN, TX 77805                         ALBUQUERQUE, NM 87111                  AUSTIN, TX 78758




ACS PRIMARY CARE PHYS SW PA             ACS SUPPORT                            ACS-MIDAS
PO BOX 636018                           PO BOX 24017                           PO BOX 201322
CINCINNATI, OH 45263-6018               FRESNO, CA 93779-4017                  DALLAS, TX 75320-1322
ACTION PLUMBING    Case     19-36300 Document  1 Filed
                                       ACTION WINDOW    in TXSB
                                                     COVERINGS,   on 11/11/19 ACUDERM
                                                                INC.            Page 19 of 240
873-P WIRE RD                             PO BOX 129                          5370 N W 35 TERRACE
HUNTSVILLE, TX 77340                      TOMBALL, TX 77377-0129              FT LAUDERDALE, FL 33309




ACUFEX                                    ACUITY PROFESSIONAL PLACEMENT       ACUMED LLC
130 FORBES BLVD                           2201 CANTU COURT, SUITE 110         5885 NW CORNELIUS PASS RD
MANSFIELD, MA 02048                       SARASOTA, FL 34232                  SUITE 100
                                                                              HILLSBORO, OR 97123




ACUNA, DORA JACQULINE                     ADAMS, BRIAN                        ADCORP
30 LILLEY RD                              67 EAST STONEHEDGE DRIVE            PO BOX 1332
SHEPHERD, TX 77371                        WASHINGTON, UT 84780                HYW 75 NORTH AT TAM RD
                                                                              HUNTSVILLE, TX 77340




ADEN, BRUCE                               ADEPT-MED                           ADEPTO MEDICAL LLC
31 CAUTHEN DR.                            665 PLEASANT VALLEY RD, STE C       2815 MERCIER STREET
HUNTSVILLE, TX 77320                      DIAMOND SPRINGS, CA 95619           KANSAS CITY, MO 64108




ADI ACCESS CONTROL                        ADILFIA E SANTOS                    ADJUVANT
263 OLD COUNTRY ROAD                      [ADDRESS REDACTED]                  PO BOX 2116
MELVILLE, NY 11747                                                            ST. CLOUD, MN 56302-2116




ADMINISTRATION FOR CHILDREN               ADMINISTRATIVE CONCEPTS             ADNAN AFZAL MD, PA
US DEPT OF HEALTH & HUMAN SERVICES        994 OLD EAGLE SCHOOL RD. STE 1005   100 MEDICAL CENTER BLVD
1301 YOUNG ST                             WAYNE, PA 19087-1802                SUITE 200
DALLAS, TX 75202                                                              CONROE, TX 77304




ADVANCE CARDIOVASCULAR                    ADVANCE HEALTHCARE SHOP             ADVANCE MEDICAL DESIGNS
10501 MONTGOMERY BLVD                     3100 HORIZON DRIVE                  808 PICKENS INDUSTRIAL
ALBURQUERQUE, NM 87111                    KING OF PRUSSIA, PA 19406           MARIETTA, GA 30062




ADVANCED BIOHEALING, INC.                 ADVANCED COMPUTER INNOVATIONS INC   ADVANCED HEALTH EDUCATION CTR LTD
10933 TORREY PINES ROAD                   656 KREAG ROAD                      8502 TYBOR DR
LA JOLLA, CA 92037                        PITTSFORD, NY 14534-3730            HOUSTON, TX 77074




ADVANCED MED, LCC                         ADVANCED NEUROMODULATION SYSTEMS    ADVANCED NEWSMAGAZINES
715 DISCOVERY BLVD.,STE 304               6901 PRESTON ROAD                   PO BOX 8500-52278
CEDAR PARK, TX 78613                      PLAND, TX 75024                     PHILADELPHIA, PA 19178-2278




ADVANCED ORTHOPAEDIC SOLUTIONS, INC       ADVANCED SYSTEMS GROUP              ADVANCED TECHNICAL SERVICES
3203 KASHIWA STREET                       12405 GRANT ST.                     755 HICKORY LAKE
TORRANCE, CA 90505                        THORNTON, CA 80241                  LIVINGSTON, TX 77351
                   CaseGROUP,
ADVANCED TECHNOLOGIES    19-36300
                              INC.   Document 1TEMPORARIES
                                       ADVANCED  Filed in TXSB
                                                           INC on 11/11/19 ADVANCEDMED
                                                                             Page 20 of 240
377 E BUTTERFIELD RD 900                PO BOX 8022                        9201 SIMMONS RD STE 115
LOMBARD, IL 60148                       TYLER, TX 75711-8022               AUSTIN, TX 78759




ADVANCEDTRONICS, INC                    ADVANSTAR COMMUNICATIONS           ADVANTAGE MEDICAL ELECTRONICS
1006 BLACK HAW                          PO BOX 6068                        12455 WESTPARK DR H-15
HOUSTON, TX 77079                       DULUTH, MN 55806-6068              HOUSTON, TX 77082




ADVANTAGE SPECIALTIES INC               ADVANTAGE TRAVEL                   ADVENTURES IN AD FRANCHISE INC
PO BOX 6429                             2128 SAM HOUSTON AVE STE E         2730 LAKE RD
HUNTSVILLE, TX 77342                    HUNTSVILLE, TX 77340               HUNTSVILLE, TX 77340




ADVOCATE SOLUTIONS RX                   AELIA FATIMA WAQIF                 AEROCARE HOME MEDICAL
4811 MERIOT AVE, SUITE 110              [ADDRESS REDACTED]                 14 HWY 75 N, SUITE B
GRAPEVINE, TX 76051                                                        HUNTSVILLE, TX 77320




AEROCARE                                AESCULAP IMPLANT SYSTEMS, LLC      AESCULAP IMPLANT SYSTEMS, LLC
2233 E MAIN ST                          3772 CORPORATE PKWY                3773 CORPORATE PKWY
MONTROSE, CO 81401                      CENTER VALLEY, PA 18034            CENTER VALLEY, PA 18034




AETNA                                   AFFILIATED POWER SERVICES, LP      AFFILION OF HUNTSVILLE
3500 COLISEUM BLVD.                     2403 APPELT                        930 SOUTHWESTERN AVE
FORT WAYNE, IN 46805                    HOUSTON, TX 77015                  OKLAHOMA CITY, OK 73139




AFFILION OF HUNTSVILLE, PLLC            AFFILION                           AFFORABLE HEALTCARE EDUCATION
7032 COLLECTION CENTER DR.              7032 COLLECTION CENTER DR          451 MOUNTAIN LAKE DRIVE (CR 335)
CHICAGO, IL 60693                       CHICAGO, IL 60693                  CRABE HILL, AL 35053




AFFORDABLE SIGNS                        AFTER HOURS DESIGN                 AFZAL, ADNAN MD
1216 UNIVERSITY AVE                     174 LANCEWOOD CIRCLE               100 MEDICAL CENTER BLVD. STE 200
HUNTSVILLE, TX 77340                    LUFKIN, TX 75904                   CONROE, TX 77304




AGANA REHAB ASSOCIATES                  AGANA, BENJAMIN DR.                AGBALE,OLANIKE
PO BOX 690687                           6927 PENNY CT.                     2443 FM 1488
HOUSTON, TX 77269                       HOUSTON, TX 77069                  APT 1723
                                                                           CONROE, TX 77384




AGENTA                                  AGFA HEALTHCARE                    AGGARWALA. GAURAV
                                        PO BOX 19048                       6962 LAKE POLOMA DRIVE
                                        GREENVILLE, SC 29602-9048          WOODLANDS, TX 77389
AGILITI HEALTH, INC Case 19-36300   Document  1 Filed in TXSB on 11/11/19 AHA
                                      AGL SERVICES                          Page  21 of 240
                                                                              SERVICES
6625 WEST 78TH STREET, SUITE 300       3226 MAYBANK HWY, STE E-10         PO BOX 933283
MINNEAPOLIS, MN 55439                  JOHNS ISLAND, SC 29455             ATLANTA, GA 31193-3283




AHA/SHSMD                              AHC MEDIA LLC                      AHIMA
75 REMITTANCE DRICE                    PO BOX 550669                      PO BOX 4295
SUITE 1976                             ATLANTA, GA 30355                  CAROL STREAM, IL 60197-4295
CHICAGO, IL 60606-1976




AIDE GUADALUPE ALMAZAN                 AIENA, LANE JOSEPH                 AIMEE LYNN RAINEY
[ADDRESS REDACTED]                     3614 WEST DAVIS STREET             [ADDRESS REDACTED]
                                       CONROE, TX 77304




AIMEE N MCFARLANE                      AINSWORTH, TINA                    AIR LIQUIDE
[ADDRESS REDACTED]                     138 ELKINS LAKE                    12800 WEST LITTLE YORK
                                       HUNTSVILLE, TX 77340               HOUSTON, TX 77041-4218




AIR SHIELD VICKERS                     AIRBORNE EXPRESS                   AIRCANOPY INTERNET SERVICES
330 JACKSONVILLE ROAD                  PO BOX 91001                       400 INVERNESS PARKWAY, SUITE 330
HATBORO, PA 19040                      SEATTLE, WA 98111                  EGLEWOOD, CO 80112




AIRCAST                                AIRFLOW DIRECTION INCORPORATED     AIRSCAN TECH
PO BOX 709                             2 LIVINGSTON LANE                  PO BOX 1539
SUMMIT, NJ 07902                       NEWBURY, MA 01951                  SPRINGTOWN, TX 76802




AISHA NECHELLE BEDFORD                 AIV                                AKEEM A AREMU
[ADDRESS REDACTED]                     7485 SHIPLEY AVE                   [ADDRESS REDACTED]
                                       HARMANS, MD 21077




AKINS, CHARLES                         AKORN, INC                         ALAN D ISBELL
1507 WAYFARER                          3950 PAYSPHERE CIRCLE              [ADDRESS REDACTED]
COLLEGE STATION, TX 77845              CHICAGO, IL 60674




ALAN K MADDOX                          ALANA JANE PALUMBOS                ALANTRA JEAN MONTGOMERY
[ADDRESS REDACTED]                     [ADDRESS REDACTED]                 [ADDRESS REDACTED]




ALBRECHT AGENCY                        ALCARAZ, ERIK                      ALCO SALES AND SERVICE CO
5847 SAN FELIPE, STE 1575                                                 6851 HIGH GROVE BLVD
HOUSTON, TX 77057                                                         BURR RIDGE, IL 60527-7579
                  Case
ALCON LABORATORIES,  INC   19-36300 Document  1 FiledCO
                                      ALDRICH CHEMICAL in TXSB on 11/11/19 ALECIA
                                                                             PageS HALL
                                                                                   22 of 240
69201 SOUTH FREEWAY                     DEPT 700                            [ADDRESS REDACTED]
FORT WORTH, TX 76134                    MILWAUKEE, WI 53259




ALEGIS REVENUE GROUP LLC                ALERE INC.                          ALERE NORTH AMERICA INC
PO BOX 132109                           30 S KELLER ROAD, SUITE 100         30 SOUTH KELLER RD, SUITE 100
THE WOODLANDS, TX 77393                 ORLANDO, FL 32810-6297              ORLANDO, FL 32810




ALERE TOXICOLOGY SERVICES               ALERT SERVICES INC                  ALEX D GUTIERREZ
PO BOX 122564 DEPT 2564                 PO BOX 1088                         [ADDRESS REDACTED]
DALLAS, TX 75312-2564                   SAN MARCOS, TX 78667




ALEXANDER HAMILTON INSTITUTE            ALEXANDER MELANIE                   ALEXANDRA LEA HURON
70 HILLTOP RD                           7701 BOARD CROSSING                 [ADDRESS REDACTED]
RAMSEY, NJ 07446-9835                   CONROE, TX 77304




ALEXANDRIA N MORO                       ALEXIA TAMARAH DAVIS                ALEXIS M SOTO
[ADDRESS REDACTED]                      [ADDRESS REDACTED]                  [ADDRESS REDACTED]




ALI, SHARI                              ALICIA C ARCHIE                     ALICIA CAROL MUNIZ
HUNTSVILLE, TX                          [ADDRESS REDACTED]                  [ADDRESS REDACTED]




ALICIA DESHUN BENNETT                   ALIMED INC                          A-LINE STAFFING SOLUTIONS
[ADDRESS REDACTED]                      297 HIGH STREET                     31201 CHICAGO RD, SUITE C-302
                                        DEDHAM, MA 02026                    WARREN, MI 48093




ALISON L WELLS                          ALL MAGAZINE SUBSCRIPTION AGENCY    ALL POSTERS
[ADDRESS REDACTED]                      177 S. SPRING ROAD                  PO BOX 742124
                                        EATONTON, GA 31024-8176             LOS ANGELES, CA 90074




ALL PROFESSIONAL PRODUCTS               ALL SERVICE STRIPING ENTERPRISES    ALL-AMERICAN PUBLISHING
PO BOX 266821                           314 SAWDUST RD SUITE 217            5421 KENDALL ST
HOUSTON, TX 77207-6821                  THE WOODLANDS, TX 77380             BOISE, ID 83706




ALLCARE MEDICAL INC                     ALLEGIANCE HLTHCARE CORP            ALLEN E. JR. DORRIS
3609 BOSQUE                             3102 FIRST STREET                   [ADDRESS REDACTED]
WACO, TX 76710                          ROSENBERG, TX 77471-5831
                    Case
ALLEN MEDICAL SYSTEMS INC19-36300   Document  1 Filed in TXSB on 11/11/19 ALLEN,
                                      ALLEN W BELL                          Page   23 ofL 240
                                                                                 AMBER
1 POST OFFICE SQUARE                   [ADDRESS REDACTED]                   [ADDRESS REDACTED]
ACTION, MA 01720-3948




ALLEN, HANNAH K                        ALLHEART                             ALLIED ELECTRONICS
[ADDRESS REDACTED]                     5284 ADOLFO ROAD, SUITE 250          PO BOX 2325
                                       CAMARILLO, CA 93012                  FORT WORTH, TX 76113




ALLIED HEALTH GROUP                    ALLIED STAFFING NETWORK, LLC         ALLIED UNIVERSAL SECURITY SERVICES
PO BOX 743425                          95 ARGONAUT, STE 160                 PO BOX 828854
LOS ANGELES, CA 90074-3425             ALISO VIEJO, CA 92656                PHILADELPHIA, PA 19182-8854




ALLIED WORLD SPECIALTY INSURANCE       ALLISON ELAINE MILLER                ALLISON K ARMSTRONG
CO/AWAC                                [ADDRESS REDACTED]                   [ADDRESS REDACTED]
199 WATER ST, 24TH FL
NEW YORK, NY 10038




ALLOSOURCE                             ALLSCRIPTS HEALTHCARE, LLC           ALLSCRIPTS HEALTHCARE, LLC
6278 S TROY CIRCLE                     8529 SIX FORKS RD                    BOX 751585
CENTENNIAL, CO 80111                   RALEIGH, NC 27615                    CHARLOTTE, NC 28262




ALLSPORT DYNAMICS INC                  ALLSTATE BENEFITS                    ALLSTEEL INC
2724 S. E. STALLINGS DRIVE             1776 AMERICAN HERTAGE LIFE DRIVE     7108 OLD KETY ROAD SUITE 150
NACOGDOCHES, TX 75961                  JACKSONVILLE, FL 32224               HOUSTON, TX 77024




ALLTEX PARTS DEPOT INC                 ALLYSON SADLER                       ALMO SCIENTIFIC, INC.
4754 ALLMOND ST                        [ADDRESS REDACTED]                   505 BANDERA
DALLAS, TX 75247                                                            SUITE 130
                                                                            SAN ANTONIO, TX 78238




ALPHA DELTA COMMUNICATIONS, INC        ALPHA MEDICAL INC                    ALPHA OMEGA ACADEMY
10181 N. 92ND STREET, SUITE 103        401 CHESTNUT STREET                  PO BOX 8419
SCOTTSDALE, AZ 85258                   SUITE 500                            HUNTSVILLE, TX 77340
                                       CHATTANOOGA, TN 37402




ALPHA SCIENTIFIC                       ALPHA SOURCE INC                     ALPHA STAFFING
287 GREAT VALLEY PKWY                  12104 W CARMEN AVE                   113 WEST RUSK STREET
NELBOURN, PA 19355                     MILWAUKEE, WI 53225-2125             TYLER, TX 75701




ALSWORTH, ASHLIA                       ALTA DIAGNOSTICS                     ALTA IMAGING SUPPLIES
11104 KEYSTON TIMER DR                 23331 PERALTA DR. STE 2              128 SOUTH BROADWAY STREET, 112
CONROE, TX 77303                       LAGUNA MILLS, CA 92653               CHECOTAH, OK 74426-3806
                   Case
ALTERNATIVE BIOMEDICAL     19-36300
                         SOLUTIONS    Document  1 Filed in TXSB on 11/11/19 ALTICE
                                        ALTEX ELECTRONICS                     PageUSA
                                                                                    24INC
                                                                                        of 240
1600 WALLACE DR, STE 100                 18760 NORTHWEST FREEWAY             PO BOX 742535
CARROLLTON, TX 75006                     HOUSTON, TX 77065                   CINCINNATI, OH 45274-2535




ALTOM CONSULTING & MARKETING, INC        ALTON JOHNATHAN HENDERSON           ALUMA DESIGNS LLC
PO BOX 690                               [ADDRESS REDACTED]                  2556 GULF BREEZE PARKWAY
HUNTSVILLE, TX 77342                                                         GULF BREEZE, FL 32563




ALVIN V INGALLA                          ALYSSA CONSTANCE BUCKON             ALYSSA N OLDHAM
[ADDRESS REDACTED]                       [ADDRESS REDACTED]                  [ADDRESS REDACTED]




AMANDA B JENKINS                         AMANDA DENISE SALMON                AMANDA ELIZABETH MUDGE
[ADDRESS REDACTED]                       [ADDRESS REDACTED]                  [ADDRESS REDACTED]




AMANDA G WHEELER                         AMANDA JANE NETHERY                 AMANDA JEAN NIELSON
[ADDRESS REDACTED]                       [ADDRESS REDACTED]                  [ADDRESS REDACTED]




AMANDA JO HATHORN                        AMANDA KAY LENOX                    AMANDA L HENDERSON
[ADDRESS REDACTED]                       [ADDRESS REDACTED]                  [ADDRESS REDACTED]




AMANDA M BROSH                           AMANDA MARIE ADAIR                  AMANZI PARTY RENTALS, LLC
[ADDRESS REDACTED]                       [ADDRESS REDACTED]                  4301 W. WM. CANNON DRIVE,B150134
                                                                             AUSTIN, TX 78749




AMATEUR ELECTRONIC SUPPLY                AMAZON.COM                          AMAZON.COM
5710 WEST GOOD HOPE ROAD                 410 TERRY AVE N                     PO BOX 81226
MILWAUKEE, WI 53223                      SEATTLE, WA 98109                   SEATTLE, WA 98108




AMBER J ALSIP                            AMBER L KAISER                      AMBER LEE TUCKER
[ADDRESS REDACTED]                       [ADDRESS REDACTED]                  [ADDRESS REDACTED]




AMBER N STUBBLEFIELD                     AMBER S MILLER                      AMBLER SURGICAL LLC
[ADDRESS REDACTED]                       [ADDRESS REDACTED]                  730 SPRINGDAL DRIVE
                                                                             EXTON, PA 19341
AMBROSE VIDEO ( DVDCase
                     )     19-36300   Document
                                        AMBU INC.1 Filed in TXSB on 11/11/19 AMBULATORY
                                                                              Page 25 of  240 CENTER ASSOC
                                                                                        SURGERY
145 WEST 45TH ST SUITE 1115              6740 BAYMEADOW                        1012 CAMERON ST
NEW YORK, NY 10036                       GLEN BURNIE, MD 21060                 ALEXANDRIA, VA 22314




AMERICAN ACADEMY HOLDINGS, LLC           AMERICAN ACADEMY OF CASE              AMERICAN ACADEMY OF MEDICAL
2480 SOUTH 3850 WEST STE B               MANAGEMENT                            560 WEST CROSSVILLE ROAD SUITE 103
SALT LAKE CITY, UT 84120                 AT THE AIHCP                          ROSWELL, GA 30075
                                         200 NILES CORTLAND RD SE, STE 4
                                         WARREN, OH 44484



AMERICAN ACADEMY OF NEUROLOGY            AMERICAN ACADEMY OF ORTHOPEDIC        AMERICAN ACADEMY OF PEDIATRICS
201 CHICAGO AVENUE                       PO BOX 65179                          PO BOX 776442
MINNEAPOLIS, MN 55415                    TUCSON, AZ 85728                      CHICAGO, IL 60677-6442




AMERICAN AIR FILTER                      AMERICAN APPRAISAL ASSOCIATES, INC    AMERICAN ARBITRATION ASSOCIATION IN
PO BOX 35690                             411 E. WISCONSIN AVE. STE. 1900       120 BROADWAY
LOUISVILLE, KY 40232                     MILWAUKEE, WI 53202                   21ST FLOOR
                                                                               NEW YORK, NY 10271




AMERICAN ASSOC FOR ACCREDITATION OF      AMERICAN ASSOC OF NOTARIES, INC       AMERICAN ASSOCIATION OF BLOOD BANKS
5101 WASHINGTON ST. STE 2F               8811 WESTHEIMER, SUITE 207            8101 GLENBROOK ROAD
PO BOX 9500                              HOUSTON, TX 77063                     BETHESDA, MD 20814-2749
GURNEE, IL 60031




AMERICAN ASSOCIATION OF RESPIRATORY      AMERICAN ASSOCIATION ORTHOPAEDIC      AMERICAN ASSOCIATION ORTHOPAEDIC
9425 N MACARTHUR BLVD, STE 100           317 MASSACHUSETTS AVENUE NE           39035 EAGLE WAY
IRVING, TX 75063-4706                    SUITE 100                             CHICAGO, IL 60678-1390
                                         WASHINGTON, DC 20002-5701




AMERICAN BINDERIES                       AMERICAN BIO SAFETY                   AMERICAN BUSINESS MACH TX
914 JEFFERSON                            4322 ANTHONY COURT, STE 5             2872 ANTOINE
TOPEKA, KS 66607                         ROCKLIN, CA 95677                     HOUSTON, TX 77092




AMERICAN BUSINESS MACHINES INC           AMERICAN CALLIDUS GROUP LTD           AMERICAN CANCER SOCIETY
2872 ANTOINE                             PO BOX 2738                           PO BOX 281
HOUSTON, TX 77092                        GRASS VALLEY, CA 95945                HUNTSVILLE, TX 77342




AMERICAN CANCER SOCIETY, INC             AMERICAN CATHETER CORP                AMERICAN COFFEE SERVICE
250 WILLIAMS ST.                         175 CONNECTICUT MILLS                 963 WAKEFIELD
ATLANTA, GA 30303                        DANIELSON, CT 06239                   HOUSTON, TX 77018




AMERICAN COLLEGE OF CARDIOLOGY           AMERICAN COLLEGE OF HEALTHCARE EXEC   AMERICAN COLLEGE OF RADIOLOGY
2400 N STREET NW                         PO BOX 4797                           1891 PRESTON WHITE DRIVE
WASHINGTON, DC 20037                     CAROL STREAM, IL 60197-4797           RESTON, VA 20191-4397
AMERICAN COLLEGE OFCase   19-36300
                      SURGEONS        Document
                                        AMERICAN1COLLEGE
                                                   Filed OF
                                                         in TXSB on 11/11/19 AMERICAN
                                                                              Page 26   of 240
                                                                                      CORRECTIONAL ASSOCIATION
633 NORTH SAINT CLAIR STREET             400 NORTH ASHLEY DRIVE,              206 NORTH WASHINGTON ST.
CHICAGO, IL 60611                        SUITE 400                            SUITE 200
                                         TAMPA, FL 33602-4322                 ALEXANDRIA, VA 22314




AMERICAN DIABETES ASSOC                  AMERICAN DIABETES ASSOC              AMERICAN DIGITAL
1970 CHAIN BRIDGE RD                     PO BOX 930850                        415 BOSTON POST ROAD
MCLEAN, VA 22109-0592                    ATLANTA, GA 31193                    MILFORD, CT 06460




AMERICAN EQUIPMENT LEASING               AMERICAN EXPRESS                     AMERICAN FIRE PROTECTION GROUP,INC
PO BOX 9592                              PO BOX 650448                        8000 WEST 78TH STREE SUITE 111
UNIONDALE, NY 11555-9592                 DALLAS, TX 75265-0448                EDINA, MN 55439




AMERICAN FUTURE SYSTEMS                  AMERICAN HEALTH CONSULTANT           AMERICAN HEALTH INFORMATION
384 TECHNOLOGY DRIVE                     PO BOX 95278                         PO BOX 4295
MALVERN, PA 19355                        CHICAGO, IL 60694-5278               CAROL STREAM, IL 60197-4295




AMERICAN HEALTHCARE RADIOLOGY ADMIN      AMERICAN HEALTHCARE SERVICES INC     AMERICAN HEART ASSOC
490-B BOSTON POST ROAD, SUITE 200        PO BOX 1295                          6801 SANGER AVENUE
SUDBERRY, MA 01776                       MURFREESBORO, TN 37133-1295          SUITE 102
                                                                              WACO, TX 76710




AMERICAN HERITAGE LIFE INSURANCE CO      AMERICAN HOSPITAL ASSOC              AMERICAN INCOME LIFE INSURANCE
1776 AMERICAN HERTAGE LIFE DRIVE         PO BOX 92247                         3700 S. STONEBRIDGE DRIVE
JACKSONVILLE, FL 32224                   CHICAGO, IL 60675-2247               MCKINNEY, TX 75070-5934




AMERICAN INFOSOURCE LP                   AMERICAN INTERNATIONAL ELECTRIC      AMERICAN INTERNATIONAL RECOVERY
5847 SAN FELIPE SUITE 1200               2835 PELLISSIER PLACE                PO BOX 105795
HOUSTON, TX 77057                        WHITTIER, CA 90601                   ATLANTA, GA 30348-9864




AMERICAN MEDICAL ASSOC                   AMERICAN MEDICAL ASSOCIATION         AMERICAN MEDICAL CONCEPTS
515 N STATE ST                           PO BOX 4198                          1544 SAWDUST RD STE 800
CHICAGO, IL 60610                        CAROL STREAM, IL 60197-9788          CHICAGO, IL 60606




AMERICAN MEDICAL REHAB PROVIDERS         AMERICAN MEDICAL REHABILITATION      AMERICAN MEDICAL SUPPLY
206 SOUTH SIXTH STREET                   1710 H. STREET, NW                   2833 TRINITY SQUARE 173
SPRINGFIELD, IL 62701                    WASHINGTON, DC 20036                 CARROLTON, TX 75006




AMERICAN NURSES ASSOC INC                AMERICAN OCCUPATION THERAPY          AMERICAN PHYSICAL THERAPY ASSOC.
PO BOX 504345                            PO BOX 0151                          PO BOX 75701
ST LOUIS, MO 63150-4345                  ANNOPOLIS JUNCTION, MD 20701         BALTIMORE, MD 21298-8014
                   Case 19-36300
AMERICAN PHYSICAL THERAPY            Document
                                       AMERICAN1POWER
                                                  FiledCONVERSION
                                                        in TXSB on 11/11/19 AMERICAN
                                                                             Page 27   of 240 INSTITUTE
                                                                                     PROFICIENCY
1111 NORTH FAIRFAX ST                   132 FAIRGROUNDS RD                    1159 BUSINESS PARK DRIVE
ALEXANDRIA, VA 22314-1488               PO BOX 278                            TRAVERSE CITY, MI 49686
                                        WEST KINGSTON, RI 02892




AMERICAN QUALITY FOODS                  AMERICAN RED CROSS                    AMERICAN RED CROSS
353 BANNER FARM ROAD                    20017 S. SAM HOUSTON                  723-A W DAVIS
MILLS RIVER, NC 28759-8707              HUNTSVILLE, TX 77340                  CONROE, TX 77301




AMERICAN REGISTRY FOR                   AMERICAN SEATING COMPANY              AMERICAN SOCIETY FOR CLINICAL
3635 CONCORDE PARKWAY SUITE 200         401 AMERICAN SEATING                  33 W MONORE STE 1600
CHANTILLY, VA 20151                     GRAND RAPIDS, MI 49504-4499           CHICAGO, IL 60603-5617




AMERICAN SOCIETY FOR HEALTHCARE         AMERICAN SOCIETY FOR HEALTHCARE       AMERICAN SOCIETY FOR HEALTHCARE
155 N. WACKER, 4TH FLOOR                ONE NORTH FRANKLIN                    PO BOX 75315
CHICAGO, IL 60606                       CHICAGO, IL 60606                     CHICAGO, IL 60675-5315




AMERICAN SOCIETY FOR METABOLIC &        AMERICAN SOCIETY FOR MICROBIOLOGY     AMERICAN SOCIETY HEALTHCARE
100 SW 75TH STREET SUITE 201            1752 N STREET, N.W.                   155 N WACKER DR, STE 400
GAINESVILLE, FL 32607                   WASHINGTON, DC 20036                  CHICAGO, IL 60606




AMERICAN SOCIETY OF HEALTHCARE-         AMERICAN SOCIETY OF HEATING REFRIGE   AMERICAN SOCIETY OF ORTHOPEDIC
PO BOX 75487                            1791 TULLIE CIRCLE NE                 PO BOX 7440
BALTIMORE, MD 21275-5487                ATLANTA, GA 30329-2305                SEMINOLE, FL 33775




AMERICAN SOCIETY OF PERIANESTHESIA      AMERICAN SOCIETY OF RADIOLOGIC        AMERICAN TRAUMA SOCIETY
90 FRONTAGE ROAD                        PO BOX 52784                          201 PARK WASHINGTON COURT
CHERRY HILL, NJ 08034-1424              PHOENIX, AZ 85072-2784                FALLS CHURCH, VA 22046




AMERICAN YELLOW GROUP                   AMERICLEAN SYSTEMS INC                AMERICREDIT
325 PENNSYLVANIA AVENUE, SE             26935 NORTHWESTERN HWY STE 400        PO BOX 78143
WASHINGTON, DC 20003                    SOUTHFIELD, MI 48034                  PHOENIX, AZ 85062-8143




AMERI-DOSE                              AMERIGROUP COMMUNITY CARE             AMERIMED CONSULTING HEALTHCARE INT
PO BOX 4140                             PO BOX 933657                         270 N DENTON TAP RD STE 230
WOBURN, MA 01888-4140                   ATLANTA, GA 31193-3657                COPPELL, TX 75019




AMERIPATH TEXAS, INC.                   AMES COLOR FILE                       AMI BUSINESS LLC
PO BOX 844810                           605 4TH STREET                        1800 N BRISTOL ST. SUITE C-461
DALLAS, TX 75284-4810                   MAYVILLE, WI 53050                    SANTA ANA, CA 92706
AMICO              Case     19-36300 Document  1 Filed
                                       AMN HEALTHCARE   in TXSB on 11/11/19 AMNISURE
                                                      INC                    Page 28 of 240
85 FULTON WAY                            PO BOX 281939                     24 SCHOOL STREET, 6TH FLOOR
RICHMOND HILL, ON L4V 2N4                ATLANTA, GA 30384-1939            BOSTON, MA 02108
CANADA




AMO SALES AND SERVICE                    AMS SALES CORPORATION             AMTEC MEDICAL INC.
1700 E ST ANDREW PLACE                   DRAWER CS 198422                  3709 PROMONTORY POINT DR
SANTA ANA, CA 92705                      ATLANTA, GA 30384-8422            AUSTIN, TX 78744




AMVEX                                    AMY D JONES                       AMY L DOBBINS
25B EAST PEARCE STREET                   [ADDRESS REDACTED]                [ADDRESS REDACTED]
RICHMOND HILL, ON L4B2M9
CANADA




AMY L. DEVOE-MOSES                       AMY R VAN HORN                    AMY S LABARGE
PO BOX 8662                              [ADDRESS REDACTED]                [ADDRESS REDACTED]
HUNTSVILLE, TX 77340




AMY V LOPEZ                              ANACOM MEDTEK                     ANACOMP
[ADDRESS REDACTED]                       1240 S. CLAUDINA STREET           6767 PORTWEST DRIVE STE 190
                                         ANAHEIM, CA 92805-6232            HOUSTON, TX 77024




ANAHLIE L LABRADOR                       ANAIS M SALGADO-GONZALEZ          ANATOMICAL CHART COMPANY
[ADDRESS REDACTED]                       [ADDRESS REDACTED]                C/O WOLTERS KLUWER & LIPPINCOTT
                                                                           2 COMMERCE SQ
                                                                           2001 MARKET ST
                                                                           PHILADELPHIA, PA 19103



ANCC                                     ANCHOR SURGICAL PRODUCTS          AND LOGISTIX INC.
8515 GEORGIA AVE, 400                    52 OFFICAL RD                     1345 ST. CLAIR AVE WEST THIRD FLOOR
SILVER SPRING, MD 20910-3492             ADDISON, IL 60101                 TORONTO, ON M6E 1C3
                                                                           CANADA




ANDERMAC                                 ANDERSEN PRODUCTS, INC.           ANDERSON, TAWNYA
2626 LIVE OAK HWY                        3202 CAROLINE DRVE
YUBA CITY, CA 75991                      HAW RIVER, NC 27258-9564




ANDREA DENISE ASHU                       ANDREA H FORD                     ANDREA JAEGER
[ADDRESS REDACTED]                       [ADDRESS REDACTED]                [ADDRESS REDACTED]




ANDREA JILL PYLES                        ANDREA KLINGER JAEGER             ANDREA LYNN GRAY
[ADDRESS REDACTED]                       [ADDRESS REDACTED]                [ADDRESS REDACTED]
ANDRUS, KAREN      Case 19-36300 Document 1 &Filed
                                   ANESTHESIA       in TXSB
                                              CRITICAL CARE on 11/11/19 ANGEL
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                                                                              JACOB   240
                                                                                    CANO
                                      21269 NETWORK PLACE                2301 S. DATE
                                      CHICAGO, IL 60673-1212             PERRYTON, TX 79070




ANGELA L REUTER                       ANGELA M MONTANDON                 ANGELA M RUELLE
[ADDRESS REDACTED]                    [ADDRESS REDACTED]                 [ADDRESS REDACTED]




ANGELA MARIE DIAMICIS                 ANGELA R NEWCOMB                   ANGELA R RUSIN
[ADDRESS REDACTED]                    [ADDRESS REDACTED]                 [ADDRESS REDACTED]




ANGELA USEDA                          ANGELEENA J JOHN                   ANGELICA TEXTILE SERVICES
[ADDRESS REDACTED]                    [ADDRESS REDACTED]                 1105 LAKEWOOD PKWY, STE 210
                                                                         ALPHARETTA, GA 30009




ANGELICA TEXTILE SERVICES             ANGELICA TEXTILE SERVICES, INC.    ANGELINA P CANTERBURY
1901 S MEYERS RD., SUITE 630          1105 LAKEWOOD PKWY, STE 210        [ADDRESS REDACTED]
OAKBROOK TERRACE, IL 60181            ALPHARETTA, GA 30009




ANGELITA WATSON                       ANGIO DYNAMICS INC                 ANGIOADVANCEMENTS, LLC
HUNTSVILLE, TX 77340                  1 HORIZON WAY                      17111 SHELBY LANE
                                      MANCHESTER, GA 31816               NORTH FORT MYERS, FL 33917




ANGIOTECH                             ANIL WARRIER                       ANN MORELAND
3600 S W 47TH AVENUE                  3 OAK GLEN                         [ADDRESS REDACTED]
GAINESVILLE, FL 32608                 CONROE, TX 77304




ANN WOLFORD                           ANNA E SMITH                       ANNE B GRAVES
18 SEDERS WALK                        [ADDRESS REDACTED]                 [ADDRESS REDACTED]
THE WOODLANDS, TX 77381




ANNE KILLINGSWORTH                    ANNE NOELLA TURNAGE                ANNE S GUNN
[ADDRESS REDACTED]                    [ADDRESS REDACTED]                 [ADDRESS REDACTED]




ANNETTE E CHANDONNET                  ANNIE MORGAN SMITH                 ANOTHY ARAIZA
[ADDRESS REDACTED]                    [ADDRESS REDACTED]
                 Case
ANTHONY NEWTON WELLS       19-36300 Document  1 Filed
                                      ANTHRO CORP     in TXSB
                                                  TECHNOLOGY   on 11/11/19 ANTOINETTE
                                                             FURNITURE       Page 30 MofSCHANES
                                                                                         240
[ADDRESS REDACTED]                       10450 S.W. MANHASSET DRIVE          [ADDRESS REDACTED]
                                         TUALATIN, OR 97062




ANYPROMO INC                             AON CONSULTING, INC.                AONE
1511 E. HOLT BLVD                        200 E. RANDOLPH STREET              PO BOX 92592
ONTARIO, CA 91761                        CHICAGO, IL 60601                   CHICAGO, IL 60675-2592




AORN WORKS                               APCUPSBATTERY                       APEX ENGINEERING
2170 S PARKER RD STE 400                 PO BOX 5507                         PO BOX 439
DENVER, CO 80231-5711                    DEPTFORD, NJ 08096                  PLAINFIELD, IL 60544




APEX INNOVATIONS                         API HEALTHCARE CORPORATION          APIC 2011 REGISTRATION
3909 AMBASSADOR CAFFERY PARKWAY          1550 INNOVATION WAY                 1200 G. STREET, NW, SUITE 800
LAFAYETTE, LA 70503                      HARTFORD, WI 53027                  WASHINGTON, DC 20005-6705




APIC                                     APM MAGAZINE, INC.                  APOTHECARY PRODUCTS INC
PO BOX 79502                             5635 NW CENTRAL DR., SUITE E-108    11750 12TH AVE S
BALTIMORE, MD 21279-0502                 HOUSTON, TX 77092                   BRUNSVILLE, MN 55337




APP PHARMACEUTICALS,LLC                  APPLETON MEDICAL SERVICES, INC.     APPLIANCE PARTS PROS.
1107 MOMENTUM PLACE                      118 NORTH MAIN STREET               19410 BUSINESS CENTER DR
CHICAGO, IL 60689-5311                   ST. CHARLES, MO 63301               NORTHRIDGE, CA 91324




APPLIED DIAGNOSTICS                      APPLIED HEALTH CARE                 APPLIED HEALTH CARE, LLC
10161 HARWIN STE 106                     6105 BEVERLY HILL STREET            PO BOX 418711
HOUSTON, TX 77036                        HOUSTON, TX 77057                   BOSTON, MA 02241-8711




APPLIED MEDICAL RESOURCES                APPLIED MEDICAL TECH                APPLY FOR NOTARY LLC
22872 AVENIDA EMPRESA                    6551 BRECKSVILLE ROAD               PO BOX 568628
SANTA MARGARITA, CA 92688                INDEPENDENCE, OH 44131              ORLANDO, FL 32856-8628




APRIL M SIMMONS                          APRIOMED, INC.                      APS HEALTHCARE
[ADDRESS REDACTED]                       45 SOUTH MAIN STREET                PO BOX 890903
                                         DERRY, NH 03038                     CHARLOTTE, NC 28289-0903




APTUS ENDOSYSTEMS, INC.                  ARAMARK CAPITAL ASSET SERVICE INC   ARAMARK MANAGEMENT SERVICES LLC
271 GIBRALTAR DRIVE                      10510 TWIN LAKES PARKWAY            L.P.-WEST CENTRAL
SUNNYVALE, CA 94089                      CHARLOTTE, NC 28269                 HUNTSVILLE, TX 77340
                  Case
ARAMARK REFERESMENT    19-36300
                    SERVICES, LLC   Document
                                      ARAMARK,1INC.Filed in TXSB on 11/11/19 ARANDA,
                                                                               Page ISABEL
                                                                                     31 of 240
1665 TOWNHURST 160                     PO BOX 2386                           1206 RAINY RIVER DR
HOUSTON, TX 77043                      HUNTSVILLE, TX 77341                  HOUSTON, TX 77088




ARC MEDICAL, INC                       ARCHER & ASSOCIATES CONSULTING        ARCHER-SMITH, EVA
322 PATTERSON AVENUE                   1627 WESTSHORE DRIVE                  410 EMERSON ST
SCOTTSDALE, AZ 85252                   HOUSTON, TX 77094-3301                HOUSTON, TX 77006




ARD, SHEILA H.                         ARGON MEDICAL DEVICES, INC.           ARIZA, ANNA C.
[ADDRESS REDACTED]                     1445 FLAT CREEK RD.                   13220 MILLER LANE
                                       ATHENS, TX 75751                      WILLIS, TX 77318




ARIZANT HEALTHCARE INC                 ARIZONA HEART INSTITUTE               ARJO INC.
10393 WEST 70TH STREET                 2632 NORTH 20TH STREET                2349 W. LAKE STREET, SUITE 250
EDEN PRAIRIE, MN 55344                 PHOENIX, AZ 85006                     ADDISON, IL 60101




ARKANSAS CHILD SUPPORT                 ARMAMENTARIUM                         ARMBRUSTER, ASHLEY MARIE
PO BOX 8125                            15510 SILVER RIDGE                    1202 US 190
LITTLE ROCK, AR 72203                  HOUSTON, TX 77090                     HUNTSVILLE, TX 77340




ARMS                                   ARMSTONG, DEMEREST                    ARMSTRONG MED INDUSTRIES
555 NORTH LANE STE 5001                2404 SYCAMORE AVE B4                  PO BOX 700
CONSHOHOCKEN, PA 19428-0864            HUNTSVILLE, TX 77340                  LINCOLNSHIRE, IL 60069




ARMSTRONG REPAIR CENTER INC            ARMSTRONG, ALLISON                    ARMSTRONG, KEVIN
5750-A ROYALTON                        13653 BIGHORN TRAIL                   PO BOX 1022
HOUSTON, TX 77081                      WILLIS, TX 77378                      GEORGE MILLS, NH 03751




ARONS, SUSAN                           ARRAY SOFTWARE                        ARROW INTERNATIONAL
3645 VIOLET LANE                       540 MEADOW STREET                     2400 BERNVILLE ROAD
HUNTSVILLE, TX 77340                   AGAWAM, MA 01001                      READING, PA 19605




ARTECH                                 ARTEL                                 ARTHREX
625 HWY 190 E                          25 BRADLEY DRIVE                      3050 N HORSESHOE DR
HUNTSVILLE, TX 77320                   WESTBROOK, ME 04092                   NAPLES, FL 33942




ARTHRITIS FOUNDATION INC               ARTHROCARE                            ARTHROSCOPY ASSOCIATION OF
1355 PEACHTREE STREET SUITE 600        680 VAQUEROS AVE                      6300 NORTH RIVER ROAD
ATLANTA, GA 30309                      SUNNYVALE, CA 94085-3523              SUITE 104
                                                                             ROSEMONT, IL 60018
ARTHROSURFACE INCCase      19-36300 Document
                                      ARTHUR L.1DAVIS
                                                  Filed  in TXSB
                                                      PUBLISHING   on 11/11/19 ARTHUR
                                                                 AGENCY          PageMARSHALL
                                                                                      32 of 240
                                                                                              INC
28 FORGE PARKWAY                         517 WASHINGTON STREET                 600 E LAS COLINAS BLVD
FRANKLIN, MA 02038                       CEDAR FALLS, IA 50613                 SUITE 1750
                                                                               IRVING, TX 75039




ARTIGA, WILL                             A-S 103 SAM HOUSTON TOWN CENTER, LP   A-S 103 SAM HOUSTON TOWN CENTER, LP
1614 BUNNYLOU LANE                       8827 W SAM HOUSTON PKWY N. STE 200    KATHERINE HATCHER, PRESIDENT
HUNTSVILLE, TX 77014                     HOUSTON, TX 77040                     8827 W SAM HOUSTON PKWY NORTH STE
                                                                               200
                                                                               HOUSTON, TX 77040



ASAHI INTECC USA, INC.                   ASC                                   ASCEND LEARNING HOLDINGS, LLC
3002 DOW AVE., SUITE 212                                                       11161 OVERBROOK RD
TUSIN, CA 92780                                                                LEAWOOD, KS 66211




ASCENSION ORTHOPEDICS, INC               ASCHEAL, MICHELLE                     ASCOM (US) INC
8700 CAMERON ROAD STE.100                                                      300 PERIMETER PARK DRIVE STE D
AUSTIN, TX 78754                                                               MORRISVILLE, NC 27560




ASCRETE,INC                              ASD HEALTHCARE                        ASD SPECIALTY HEALTHCARE INC.
11595 CALFEE ROAD                        PO BOX 848104                         9075 CENTRE POINTE DRIVE
CONROE, TX 77304                         DALLAS, TX 75284-8104                 SUITE 140
                                                                               WEST CHESTER, OH 45069




ASHLEA D DOSS                            ASHLEA N HILL                         ASHLEE N RODRIGUEZ
[ADDRESS REDACTED]                       [ADDRESS REDACTED]                    [ADDRESS REDACTED]




ASHLEIGH RENEE BYERLY                    ASHLEY ANTOINETTE ROSS                ASHLEY BOCHAIN
[ADDRESS REDACTED]                       [ADDRESS REDACTED]                    [ADDRESS REDACTED]




ASHLEY FURNITURE HOMESTORE               ASHLEY HEARD                          ASHLEY LINN DUPREE
2804 N. I-45                             [ADDRESS REDACTED]                    [ADDRESS REDACTED]
CONROE, TX 77303




ASHLEY LYNN SOLIZ                        ASHLEY LYNN WESTER                    ASHLEY N NORTH
[ADDRESS REDACTED]                       [ADDRESS REDACTED]                    [ADDRESS REDACTED]




ASHLEY NICOLE NIEKAMP                    ASHLEY R GINN                         ASHLEY SHANTE GRANT
[ADDRESS REDACTED]                       [ADDRESS REDACTED]                    [ADDRESS REDACTED]
ASHLEY SOLIZ     Case       19-36300 Document  1 Filed
                                       ASHLEY TERRI     in TXSB on 11/11/19 ASHP
                                                    WALTON                    Page 33 of 240
[ADDRESS REDACTED]                       [ADDRESS REDACTED]                 7272 WISCONSIN AVE
                                                                            BETHESDA, MD 20814-1439




ASHWINDER KANWAL                         ASICO                              ASP WESTWARD L.P.
[ADDRESS REDACTED]                       26 PLAZA DRIVE                     PO BOX 609
                                         WESTMONT, IL 60559                 CONROE, TX 77305




ASPECT MEDICAL SYSTEMS                   ASPEN LABS                         ASPEN PUBLISHERS INC
PO BOX 414593                            PO BOX                             7201 MCKINNEY CR
BOSTON, MA 02241-4593                    UTICA, NY 13503                    FEDERICK, MD 21704




ASPEN PUBLISHERS INC                     ASPEN SURGICAL PRODUCTS INC        ASPEN
PO BOX 64054                             7425 CLYDE PARK S.W.               8630 FENTON ST
BALTIMORE, MD 21264-4054                 GRAND RAPIDS, MI 49509             SUITE 412
                                                                            SILVERSPRINGS, MD 20910




ASPIRE HOSPITAL, LLC                     ASSAY TECHNOLOGY                   ASSESSMENT TECHNOLGIES INSTITUTE
2006 SOUTH LOOP 336 WEST                 1070 EAST MEADOW CIRCLE            PO BOX 847474
CONROE, TX 77304                         PALO ALTO, CA 94303                BOSTON, MA 02284-7474




ASSOCIATED PRECISION LABS, INC           ASSOCIATION FOR HEALTHCARE         ASSOCIATION FOR SURGICAL
1410 N PORTER AVE                        PO BX 3049                         6 WEST DRY CREEK CIRCLE
NORMAN, OK 73071                         PEABODY, MA 01961-3049             SUITE 200
                                                                            LITTLETON, CO 80120-8031




ASSOCIATION FOR THE ADVANCEMENT OF       ASSOCIATION OF WOMENS HEALTH,      ASTE, LLC ENVIROMENTAL CONSULTANTS
PO BOX 4176                              DEPARTTMENT 4015                   4635 SW FWY STE 525
BARRINGTON, IL 60011-4176                WASHINGTON, DC 20042-4015          HOUSTON, TX 77027-7157




ASTORA WOMENS HEALTH, LLC                AT&T (FORMERLY)                    AT&T ADVERTISING & PUBLISHING
13200 PIONEER TRAIL SUITE 100            PO BOX 5011                        PO BOX 5010
EDEN PRAIRIE, MN 55347                   CAROL STREAM, IL 60197-5011        CAROL STREAM, IL 60197-5010




AT&T CREDIT CORPORATION                  AT&T EASYLINK SERVICES             AT&T LIMITED SERVICES BILLING
PO BOX 85340                             CS DRAWER 100659                   PO BOX 78544
LOUISVILLE, KY 40285-5340                ATLANTA, GA 30384-0659             PHOENIX, AZ 85062-8544




AT&T                                     AT&T                               AT&T
208 S AKARD ST                           PO BOX 105414                      PO BOX 5001
DALLAS, TX 75202                         ATLANTA, GA 30348-5414             CAROL STREAM, IL 60197-5001
AT&T               Case 19-36300   Document
                                     AT&T   1 Filed in TXSB on 11/11/19 AT&T
                                                                          Page 34 of 240
PO BOX 5019                           PO BOX 660921                     PO BOX 660921
CAROL STREAM, IL 60197-5001           DALLAS, TX 75266                  DALLAS, TX 75266-0921




AT&T                                  AT&T                              ATHENA C. ODEN
PO BOX 78045                          PO BOX 944008                     20540 STATE HWY 46 NORTH
PHOENIX, AZ 85062-8045                MAITLAND, FL 32794-4008           STE. 115-144
                                                                        SPRING BRANCH, TX 78070




ATHENAHEALTH INC                      ATHLETIC SUPPLY, INC.             ATI MEDICAL
311 ARSENAL STREET                    1107 N. GRANT                     7537 SOUTH FREEWAY
WATERTOWN, MA 02472-2782              ODESSA, TX 79761                  HOUSTON, TX 77021




ATLANTA COMPUTER SALES, INC.          ATLANTA SUPPLY CO. INC.           ATLANTIC BIOLOGICALS CORP.
1925 GRASSLAND PARKWAY                1333 LOGAN CIRCLE, N.W.           20101 NE 16TH PLACE
ALPHARETTA, GA 30004                  ATLANTA, GA 30318                 MIAMI, FL 33179




ATLANTIC ENVELOPE                     ATLANTIS COMMERCIAL SERVICES      ATLAS MEDSTAFF, LLC
PO BOX 888                            1314 FM 646, SUITE 24B            11840 NICHOLAS ST., STE 125
NASHVILLE, TN 37202                   DICKINSON, TX 77539               OMAHA, NE 68154




ATLAS VAN LINES                       ATMOS                             ATOMIC ENERGY IND LAB
PO BOX 509                            PO BOX 790311                     9261 KIRBY DRIVE
EVANSVILLE, IN 47703                  ST. LOUIS, MO 63179-0311          HOUSTON, TX 77054-2514




ATOMIC ENERGY INDUSTRIAL              ATRIUM MEDICAL CORPORATION        ATS PLUS, INC
9315 KIRBY DRIVE                      5 WENTWORTH DRIVE                 PO BOX 924617
HOUSTON, TX 77054-2516                HUDSON, NH 03051-4929             HOUSTON,, TX 77292-4617




ATTASK                                AUDIO ELECTRONICS                 AUDIT MICROCONTROLS, INC
1313 NORTH RESEARCH WAY               7313 ASHCROFT                     5670 EL CAMINO REAL, SUITE C
OREM, UT 84097                        HOUSTON, TX 77081                 CARLSBAD, CA 92008




AUDRA G MARINER                       AUDREY L MARTIN                   AUDY J ARMENTOR
[ADDRESS REDACTED]                    [ADDRESS REDACTED]                [ADDRESS REDACTED]




AUGUSTINE TEMPERATURE MANAGEMENT      AUREUS RADIOLOGY LLC              AUSTIN ANESTHESIOLOGY GROUP PLLC
6581 CITY WEST PARKWAY                11825 Q ST                        PO BOX 535488
EDEN PRAIRIE, MN 55344                OMAHA, NE 68137-3503              ATLANTA, GA 30353-5488
AUSTIN J HARRIS  Case     19-36300 Document   1 Filed ASSOCIATES
                                     AUSTIN PATHOLOGY in TXSB on 11/11/19 AUTOMATED
                                                                            Page 35COLLECTION
                                                                                    of 240 SERVICES INC
[ADDRESS REDACTED]                     PO BOX 203294                      2802 OPRYLAND DR
                                       DALLAS, TX 75320-3294              NASHVILLE, TX 37214




AUTOPSY AND PATHOLOGY SERVICES, PA     AUTRYS ADVERTISING & PRINTING      AUTUMNWOOD MILLWORK LLC
3007 WOODLAND HISS DR. 123             302 S. WASHINGTON AVE              6462 FM 1374 ROAD
KINGWOOD, TX 77339-1403                LIVINGSTON, TX 77351               NEW WAVERLY, TX 77358




AV CARTS                               AV TECH                            AVA C HOWARD
800 BOYLSTON ST; SUITE 1600            PO BOX                             [ADDRESS REDACTED]
BOSTON, MA 02199                       NEWPORT, RI 02840-0003




AVANTE ULTRASOUND                      AVAYA, INC                         AVELLA OF HOUSTON, LLC
1040 DERITA ROAD                       PO BOX 5125                        9265 KIRBY DRIVE
SUITE A                                CAROL STREAM, IL 60197-5125        HOUSTON, TX 77054
CONCORD, NC 28027




AVERY DENNISON                         AVMED, INC.                        AVTEK SOLUTIONS, INC.
PO BOX 101726                          9400 S. DADELAND BLVD.             801 E. PLANO PARKWAY, SUITE 160
ATLANTA, GA 30392-1726                 MIAMI, FL 33156                    PLANO, TX 75074




AWESOME OFFICE, INC                    AYA HEALTHCARE INC.                B & B ATHLETIC SUPPLY
3534 HAYDEN AVE                        5930 CORNERSTONE COURT WEST 300    1300 FRANKLIN AVE
CULVER CITY, CA 90232                  SAN DIEGO, CA 92121                WACO, TX 76701




B & B ATHLETICS                        B & H PHOTO VIDEO PRO AUDIO        B & R ENTERPRISES
1300 FRANKLIN                          420 NINTH AVENUE                   PO BOX 3391
WACO, TX 76701                         NEW YORK, NY 10001                 WORCESTER, MA 01613




B. BRAUN MEDICAL INC                   B.J. ATKINS, M.D., P.A.            B6 CONSTRUCTION & SEPTIC SERVICES
PO BOX 19791                           260 I.H. WE SOUTH, SUITE A         239 BALL ROAD
IRVING, CA 92623-9791                  HUNTSVILLE, TX 77340               HUNTSVILLE, TX 77340




BABTEX, INC                            BABY-FRIENDLY USA,INC.             BACTERIN INTERNATIONAL, INC
2100 E RANDOL MILL RD                  125 WOLF ROAD, SUITE 402           664 CRUISER LANE
ARLINGTON, TX 76011                    ALBANY, NY 12205                   BELGRADE, MT 59714




BAECKER, JULIE                         BAGNASCO, JOHN F MD                BAILEY II, DONALD TRAVIS
HUNTSVILLE, TX 77340                   HUNTSVILLE, TX 77340               6546 WOODLAND OAKS DRIVE
                                                                          MAGNOLIA, TX 77354
BAILEY, RACHAEL    Case   19-36300 Document  1 Filed
                                     BAKER SERVICES   in INC
                                                    HVAC  TXSB on 11/11/19 BAKER
                                                                             Page  36 of 240
                                                                                 SURGICAL
206 HEATH                               3 EDGEWOOD                         27351 BLUEBERRY HILL, STE 31
MADISONVILLE, TX 77864                  HUNTSVILLE, TX 77340               CONROE, TX 77385




BAKER, BECKY                            BAKER,JOLANE                       BALAHADIA & DEL ROSARIO LLC
                                        HUNTSVILLE                         552 TOMPKINS AVENUE
                                                                           STATEN ISLAND, NY 10305




BALANCED BODY INC.                      BALBOA PUBLISHING                  BALCONES SCIENTIFIC INC
5909 88TH ST                            11 LIBRARY PLACE                   PO BOX 18349
SACRAMENTO, CA 95828                    SAN ANSELMO, CA 94960              SUGARLAND, TX 77496-8349




BALLARD, COLE                           BALTIMORE COMMUNITY FOUNDATION     BANC OF AMERICA LEASING & CAPITAL LLC
6832 NEW ROAD                           2 EAST READ ST                     2059 NORTHLAKE PKWY 3 NORTH
NORTH ZULCH, TX 77872                   BALTIMORE, MD 21202                TUCKER, GA 30084




BANC OF AMERICA PUBLIC CAPITAL CORP     BANERJEE MD, ARINDAM               BANK OF AMERICA,N.A.
2059 NORTHLAKE PKWY 3 NORTH             100 MEDICAL CTR BLVD STE 200       2059 NORTHLAKE PARKWAY
TUCKER, GA 30084                        CONROE, TX 77304                   4 SOUTH
                                                                           TUCKER, GA 30084




BANKERS TRUST COMPANY                   BARAHONA, YOLANDA                  BARBARA BOYD
453 7TH ST                              1525 25TH STREET                   508 W, LOOKOUT DR.
DES MOINES, IA 50309                    HUNTSVILLE, TX 77340               SUITE 14-1029
                                                                           RICHARDSON, TX 75080




BARBARA E. DICKERSON                    BARBARA J MOLINA                   BARBARA J. JOERG
[ADDRESS REDACTED]                      [ADDRESS REDACTED]                 101 TRACE CT
                                                                           MONTGOMERY, TX 77316




BARBARA K MENDEZ                        BARCODE PLANET                     BARD ACCESS SYSTEM
[ADDRESS REDACTED]                      PO BOX 0776                        605 NORTH 5600 WEST
                                        CHICAGO, IL 60690-0776             SALT LAKE CITY, UT 81446




BARD EMS                                BARD MEDICAL/GYN/RADIO             BARD PERIPHERAL VASCULAR
PO BOX 75520                            8195 INDUSTRIAL BLVD               PO BOX 1740
CHARLOTTE, NC 28275                     COVINGTON, GA 30209                TEMPE, AZ 85280-1740




BARD UROLOGICAL                         BARKSDALE, ARVILLA                 BARNES JR, JAMES S
PO BOX 920008                           TRINTY, TX 75862                   1220 11TH STREET
ATLANTA, GA 30392                                                          HUNTSVILLE, TX 77340
BARNES MELODY L    Case      19-36300 Document  1 Filed in TXSB on 11/11/19 BAROSSO,
                                        BARON, AMY                            Page 37  of H.
                                                                                     CARL 240MD
PO BOX 730                                 15542 ARROWHEAD LOOP W             2727 LAKECREST DRIVE
CENTERVILLE, TX 75833-0730                 WILLIS, TX 77378                   PEARLAND, TX 77584




BARRETT, WILL                              BARRICK, CINDY                     BARRIER REEF EMERGENCY PHYSICIANS
4714 SHETLAND LANE                         25318 ELM CREEK DR                 PO BOX 98694
HOUSTON, TX 77027                          THE WOODLANDS, TX 77380            LAS VEGAS, NV 89193




BARRIER TECHNOLOGIES                       BARROGA, CHIVAS                    BARRON, JASON
23110 STATE RD 54 364                      HUNTSVILLE, TX 77340               HUNTSVILLE, TX 77340
LUTZ, FL 33549




BARTEE, DEANDRA FAYE                       BASA, ELMIE CORDERO                BASKET BY BARBARA
220 WARD RD                                2403 GREEN FERN CT                 61 GARVEY RD
PO BOX 1419                                SPRING, TX 77388                   HUNTSVILLE, TX 77340
TRINITY, TX 75862




BASS, MEGAN                                BATES, BECKY                       BATES, BOBBY
                                                                              1440 BRAZOS DR 89
                                                                              HUNTSVILLE, TX 77320




BATES, KEVIN                               BATTERIES INC                      BAUDVILLE
33 HARDING ST                              PO BOX 187                         5380 52ND STREET SE
HUNTSVILLE, TX 77340                       TEMPLE HILLS, MD 20748             GRAND RAPIDS, MI 49512




BAUM, DAVID                                BAUSCH & LOMB SURGICAL             BAUTISTA-BORJA, LOIS
                                           3365 TREE COURT IND BLVD           [ADDRESS REDACTED]
                                           ST LOUIS, MO 63122-8678




BAXTER ANESTHESIA DIV                      BAXTER BIOSCIENCE                  BAXTER GLOBAL
87 CONCORD ST                              PO BOX 730531                      ONE BAXTER PKWY, DF2-1W
N READING, MA 01864-2601                   DALLAS, TX 75373-0531              DEERFIELD, IL 60015-4625




BAXTER HEALTHCARE CORP                     BAXTER HEALTHCARE CORP             BAY MEDICAL
1 BAXTER PARKWAY                           PO BOX 95600                       12393 BELCHER RE, 450
DEERFIELD, IL 60015                        ALBUQUERQUE, NM 87199              LARGO, FL 33773-3097




BAY VIEW FUNDING                           BAYER CORPORATION                  BAYER HEALTHCARE LLC
PO BOX 881774                              100 BAYER RD                       100 BAYER RD
SAN FRANCISCO, CA 94188-1774               PITTSBURGH, PA 15205               PITTSBURGH, PA 15205
                  CaseLABORATORIES
BAYLOR MIRACA GENETICS    19-36300   Document  1 Filed in TXSB on 11/11/19 BAYLOR
                                       BAYLOR PATHOLOGY                      PagePATHOLOGY
                                                                                  38 of 240
2450 HOLCOMBE BLVD, SUITE O-100         MARTIN MATZUK, M.D., PH.D. INTERIM CHAIR   ONE BAYLOR PLAZA 286A
HOUSTON, TX 77021                       1 BAYLOR PLAZA 286A                        HOUSTON, TX 77030
                                        HOUSTON, TX 77030




BBVA COMPASS                            BBVA USA                                   BBVA USA
15 S 20TH ST                            2200 POST OAK BLVD, 20TH FLOOR             ATTN JENNIFER GISI, CORPORATE COUNSEL
BIRMINGHAM, AL 35233                    HOUSTON, TX 77056                          15 S 20TH ST STE 1802
                                                                                   BIRMINGHAM, AL 35233




BCBS OF TX                              BCBS OF TX                                 BCBS OF TX
1001 E LOOKOUT DRIVE                    NANCY C PRUITT, COUNSEL                    PO BOX 655730
RICHARDSON, TX 75082                    PO BOX 805107                              DALLAS, TX 75265
                                        CHICAGO, IL 60680-4140




BCBS OF TX                              BCBS                                       BCBS
PO BOX 805107                           PO BOX 3283                                PO BOX 660044
CHICAGO, IL 60680-4140                  TULSA, OK 74102-3283                       DALLAS, TX 75266




BCBS-IL: (PPO) 21719                    BD DIAGNOSTICS                             BEACON MEDAES LLC
                                        515 SOUTH CAPITAL OF TX HWY 240            1059 PARAGON WAY
                                        AUSTIN, TX 78746-4305                      ROCK HILL, SC 29730




BEAGLE PARENT CORP & SUBS               BEARCOM                                    BEARD, AMANDA
3055 LEBANON PIKE STE 1000              9301 SOUTHWEST FRWY                        PO BOX 28
NASHVILLE, TN 37214-2239                HOUSTON, TX 77074                          MADISONVILLE, TX 77864




BEARD, JOHN                             BEATHARD INSURANCE                         BEATTY-BANGLE-STRAMA
3810 WINTERBERRY RD                     3502 W DAVIS STE 100                       400 WEST 15TH STREET SUITE 1450
CUMMING, GA 30040                       CONROE, TX 77304                           AUSTIN, TX 78701




BEAUXIS, MARY HELENA                    BEAVERS, SARAH                             BECKHAM & JONES CO
1407 SYCAMORE LEAF WAY                                                             PO BOX 598
CONROE, TX 77301                                                                   HUNTSVILLE, TX 77340




BECKHAM & JONES CO                      BECKMAN COULTER INC                        BECKMAN COULTER INC
PO BOX 598                              250 SOUTH KRAEMER BLVD                     DIAGNOSTICS DIVISION HEADQUARTERS
HUNTSVILLE, TX 77342                    PO BOX 8000                                250 S KRAEMER BLVD
                                        BREA, CA 92822-8000                        BREA, CA 92821-4232




BECKMAN COULTER INC                     BECKNAL, STEPHANIE                         BECKY I POTHIER
PO BOX 3100                             1723 TIMS LN                               [ADDRESS REDACTED]
FULLERTON, CA 92834-3100                CONROE, TX 77301
BECKY L CORBIN   Case      19-36300 Document  1 Filed&inCOMPANY
                                      BECTON DICKINSON   TXSB on 11/11/19 BECTON
                                                                            PageDICKINSON-VISITEC
                                                                                 39 of 240        PRODUCTS
[ADDRESS REDACTED]                       ONE BECTON DRIVE                   7575 COMMERCE COURT
                                         FRANKLIN LAKES, NJ 07417           SARASOTA, FL 34243




BEEKLEY CORPORATION                      BEHAVIORAL HEALTH CONNECTION       BEKINS VAN LINES
ONE PRESTIGE LANE                        6500 HORNWOOD DR                   PO BOX 809300
BRISTOL, CT 06010                        HOUSTON, TX 77074                  CHICAGO, IL 60680-9300




BEL USA LLC                              BELL ATLANTIC MOBILE SYSTEMS LLC   BELL MEDICAL, INC
12610 NW 115 AVE                         ONE VERIZON WAY                    1728 MACKLIND AVE
MEDLEY, FL 33178                         BASKING RIDGE, NJ 07920            ST LOUIS, MO 63110




BELL, ANDREA                             BELL, ELLEN                        BELLEW, RICK
PO BOX 223                               PO BOX 217                         HUNTSVILLE, TX 77340
NEW WAVERLY, TX 77358                    DHARRIS, TX 78850




BELLS SELECT                             BELLUR, SHASHI DR                  BELLUR, SHASHIKUMAR
109 DENSON DRIVE                         3100 I-45                          23 CHANCERY PLACE
AUSTIN, TX 78752                         HUNTSVILLE, TX 77340               THE WOODLANDS, TX 77381




BENAY DENISE BRANNON                     BENEFIT SEMINARS PLUS              BENHARDT ELMER
[ADDRESS REDACTED]                       4321 VALLEY RIDGE ROAD
                                         DALLAS, TX 75220




BENJAMIN R. ARCHER PH.D.                 BENNETT, JOAN                      BENNETT, SCOTT
1627 WESTSHORE DR.                       1300 SO FRAZIER 315                1220 11TH ST
HOUSTON, TX 77094-3301                   CONROE, TX 77301                   HUNTSVILLE, TX 77340




BENTWATER YACHT &COUNTRY CLUB LTD        BERGEN BRUNSWIG CORP               BERGER TRANSFER & STORAGE
800 BENTWATER DRIVE                      12727 WEST AIRPORT BLVC            PO BOX 1450
MONTGOMERY, TX 77356                     SUGARLAND, TX 77478-2550           MINNEAPOLIS, MN 55485-7215




BERGSTROM FEDERAL                        BERKELEY EYE CENTER                BERNARD M. WEINTRAUB
PO BOX 1648                              22741 PROFESSIONAL DRIVE           18503 CABANISS CIRCLE
AUSTIN, TX 78767                         KINGWOOD, TX 77339                 SPRING, TX 77379




BERRY, BRENNAN                           BERRY, PATTY ANN                   BERRYMAN,JESSICA D.
1259 FISH HATCHERY                       [ADDRESS REDACTED]                 [ADDRESS REDACTED]
HUNTSVILLE, TX 77320
                   Case
BEST CHOICE ANES AND  PAIN 19-36300
                           SVC, PLLC   Document   1 PRODUCTS,
                                         BEST PRICED Filed in TXSB
                                                               INC on 11/11/19 BEST
                                                                                 Page  40 ofSUPPLY
                                                                                    UNIFORM  240 CO
PO BOX 3856                               PO BOX 1174                         PO BOX 21165
HOUSTON, TX 77253-3856                    WHITE PLAINS, NY 10602              HOUSTON, TX 77226-1165




BESTIT.COM                                BETA TECHNOLOGY INC                 BETH ANN CRIPPE
3724 N 3RD STREET                         PO BOX 218686                       101 W MAIN
PHOENIX, AZ 85012                         HOUSTON, TX 77218-8686              NACOGDOCHES, TX 75961




BETH R TRUMBLY                            BETHANE MACKEY                      BETHANY BOSWORTH
[ADDRESS REDACTED]                        [ADDRESS REDACTED]                  [ADDRESS REDACTED]




BETHANY G. LEDEZMA                        BETSY ROSS FLAG GIRLS               BETTER BUSINESS BUREAU
[ADDRESS REDACTED]                        11005 GARLAND RD.                   3033 WILSON BLVD, STE 600
                                          DALLAS, TX 75218                    ARLINGTON, VA 22201




BETTER FIRE PROTECTION, LLC               BETTER LIFE                         BETTY J MARSHALL
4242 KOPPE BRIDGE ROAD                    PO BOX 1280                         [ADDRESS REDACTED]
COLLEGE STATION, TX 77845                 SOMERSET, KY 42502-1280




BETTY J TROTTER                           BETTY PETTY                         BEVERLY DIANNE ROUNDTREE
[ADDRESS REDACTED]                        [ADDRESS REDACTED]                  [ADDRESS REDACTED]




BFI WASTE SERVICES OF TX, LP              BFJ CONSTRUCTION INC                BG MEDICAL LLC
8101 E LITTLE YORK RD                     930 14TH STREET NORTH               101 S. HOUGH ST 64
HOUSTON, TX 77016-2499                    TEXAS CITY, TX 77590                BARRINGTON, IL 60010




BGW DATA SYSTEMS, LLC                     BH MEDIA GROUP HOLDINGS, INC.       BHARTI RACHNA MD
233 RUSTIC OAKS DRIVE                     PO BOX 3000                         3004 SHELBY ST
BRYAN, TX 77808                           BRYAN, TX 77805                     APT 307
                                                                              BRISTOL, TN 37620




BHARTIA, ADITYA KUMAR                     BIASON, PAULO                       BICE NOLEY
109 CROWN RIDGE DR                        HUNTSVILLE, TX 77340
SELMA, AL 36701




BICKNELL, JIMMIE                          BIEGALSKI, PATRICK J.               BIEGALSKI,MELANIE BATCHELOR
HUNTSVILLE, TX 77340                      [ADDRESS REDACTED]                  [ADDRESS REDACTED]
BIGHORN BIOMEDICALCase   19-36300
                   SERVICES INC     Document     1 Filed in TXSB on 11/11/19 BILL
                                      BILICKI, LARRY                           Page   41INSURANCE
                                                                                  BEATTY of 240 AGENCY
PO BOX 762                             [ADDRESS REDACTED]                   13140 COIT RD 310
SUNDANCE, WY 82729                                                          DALLAS, TX 75240




BILL CANNON SERVICES, INC              BILLY J READ                         BILSING, KAREN
PO BOX 1983                            [ADDRESS REDACTED]                   HUNTSVILLE, TX
BRADENTON, FL 34206




BIMBO BAKERIES                         BIMECO                               BINARY MEDICAL INC
PO BOX 60                              SUITE A                              9950 CYPRESSWOOD DRIVE, STE 200
SAN ANTONIO, TX 78291                  PEACHTREE CITY, GA 32069             HOUSTON, TX 77070




BINAX                                  BIOCHEMICAL DIAGNOSTICS              BIODEX MEDICAL SYSTEMS
95 DARLING AVAE                        180 HEARTLAND BLVD                   20 RAMSAY ROAD
SOUTH PORTLAND, ME 04106               EDGEWOOD, NY 11717                   SHIRLEY, NY 11967




BIOGENEX LABORATORIES                  BIOLOGICAL CONTROLS                  BIOLOGIX SERVICE CORP
4600 NORRIS CANYON RD                  749 HOPE ROAD                        8503 MID-COUNTY INDUSTRIAL DRIVE
SAW RAMON, CA 94583                    SUITE A                              ST LOUIS, MO 63114
                                       EATONTOWN, NJ 07724




BIOMEDICAL ENTERPRISES INC             BIOMERIEUX VITEX INC                 BIOMET MICROFIXATION INC
14785 OMICRON DR STE 205               595 ANGLUM DR                        1520 TRADEPORT DRIVE
SAN ANTONIO, TX 78245-3223             HAZELWOOD, MO 63042                  JACKSONVILLE, FL 32218-2480




BIOMET                                 BIONIC SYSTEMS                       BIO-RAD LABORATORIES INC
PO BOX 902                             675 HILLCREST PLAZA DR 320           4000 ALFRED NOBEL DR
SOUTH BEND, IN 46634                   DALLAS, TX 75230                     HERCULES, CA 94547




BIO-RAD LABORATORIES                   BIOSAFETY SYSTEMS INC                BIOSITE
4000 ALFRED NOBEL DR                   PO BOX 261108                        11030 ROSELLE ST
HERCULES, CA 94547                     SAN DIEGO, CA 92196                  SAN DIEGO, CA 92121




BIOSTAR INC                            BIOTRONIC NATIONAL, LLC              BIOTRONIK INC
6655 LOOKOUT ROAD                      812 AVIS DRIVE                       6024 JEAN ROAD
BOULDER, CO 80301-3371                 ANN ARBOR, MI 48108                  LAKE OSWEGO, OR 97035




BIOVENTUS LLC                          BIRCH COMMUNICATIONS INC             BIRDWELL, REBECCA
PO BOX 732823                          140 GATEWAY DRIVE
DALLAS, TX 75373-2823                  MACON, GA 31210
                   Case
BIRTHER MEDICAL SYSTEMS      19-36300 Document
                                        BISERKA L1TSENKOVA
                                                    Filed in TXSB on 11/11/19 BISHOP
                                                                                PageSIGN
                                                                                      42 CONSULTANTS,
                                                                                         of 240       LP
DEPT 61371                                 [ADDRESS REDACTED]                    10661 HADDINGTON DRIVE SUITE 160
EL MONTE, CA 91735                                                               HOUSTON, TX 77043




BISHOP, SAMMY                              BISHOP,WHITNEY LAUREN                 BISONOFFICE LLC
                                           2317 PERKINS CROSSING DR              1659 W HUBBARD ST.
                                           CONROE, TX 77304                      CHICAGO, IL 60622




BIVONA, INC                                BKD, LLP                              BKD, LLP
5700 W 23RD AVE                            2800 POST OAK BOULEVARD, SUITE 3200   2800 POST OAK BOULEVARD, SUITE 3200
GARY, IN 46406                             HOUSTON, TX 77056                     HOUSTON, TX 77056-6167




BLACK BOX CORPORATION OF                   BLACK BOX RESALE SERVICES             BLACK, CHERI
1000 PARK DRIVE                            SDS 12-0976                           TX
LAWRENCE, PA 15055                         PO BOX 86
                                           MINNEAPOLIS, MN 55486-0976




BLACKSTONE MEDICAL INC                     BLAIR, RHONDA                         BLAIS, HEATHER E.
PO BOX 842452                              207 OBANNON DR.                       [ADDRESS REDACTED]
DALLAS, TX 75284-2452                      HUNTSVILLE, TX 77320




BLANCHARD & LOEB PUBLISHERS                BLESSED S SIALUBALA                   BLESSING ONYERI
PO BOX 2485                                [ADDRESS REDACTED]                    [ADDRESS REDACTED]
SECAUCUS, NJ 07096-2485




BLICKMAN, INC                              BLINN COLLEGE WORKFORCE EDUCATION     BLOOD DIAGNOSTICS, INC
500 US HWY, 46 E                           PO BOX 6030                           PO BOX 403670
CLIFTON, NJ 07011                          BRYAN, TX 77805                       ATLANTA, GA 30384-3670




BLUE BELL CREAMERIES, L.P.                 BLUE CHIP BUSINESS EQUIP              BLUE CROSS BLUE SHIELD OF TEXAS
PO BOX 973601                              214 N LOOP 336 E                      1800 WEST LOOP SOUTH, SUITE 600
DALLAS, TX 75397-3601                      CONROE, TX 77301                      HOUSTON, TX 77027




BLUE CROSS BLUE SHIELD                     BLUE JAY CONSULTING, LLC              BOARD OF NURSING
PO BOX 3283                                200 SOUTH ORANGE AVENUE               333 GUADALUPE STE 3-460
TULSA, OK 74102-3283                       SUITE 2160                            AUSTIN, TX 78701
                                           ORLANDO, FL 32801




BOB BOWMAN & ASSOCIATES                    BOB SMITH CORPORATION                 BOB TROUTT ENTERPRISES, INC
PO BOX 1647                                PO BOX 4206                           11419 MATHIS AVE, SUITE 208
LUFKIN, TX 75901                           BRYAN, TX 77805                       DALLAS, TX 75234
                  Case 19-36300
BOBBY MCADAMS, SAVANNAH   MCADAMS,   Document
                                       BOBETTE 1   Filed in TXSB on 11/11/19 BOBRUK,
                                               L MAYRANT                      Page TONI
                                                                                     43 of 240
C/O NAMAN HOWELL, SMITH & LEE PLLC      [ADDRESS REDACTED]                   2002 AVE O
PO BOX 1470                                                                  HUNTSVILLE, TX 77340
WACO, TX 76703




BOCHAIN, ASHLEY                         BOCKHORN, SUSAN                      BODINE, DONNA K
[ADDRESS REDACTED]                      [ADDRESS REDACTED]                   227 CR 3880
                                                                             CLEVELAND, TX 77328




BOEHRING INGELHEIM                      BOEHRINGER LABORATORIES              BOEHRINGER MANNHEIM
PO BOX 74662                            500 EAST WASHINGTON ST               9115 HAGUE ROAD
CHICAGO, IL 60675-4662                  NORRISTOWN, PA 19401                 INDIANAPOLIS, IN 60675




BONAVENTURA, TARA N                     BONDS,SUE                            BONNIE C MOUTON
[ADDRESS REDACTED]                      [ADDRESS REDACTED]                   [ADDRESS REDACTED]




BONNIE J. HEBERT                        BOOKS ARE FUN                        BOON CHAPMAN - AETNA (PPO) 118066
[ADDRESS REDACTED]                      1680 HWY 1 NORTH                     PO BOX 9201
                                        P O BOX 2468                         AUSTIN, TX 78766
                                        FAIRFIELD, IA 52556




BOON CHAPMAN BENEFIT                    BOON-CHAPMAN BENEFIT ADMINSTRATORS   BOOT HEEL PRINTING
ADMINISTRATORS 2448                     PO BOX 9201                          601 GOLIAD
PO BOX 9201                             AUSTIN, TX 78766                     CROCKETT, TX 75835
AUSTIN, TX 78766




BOOTH MELISSA                           BOOTH PUBLICATIONS INC               BOSTON MUTUAL
                                        1217 SEMINOLE AVENUE                 120 ROYAL ST
                                        WEST ST. PAUL, MN 55118              CANTON, MA 02021




BOSTON SCIENTIFIC CORPORATION           BOSTON SCIENTIFIC CORPORATION        BOSTON SOFTWARE SYSTEMS, INC.
300 BOSTON SCIENTIFIC WAY               ONE BOSTON SCIENTIFIC PLACE          470 ATLANTIC AVENUE-4TH FLOOR
MARLBOROUGH, MA 01752-1234              NATICK, MA 01760-1537                BOSTON, MA 02210




BOTARD, HOLLY                           BOUDOIN, ERIC                        BOULLION, RENELLA
640 ELKINS LAKE                         8727 PINT PARK DR. 232               674 MAY DR.
HUNTSVILLE, TX 77340                    HOUSTON, TX 77095                    ONALASKA, TX 77360




BOUND TREE MEDICAL LLC                  BOWLES, PATTY                        BOWLING W T
PO BOX 8023                             946 ELKINS LAKE                      700 FR 247
DUBLIN, OH 43016                        HUNTSVILLE, TX 77340                 HUNTSVILLE, TX 77320
                    Case 19-36300
BOXER COMMERCIAL FLOORS,  LLC        Document
                                       BOXWOOD1TECHNOLOGY
                                                 Filed in TXSB
                                                           INC. on 11/11/19 BOYD,
                                                                             Page   44 of 240
                                                                                  BRANDON
PO BOX 514                              11350 MCCORMICK RD., SUITE 101       1220 11TH ST
NEEDVILLE, TX 77461                     HUNT VALLEY, MD 21031                HUNTSVILLE, TX 77340




BOYDS ENVIRONMENTAL SERVICES            BOYLE JR., LAWRENCE                  BOYLE, LARRY M.D.
115 BATH RD                             PO BOX 7544                          PO BOX 1557
HUNTSVILLE, TX 77340                    HUNTSVILLE, TX 77342                 HUNTSVILLE, TX 77342-1557




BOYS & GIRLS CLUB OF WALKER COUNTY      BPH SOLUTIONS LTD                    BRACCO DIAGNOSTIC INC
PO BOX 8600                             3106 SILVER SPRING COURT             PO BOX 101747
HUNTSVILLE, TX 77340                    MISSOURI CITY, TX 77459              ATLANTA, GA 30392-1747




BRACCO DIAGNOSTIC INC.                  BRAD LIVINGSTON                      BRADLEY HENSLEY
PO BOX 978952                           [ADDRESS REDACTED]                   [ADDRESS REDACTED]
DALLAS, TX 75397-8952




BRADY HULL ASSOCIATES                   BRAHMI, NAOUFEL                      BRANDEDITEMS, INC
26411 I-45 NORTH                        [ADDRESS REDACTED]                   3002 DOW AVENUE 222
THE WOODLANDS, TX 77380                                                      TUSTIN, CA 92780




BRANDI A CARTER                         BRANDI DEA DAVIS                     BRANDI J STEVENS
[ADDRESS REDACTED]                      [ADDRESS REDACTED]                   [ADDRESS REDACTED]




BRANDIE ALLENE HANKINS                  BRANDON STEINKUEHLER                 BRANDON W PETERS
[ADDRESS REDACTED]                      [ADDRESS REDACTED]                   [ADDRESS REDACTED]




BRANDY C MESSER                         BRANDY ROBINSON                      BRAUN, HAYDEN
[ADDRESS REDACTED]                      [ADDRESS REDACTED]                   111 SUMMIT DRIVE
                                                                             CONROE, TX 77303




BRAZOS RECORDS STORAGE                  BRAZOS VALLEY ORAL & MAXILLOFACIAL   BREANNA MARIE LEWIS
PO BOX 9148                             1605 EMERALD PLAZA                   [ADDRESS REDACTED]
COLLEGE STATION, TX 77842-9148          COLLEGE STATION, TX 77845




BREANNE KELSEY MATHESON                 BREG, INC.                           BREG, INC.
[ADDRESS REDACTED]                      2611 COMMERCE WAY                    2611 COMMERCE WAY
                                        VISTA, CA 92081                      VISTA, CA 92083
BREIER, STEPHANIE     Case 19-36300 Document  1 Filed in TXSB on 11/11/19 BRENDA
                                      BRENDA BALL                           PageF.45 of 240
                                                                                   WADE
                                         [ADDRESS REDACTED]                [ADDRESS REDACTED]




BRENDA J WILEY                           BRENDA K CALLAHAN                 BRENDA KAYE HESS
[ADDRESS REDACTED]                       [ADDRESS REDACTED]                [ADDRESS REDACTED]




BRENDA L FULGHAM                         BRENDA RAY                        BRENNAN, CYNTHIA
[ADDRESS REDACTED]                       [ADDRESS REDACTED]                249 ELKINS LAKE
                                                                           HUNTSVILLE, TX 77340




BRENT REED BROXTON                       BRENTLEY D LELAND                 BRETT A EDMONDS
1101 BAYOU BEND DRIVE                    [ADDRESS REDACTED]                [ADDRESS REDACTED]
DEER PARK, TX 77536




BRETT HANNA                              BREVIS CORPORATION                BRIAN D GOLDGAR
PO BOX 2177                              225 WEST 2855 SOUTH               [ADDRESS REDACTED]
TRINITY, TX 75862                        SALT LAKE CITY, UT 84115




BRIAN ELVIN COMMERCIAL ENTERPRISES       BRIAN GOODSON                     BRIAN UECKER
2828 WOLVERTON ST                        2429 SAM HOUSTON AVE.             4734 CAPITAL ST
HUNTSVILLE, TX 77340                     HUNTSVILLE, TX 77340              RAPID CITY, SD 57702




BRICKER, KIMBERLY                        BRIDGES, DIANE                    BRIDGES, WELDON B
PO BOX 118                               WILLIS, TX                        CHILD SUPPORT DIV
LEXINGTON, TX 78947                                                        P O BOX 2985
                                                                           CONROE, TX 77305




BRIDGET MARIE KWIATKOWSKI                BRIDGETT R JOHNSON                BRIGGS CORPORATION
[ADDRESS REDACTED]                       [ADDRESS REDACTED]                4900 UNIVERSITY SUITE 200
                                                                           WEST DES MOINES, IA 50266




BRIGGS MEDICAL SERVICES COMPANY          BRIGHT MARKET LLC                 BRIN & BRIN P.C.
4900 UNIVERSITY SUITE 200                801 GARDEN ST, SUITE 201          10999 IH 10 W STE 800
WEST DES MOINES, IA 50266                SANTA BARBARA, CA 93101           SAN ANTONIO, TX 78230




BRINEGAR, DONNA                          BRINKLEY ALLEN                    BRISTOL MYERS SQUIBB CO
112 MAGNOLIA WAY                         121 GOLF CREST COVE               PO BOX 951258
HUNTSVILLE, TX 77320                     LAKEWAY, TX 78734                 DALLAS, TX 75395-1258
                    Case
BRITE VISUAL PRODUCTS, INC.19-36300   Document
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                                                  WYNETTE                       Page ANJELICA
                                                                                       46 of 240
                                                                                               BUCKLES
270 CENTRE ST. UNIT F                    3241 MAJESTIC DRIVE                   [ADDRESS REDACTED]
HOLBROOK, MA 02343                       HUNTSVILLE, TX 77340




BRITTANI N TATE                          BRITTANY ALYSSE HOWARD                BRITTANY E BARNARD
[ADDRESS REDACTED]                       [ADDRESS REDACTED]                    [ADDRESS REDACTED]




BRITTANY ELAINE HOOPER                   BRITTANY ELAM                         BRITTANY MACHELE BUHLER
[ADDRESS REDACTED]                       [ADDRESS REDACTED]                    [ADDRESS REDACTED]




BRITTANY N PUCKETT                       BRITTANY NICOLE KENNEDY               BROADLEAF ANTERO GROUP, LLC
[ADDRESS REDACTED]                       [ADDRESS REDACTED]                    13100 WORTHAM CENTER DRIVE, STE 150
                                                                               HOUSTON, TX 77065




BROADLEAF IT, LLC                        BROCK DODSWORTH                       BRODERBUND STORE
13100 WORTHHAM CENTER DRIVE,             HUNTSVILLE, TX 77340                  384 BEL MARIN KEYS BLVD, STE 150
SUITE 150                                                                      NOVATO, CA 94949
HOUSTON, TX 77065-5633




BROKEN ARROW PEST CONTROL LLC            BROOKLYNN DOREE DEKORT                BROOKS MONITA
PO BOX 115                               [ADDRESS REDACTED]
LIVINGSTON, TX 77351




BROOKS, DANELL                           BROOKWAY HORTICULTURAL SERVICES       BROSH,AMANDA
1025 W CHURCH ST108                      7935 FAIRBANKS WHITE OAK ROAD         14879 COUNTY LINE RD
LIVINGSTON, TX 77351                     HOUSTON, TX 77040                     WILLIS, TX 77378




BROTHER INTERNATIONAL                    BROTHERS CLEANING SPECIALIST          BROUGHTON PHARMACEUTICALS, LLC
PO BOX 341332                            3828 W. DAVIS                         413 WEST MONTGOMERY CROSSROAD
BARTLETT, TN 38184                       CONROE, TX 77304                      UNIT 204
                                                                               SAVANNAH, GA 31406




BROWDER, KENDRA                          BROWN & FORTUNATO PC                  BROWN INDUSTRIES INC.
HUNTSVILLE, TX 77340                     PO BOX 9418                           101 SOUTH CHESTER ROAD
                                         AMARILLO, TX 79105                    SWARTGNIRE, PA 19081-1998




BROWN JEFF                               BROWN, DANIEL                         BROWN, ELIZABETH
13702 BLUEBONNET LANE                    1220 11TH STREET                      PO BOX 433
IOLA, TX 77861                           HUNTSVILLE, TX 77340                  POINT BLANK, TX 77364
BROWN, GEORGE     Case   19-36300 Document  1 Filed in TXSB on 11/11/19 BROWN,
                                    BROWN, LACY                           PageMICHELLE
                                                                               47 of 240
PO BOX 441                                                               [ADDRESS REDACTED]
NEW WAVERLY, TX 77358




BROWN, SHANNON                        BROWN, TAMIKIIA A                  BROWN, TERRY
                                      [ADDRESS REDACTED]                 42 WATERWOOD
                                                                         HUNTSVILLE, TX 77320




BROWNE, ELIZABETH ANNE                BROWNELL, KRISTY                   BROWNING DANIEL
PO BOX 8536                           1353 B FM 980                      6911 ROXBURY CT
HUNTSVILLE, TX 77340                  HUNTSVILLE, TX 77320               GERMANTOWN, TN 38138




BROWNING KAREN                        BROWNING, KAREN S.                 BROXSON HARDWARE & CONSTRUCTION
1235 JOSEY APT 123                    [ADDRESS REDACTED]                 PO BOX 190
HUNTSVILLE, TX 77340                                                     LOVELADY, TX 75851




BRUENING, TREBIE                      BRUMLEY, MARISA                    BRUNING M.D., KARLA
HUNTSVILLE, TX 77340                  HUNTSVILLE, TX                     409 WEST FEAGIN
                                                                         LIVINGSTON, TX 77351




BRYAN COLLEGE STATION EAGLE           BRYAN CORPORATION                  BRYAN CROSSIN
1729 BRIARCREST                       4 PLYMPTON STREET                  145 GRAY DRIVE
BRYAN, TX 77805                       WOBURN, MA 01801                   LIVINGSTON, TX 77351




BRYAN JON RODARTE                     BRYAN RADIOLOGY ASSOC              BRYAN RADIOLOGY ASSOCIATES
[ADDRESS REDACTED]                    PO BOX 5306                        PO BOX 5306
                                      BRYAN, TX 77805                    BRYAN, TX 77805




BRYANT, KENNETH MD                    BSN MEDICAL INC                    BUCHANAN,TERRY LYN
6301 ALMEDA ROAD 148                  2500 DISTRIBUTION ST               PO BOX 266
HOUSTON, TX 77021                     CHARLOTTE, NC 28203                SHEPHERD, TX 77371




BUCK, PAMELA                          BUD GRIFFIN CUSTOMER SUPPORT INC   BUDGET NOTARY BONDING AGENCY
142 ELKINS LAKE DRIVE                 5010 TERMINAL                      PO BOX 140046
HUNTSVILLE, TX 77340                  BELLAIRE, TX 77401                 AUSTIN, TX 78714




BUDGET RENTAL                         BUFFALO FILTER                     BUFFALO PRESS
915 EAST DAVIS STREET                 5900 GENESEE STREET                PO BOX H
CONROE, TX 77301                      LANCASTER, NY 14086                BUFFALO, TX 75831
BUHLER, BRITTANY   Case 19-36300 Document  1 Filed
                                   BUIE PLUMBING LLC in TXSB on 11/11/19 BUIE,
                                                                           Page   48 ofM.240
                                                                               SHANNON
19A FRIZZEL RD                         109 EAST ABBEX                      [ADDRESS REDACTED]
MIDWAY, TX 75852                       LIVINGSTON, TX 77351




BUILD A SIGN LLC                       BULKIN, ANATOLY J. MD               BULL PUBLISHING COMPANY
11525-A STONEHOLLOW DRIVE, STE 100     7676 PHOENIX DRIVE, APT. 1305       PO BOX 1377
AUSTION, TX 78758                      HOUSTON, TX 77030                   BOULDER, CO 80306




BURDINE, LATASHA                       BURKHARDT, DEBORAH                  BURNETT COMPANIES CONSOLIDATED INC
108 BOOKER RD                          368 COUNTY RD. 33661                9800 RICHMOND AVE SUITE 800
HUNTSVILLE, TX 77320                   CROCKETT, TX 75835                  HOUSTON, TX 77042




BURNETTE, ANGELA                       BURTON MEDICAL                      BUSINESS FLOORING SPECIALTIST
HUNTSVILLE, TX 77340                   2300 W WINDSOR COURT, STE C         1234 N POST OAK RD SUITE 190
                                       ADDISON, IL 60101                   HOUSTON, TX 77055




BUSINESS RADIO LICENSING               BUSINESS WHITE PAGES, INC.          BUSSEY, ANNETTE
30251 GOLDEN LANTERN                   6119 GEENVILLE 435                  111 ROMALLEN DRIVE
SUITE E 501                            DALLAS, TX 75206                    PALESTINE, TX 75801
LAGUNA NIGUEL, CA 92677-5993




BUTAUD, HEATHER                        BUTCHER, DEMETRIA                   BUTLER, KIRBY
HUNTSVILLE, TX                         HUNTSVILLE, TX 77340                1005 FROSTWOOD DR.
                                                                           HUNTSVILLE, TX 77340




BV&K DIRECT                            BVPO                                BYRD, JACQUELINE
250 W COVENTRY CT                      2700 EARL RUDDER FWY SOUTH          HUNTSVILLE, TX 77340
MILWAUKEE, WI 53217                    STE 5100
                                       COLLEGE STATION, TX 77845




BYRD,KEVIN                             C & A INDUSTRIES INC                C & C DELIVERY SERVICE
232 WEST WILLWOOD DRIVE                13609 CALIFORNIA ST.                3010 STATE HWY 19
WILLIS, TX 77378                       OMAHA, NE 68154-5260                HUNTSVILLE, TX 77320




C &J FIRE SAFETY                       C P ELECTRONICS                     C R BARD INC
1612 SYCAMORE                          6024 S SAM HOUSTON 75 S             100 CROSSINGS BLVD
HUNTSVILLE, TX 77340                   HUNTSVILLE, TX 77340                WARWICK, RI 02886




C R BARD INC                           C R BARD INC                        C&H DISTRIBUTORS, LLC
PO BOX 1740                            PO BOX 920008                       770 SOUTH 70TH STREET
TEMPE, AZ 85280-1740                   ATLANTA, GA 30392                   PO BOX 14770
                                                                           MILWAULEE, WI 53214
C&R MEDICAL        Case 19-36300      Document
                                        C.N.A. 1 Filed in TXSB on 11/11/19 C.N.A.
                                                                             Page 49 of 240
CARDIOLOGY                               151 N FRANKLIN ST                    500 COLONIAL CENTER PKWY
3200 CORTE MALPASO SUITE 101             CHICAGO, IL 60606                    LAKE MARY, FL 32746
CAMARILLO, CA 93012




C.W. HENDERSON ELECTRIC, INC             CABELSTOGO                           CABLE ADNET
PO BOX 91051                             3555 KETTERING BLVD                  11550 FUQUA 2ND FLOOR
HOUSTON, TX 77291                        MORAINE, OH 45439                    HOUSTON, TX 77034




CABLE CONNECTOR WAREHOUSE INC            CABLE TECHNICS HOUSTON               CABLE X-PERTS, INC
8758 CLAY ROAD, SUITE 430                PO BOX 22762                         540 ZENITH DRIVE
HOUSTON, TX 77080                        HOUSTON, TX 77227-2762               GLENVIEW, IL 60025




CABLES PLUS, LLC                         CABLETIME                            CABOT
8504 GLAZEBROOKE AVE                     100 VALLEY RD                        2021 CABOT BLVD WEST
RICHMOND, VA 23228                       MT ARLINGTON, NJ 07856               LANGHORNE, PA 19047




CADENA, MICHAEL D.O.                     CADENA, MICHAEL EDWARD DO            CADEX
1119 LOVERS LANE                         260 IH-45 SOUTH STE C                22000 FRASERWOOD WAY
ARLINGTON, TX 76013                      HUNTSVILLE, TX 77340                 RICHMOND, BC V6W1J6
                                                                              CANADA




CADMET                                   CAGLE, SHERLINA                      CAITLIN M KOWIS
PO BOX 24                                133 WOODFARM ESTATES RED             [ADDRESS REDACTED]
MALVERN, PA 19355                        HUNTSVILLE, TX 77320




CALAME LINEBARGER GRAHAM & PENA LLP      CALANDRA LOUIS BROWN                 CALENCE LLC
PO BOX 17608                             [ADDRESS REDACTED]                   SUITE 350A
AUSTIN, TX 78760                                                              SUGARLAND, TX 77478




CALIFORNIA FIRST NATIONAL BANK           CALIFORNIA STATE DISBURSEMENT UNIT   CALIFORNIA STATE DISBURSEMENT UNIT
18201 VON KARMAN AVE, 8TH FLOOR          PO BOX 989067                        PO BOX 989067
IRVINE, CA 92612                         WEST SACRAMENTO, CA 95798-9067       WEST SACREMENTO, CA 95798-9067




CALL SCHEDULER                           CALLAHAN,BRENDA                      CALZADO-KNUDSON ALMA
PO BOX 2116                              115 BRIAR LANE                       1059 RODEO QUEEN DRIVE
ST. CLOUD, MN 56302-2116                 CROCKETT, TX 75835                   FALLBROOK, CA 92028




CALZADO-KNUDSON, ALMA MI G.              CAMBRIDGE INTEGRATED SERVICES        CAMP ALLEN
PO BOX 8381                              33696 TREASURY CENTER                18800 FM 362
HUNTSVILLE, TX 77340                     CHICAGO, IL 60694-3600               NAVASOTA, TX 77868
CAMPOS, TRACY      Case 19-36300 Document
                                   CANADIAN1ASSOCIATION
                                              Filed in TXSB
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                                                                         Page PATRICK
                                                                                50 of 240
11 BARONS PL                          34 COLONNADE RD, SUITE 100         15593 CORINTHIAN WAY
CONROE, TX 77304                      OTTAWA, ON K2E 7J6                 WILLIS, TX 77318
                                      CANADA




CANDACE ARNELL WEST                   CANDACE L SCOTT                    CANDACE RENEE HINKLE
[ADDRESS REDACTED]                    [ADDRESS REDACTED]                 [ADDRESS REDACTED]




CANDI KANELLE ASHFORD                 CANDIDA ZAMORA-CASTRO              CANDY D SMITH
[ADDRESS REDACTED]                    [ADDRESS REDACTED]                 [ADDRESS REDACTED]




CANFIELDS OMS PRODUCTS                CANO, JOE                          CANTRELL DRUG COMPANY
4221 VALLEY VIEW RD                   56 CHANDLER RD                     7321 CANTRELL ROAD
EDNA, MN 55112-5798                   HUNTSVILLE, TX 77320               LITTLE ROCK, AR 72207




CAPITAL GRAPHIC, INC                  CAPITAL GRAPHICS                   CAPITAL INVENTORY,INC.
PO BOX 149                            PO BOX 149                         PO BOX 1081
HUTTO, TX 78634-0149                  HUTTON, TX 78634                   WOODSTOCK, GA 30188




CAPITAL PHYSICIAN MANAGEMENT SVE LP   CAPITOL INFORMATION GROUP, INC     CAPPARELLI, JESSICA
4413 SPICEWOOD SPRINGS RD, STE 200    7600A LEESBURG PIKE WEST 300       12403 BRIGHTWOOD DR
AUSTIN, TX 78759                      FALLS CHURCH, VA 22043             MONTGOMERY, TX 77356




CAPRISHA R MCADAMS                    CARAN H EDMONDS                    CARBON MEDICAL TECHNOLOGIES
[ADDRESS REDACTED]                    [ADDRESS REDACTED]                 1290 HAMMOND ROAD
                                                                         SAINT PAUL, MN 55110




CARBONS GOLDEN MALTED                 CARD AND PARTY FACTORY             CARDIAC PACEMAKERS, INC
PO BOX 71                             1530 11TH STREET                   4100 HAMLINE AVE NORTH
BUCHANAN, MI 49107                    HUNTSVILLE, TX 77340               ST PAUL, MN 55424




CARDIAC SCIENCE                       CARDINAL HEALTH - HOUSTON          CARDINAL HEALTH 110 LLC, AS AGENT
3303 MONTE VILLA PARKWAY              7052 GRAND BLVD                    7000 CARDINAL PLACE
BOTHELL, WA 98021-8906                HOUSTON, TX 77054                  DUBLIN, OH 43017




CARDINAL HEALTH 411, INC              CARDINAL HEALTH 411, INC.          CARDINAL HEALTH SPECIALTY
13651 DUBLIN CT                       700 CARDINAL PLACE                 15 INGRAM BLVD. SUITE 140
STAFFORD, TX 77477                    DUBLIN, OH 43017                   LAVERGNE, TN 37086
                  Case NETWORK
CARDINAL HEALTH STAFFING 19-36300    Document
                                       CARDINAL1HEALTH
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                                                                             PageDATA
                                                                                   51 of 240
                                                                                      SYSTEMS
1330 ENCLAVE PARKWAY                    PO BOX 95600                       PO BOX 117
HOUSTON, TX 77077                       ALBUQUERQUE, NM 87100              HADDONFIELD, NJ 08033




CARDIO MEDICAL PRODUCTS, INC            CARDIOMARK                         CARDIONET, LLC
385 FRANKLIN AVE., SUITE L              PO BOX 929                         PO BOX 417570
ROCKAWAY, NJ 07866                      SAN LUIS OBISPO, CA 93406          BOSTON, MA 02241-7570




CARDIO-VASCULAR EVALUATION SYSTEMS      CARDIOVASCULAR SYSTEMS INC         CARDON HEALTHCARE HOLDINGS, LLC
17207 WYETH CIRCLE                      651 CAMPUS DRIVE                   PO BOX 4950
SPRING, TX 77379                        ST. PAUL, MN 55112                 THE WOODLANDS, TX 77387-4950




CARE COMM INC                           CARE IMPROVEMENT PLUS              CARE LINE INC
77 4TH AVE, 5TH FL                      PO BOX 822663                      PO BOX 30585
WALTHAM, MA 02451                       PHILADELPHIA, PA 19182-2663        NASHVILLE, TN 37241-0585




CARE PROS STAFFING INC                  CAREER TRACK                       CAREERMD
PO BOX 2250                             PO BOX 219468                      PO BOX 706
NORMAN, OK 73070                        KANSAS CITY, MO 64121-9468         NEW HAVEN, CT 06503




CAREFUSION 2000 INC                     CAREFUSION 209, INC.               CAREFUSION 211 INC
25146 NETWORK PLACE                     88059 EXPEDITE WAY                 88253 EXPEDITE WAY
CHICAGO, IL 60673-1250                  CHICAGO, IL 60695-0001             CHICAGO, IL 60695-0001




CAREFUSION 2200 INC                     CAREFUSION 2200 INC                CAREFUSION SOLUTIONS, LLC
25146 NETWORK PLACE                     6851 HWY 73                        10221 WATERIDGE CIRCLE
CHICAGO, IL 60673-1250                  EVERGREEN, CO 80439                SAN DIEGO, CA 92121-1579




CAREFUSION SOLUTIONS, LLC               CAREFUSION SOLUTIONS, LLC          CARESTREAM HEALTH INC
25082 NETWORK PLACE                     TODD BELL                          150 VERONA STREET
CHICAGO, IL 60673-1250                  25082 NETWORK PL                   ROCHESTER, NY 14608
                                        CHICAGO, IL 60673-1250




CARI L GRIFFIN                          CARL ZEISS MEDITEC INC             CARLA GAIL TURNER
[ADDRESS REDACTED]                      5160 HACIENDA DRIVE                [ADDRESS REDACTED]
                                        DUBLIN, CA 94568




CARLY BROOKS                            CARMAN, RUSSELL                    CARMELITA GOODRUM
[ADDRESS REDACTED]                      6947 FOXHURST                      [ADDRESS REDACTED]
                                        HUMBLE, TX 77338
CAROL A WILLIAMS Case       19-36300 Document  1 Filed in TXSB on 11/11/19 CAROL
                                       CAROL CARRELL                        Page   52 of 240
                                                                                 E WHITE
[ADDRESS REDACTED]                       PO BOX 556                         [ADDRESS REDACTED]
                                         LIVINGSTON, TX 77351




CAROLE LEA BEAM                          CAROLYN D HAVARD                   CAROLYN F. HITTNER
[ADDRESS REDACTED]                       [ADDRESS REDACTED]                 [ADDRESS REDACTED]




CAROLYN KUCERA                           CARPENTER, DIANE                   CARPET CPR LLC
[ADDRESS REDACTED]                       112 WOODLANDS DRIVE                417 TRACE WAY
                                         HUNTSVILLE, TX 77320               MONTGOMERY, TX 77316




CARR, RIGGS & INGRAM, LLC                CARRA SIGNATURE FLORAL             CARRIE C DIGGS
PO BOX 312044                            100 PALMER LANE                    [ADDRESS REDACTED]
ENTERPRISE, AL 36331                     COLDSPRING, TX 77331




CARRIE GROSS                             CARRIE SCHEIB                      CARRIER CORPORATION
[ADDRESS REDACTED]                       [ADDRESS REDACTED]                 PO BOX 77458
                                                                            DETROIT, MI 48277




CARRIER RENTAL SYSTEMS, INC.             CARROLL, JEREMY                    CARROLL, KRISTY
444 E PALMETTO PARK ROAD SUITE 200       1220 11TH STREET                   HUNTSVILLE, TX
BOCA RATON, FL 33432-5018                HUNTSVILLE, TX 77340




CARROTHERS LTD., INC                     CARSTENS HEALTH INDUSTRIES         CARTER WALLACE INC
201 SAMPAN                               7310 W WILSON AVE                  PO BOX 1001
GALVESTON, TX 77554                      P.O. BOX 99110                     CRANBURY, NJ 08512
                                         CHICAGO, IL 60656




CARTER, JUDD MARTIN                      CARTER, KACI                       CARTER,SHARON
17050 SLOAN RD.                                                             HUNTSVILLE, TX
CONROE, TX 77306




CAS MEDICAL                              CASA OF WALKER COUNTY              CASCADE CALLWORKS INCORPORATED
44 EAST INDUSTRIAL ROAD                  PO BOX 275                         7200 NE 41ST ST.
BRANFORD, CT 06405                       HUNTSVILLE, TX 77342-0275          STE 202
                                                                            VANCOVER, WA 98662




CASE MEDICAL                             CASHRETRIEVER SYSTEMS INC          CASIDA M WYATT
65 RAILROAD AVENUE                       2 CHASE CORPORATE DR, STE 240      [ADDRESS REDACTED]
P.O. BOX 848                             HOOVER, AL 35244
RIDGEFIELD, NJ 07657
CASPERSON, TIMOTHYCase
                    C.   19-36300   Document 1 TIMOTHY
                                      CASPERSON, Filed inC.TXSB on 11/11/19 CASSIDY
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                                                                                    53 ofHAMAN
                                                                                           240
100 MEDICAL CENTER BLVD STE 216        2118 SUMMIT MIST DRIVE                [ADDRESS REDACTED]
CONROE, TX 77304                       CONROE, TX 77304




CASSY L BRIZENDINE                     CASTAY INC.                           CASTELLANO, ATHENA
[ADDRESS REDACTED]                     900 E. AIRLINE HWY                    2318 S PARK AVE
                                       LA PLACE, LA 70068                    HUNTSVILLE, TX 77340




CASTLE & COOPER USA INC.               CASTLEBERRY, ROY                      CATHELINA BOWERS
600 W. PARK RD                         3 WOODLAND HILLS                      [ADDRESS REDACTED]
REDWOOD FALLS, MN 56283                HUNTSVILLE, TX 77320




CATHERINE MCMILLAN                     CATHY A ZERNICK                       CATLIN RENE STANLEY
[ADDRESS REDACTED]                     [ADDRESS REDACTED]                    [ADDRESS REDACTED]




CATLIN UNDERWRITING AGENCY             CAUDLE, JACQUE                        CAVALIER HEALTH SERVICES LLC
2800 POST OAK BLVD, STE 4050           HUNTSVILLE, TX 77342                  5911 KINSTOWNE VILLAGE PARKWAY
HOUSTON, TX 77056                                                            SUITE 120
                                                                             ALEXANDRIA, VA 22315




CAVALIER HEALTH SERVICES LLC           CAVALIER HEALTH SERVICES LLC          CAYENNE MEDICAL, INC.
7105 OLD KATY RD APT 3101              DAVID CAVALIER, PRESIDENT             16597 NORTH 92ND STREET
HOUSTON, TX 77024                      7105 OLD KATY RD APT 3101             SCOTTSDALE, AZ 85260
                                       HOUSTON, TX 77024




CAYLA M WEBER                          CBR ASSOCIATES                        CBT NUGGETS LLC
[ADDRESS REDACTED]                     1415 BROAD STREET                     1550 VALLEY RIVER DRIVE
                                       DURHAM, NC 27705                      EUGENE, OR 97401




CC HMS TX PLLC                         CCH INCORPORATED                      CCH WOLTERS KLUWER BUSINESS
PO BOX 225154                          2700 LAKE COOK ROAD                   PO BOX 5490
DALLAS, TX 75229-5154                  RIVERWOODS, IL 60015                  CHICAGO, IL 60680-9808




CCR MEDICAL                            CDF TEXTILES, LTD                     CDW LLC
967 43RD AVENUE NE                     PO BOX 1468                           300 N. MILWAUKEE AVENUE
ST PETERSBURG, FL 33703                CONROE, TX 77350-1468                 VERNON HILLS, IL 60061




CDW LLC                                CECIL BRENDON SAMARIPA                CECILIA RIGGINS
PO BOX 75723                           [ADDRESS REDACTED]                    [ADDRESS REDACTED]
CHICAGO, IL 60675
                   Case
CEDARON MEDICAL, INC          19-36300 Document 1 THE
                                         CELEBRATE Filed in TXSB on 11/11/19 CELESTE
                                                      SEASON                  Page MARIE
                                                                                     54 of JANAK
                                                                                            240
PO BOX 2100                                 PO BOX 599                          [ADDRESS REDACTED]
DAVIS, CA 95617                             SUNMAN, IN 47041-0599




CELESTE YVONNE GELINAS                      CELLUPAGE COMMUNICATION             CELTIC LEASING CORP
[ADDRESS REDACTED]                          2748 WEST T C JESTER                4 PARK PLAZA, SUITE 300
                                            HOUSTON, TX 77018                   IRVINE, CA 92614




CELTIC LEASING CORP                         CELTIC LEASING                      CELTIC LEASING
PO BOX 87618                                BECKMAN HEMATOLOGY ANALYZERS        BECKMAN HEMATOLOGY ANALYZERS
DEPT 10295                                  4 PARK PLAZA 300                    PO BOX 87618 DEPT 10295
CHICAGO, IL 60680                           IRVING, CA 92614                    CHICAGO, IL 60680




CELTIC LEASING                              CELTIC LEASING                      CENTER FOR IMPROVEMENT IN
SIEMENS SUMBIA S SERIES CAMERA              SIEMENS SUMBIA S SERIES CAMERA      PO BOX 3620
4 PARK PLAZA 300                            PO BOX 87618 DEPT 10295             MCKINNEY, TX 75070
IRVING, CA 92614                            CHICAGO, IL 60680




CENTERPOINT ENERGY SERVICES, INC            CENTERPOINT ENERGY                  CENTERPOINT ENERGY
1111 LOUISIANA                              1111 LOUISIANA ST                   PO BOX 301149
HOUSTON, TX 77002                           HOUSTON, TX 77002                   DALLAS, TX 75303-1149




CENTERPOINT ENERGY                          CENTERPOINT ENTERGY SERVICES, INC   CENTERVILLE NEWS
PO BOX 4981                                 1111 LOUISIANA STREET               PO BOX 97
HOUSTON, TX 77210-4981                      HOUSTON, TX 77002                   CENTERVILLE, TX 75833




CENTIGRADE SERVICES INC                     CENTIMARK CORPORATION               CENTRAL FREIGHT LINES INC
11411 BEDFORD ST                            12 GRANDVIEW CIRCLE                 PO BOX 2638
HOUSTON, TX 77031-2105                      CANONSBURG, PA 15317                WACO, TX 76702




CENTRAL PRODUCTS, LLC                       CENTRAL SHARED SERVICES, LLC        CENTURION MEDICAL PRODUCTS
7750 GEORGETOWN ROAD                        155 FRANKLIN ROAD, SUITE 300        PO BOX 510
INDIANAPOLIS, IN 46278-7486                 BRENTWOOD, TN 37027                 WILLIAMSTON, MI 48895




CENTURY FIRE PROTECTION SYSTEMS LLC         CENTURY PAPERS                      CENTURYLINK
1285 N. POST OAK STE 102                    4902 GULF FREEWAY                   100 CENTURYLINK DR
HOUSTON, TX 77055                           HOUSTON, TX 77251-1908              MONROE, LA 71203




CENTURYLINK                                 CEPHEID                             CERMAK, CHRIS
PO BOX 52187                                904 CARIBBEAN DRIVE                 227 BANYAN ST
PHOENIX, AZ 85072-2187                      SUNNYDALE, CA 94089                 LAKE JACKSON, TX 77566
CERTIFIED LAB      Case      19-36300 Document
                                        CERTIFIED1MEDICAL
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                                                                               Page 55    of 240
                                                                                        MEDICAL SALES
PO BOX 2493                                107-B TEXAS AVENUE, STE F            415 GRAND VIEW DRIVE
FT WORTH, TX 76113-2493                    ROUND ROCK, TX 78664-3188            MURRIETA, CA 92562




CERVANTES, ELIDA L.                        CERVANTES, ELIDA L.                  CESAR, CLAUDIA
5400 PARK ST. N. UNIT 412                  789 ELKINS LAKE                      31 TRILLING BIRD PLACE
ST. PETERSBURG, FL 33709                   HUNTSVILLE, TX 77340                 THE WOODLANDS, TX 77384




CFDATA CORPORATION MEDICAL DIVISION        CFI MECHANICAL, INC.                 CFI MEDICAL SOLUTIONS
1330 RIVER BEND DR STE 800                 6109 BRITTMOORE ROAD                 N/K/A TIDI CFI PRODUCTS LLC
DALLAS, TX 75247                           HOUSTON, TX 77041-5610               14241 FENTON RD
                                                                                FENTON, MI 48430




CHADNEY L FERGUSON                         CHAMBER OF COMMERCE                  CHAMBERS, MICHELLE
[ADDRESS REDACTED]                         1327 11TH STREET
                                           HUNTSVILLE, TX 77340




CHAMBERS, MICHELLE DENISE                  CHAMBLEE, ALLISON P                  CHAMPVA CENTER
                                           153 HUNTERS GLEN DR.                 PO BOX 469062
                                           LUFKIN, TX 75904                     DENVER, CO 80246-9062




CHANDLER SIGNS L.P.,L.L.P.                 CHANDONNET, ANNETTE                  CHANDRASHEKARIAH,RANJU
3201 MANOR WAY                             5 LYNNE LN                           20 KESTER BLVD., APT 2B
DALLAS, TX 75235                           HUNTSVILLE, TX 77320                 EDISON, NJ 08837




CHANG, SHAO JEN MD                         CHANNELFORD ASSOCIATES, INC.         CHANNING L BETE CO INC
52 MONTEREY COURT                          2006 CHANNELFORD ROAD                200 STATE ROAD
MONTGOMERY, TX 77356                       WESTLAKE, CA 91361                   SOUTH DEERFIELD, MA 01373-0200




CHANTAL LATREASE BETTS                     CHAPIN DRUG                          CHAPMAN, LYNDA
[ADDRESS REDACTED]                         5100 EAST HUNTER AVE                 300 FOREST CENTER DR 4106
                                           ANAHEIM, CA 92807                    KINGWOOD, TX 77339




CHARINA P. GARCIA                          CHARITY P STEWART                    CHARLENE S HENDERSON
247 4TH STREET, 207                        [ADDRESS REDACTED]                   [ADDRESS REDACTED]
OAKLAND, CA 94607




CHARLES A FABIAN                           CHARLES EVERETT STRAHAN              CHARLES HENLEY, D.O.
[ADDRESS REDACTED]                         [ADDRESS REDACTED]                   [ADDRESS REDACTED]
                   Case
CHARLES RAY SIMS, MD PA 19-36300   Document
                                     CHARLES 1   Filed inJR.,
                                             W. MONDAY,   TXSB      on 11/11/19 CHARLIE
                                                              M.D.P.A.           Page COOK
                                                                                        56 of 240
100 MEDICAL CENTER BLVD STE 212       PO BOX 1920                             [ADDRESS REDACTED]
CONROE, TX 77304                      HUNTSVILLE, TX 77342-1920




CHARLIE MATSON                        CHARLOTTE ANGELA BOWERS                 CHARMAINE TORRES
[ADDRESS REDACTED]                    [ADDRESS REDACTED]                      [ADDRESS REDACTED]




CHARTER MARK INC                      CHARUDATTA S. BAVARE, MD                CHASE, MARCUS M
13610 RANKIN CIRCLE EAST              127 BELLA LUCE                          825 1/2 TULANE ST
HOUSTON, TX 77073                     SHENANDOAH, TX 77381                    HOUSTON, TX 77007




CHASE, WANDA                          CHASITY MARIE RAINWATER                 CHASITY R SAMUEL
[ADDRESS REDACTED]                    [ADDRESS REDACTED]                      [ADDRESS REDACTED]




CHAVEZ MARIA SELENA                   CHAVONDA C HAYSE                        CHC COMMUNITY CARE LLC
HUNTSVILLE, TX 77320                  [ADDRESS REDACTED]                      6900 DALLAS PARKWAY STE 870
                                                                              PLANO, TX 75024




CHCA CONROE LP                        CHCA CONROE, L.P.                       CHEK MED SYSTEMS
PO BOX 406796                         504 MEDICAL CENTER BLVD                 1027 MUMMA RD
ATLANTA, GA 30384-6796                CONROE, TX 77304                        WORMLEYBURG, PA 17043




CHELLISA PAULINE MATA                 CHELSEA A PARKER                        CHELSEA BARTLETT
[ADDRESS REDACTED]                    [ADDRESS REDACTED]                      [ADDRESS REDACTED]




CHELSEA TIMMONS TRUELOVE              CHEM CO                                 CHEMCAL INCORPORATED
[ADDRESS REDACTED]                    PO BOX 8D1850                           635 WESTPORT PKWY
                                      DALLAS, TX 75380-1850                   GRAPEVINE, TX 76051




CHEMSEARCH                            CHENAULT, EVALEE                        CHERIYAN, ABRAHAM
PO BOX 971269                         907 BELLSHIRE DR. 147                   206 GASLIGHT BLVD
DALLAS, TX 75397-1269                 CONROE, TX 77301                        LUFKIN, TX 75904




CHEROKEE DAWN NASH                    CHERYL L LOEFFLER                       CHERYL LYNN BRIGGS
[ADDRESS REDACTED]                    [ADDRESS REDACTED]                      [ADDRESS REDACTED]
CHERYL STELCK    Case     19-36300 Document
                                     CHEVRON1 Filed in TXSB on 11/11/19 CHEYENNE
                                                                         Page 57   of 240
                                                                                 R PARRENT
[ADDRESS REDACTED]                     PO BOX 2001                       [ADDRESS REDACTED]
                                       CONCORD, CA 94529-0001




CHG COMPANIES, INC.                    CHICK-FIL-A                       CHIME
PO BOX 972651                          LAKE CONROE PARKWAY               3300 WASHTENAW AVENUE, SUITE 225
DALLAS, TX 75397-2651                  1321 W. DAVIS                     ANN ARBOR, MI 48104
                                       CONROE, TX 77304




CHIMNOMSO BRENDA KALU                  CHIN-QUEE CHARMAINE               CHIOMA OHIRI TAWOSE
[ADDRESS REDACTED]                                                       [ADDRESS REDACTED]




CHIOMA V OHIRI                         CHIP FACTORY INC                  CHIRON VISION
[ADDRESS REDACTED]                     151 SOUTH PFINGSTEN RD UNIT M     PO BOX 641643
                                       DEERFIELD, IL 60015               PITTSBURGH, PA 15264-1643




CHIU THOMAS C MD                       CHIVAS GUILLOTE                   CHIVAS R BARROGA
722 GEARY DRIVE                        3307 CANDELOAK DR.                [ADDRESS REDACTED]
ROCKWALL, TX 75087                     SPRING, TX 77388




CHOICE PHYSICAL THERAPY                CHRIS RODRIGUEZ                   CHRISTIAN HILL
5233 INDIAN CIRCLE                     231 WEST LAKESIDE DRIVE           [ADDRESS REDACTED]
GAINESVILLE, GA 30506                  HUNTSVILLE, TX 77320




CHRISTINA LYNN ROBERTSON               CHRISTINA M NICKERSON             CHRISTINA MICHELLE FRAZIER
[ADDRESS REDACTED]                     [ADDRESS REDACTED]                [ADDRESS REDACTED]




CHRISTINA MINNICH-TRUBY                CHRISTINE WILLIAMS                CHRISTOPHER BRYAN GLOVER
[ADDRESS REDACTED]                     152 PLEASANT HILL RD.             [ADDRESS REDACTED]
                                       HUMBOLDT, TN 38343




CHRISTOPHER C BASA                     CHRISTOPHER L CASON               CHRISTOPHER RAMPY
[ADDRESS REDACTED]                     [ADDRESS REDACTED]                [ADDRESS REDACTED]




CHRISTOPHER STEFAN NUELLS              CHRISTY GARZA                     CHRISTY M LEBLANC
[ADDRESS REDACTED]                     [ADDRESS REDACTED]                [ADDRESS REDACTED]
CHURIN INC.         Case   19-36300 Document   1 Filed in TXSB on 11/11/19 CIBA
                                      CHURIN, PAM                            Page  58 ofDIAG
                                                                                CORNING   240CORP
368A STATE HWY 75 N                      PO BOX 7425                          PO BOX 640920
HUNTSVILLE, TX 77320                     HUNTSVILLE, TX 77342                 PITTSBURGH, PA 15264




CIBA-GEIGY CORPORATION                   CIC AGENCY INC                       CIGNA HEALTH AND LIFE INSURANCE CO
PO BOX 18060                             200 GREENS PRAIRIE ROAD              900 COTTAGE GROVE ROAD
NEWARK, NJ 07191-8060                    COLLEGE STATION, TX 77845            HARTFORD, CT 06152




CIGNA SPECIAL INVESTIGATION UNIT         CIGNA SPECIAL INVESTIGATION UNIT     CIGNA
900 COTTAGE GROVE ROAD                   DAVID CORDANI, PRESIDENT             ATTN LEGAL DEPT
HARTFORD, CT 06152                       900 COTTAGE GROVE RD                 900 COTTAGE GROVE RD, B6LPA
                                         HARTFORD, CT 06152                   BLOOMFIELD, CT 06002




CINCINNATI SUB-ZERO PRODUCTS INC         CINCO ENERGY MANAGEMENT GROUP, LLC   CINDY DISTIN
12011 MOSTELLER ROAD                     8811 GAYLORD DRIVE                   [ADDRESS REDACTED]
CINCINNATI, OH 45150                     HOUSTON, TX 77024




CINDY L NICOLAS                          CINE-MED INC                         CINESTAR INC.
[ADDRESS REDACTED]                       127 MAIN STREET NORTH                3 FINANCIAL PLAZA
                                         WOODBURY, CT 06798                   HUNTSVILLE, TX 77340




CINTAS CORP                              CINTAS CORPORATION LOC. 619          CINTAS CORPORATION
97627 EAGLE WAY                          PO BOX 1296                          PO BOX 1296
CHICAGO, IL 60678-7627                   CONROE, TX 77305                     CONROE, TX 77305




CIRCUIT COURT CLERK                      CIRRUS ALLIED LLC                    CISCO SYSTEMS CAPITAL CORP
140 ADAMS AVE RM 324                     4651 CHARLOTTE PARK DR               PO BOX 311746
MEMPHIS, TN 38103-2099                   SUITE 400                            NEW BRAUNFELS, TX 78131-1746
                                         CHARLOTTE, NC 28217




CISCO SYSTEMS CAPITAL CORPORATION        CITATION COMPUTER SYSTEM             CITRIX SYSTEMS
170 WEST TASMAN DRIVE                    PO BOX 790051                        851 WEST CYPRESS CREEK RD
SAN JOSE, CA 95134                       ST LOUIS, MO 63179                   FORT LAUDERDALE, FL 33309




CITY OF HUNTSVILLE                       CITY OF LIVINGSTON                   CITY OF MADISONVILLE
1212 AVE M                               200 W. CHURCH ST.                    210 WEST COTTONWOOD ST
HUNTSVILLE, TX 77340                     LIVINGSTION, TX 77351                MADISONVILLE, TX 77864




CITY OF RIVERSIDE                        CIVCO MEDICAL INSTRUMENTS CO, INC    CIVILIAN HEALTH AND MEDICAL PROGRAM
PO BOX 623                               102 FIRST STREET SOUTH               OF THE U.S. DEPT OF VETERANS AFFAIRS
RIVERSIDE, TX 77367-0623                 KALONA, IA 52247                     PO BOX 469063
                                                                              DENVER, CO 80246-9063
                  Case 19-36300
CJ EDUCATION & CONSULTING, LLC      Document   1 Filed
                                      CLAFLIN SERVICE   in TXSB on 11/11/19 CLAIM.MD
                                                      COMPANY                 Page 59 of 240
PO BOX 3930                            1206 JEFFERSON BLVD                   PO BOX 1177
WWODBRIDGE, CT 06525                   WARWICK, RI 02886                     PECOS,, NM 87552




CLAIRE ELIZABETH DOWNE                 CLARA V. SCLIDER                      CLARE LANGAT
266 STATE HWY 150 E                    [ADDRESS REDACTED]                    [ADDRESS REDACTED]
NEW WAVERLY, TX 77358




CLARIENT DIAGNOSTIC SERVICES, INC      CLARK & MASCARO P C                   CLARK LINDSEY
PO BOX 865360                          550 PHARR RD N E STE 440
ORLANDO, FL 32886-5360                 ATLANTA, GA 30305




CLARK, HEATH                           CLARK, HEATHER LEEANN                 CLARK, JULIETTE
9868 CR 420                            [ADDRESS REDACTED]                    22795 BOYS CHAPEL RD
NAVASOTA, TX 77868                                                           RICHARDS, TX 77873




CLARK, NICHOLAS                        CLAUDIA ALICE GEISENDORFF             CLEAN AIR RESEARCH AND ENVIROMENTAL
PO BOX 8693                            [ADDRESS REDACTED]
HUNTSVILLE, TX 77340




CLEAN DRAINS INC                       CLEAN SWEEP                           CLEAN WORK BOOTH INC.
3004 MONTGOMERY RD                     2647 OLD HOUSTON ROAD                 2344 JONES ROAD
HUNTSVILLE, TX 77340                   HUNTSVILLE, TX 77340                  JACKSONVILLE, FL 32220




CLEAR LITERATURE                       CLEAR PERFECTION                      CLEAR SOLUTION SERVICES
6919 BROWARD BLVD                      PO BOX 10403                          1775 N LOOP 336
SUITE 308                              HOUSTON, TX 77206                     SUITE 10
PLANTATION, FL 33317                                                         CONROE, TX 77301




CLEARY GULL ADVISORS INC.              CLEAVER-BROOKS SALES & SERVICE, INC   CLEAVER-BROOKS, INC
100 EAST WISCONSIN AVENUE,             1956 SINGLETON BLVD.                  221 LAW STREET
SUITE 2400                             DALLAS, TX 75212-3827                 THOMASVILLE, GA 31792
MILWAUKEE, WI 53202




CLEGG MARY THOMASON                    CLEMENT, CAMALLA                      CLEVELAND ADVOCATE
906 AVENUE M                                                                 106 W HANSON ST
HUNTSVILLE, TX 77320                                                         CLEVELAND, TX 77327




CLEVELAND SURVEYING COMPANY LLC        CLEVELAND, KIMBERLY                   CLEVERLY & ASSOCIATES
709 SOUTH WASHINGTON AVE STE B         PO BOX 316                            438 EAST WILSON BRIDGE ROAD STE 200
CLEVELAND, TX 77327                    RIVERSIDE, TX 77367                   WORTHINGTON, OH 43085-2382
                   Case 19-36300
CLIA LABORATORY PROGRAM            Document  1 INC
                                     CLIAWAIVED Filed in TXSB on 11/11/19 CLIFFORD
                                                                            Page 60  of 240
                                                                                   POWER SYSTEMS
PO BOX 530882                         11578 SORRENTO VALLEY ROAD          PO BOX 87550
ATLANTA, GA 30353-0882                SUITE 25/26                         KANSAS CITY, MO 64187
                                      SAN DIEGO, CA 92121




CLIFTON D THOMASON A/A                CLINICAL INNOVATIONS, LLC           CLINICAL LAB STAFF
2200 SOUTHWEST FREEWAY STE 322        2840 MOMENTUM PLACE                 FILE 54318
HOUSTON, TX 77098                     CHICAGO, IL 60689-5327              LOS ANGELES, CA 90074-4318




CLINICAL LABORATORY STANDARDS         CLINICAL ONE                        CLINICAL PATHOLOGY LABORATORIES,INC
950 WEST VALLEY ROAD                  PO BOX 30727                        9200 WALL STREET
WAYNE, PA 19087-1898                  HARTFORD, CT 06150-0727             AUSTIN, TX 78754




CLINICAL PATHOLOGY LABS, INC          CLINITEMP INC                       CLINTON L STAUB
PO BOX 141669                         PO BOX 681130                       [ADDRESS REDACTED]
AUSTIN, TX 78714-1669                 INDIANAPOLIS, IN 46268




CLUTTER ROUND UP                      CLYDE, SUE                          CMH HOMES, INC.
2203 RAUN LANE                        HUNTSVILLE, TX 77340                PO BOX 9790
EL CAMPO, TX 77437                                                        MARYVILLE, TN 37802




CMS COMMUNICATIONS INC                CMS LABORATORY PROGRAM              CNHI, LLC
722 GODDARD AVE                       PO BOX 70948                        1409 10TH STREET
CHESTERFIELD, MO 63005                CHARLOTTE, NC 28272-0948            HUNTSVILLE, TX 77320




CNL INCOME SPLASHTOWN, LLC            COACHES OUTLET                      COASTAL HEALTH
23100 IH-45 N                         5530 CORBIN AVE 208                 500 STUDIO DRIVE
SPRING, TX 77373                      TARZANA, CA 91356                   VIRGINIA BEACH, VA 23452




COASTAL LIFE SYSTEMS INC              COASTAL PATHOLOGY INC               COASTAL TANK & TESTING, LLC
5656 S. STAPLES, STE 328              PO BOX 733344                       1717 STRAWN RD
CORPUS CHRISTI, TX 78411              DALLAS, TX 75373-3344               HOUSTON, TX 77039




COASTAL TRAINING TECHNOLOGIES         COBB, GERALD                        COBBS, BRITTANY
PO BOX 846078                         PO BOX 9766                         111 WASHINGSTON AVE
DALLAS, TX 75284-6078                 HUNTSVILLE, TX 77340                TRINITY, TX 75862




COBURNS HUNTSVILLE                    COCA COLA BOTTLING                  COCHRAN, JESSICA
402 PHELPS DRIVE                      PO BOX 200884                       11095 ROYAL FORREST DRIVE
HUNTSVILLE, TX 77340                  HOUSTON, TX 77216                   CONROE, TX 77303
COCHRAN, PAULA       Case 19-36300 Document
                                     COCHRAN,1SHANNON
                                                Filed in TXSB on 11/11/19 CODE
                                                                           Page   61 of 240
                                                                               RITE
310 KEVIN LANE                          HUNTSVILLE, TX 77340               PO BOX 970938
TRINITY, TX 75862                                                          DALLAS, TX 75397-0938




CODING INSTITUTE, LLC                   CODY RANDALL FRENCH                CODY RYAN SLATER
PO BOX 933729                           2500 WILCREST DRIVE, SUITE 150     1800 OLD SYCAMORE AVE
ATLANTA, GA 31193                       HOUSTON, TX 77042                  HUNTSVILLE, TX 77340




COFFEY COMMUNICATIONS, INC              COGENT THERAPEUTICS LLC            COGLIANESE, CAROL L.
1505 BUSINESS ONE CIRCLE                703 SANDOVAL WAY                   1619 PINCHER CREEK DRIVE
WALLA WALLA, WA 99362                   HAYWARD, CA 94544-7112             SPRING, TX 77386




COGLIANESE, CAROL L., M.D.              COLBY MANUFACTORING (ASPEN)        COLDSPRING CLINIC
100 MEDICAL CENTER BLVD STE 212         6945 SOUTHBELT DR. SE              402 RED RIVER AVE N, STE 2
CONROE, TX 77304-2888                   CALEDONIA, MI 49316-6301           COLD SPRING, MN 56320




COLDSPRING OAKHURST ISD                 COLE, BEVERLY                      COLE, JESSICA M.
PO BOX 39                               HUNTSVILLE, TX 77340               [ADDRESS REDACTED]
COLDSPRING, TX 77331




COLE, ROGER                             COLEMAN JERICA J                   COLE-PARMER
1110 NAUTICAL LANE                      70 WILLIAM ST. 2R                  13927 COLLECTIONS CENTER DRIVE
RICHMOND, TX 77469                      BE HAVEN, CT 06511                 CHICAGO, IL 60693




COLLECT RX, INC                         COLLEEN J SPENCER                  COLLEEN MARIE ANTHIS
416 HUNGERFORD DR. SUITE 435            [ADDRESS REDACTED]                 [ADDRESS REDACTED]
ROCKVILLE, MD 20850




COLLEGE OF AMERICAN PATHOLOGISTS        COLLEGE STATION HOSPITAL LP        COLLEGIATE CONCEPTS, INC.
325 WAUKEGAN RD                         1604 ROCK PRAIRIE ROAD             4061 LEXINGTON AVE. N., STE. 205
NORTHFIELD, IL 60093-2750               COLLEGE STATION, TX 77845          ARDEN HILLS, MN 55126




COLLIER, CHARLOTTE                      COLLIER, JANICE                    COLLINS, DAVID L
2521 CROSSTIMBERS DR A4                 HUNTSVILLE, TX 77340               1220 11TH STREET
HUNTSVILLE, TX 77320-3442                                                  HUNTSVILLE, TX 77340




COLLINS, JERARD M                       COLLINS, SCOTT D                   COLLUM CONSTRUCTION PARTNERS LTD
1220 11TH STREET                        101 WILLOW 35                      8180 STATE HWY 75 SOUTH
HUNTSVILLE, TX 77340                    HUNTSVILLE, TX 77340               HUNTSVILLE, TX 77340
COLOPLAST CORP.    Case   19-36300 Document  1 Filed
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                                                 LITERATURE      on 11/11/19 COLORADO
                                                            DISPLAYS          Page 62ELECTRIC
                                                                                       of 240 SUPPLY LTD
1601 WEST RIVER ROAD                    5670 CORPORATE WAY                   PO BOX 203548
MINNEAPOLIS, MN 55411                   WEST PALM BEACH, FL 33407-2065       AUSTIN, TX 78720-3548




COLT W PICKETT                          COLTON J HENDERSON                   COLUMBIA CONROE REGIONAL
[ADDRESS REDACTED]                      [ADDRESS REDACTED]                   PO BOX 2368
                                                                             CONROE, TX 77305-2368




COLWELL, NATHAN W MD                    COMENT CLEANERS                      COMFORT SUITES
492 SHADY CREEK LANE                    40 HWY 75 NORTH                      14440 CLAY ROAD
MADISONVILLE, TX 77864                  HUNTSVILLE, TX 77320                 HOUSTON, TX 77041




COMFORT SUITES                          COMMERCIAL CARPETS, INC              COMMUNICATIONS SUPPLY CORP
631 IH 45 SOUTH                         33218 WALNUT CREEK RD                7049 BROOKHOLLOW WEST DR.
HUNTSVILLE, TX 77340                    MAGNOLIA, TX 77355                   HOUSTON, TX 77040




COMMUNITY HEALTH CHOICE, INC.           COMMUNITY HEALTH CORPORATION         COMMUNITY HOSPITAL 100
PO BOX 204014                           7160 DALLAS PARKWAY, STE 600         20 GLOVER AVENUE
HOUSTON, TX 77216-4014                  PLANO, TX 75024                      NORWALK, CT 06850




COMMUNITY HOSPITAL CONSULTING, INC.     COMMUNITY PATHOLOGY ASSOCIATES       COMMUNITY PREPAREDNESS SECTION
7800 N DALLAS PARKWAY STE 200           PO BOX 4677                          1100 W. 49TH ST
PLANO, TX 75024                         HOUSTON, TX 77210-4677               AUSTIN, TX 78756-3199




COMODO CA LTD                           COMP USA                             COMPAQ COMPUTER CORPORATION
QUAY, TRAFFORD ROAD                     PO BOX 200670                        20555 STATE HWY 249
SALFORD                                 HOUSTON, TX 75320-0670               HOUSTON, TX 77070
MANCHESTER M53EQ
UNITED KINGDOM



COMPASS POINT EMERGENCY PHYSICIANS      COMPASS                              COMPDATA SURVEYS
PO BOX 99099                            2445 M. STREET, N.W.                 1713 E. 123RD ST
LAS VEGAS, NV 89193                     WASHINGTON, DC 20037                 OLATHE, KS 66061




COMPETENCY & CREDENTIALING              COMPLETE CONFERENCE MANAGEMENT       COMPLETE HOME HEALTH ICD-9
2170 S. PARKER RD STE 295               11440 N. KENDALL DRIVE SUITE 306     11300 ROCKVILLE PIKE 1100
DENVER, CO 80231                        MIAMI, FL 33176                      ROCKVILLE, MD 20852-3030




COMPLETE UNIFORMS                       COMPLETE UNIFORMS                    COMPLIANCE POSTER COMPANY
PO BOX 0526                             PO BOX 0526                          438 W CHESTNUT AVE
EDMOND, OK 73083                        EDMUND, OK 73083                     MONROVIA, CA 91016-1128
                   Case
COMPLIANCE SIGNS, INC.     19-36300 Document  1 Filed in TXSB on 11/11/19 COMPREHENSIVE
                                      COMPLIANCESIGNS.COM                  Page 63 of 240
                                                                                        PHARMACY SERVICES
56 MAIN STREET                           56 SOUTH MAIN STREET                6409 NORTH QUAIL HOLLOW ROAD
CHADWICK, IL 61014                       CHADWICK, IL 61014                  MEMPHIS, TN 38120




COMPREHENSIVE PHARMACY SERVICES          COMPU-TECH                          COMPUTER CITY
PO BOX 116474                            ROUTE 22 BOX 665                    7630 FM 1960
ATLANTA, GA 30368-6474                   CONROE, TX 77303                    HOUSTON, TX 77070




COMPUTEX, INC.                           COMSEARCH                           COMWARE
1811 BERING DRIVE, SUITE 100             2700 ELLIS ROAD                     3003 CARLISLE STREET, STE 200
HOUSTON, TX 77057                        JOLIET, IL 60433                    DALLAS, TX 75204




CONAWAY, HANK DR.                        CONCENTRIC RECEIVABLES MGT, LTD     CONCEPT MEDIA
901 NORMAL PARK                          1220 BLALOCK, SUITE 310             2493 DUBRIDGE AVE
SUITE 202                                HOUSTON, TX 77055                   IRVINE, CA 92714
HUNTSVILLE, TX 77320




CONCIELETTE L CARTER                     CONCORD                             CONDUENT CARE MANAGEMENT, INC.
[ADDRESS REDACTED]                       PO BOX 8500                         PO BOX 201322
                                         PHILADELPHIA, PA 19178              DALLAS, TX 75320-1322




CONE INSTRUMENTS, LLC                    CONFERENCES AND SEMINARS            CONMED CORPORATION
5201 NAIMAN PARKWAY                      PO BOX 805                          525 FRENCH RD
SOLON, OH 44139                          FRAMINGHAM, MA 01701-0805           UTICA, NY 13502




CONMED LINVATEC CORP                     CONMED                              CONNIE BACH/BMI
11155 CONCEPT BLVD                       5 FEDERAL STREET                    PO BOX 1091
LARGO, FL 33773                          P.O. BOX 5069                       ALCOE, TN 37701-1091
                                         BILLERICA, MA 01822




CONNIE L PANTOJA                         CONROE AMBULATORY ANESTHESIA,PA     CONROE FAMILY MEDICINE PA
[ADDRESS REDACTED]                       503 MEDICAL CENTER BLVD., STE.110   3205 WEST DAVIS, SUITE B150
                                         CONROE, TX 77304-2928               CONROE, TX 77304-2066




CONROE FIRE PROTECTION INC               CONROE MONTGOMERY PHYSICIANS        CONROE REGIONAL MEDICAL CENTER
11987 F M 3083                           GROUP                               504 MEDICAL CENTER BLVD
CONROE, TX 77301                         PO BOX 742183                       CONROE, TX 73304
                                         ATLANTA, GA 30374-2183




CONROE REGIONAL MEDICAL CENTER           CONROE TX ENDOSCOPY ASC LLC         CONROE WELDING SUPPLY, INC.
PO BOX 406796                            1A BURTON HILLS BLVD                415 SOUTH FRAZIER
ATLANTA, GA 30384-6796                   NASHVILLE, TN 37215                 CONROE, TX 77301
                 Case
CONROE/LAKE CONROE     19-36300
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                                                 COMMUINCATIONS           Page 64 ofELECTRIC
                                                                                      240    DIST
505 W DAVIS ST                       121 SOUTH 17TH STREET               106 GLADSTELL EAST
CONROE, TX 77301                     MATTOON, IL 61938                   CONROE, TX 77301




CONSTRUCTION BOOK EXPRESS            CONSTRUCTION SPECIALTIES, INC.      CONTRACT CONSULTANTS, INC
PO BOX 5197                          3 WERNER WAY                        805 FOREST RIDGE DR
JANESVILLE, WI 53547-5197            LEBANON, NJ 08833                   SUITE 100
                                                                         BEDFORD, TX 76022




CONTRERAS, DANIEL                    CONTROL COMPANY                     CONTROL CONCEPTS INC
1235 JOSEY STREET APT 231            PO BOX 204348                       8748 CLAY ROAD SUITE 320
HUNTSVILLE, TX 77340                 DALLAS, TX 75320-4348               HOUSTON, TX 77080




CONTROL SOLUTIONS, INC.              CONTROL-O-FAX SYSTEMS INC           CONVENIENCE RV REPAIR CENTER
35851 INDUSTRIAL WAY, SUITE D        BOX 12409                           17091 HWY 75 N
ST. HELENS, OR 97051                 BEAUMONT, TX 77706                  WILLIS, TX 77378




CONWAY, SCOTT                        COOGLER, BRANDY                     COOK LEE
187 FISHERMANS TRAIL                 HUNTSVILLE, TX                      HUNTSVILLE, TX 77340
HUNTSVILLE, TX 77320




COOK MEDICAL INCORPORATED            COOK UROLOGICAL                     COOK, A. SUSAN
22988 NETWORK PLACE                  1100 WEST MORGAN ST                 HUNTSVILLE, TX 77340
CHICAGO, IL 60673-1229               SPENCER, IN 47460




COOKS                                COOKSEY, MACEY                      COOLING TOWERS OF TEXAS
36398 TREASURY CENTER                137 WOODFARM ROAD                   1310 W. MAIN STREET
CHICAGO, IL 60694-6300               HUNTSVILLE, TX 77320                LAPORTA, TX 77571




COON PAULA                           COOPER SURGICAL                     COOPER, HOPE
PO BOX 233                           95 CORPORATE DRIVE                  402 PARKHILL DR
MIDWAY, TX 75852                     TRUMBULL, CT 06611                  MADISONVILLE, TX 77864




COPY CRAFT PRINTERS, INC.            COPYRIGHT CLEARANCE CENTER          CORAM, INC.
4413 82ND STREET, SUITE 250          222 ROSEWOOD DRIVE                  26220 ENTERPRISE CT.
LUBBOCK, TX 79424                    DANVERS, MA 01923                   LAKE FOREST, CA 92630




CORBETT FRENCH                       COREPOINT HEALTH, LLC               COREY S MCCAY
[ADDRESS REDACTED]                   3010 GAYLORD PARKWAY STE 320        [ADDRESS REDACTED]
                                     FRISCO, TX 75034
CORMACK SHERRY       Case 19-36300 Document
                                     CORNELL,1  Filed
                                             TINA V.  in TXSB on 11/11/19 CORNISH
                                                                           Page MEDICAL
                                                                                  65 of 240
PO BOX 76                                                                  2405 MCFADDIN ST
LOVELADY, TX 75851                                                         BEAUMONT, TX 77702




CORPAK MEDSYSTEMS                       CORPHEALTH, INC                    CORPORATE EXPRESS
100 CHADDICK DRIVE                      2101 W. JOHN CARPENTER FREEWAY     PO BOX 290367
WHEELING, IL 60090                      IRVING, TX 75063                   NASHVILLE, TN 37229-0367




CORPORATE ICENTIVES, INC                CORRPRO                            COSMAN MEDICAL INC
26414 OAK RIDGE DRIVE                   7000 A HOLLISTER, STE 300          22 TERRY AVE
THE WOODLANDS, TX 77380                 HOUSTON, TX 77040                  BURLINGTON, MA 01803




COTTON COMPANIES                        COUGAR SALES INC                   COULTER CORPORATION
14345 NORTHWEST FREEWAY                 14824 TOMBALL PKWY                 PO BOX 96736
HOUSTON, TX 77040                       SUITE 150                          CHICAGO, IL 60693
                                        HOUSTON, TX 77086




COUNTY WIDE FIRE & SAFETY               COURSEY ENTERPRISES                COURTLYNN MICHELE HOWARD
PO BOX 528                              1259 LYNN LANE                     [ADDRESS REDACTED]
CONROE, TX 77305                        IDABEL, OK 74745




COURTNEY ANN FERGUSON                   COURTNEY D MILLER                  COURTNEY MICHELLE LEE
[ADDRESS REDACTED]                      [ADDRESS REDACTED]                 [ADDRESS REDACTED]




COURTYARD DALLAS ADDISON                COVENTRY HEALTH AND LIFE INS CO    COVENTRY HEALTH CARE
15160 QUORUM DRIVE                      4320 NORTHWEST 114TH ST            PO BOX 668329
ADDISON, TX 75001                       URBANDALE, ID 50322                CHARLOTTE, NC 28266-8329




COVENTRY HEALTHCARE                     COVERYS                            COVIDIEN LP
333 FARNAM ST.                          PO BOX 55178                       15 HAMPSHIRE STREET
5-3 REFUNDS                             BOSTON, MA 02205-5178              MANSFIELD, MA 02048
OMAHA, NE 68131




COX MEDICAL SYSTEMS                     COX, MARY HOPE                     COX, TALARA
2186 EASTMAN AVE STE 110                                                   84 TANGLEWOOD DRIVE
VENTURA, CA 93003                                                          HUNTSVILLE, TX 77320




CPEOPLE LP                              CPG IMMIGRATION LAW GROUP          CPI
2274 ROCKBROOK DR                       241 4TH STREET, 207                10850 W.PARK PLACE, SUITE 600
LEWISVILLE, TX 75057                    OAKLAND, CA 94607                  MILWAUKEE, WI 53224
CPT SERVICES, INC Case   19-36300 Document  1 Filed
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                                                    LLC                    PageALEXANDRA
                                                                                 66 of 240
40FM 1960 RD. WEST 446                4701 AUGUSTA DR.                    9501 HERITAGE RANCH ROAD
HOUSTON, TX 77090                     FRISCO, TX 75034                    CONROE, TX 77303




CRANEWARE. INC.                       CRANFORD MEDICAL IMAGING            CRAVEY, KERRI
5770 HOFFNER AVENUE SUITE 102         600 CENTURY PLAZA DR. SUITE C-140   752 ELKINS LAKE
ORLANDO, FL 32822                     HOUSTON, TX 77073                   HUNTSVILLE, TX 77340




CRAWFORD, JIMMY DDS                   CREATION ENTERPRISES                CREATION GRAPHICS
1500 WEST MT HOUSTON ROAD             1089 ELKINS LAKE                    1800 OLD SYCAMORE AVE
HOUSTON, TX 77038                     HUNTSVILLE, TX 77340                HUNTSVILLE, TX 77340




CREATIONS GRAPHICS                    CREDIT BUREAU SERVICES              CREDNET, LLC
2223 AVE.J                            PO BOX 2298                         11301 CORPORATE BLVD, SUITE 300
HUNTSVILLE, TX 77340                  CONROE, TX 77305                    ORLANDO, FL 32817




CRESS, CHRISTINE                      CRESS, MEGAN                        CRESS, TAMMY
17 LAKE VIEW
HUNTSVILLE, TX 77340




CREST BUILDERS INC.                   CREST HEALTHCARE SUPPLY             CRESTPOINT MANAGEMENT LTD
9100 FOREST CROSSING DR, SUITE D      195 SOUTH THIRD STREET              9100 WATSON RD
THE WOODLANDS, TX 77381               DASSEL, MN 55325-0727               ST LOUIS, MO 63126-2241




CRIMSON PHYSICIAN COMPASS             CRISIS MANAGEMENT SYSTEMS, INC.     CRISSY M PONZIO
2455 M STREET, N.W.                   2919 IDLEWOOD DRIVE                 [ADDRESS REDACTED]
WASHINGTON, DC 20037                  CHARLOTTESVILLE, VA 22901-1123




CRISTINA D WICKERSHAM                 CRISTINA SANTAMARIA                 CRITCAL CARE SYSTEMS, INC.
[ADDRESS REDACTED]                    [ADDRESS REDACTED]                  1640 CENTURY CENTER PKWY.
                                                                          MEMPHIS, TN 38134




CRITICAL CARE PRODUCTS                CRITICARE SYSTEMS INC               CRITIKON
6674 RUPLEY CIRCLE                    20925 CROSSROADS CIRCLE             P O 102178
HOUSTON, TX 77087                     WAUKESHA, WI 53186                  ATLANTA, GA 30368




CROSS COUNTRY EDUCATION               CROSS COUNTRY STAFFING              CROSS COUNTRY STAFFING, INC.
PO BOX 200                            40 EASTERN AVE                      6551 PARK OF COMMERCE BLVD
BRENTWOOD, TN 37024                   MALDEN, MA 02148-9104               BOCA RATON, FL 33487
                  Case INC.
CROSS COUNTRY STAFFING, 19-36300        Document  1 Filed
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                                                        STAFFING, INC.on 11/11/19 CROSS
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                                                                                         67 of CORPORATION
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6551 PARK OF COMMERCE BLVD.                PO BOX 743425                           650 STEELE BLVD
BOCCA RATON, FL 33487                      LOS ANGELES, CA 90074-3425              BATON ROUGE, LA 70806




CROTHALL HEALTHCARE                        CROTHALL HEALTHCARE, INC.               CROWN PAPER AND CHEMICAL
955 CHESTERBROOK BLVD., SUITE 300          1500 LIBERTY RIDGE DR.                  302 SOUTH FRAZIER
WAYNE, PA 19087                            SUITE 210                               CONROE, TX 77301
                                           WAYNE, PA 19087




CRYOLIFE INC                               CRYSTAL ATKINSON                        CRYSTAL GAYLYNN MITCHELL
1655 ROBERTS BLVD, NW                      [ADDRESS REDACTED]                      [ADDRESS REDACTED]
KENNESAW, GA 30144




CRYSTAL L KILLINGSWORTH                    CRYSTAL L KRISCHKE                      CRYSTALTECH
[ADDRESS REDACTED]                         [ADDRESS REDACTED]                      1125 W. PINNACLE PEAK RD. 103
                                                                                   PHOENIX, AZ 85027




CSI LEASING, INC.                          CSI LEASING, INC.                       CSN STORES
9990 OLD OLIVE STREET ROAD, SUITE 101      9990 OLD OLIVE STREET ROAD, SUITE 101   800 BOYLSTON ST
SAINT LOUIS, MI 63141                      ST LOUIS, MO 63141                      SUITE 1600
                                                                                   BOSTON, MA 02199




CTQ SOLUTIONS, LLC                         CTT SERVICES, LLC                       CUEVAS, NATHAN
ORCHARD RESEARCH PARK                      14626 MORALES ROAD                      14349 SOUTH SUMMERCHASE CR
688 EAST MAIN STREET                       HOUSTON, TX 77032                       WILLIS, TX 77318
BRANFORD, CT 06405




CULLIGAN WATER CONDITIONING                CUMBERLAND, SIDNEY                      CUMMINGS, MARILYN
5450 GUHN RD                               PO BOX 255                              915 ELKINS LAKE
HOUSTON, TX 77040                          NORTH ZULCH, TX 77872                   HUNTSVILLE, TX 77340




CUMMINS SOUTHERN PLAINS                    CUNNINGHAM BEARING                      CUNNINGHAM MD, PAUL
7045 NORTH LOOP EAST                       PO BOX 1987                             100 MEDICAL CENTER BLVD. SUITE 200
P O BOX 1367                               HOUSTON, TX 77251                       CONROE, TX 77304
HOUSTON, TX 77028




CURA SCRIPT SPECIALTY DISTRIBUTION         CURASPAN HEALTH GROUP, INC.             CURBELL MEDICAL PRODUCTS INC
PO BOX 533307                              DEPARTMENT 2869 PO BOX 122869           7 COBHAM DRIVE
ATLANTA, GA 30353-3307                     DALLAS, TX 75312-2869                   ORCHARD PARK, NY 14127




CURRY PRINTING INC                         CURTIS E MONTGOMERY, M.D.P.A            CURTIS INDUSTRIES
1109 PAMELA DRIVE                          100 MEDICAL CENTER PARKWAY              PO BOX 5200
EULESS, TX 76040                           SUITE 500                               CLEVELAND, OH 44101
                                           HUNTSVILLE, TX 77340
                 Case
CUSTOM COMPUTER CABLES   19-36300 Document 1 Filed in TXSB on 11/11/19 CUSTOMIZED
                                    CUSTOM MAGNETS                      Page 68 COMMUNICATIONS
                                                                                  of 240       INC
1607 CAPITAL                                                            PO BOX 5566
PLANO, TX 75074                                                         ARLINGTON, TX 76005




CUSTOMIZED MEDICAL BILLING &          CUSTOMIZED MEDICAL BILLING        CVC INCORPORATED
1600 S. WHITE MOUNTAIN RD.            1600 S. WHITE MOUNTAIN ROAD       2320 MICHIGAN COURT
SHOW LOW, AZ 85901                    SHOW LOW, AZ 85901                ARLINGTON, TX 76016




CYBEX                                 CYNTHIA DENISE HOSKINS            CYNTHIA L LUCAS
10 TROTTER DR                         [ADDRESS REDACTED]                [ADDRESS REDACTED]
MEDWAY, MA 02053




D C ENTERPRISE                        D.J. ROOFING & CONSTRUCTION CO.   DAC MEDICAL INC
21157 PINETEX                         24623 W. KINGSCREST CIRCLE        2705 INDIAN OAK DRIVE
NEW CANEY, TX 77357                   SPRING, TX 77389                  GRAPEVINE, TX 76051-2672




DADE BEARING                          DADE BEHRING INC                  DAGLE, JUSTIN
PO BOX 740425                         PO BOX 6101                       [ADDRESS REDACTED]
ATLANTA, GA 30374-0425                NEWARK, DE 19714-6101




DAHILL OFFICE TECHNOLOGY CORP.        DAHILL                            DALCO MARKETING & ADVERTISING
8200 IH 10 WEST,STE400                PO BOX 314                        3630 W. PIONEER PARKWAY
SAN ANTONIO, TX 78230                 SAN ANTONIO, TX 78292-0314        PANTEGO, TX 76013




DALCOR RIDGEWOOD LTD                  DALE WAYNE JAHNKE                 DALLAS MARKETING GROUP
2830 LAKE ROAD                        [ADDRESS REDACTED]                12720 HILLCREST RD SUITE 880
HUNTSVILLE, TX 77340                                                    DALLAS, TX 75230




DALLAS/FT WORTH MARRIOTT SOLANA       DALTON, SHELBY                    DALYNCIA DARSHAE FREEMAN
5 VILLAGE CIRCLE                                                        [ADDRESS REDACTED]
WESTLAKE, TX 76262




DAMION E RHYMES                       DAN MIMS                          DANA DATTALO
[ADDRESS REDACTED]                    PO BOX 265                        [ADDRESS REDACTED]
                                      RIVERSIDE, TX 77367-0265




DANELL R BROOKS                       DANFORD, CLAY                     DANFORD, HEIDI
[ADDRESS REDACTED]
                  Case 19-36300
DANIEL ANTHONY CHAMPAGNE          Document   1 Filed TRUSTEE
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                                                                                      RATHE
[ADDRESS REDACTED]                   CHAPTER 13 TRUSTEE                   19903 BROOKWAY PARK CT.
                                     P O BOX 2255                         SPRING, TX 77379
                                     MEMPHIS, TN 38101-2255




DANIEL R KETELHOHN                   DANIEL R PITTS                       DANIEL RODRIGUEZ
[ADDRESS REDACTED]                   [ADDRESS REDACTED]                   [ADDRESS REDACTED]




DANIEL, DENA                         DANIELLE ELISE VINCENT               DANIELLE G SCHNEIDER
21442 OLYMPIC FOREST DR.             [ADDRESS REDACTED]                   [ADDRESS REDACTED]
PORTER, TX 77365




DANIELLE L DEEMER                    DANIELLE LEE BENNETTI                DANIELLE NIELSEN
[ADDRESS REDACTED]                   [ADDRESS REDACTED]                   [ADDRESS REDACTED]




DANITA J TREES                       DANMAR INDUSTRIES,INC                DANNA SPARKS
[ADDRESS REDACTED]                   2303 OIL CENTER CT.                  HUNTSVILLE, TX 77340
                                     HOUSTON, TX 77073




DANT, LAURA                          DARBY, ANN                           DARIAN NICOLE WASHINGTON
                                     684 FM 980                           [ADDRESS REDACTED]
                                     HUNTSVILLE, TX 77320




DARLING INTERNATIONAL INC            DARNALL, LAUREN                      DARTEK COMPUTER SUPPLY
PO BOX 552210                                                             175 AMBASSADOR DRIVE
DETROIT, MI 48255-2210                                                    NAPERVILLE, IL 80540




DATA ACCESS CORP                     DATA COMM WAREHOUSE                  DATA DISTRIBUTING, LLC
PO BOX 496                           7077 COLLECTION CENTER DRIVE         PO BOX 1443
RICHBORO, PA 18954                   CHICAGO, IL 60693-0072               SANTA CRUZ, CA 95061-1443




DATA GENERAL LEASING                 DATA INNOVATION LLC                  DATA PRO INTERNATIONL INC
4400 COMPUTER DRIVE                  120 KIMBALL AVENUE, SUITE 100        1144 NW 52ND STREET
WESTBORO, MA 01580                   SOUTH BURLINGTON, VA 05403           SEATTLE, WA 98107




DATA RECOGNITION INC                 DATA SEARCH COLLECTIONS INC          DATA SUPPLIES (DSI)
PO BOX 843738                        PO BOX 461289                        1854 AIR LINE DRIVE
DALLAS, TX 75284-3738                SAN ANTONIO, TX 78246-1289           NASHVILLE, TN 37210
DATA VOX          Case 19-36300     Document 1CORPORATION
                                      DATACARD  Filed in TXSB on 11/11/19 DATALINK
                                                                           Page 70    of 240
                                                                                   SOLUTIONS
2000 W. SAM HOUSTON PARKWAY S.         5300 WESTHEIMER SUITE 609           PO BOX 821335
9TH FLOOR                              HOUSTON, TX 77056                   HOUSTON, TX 77282-1335
HOUSTON, TX 77042




DATAMAX-ONEIL PRINTER SUPPLIES         DATASCOPE CORPORATION               DATCARD SYSTEMS
7656 E 700TH AVENUE                    580 WINTERS AVENUE                  7 GOODYEAR
ROBINSON, IL 62454                     PARAMUS, NJ 07652                   IRVINE, CA 92618




DATCARD SYTEMS                         DATEX ENGSTROM, INC                 DAUGETTE INVESTMENTS
7 GOODYEAR                             3 HIGHWOOD DR                       PO BOX 7221
IRVINE, CA 92618                       TEWKSBURY, MA 01876                 HUNTSVILLE, TX 77342




DAVE KHURANA, M.D.                     DAVID ALEXANDER GIBSON              DAVID CHRISTOPHER SCANTLIN
[ADDRESS REDACTED]                     [ADDRESS REDACTED]                  [ADDRESS REDACTED]




DAVID PRIER, M.D.                      DAVID R WHITAKER                    DAVID R. FICKLEN, M.D.
[ADDRESS REDACTED]                     4001 MOODY DR                       102 A MEDICAL PARK LANE
                                       MONTGOMERY, TX 77316                HUNTSVILLE, TX 77340




DAVID REX, MD PA                       DAVID SCANTLIN                      DAVID T. WILLENBERG
110 MEMORIAL HOSPITAL DR               [ADDRESS REDACTED]                  66 SOUTHWOOD FOREST
HUNTSVILLE, TX 77340                                                       HUNTSVILLE, TX 77340




DAVID W RAY                            DAVIDSON DOCUMENT SOLUTIONS, INC    DAVIDSON, AMANDA
[ADDRESS REDACTED]                     2600 LONGHORN BLVD 102              03833
                                       AUSTIN, TX 78758




DAVIDSON, KIMBERLY ANN                 DAVIS & DAVIS BUSINESS EQUIPMENT,   DAVIS & DURHAM
39 OLD TRAM RD                         3411 JEANETTA STREET                1230 10TH ST
HUNTSVILLE, TX 77320                   HOUSTON, TX 77063                   HUNTSVILLE, TX 77320




DAVIS FIRE EQUIPMENT COMPANY, INC      DAVIS LANDSCAPING NURSERY           DAVIS, CATRINA
1709 E. WILLIAM J. BRYAN PKWY          130 MAIN ST                         CONROE, TX
BRYAN, TX 77802                        HUNTSVILLE, TX 77340




DAVIS, MACY                            DAVISON, KATIE                      DAVOL
15596 I-45 SOUTH                                                           100 CROSSINGS BLVD
APT 1715                                                                   WARWICK, RI 02886
CONROE, TX 77384
DAWN A LAWRENCE Case         19-36300 Document  1 Filed in TXSB on 11/11/19 DAWN
                                        DAWN T BARNES-OGUNFOLAKAN            Page  71 of 240
                                                                                 THOMPSON
[ADDRESS REDACTED]                        [ADDRESS REDACTED]                      [ADDRESS REDACTED]




DAWSON MECHANICAL PLUMBING INC            DAWSON, KATHY                           DAWSON, THOMAS EDWARD
699 FM 1791                               HUNTSVILLE, TX                          1220 11TH STREET
HUNTSVILLE, TX 77340                                                              HUNTSVILLE, TX 77340




DAY GROUP TX, LLC                         DAY N NIGHT MEDICAL SUPPLY              DAY STAFFING OF TX, LLC
PO BOX 4729                               122 MEDICAL PARK LN STE C               2040 NORTH LOOP WEST STE. 308
WINTER PARK, FL 32793-4729                HUNTSVILLE, TX 77340-4902               HOUSTON, TX 77018




DAY, CHRISTOPHER                          DAY-TIMERS, INC.                        DBR MARKETING
32211 ARCHER PARK                         PO BOX 27001                            PO BOX 535063
CONROE, TX 77385                          LEHIGH VALLEY, PA 18002-7001            GRAND PRAIRIE, TX 75053-5063




DCM/INSTRUCTIONAL SYSTEM                  DE LAGE LANDEN FINANCIAL SERVICES INC   DEAHL, TIMOTHY M.D.
PO BOX 96                                 1111 OLD EAGLE SCHOOL ROAD              260 IH 45 SOUTH SUITE B
WESTWOOD, MA 02090                        WAYNE, PA 19087                         HUNTSVILLE, TX 77340




DEAHL, TIMOTHY                            DEALERS ELECTRICAL SUPPLY               DEAN J CASBURN
260 I 45 SOUTH                            707 W DAVIS ST                          [ADDRESS REDACTED]
HUNTSVILLE, TX 77340                      CONROE, TX 77301-2704




DEANDRA F BARTEE                          DEBBIE GRISHAM                          DEBBIE YATES SKIDMORE
[ADDRESS REDACTED]                        [ADDRESS REDACTED]                      RT 1 BOX 443
                                                                                  HUNTSVILLE, TX 77340




DEBBIES MEDICAL TRANSCRIPTION             DEBORA A. LEMMER                        DEBORAH CHANDLER TUCKER
68A YATES LANE                            [ADDRESS REDACTED]                      [ADDRESS REDACTED]
HUNTSVILLE, TX 77320




DEBORAH HALE                              DEBORAH M PRICE                         DEBORAH MARIE SUTTON
P.O. BOX 3368                             [ADDRESS REDACTED]                      [ADDRESS REDACTED]
ATTN CANDANCE ROBERTS. DIR BUS SER
SHAWNEE, OK 74802




DEBORAH T JEWELL                          DEBRA D. MARSH                          DEBRA JO CROW
[ADDRESS REDACTED]                        [ADDRESS REDACTED]                      [ADDRESS REDACTED]
DEBRA K KUZNIAREK Case     19-36300 Document   1 Filed in TXSB on 11/11/19 DEBRISCOE,
                                      DEBRA L KIRTLEY                       Page 72SHEILA
                                                                                      of 240
[ADDRESS REDACTED]                      [ADDRESS REDACTED]                    143 POSSUM WALK LOOP
                                                                              HUNTSVILLE, TX 77340




DECAL PAPER                             DECISION HEALTH                       DECISION RESOURCES, INC
6905 NW 25 STREET                       TWO WASHINGTON CENTER                 800 DISTRICT AVENUE
MIAMI, FL 33122                         9737 WASHINGTONIAN BLVD STE. 100      SUITE 600
                                        GAITHERSBURG, MD 20878-7364           BURLINGTON, MA 01803




DECISIONONE SUPPLIES INC                DECKER, TAMMY                         DECOSHIA R COOPER
589 PHOENIXVILLE PIKE                                                         [ADDRESS REDACTED]
MALVERN, PA 19355




DEEL, ANDREA                            DEEN PRE-FILLED STRINGES, LLC         DEES, TAMI
                                        5 HOMESTEAD RD STE 1                  HUNTSVILLE, TX
                                        HILLSBOROUGH, NJ 08844




DEIRDRE C GRAHAM                        DEJEAN & KUGLEN EYE ASSOCIATES, LLP   DEJUNICQUE B JOHNSON
[ADDRESS REDACTED]                      400 S LOOP 336 W                      [ADDRESS REDACTED]
                                        CONROE, TX 77304




DEL MEDICAL                             DELL COMPUTERS                        DELL COMPUTERS
28 CALVERT ST                           PO BOX 676021                         PO BOX 676021
HARRISON, NY 10528                      DALLAS, TX 75267-6021                 DALLAS, TX 75312-0729




DELL FINANCIAL SERVICES                 DELL MARKETING L.P.                   DELL PEROT SYSTEMS
4319 COLLECTION CENTER DR               PO BOX 676021                         120 ROYALL STREET
CHICAGO, IL 60693                       DALLAS, TX 75312-0729                 CANTON, MA 02021




DELMAR PUBLISHERS INC                   DELTA DENTAL INSURANCE COMPANY        DELTA FLEX TRAVELERS
PO BOX 95606                            PO BOX 7564                           PO BOX 202940
CHICAGO, IL 60694                       SAN FRANCISCO, CA 94120-7564          DALLAS, TX 75320-2056




DELTA T EQUIPMENT, LP                   DELYNDA S CHICK                       DEMEREST A ARMSTRONG
10757 CUTTEN ROAD, BUILDING 3           [ADDRESS REDACTED]                    [ADDRESS REDACTED]
HOUSTON, TX 77066




DEMETRIC JOHNSON-BUTCHER                DENA L DANIEL                         DENISE DICKSON ISHUP
[ADDRESS REDACTED]                      [ADDRESS REDACTED]                    [ADDRESS REDACTED]
DENISE G. WOLFE  Case      19-36300 Document   1 Filed in TXSB on 11/11/19 DENISE
                                      DENISE L BROOKS                       PageMARTIN
                                                                                  73 of 240
[ADDRESS REDACTED]                      [ADDRESS REDACTED]                    PO BOX 16
                                                                              STERLING, AK 99672-0016




DENISON, KAREN                          DENNIS J LAPOINTE                     DENNIS JOSEPH ROBBINS
232 SUNRISE DR                          [ADDRESS REDACTED]                    [ADDRESS REDACTED]
ARGYLE, TX 76226




DENNIS W. LOWERY                        DENSON, EARNESTINE                    DENVER DEVELOPEMENT MATERIALS
1532 CR 1545                            [ADDRESS REDACTED]                    PO BOX 371075
CROCKETT, TX 75835                                                            DENVER, CO 80237




DEPARTMENT OF HEALHT AND HUMAN SERV     DEPARTMENT OF STATE HEALTH SERVICES   DEPARTMENT OF STATE HEALTH SERVICES
PO BOX 3056                             1110 WEST 49TH STREET                 ATTN MARC CONNELLY, ASST GENERAL
PORTLAND, OR 97208-3056                 PO BOX 149347                         COUNSEL
                                        AUSTIN, TX 78714-9347                 OFFICE OF GENERAL COUNSEL
                                                                              1100 WEST 49TH STREET
                                                                              AUSTIN, TX 78756-3199

DEPARTMENT OF STATE HEALTH SERVICES     DEPT OF PUBLIC SAFETY                 DEPUY ACE MEDICAL COMPANY
PO BOX 149347-MC2004                    PO BOX 4143                           2260 EAST EL SEGUNDO BLVD
AUSTIN, TX 78714-9347                   AUSTIN, TX 78765-4143                 EL SEGUNDO, CA 90245




DEPUY SYNTHES SALES, INC                DEPUY                                 DERMA SCIENCES, INC
325 PARAMOUNT DRIVE                     PO BOX 54630                          214 CARNEGIE CENTER SUITE 300
RAYNHAM, MA 02767-0350                  LOS ANGELES, CA 90054-0630            PRINCETON, NJ 08540




DERMASHIELD OF HOUSTON                  DEROYAL                               DERRICK BRYANT
13339 JONES RD                          200 DEBUSK LANE                       [ADDRESS REDACTED]
HOUSTON, TX 77070                       POWELL, TN 37849




DESIREE A FRECHETTE                     DESTINY SHERIDAN FULCHER              DETLEFSEN, KIM
[ADDRESS REDACTED]                      [ADDRESS REDACTED]                    10W WEST PINMONT DRIVE
                                                                              POINT BLANK, TX 77364-6877




DEVEN BARBARA MERCHANT                  DEVICOR MEDICAL PRODUCTS, INC         DEVON GRAY
[ADDRESS REDACTED]                      300 E BUSINESS WAY, FIFTH FLOOR       1615 SYCAMORE AVE
                                        CINCINNATI, OH 45241                  HUNTSVILLE, TX 77340




DEVONTA KEIVON SILVA                    DEVORE, KAYLEE                        DEWALT, KATELYN
[ADDRESS REDACTED]                      616 A NORMAL PARK                     PO BOX 335
                                        HUNTSVILLE, TX 77340                  TRINITY, TX 75862
                 Case
DEWAYNE LARRY SPRINGER        19-36300 Document 1 YATES
                                         DEWEY RAY Filed in TXSB on 11/11/19 DEXIDE
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                                                                                    74 of 240
[ADDRESS REDACTED]                         [ADDRESS REDACTED]                 PO BOX 980055
                                                                              FT WORTH, TX 77303




DEXON COMPUTER                             DEXTERITY SURGICAL INC             DEYUNKIA M. SANDERS
9201 E BLOOMINGTON FRWY STE BB             12961 PARK CENTRAL                 [ADDRESS REDACTED]
MINNEAPOLIS, MN 55420                      SAN ANTONIO, TX 78216




DGH-KOI, INC.                              DI & DALE TCBY YOGURT              DI ASSOCIATES, INC
110 SUMMIT DRIVE, SUITE B                  1523 NORMAL PARK STE H             50 ANASAZI TRAILS LOOP
TXTON, PA 19341                            HUNTSVILLE, TX 77340               PLACITAS, NM 87043




DI PURE WATER TECHNOLOGIES                 DIAGNOX SERVICES                   DIALYSPA CONTRACT SERVICES LLC
1919 EDWARDS STREET                        5110 ASHBROOK                      2453 S BRAESWOOD BLVD, STE 201
HOUSTON, TX 77007                          HOUSTON, TX 77081                  HOUSTON, TX 77030




DIAMOND HEALTHCARE CORP                    DIAMOND HEALTHCARE WEST INC        DIANA L CHAMBERS
4201 FM 1960 WEST, SUITE 160               700 EAST MAINT STREET, SUITE 900   [ADDRESS REDACTED]
HOUSTON, TX 77068                          BOX C-90105
                                           RICHMOND, VA 23218-0105




DIANA MARLENE JUAREZ                       DIANA RODRIGUEZ                    DIANE B. HURLEY
[ADDRESS REDACTED]                         [ADDRESS REDACTED]                 [ADDRESS REDACTED]




DIANE KAY BRIDGES                          DIANE M TROUBLEFIELD               DIANNE L RYDEN
[ADDRESS REDACTED]                         [ADDRESS REDACTED]                 [ADDRESS REDACTED]




DIASONICS ULTRASOUND                       DICKENS, KAREN                     DIEBOLD GLOBAL FINANCE
1565 BARBER LANE                           3736 SUMMER LANE                   5995 MAYFAIR RD 9-C-25
MILPITAS, CA 95035                         HUNTSVILLE, TX 77340               NORTH CANTON, OH 44720




DIEM TECHNOLOGIES                          DIEPRAAM, WARREN                   DIERINGER, LAUREN
1227 W. CAMPBELL, SUITE 301                207 WEST PHILLIPS 2ND FLOOR        [ADDRESS REDACTED]
RICHARDSON, TX 75080                       CONROE, TX 77301




DIGGYPOD, INC.                             DIGICERT INC                       DIGITAL AIR CONTROL INC
301 INDUSTRIAL DRIVE                       333 SOUTH 520 WEST                 PO BOX 570357
TECUMSEH, MI 49286-9788                    LINDON, UT 84042                   HOUSTON, TX 77257-0357
                   Case
DIGITAL TRANSCRIPTION    19-36300
                      SYSTEMS, INC    Document   1 Filed in TXSB
                                        DIGITAL TRANSCRIPTION       onINC.
                                                              SYSTEMS, 11/11/19 DIJUANA
                                                                                  Page V75 of 240
                                                                                         CRAIG
PO BOX 26243                             4100 PERMETER CENTER DR., SUITE 250   [ADDRESS REDACTED]
OKLAHOMA CITY, OK 73126                  OKLAHOMA CITY, OK 73112




DILLY UNIFORM                            DINA LYNNE WALKER                     DINAH HOPKINS CANNEFAX
PO BOX 1004                              [ADDRESS REDACTED]                    1066 OAK HOLLOW LANE
HOUSTON, TX 77251-0000                                                         COMBINE, TX 75159




DINOVO PHARMACY & PACKAGING PRO.LLC      DIRECT CINEMA LIMITED                 DIRECT COMPACTOR SYSTEMS
9067 KNIGHT ROAD                         PO BOX 10003                          2202 KELLY ST
HOUSTON, TX 77054                        SANTA MONICA, CA 90410                HOUSTON, TX 77026




DIRECT MAT                               DIRECT SAFETY CO                      DIRECTV
PO BOX 1068                              PO BOX 29990                          PO BOX 5392
RINGGOLD, GA 30736                       PHEONIX, AZ 85038                     MIAMI, FL 33152-5392




DIRK, LINDSAY M                          DIROS TECHNOLOGY                      DISASTER MANAGEMENT SYSTEMS
[ADDRESS REDACTED]                       120 GIBSON DRIVE                      2651 POMONA BLVD
                                         MARKHAM, ON L3R 2Z3                   POMONA, CA 91768
                                         CANADA




DISCOUNT MOON WALKS & PARTY RENTALS      DISCOUNT TIRE CO. INC                 DISCOVER CARD SERVICES
913 FM 1696 W                            171 IH 45 S                           PO BOX 28568
HUNTSVILLE, TX 77320                     HUNTSVILLE, TX 77340                  COLUMBUS, OH 43228




DISCOVERY BENEFITS, INC.                 DISCOVERY LABORATORY,LLC              DISK-O-TAPE INC
PO BOX 9528                              PO BOX 2398                           23775 MERCANTILE RD
FARGO, ND 58106                          RUSSELL SPRINGS, KY 42642             CLEVELAND, OH 44122-5990




DISTIN, CINDY                            DIVERSA PRODUCTS GROUP, LLC           DIVERSATEK HEALTHCARE INC.
[ADDRESS REDACTED]                       1615 W UNIVERSITY DR, STE 135         102 E KEEFE AVE
                                         TEMPE, AZ 85281                       MILWAUKEE, WI 53212




DIVERSE ID PRODUCTS OF FLORDIA, LLC      DIVERSIFIED BIOLOGICAL, LLC           DIVERSIFIED BIOLOGICALS
PO BOX 901615                            3453 PELHAM ROAD, SUITE 104           4300 SW 73RD AVENUE 102
KANSAS CITY, MO 64190-1615               GREENVILLE, SC 29615                  MIAMI, FL 33155




DIVERSIFIED CLINICAL SERVICES, INC.      DIVERSIFIED COLLECTION SERVICES INC   DIVINA L. GREENE
4500 SALISBURY ROAD                      PO BOX 205789                         [ADDRESS REDACTED]
SUITE 300                                DALLAS, TX 75320-5789
JACKSONVILLE, FL 32216
DIVINA, GREEN      Case   19-36300 Document   1 Filed
                                     DIVINE MERCY VELOZin TXSB on 11/11/19 DIVOT
                                                                             Page  76 of 240
                                                                                 DAMSELS
292 ELKINS LAKE                         [ADDRESS REDACTED]                    1148 ELKINS LAKE
HUNTSVILLE, TX 77340                                                          HUNTSVILLE, TX 77340




DIXON, BRADLEY                          DIXON, INGRID                         DIXON, KAREN
HUNTSVILLE, TX 77340                                                          [ADDRESS REDACTED]




DIXON, MARY INGRID                      DIXON, TAMMY                          DJ ORTHOPEDICS, LLC
HUNTSVILLE, TX                                                                1430 DECISION STREET
                                                                              VISTA, CA 92081-8553




DJO GLOBAL, INC                         DJO GLOBAL, INC.                      DLG ICE FACOTRYY
1430 DECISION STREET                    1430 DECISION STREET                  7217 PHILIBERT LANE
VISTA, CA 92081-8553                    VISTA, CA 92081-8553                  HOUSTON, TX 77028




DOBLE DAVES PIZZAWORKS                  DOCKERY, KYLE R                       DOCTORS EXCHANGE, INC.
3011 HWY 30W                            1220 11TH STREET                      19399 HELENBIRG RD, STE 1
HUNTSVILLE, TX 77340                    HUNTSVILLE, TX 77340                  COVINGSTON, LA 70433




DOCTORS EXCHANGE, INC.                  DOCU-SHRED (FORMERLY)LANGE            DOLLAR TREE
19399 HELENBIRG RD.,                    DOCUMENT                              257-C INTERSTATE 45 SOUTH
SUITE 1                                 PO BOX 9070                           HUNTSVILLE, TX 77340
COVINGTON, LA 70433                     COLLEGE STATION, TX 77842




DOLORES URIBE ORTIZ                     DOMAIN LISTINGS LLC                   DOMANIQUE SCOTT
[ADDRESS REDACTED]                      PO BOX 19607                          [ADDRESS REDACTED]
                                        LAS VEGAS, NV 89132




DOMINEY FAMILY ENTERPRISES              DOMINICAN SISTERS OF HOUSTON TX INC   DON GUAJARDO
196 IH 45 NORTH,503                     6501 ALMEDA ROAD                      HUNTSVILLE, TX 77340
HUNTSVILLE, TX 77320                    HOUSTON, TX 77021




DON JOHNSON                             DONALD HIRT                           DONALD R HARVEY INC (FORMERLY)
[ADDRESS REDACTED]                      232 EAST SHERWOOD DR                  30 N WILLIAM ST
                                        LIVINGSTON, TX 77351                  PEARL RIVER, NY 10965




DONALD T BAILEY                         DONNA C RAY                           DONNA G KOERTH
[ADDRESS REDACTED]                      [ADDRESS REDACTED]                    [ADDRESS REDACTED]
DONNA MARIE CURRY Case   19-36300 Document 1 Filed in TXSB on 11/11/19 DONNA
                                    DONNA OHLENBURGER                   PageS TEMPLE
                                                                              77 of 240
[ADDRESS REDACTED]                    [ADDRESS REDACTED]                    [ADDRESS REDACTED]




DONNA SUE PARTRIDGE                   DONNA SUZETTE TEMPLE                  DONOVAN A. WHITTEN
[ADDRESS REDACTED]                    [ADDRESS REDACTED]                    [ADDRESS REDACTED]




DOOR CONTROL SERVICES INC             DORA N SHEFFIELD                      DORA N SHEFFIELD
321 VZ COUNTY ROAD 4500               [ADDRESS REDACTED]                    [ADDRESS REDACTED]
BEN WHEELER, TX 75754




DORIAN EDWARD KAISER                  DORIAN J MEADOR                       DOROTHY B HARDY
[ADDRESS REDACTED]                    [ADDRESS REDACTED]                    [ADDRESS REDACTED]




DOROTHY HARRIS                        DORRIS, ALLEN JR                      DORRIS, NICOLE
[ADDRESS REDACTED]                    PO BOX 2144
                                      CONROE, TX 77305




DORSEY, REBA                          DOSTILLO JORDAN                       DOTMED.COM
HUNTSVILLE, TX 77340                                                        29 BROADWAY, SUITE 2500
                                                                            NEW YORK, NY 10006




DOUBLEDAY ACQUISTIONS LLC             DOUG BROWN & ASSOCIATES               DOUGLAS ALLEN BINENTI
290 DRYDEN ROAD                       PO BOX 901                            3710 HAWK VIEW STREET
DAYTON, OH 45439                      HUNTINGTON BEACH, CA 92648            ROUND ROCK, TX 78665




DOUGLAS, MARSHALL A                   DOWNER,MARY                           DPR CONSTRUCTION
1220 11TH STREET                      HUNTSVILLE, TX                        3200 SOUTHWEST FREEWAY STE 1550
HUNTSVILLE, TX 77340                                                        HOUSTON, TX 77027




DQE, INC.                             DR. FRANK MCGEHEE M.D. C.C.N., P.A.   DR. JAMES SMITH
9910 NORTH BY NORTHEAST BLVD.         1909 22ND STREET                      369 ELKINS LAKE
SUITE 600                             HUNTSVILLE, TX 77340                  HUNTSVILLE, TX 77340
FISHERS, IN 46037




DR. LUKE SCAMARDO                     DR. PEPPER SNAPPLE SPRING             DR.JAMIE HURTADO-MUNOZ
501 E WASHINGTON AVE                  21500 SPRING WEST DRIVE               1911 LOUETTA PARK CIRCLE
NAVASOTA, TX 77868                    SPRING, TX 77388                      SPRING, TX 77388
DRAEGER, INC        Case 19-36300 Document  1 Filed
                                    DRAGER MEDICAL INCin TXSB on 11/11/19 DRAKE
                                                                           Page   78 of 240
                                                                                KATIE
3135 QUARRY RD                         3135 QUARRY RD                      45 ESSEX BLVD 1012
TELFORD, PA 18969                      TELFORD, PA 18969                   HUNTSVILLE, TX 77320




DRAWING BOARD BUSINESS SOLUTIONS       DRETKE, CALLI                       DRFIRST.COM, INC.
PO BOX 2995                            12302 BROWNING DR                   9420 KEY WEST AVE., SUITE 230
HARTFORD, CT 06101-2995                MONTGOMERY, TX 77356                ROCKVILLE, MD 20850




DRIVER RECORD SERVICE                  DRS C/O ADDED BY MEDIA LOAD         DRUG ENFORCEMENT ADMINISTRATION
PO BOX 3668                            PO BOX 460036                       PO BOX 28083
AUSTIN, TX 78764                       GARLAND, TX 75046                   WASHINGTON, DC 20038-8083




DRUG PACKAGE INC                       DRUMMOND AMER CORP                  DRY ERASE DESIGNS LLC
901 DRUG PACKAGE LANE                  600 CORPORATE WOOD PKWY             1508 KEE COURT
O FALLON, MO 63366                     VERNON HILL, IL 60061-3108          CHARLOTTE, NC 28203




DSHS CENTRAL LAB                       DSI                                 DSS DRIVING SAFETY SERVICES, LLC
1100 WEST 49TH STREET                  119 14TH ST NW, STE 100             110 MERCHANT ST
PO BOX 149347                          ST PAUL, MN 55112                   EL CAMPO, TX 77437
AUSTIN, TX 78714-9347




DUAL CORE LLC                          DUAL LIGHT BATTERIES                DUANE E HUNT
6555 W. GOOD HOPE RD                                                       [ADDRESS REDACTED]
MILWAUKEE, WI 53223




DUBIN MEDICAL, INC                     DUBLIN AND ASSOCIATES               DUCHAMP, LISA A MD
970 TURQUOISE STREEET                  3015 SAN PEDRO                      HUNTSVILLE, TX 77340
SAN DIEGO, CA 92109                    SAN ANTONIO, TX 78212




DUCHAR C LIND                          DUCKS UNLIMITED                     DUGAS, NORMAN J
[ADDRESS REDACTED]                     901 NORMAL PARK STE 200             1220 11TH STREET
                                       HUNTSVILLE, TX 77320                HUNTSVILLE, TX 77340




DUKANE CORPORATION                     DUKE T MARSHALL                     DUKE, FLORA
90 FIELDSSTONE CT                      [ADDRESS REDACTED]                  HUNTSVILLE, TX 77340
CHESHIRE, CT 06410




DULANY, DAN                            DULEEKA BOPITIYA GAMAGE             DUN & BRADSTREET CREDIBILITY CORP
HUNTSVILLE, TX 77320                   [ADDRESS REDACTED]                  22761 PACIFIC COAST HIGHWAY
                                                                           MALIBU, CA 90265
DUNCAN, DOUG       Case   19-36300 Document
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                                             MEDICAL   in TXSB on 11/11/19 DUNN,
                                                                            Page   79 of
                                                                                 KACAL,   240
                                                                                        ADAMS,
HUNTSVILLE, TX 77340                    526 S. MAIN ST                       2929 ALLEN PARKWAY
                                        STE 701E                             HOUSTON, TX 77019
                                        AKRON, OH 44311




DUNN, ROBERT RANDAL                     DUPONT SUSTAINABLE SOLUTIONS         DURALIFE, INC.
MADISON CO COURTHOUSE 97836127808       500 STUDIO DRIVE                     195 PHILLIPS PARK DRIVE
101 W MAIN RM 226                       VIRGINIA BEACH, VA 23452             S. WILLIAMSPORT, PA 17702
MADISONVILLE, TX 77864




DURHAM, KATHY                           DUSTIN R. LENORMAN                   DUTCH OPTHALMIC USA
HUNTSVILLE, TX 77340                    [ADDRESS REDACTED]                   10 CONTINENTAL DRIVE
                                                                             BUILDING 1
                                                                             EXETER, NH 03833




DVA LABORATORY SERVICES INC.            DXP ENTERPRISES, INC                 DYMEDSO INC
3951 SW 30TH AVENUE                     PO BOX 538055                        2120, 32ND AVENUE
FORT LAUDERDAL, FL 33312                ATLANTA, GA 30353-8055               MONTREAL, QC HBT 3H7
                                                                             CANADA




DYNASPLINT SYSTEMS                      DYNATRON                             DYNATRONICS CORPORATION
70 RITCHIE HWY, STE W21                 7030 PARK CENTER DR                  7030 PARK CENTRE DR
SEVERNA PARK, MD 21146                  SALT LAKE CITY, UT 84121             SALT LAKE CITY, UT 84121




E.M.S.E. CORPORATION                    E.Z. GRAPH OF VICTORIA, INC          EAGLE FIRST INC
14 MADISON RD.                          132 STIRRUP ROAD                     194 PROMENADE
FAIRFIELD, NJ 07004                     VICTORIA, TX 77905-2622              MONTGOMERY, TX 77356




EAGLE GRAPHICS                          EARL STANFIELD                       EARLINE HOLT
1304 SAM HOUSTON AVE, STE B             PO BOX 975                           [ADDRESS REDACTED]
HUNTSVILLE, TX 77340                    COLDSPRING, TX 77331




EARLINE J. HOLT                         EARLINE PITTMON                      EARNESTINE DENSON
[ADDRESS REDACTED]                      [ADDRESS REDACTED]                   [ADDRESS REDACTED]




EARTHGRAINS BAKING CO                   EASCO HEATING AND AIR CONDITIONING   EAST TEX PRINTING
PO BOX 200681                           2815 MONTGOMERY RD.                  103 N TEMPLE
HOUSTON, TX 77216                       HUNTSVILLE, TX 77340                 DIBOLL, TX 75941




EAST TEXAS MEDICAL CENTER TRINITY       EAST TEXAS PHYSICIAN ALLIANCE        EASTEX BILINGUAL SERVICES, INC
PO BOX 3169                             PO BOX 131113                        PO BOX 151355
TRINITY, TX 75862                       SPRING, TX 77393                     LUFKIN, TX 75915-1355
                  CaseINC.
EASTEX TELEPHONE COOP,   19-36300   Document  1 PARTICE
                                      EASTLAND,   Filed in TXSB on 11/11/19 EASTMAN
                                                                              Page 80  of 240
                                                                                    KODAK COMPANY
PO BOX 150                             15776 LAKEWAY DR                     1187 RIDGE ROAD WEST
HENDERSON, TX 75653-0150               WILLIS, TX 77318                     ROYCHESTER, NY 14650




EBAY.COM                               EBI                                  EBOTTLES.COM
2025 HAMILTON AVE                      PO BOX 346                           1521 CADES BAY
SAN JOSE, CA 95125                     PARSIPPANY, NJ 07054                 JUPITER, FL 33458




EBSCO INDUSTRIES INC                   ECHO MESSER                          ECHOCARDIOGRAPHY SPECIALIST OF
PO BOX 830625                          HUNTSVILLE, TX 77340                 PO BOX 70951
10 ESTES STREET                                                             HOUSTON, TX 77270
BIRMINGHAM, AL 35283




ECKERD DRUG COMPANY                    ECLIPSYS CORPORATION                 ECOLAB CENTER
PO BOX 9067                            LOCKBOX 077133                       370 N WABASHA
CLEARWATER, FL 34618-9067              PO BOX 8538-0133                     ST PAUL, MN 55102
                                       PHILADELPHIA, PA 19171-0133




ECOLAB CENTER                          ECOLAB EQUIPMENT CARE                ECOLAB FOOD SAFETY SPEC
370N WABASHA                           24673 NETWORK PLACE                  24198 NETWORK PLACE
ST PAUL, MN 55102                      CHICAGO, IL 60673-1246               CHICAGO, IL 60673-1241




EDAP TECHNOMED INC                     EDC INDUSTRIES INCORPORATED          EDGE SYSTEMS CORP
100 PINNACLE WAY, STE 100              490 BENNETT ROAD                     2277 REDONDO AVE
NORCROSS, GA 30071                     ELK GROVE, IL 60007                  SIGNAL HILL, CA 90755




EDICOMM                                EDITH VIDAL                          EDUCATION FOR THE PREVENTION OF
6018 VARIEL AVENUE FIRST FLOOR         [ADDRESS REDACTED]                   1275 K STREET, SUITE 1000
WOODLAND HILLS, CA 91367                                                    WASHINGTON, DC 20005-4006




EDUCATIONAL CREDIT MANAGEMENT          EDWARD DON AND COMPANY               EDWARD W. HANKS
LOCKBOX 7096, PO BOX 16478             2562 PAYSPHERE CIRCLE                365 BISHOP ROAD
ST. PAUL, MN 55116-0478                CHICAGO, IL 60674                    HUNTSVILLE, TX 77320




EDWARDS LIFESCIENCES                   EDWARDS, JOAN ELAINE                 EEC ACQUISITION LLC
23146 NETWORK PLACE                    300 FOREST CENTER DRIVE 7105         370 WABASHA STREET NORTH
CHICAGO, IL 60673-1231                 KINGWOOD, TX 77339                   ST. PAUL, MN 55102




EFILLIATE INC                          E-FILLIATE, INC                      EGGELHOFF
11321 WHITE ROCK ROAD                  11321 WHITE ROCK ROAD                4801 GULF FREEWAY
RANCHO CORDOVA, CA 95742               RANCHO CORDOVA, CA 95742             HOUSTON, TX 77023
EILEEN FARFAN    Case    19-36300 Document 1 Filed in TXSB on 11/11/19 EKOS
                                    EKG CONCEPTS                         Page  81 of 240
                                                                            CORPORATION
[ADDRESS REDACTED]                    5542 SANDHILL RD                    11911 NORTH CREEK PARKWAY SOUTH
                                      RACINE, WI 53402                    BOTHELL, WA 98011




EKWO, TEMITOPE                        ELAM,BRITTANY                       ELECTRO MEDICAL EQUIP CO
744 ELKINS LK                         [ADDRESS REDACTED]                  2266 RIVERSIDE N
HUNTSVILLE, TX 77340                                                      BATON ROUGE, LA 70821




ELECTRONIC VOICE SERVICES             ELEVATOR SAFETY INSPECTIONS, INC.   ELISA SKINNER, INC
16475 DALLAS PARKWAY SUITE 350        21225 CREEK RD                      519 SPINDLE RIDGE DR.
ADDISON, TX 75001                     MANVEL, TX 77578                    SPRING, TX 77386




ELITE ADVERTISING L.P.                ELITE DEALS                         ELITE NURSING SERVICES PLLC
PO BOX 13725                          3953 HICKORY HILL ROAD              PO BOX 2284
ARLINGTON, TX 76094                   MEMPHIS, TN 38115                   PALESTINE, TX 75802




ELITECHGROUP INC                      ELITECHGROUP INC.                   ELIZABETH A ROGERS
370 WEST 1700 SOUTH                   370 WEST 1700 SOUTH                 [ADDRESS REDACTED]
LOGAN, UT 84321-8212                  LOGAN, UT 84321-8212




ELIZABETH ANN HAECKER                 ELIZABETH CANALES                   ELIZABETH L SHARROCK
[ADDRESS REDACTED]                    [ADDRESS REDACTED]                  [ADDRESS REDACTED]




ELIZABETH LORENZ                      ELIZABETH MEJIA-ZELAYA              ELIZABETH PATTIE RINGO
[ADDRESS REDACTED]                    [ADDRESS REDACTED]                  [ADDRESS REDACTED]




ELIZABETH PIIPPO                      ELIZABETH QUINTANA                  ELIZABETH RUBY LARA
[ADDRESS REDACTED]                    [ADDRESS REDACTED]                  [ADDRESS REDACTED]




ELIZABETH VAN ROOY                    ELKINS LAKE COMMUNITY ASSOCIATION   ELKINS LAKE RECREATION CORP
[ADDRESS REDACTED]                    570 ELKINS LAKE                     282 ELKINS LAKE
                                      HUNTSVILLE, TX 77340                HUNTSVILLE, TX 77340




ELKINS LAKE                           ELLA J MORELAND                     ELLA MORELAND
282 ELKINS LAKE                       [ADDRESS REDACTED]                  [ADDRESS REDACTED]
HUNTSVILLE, TX 77340
                   Case
ELLIOTT ELECTRIC SUPPLY    19-36300 Document    1 Filed in TXSB on 11/11/19 ELLIS,
                                      ELLIOTT, VERONICA                       Page   82 of 240
                                                                                   CHARLES
PO BOX 630610                            1513 HENDRIX LN                     HMH RADIOLOGY
NACOGDOCHES, TX 75963                    MADISONVILLE, TX 77864




ELLIS, CHARLOTTE GAYE                    ELLIS, JEAN                         ELLIS,JANANDA
2900 OLD HOUSTON RD                      PO BOX 841                          PO BOX 784
HUNTSVILLE, TX 77340                     RIVERSIDE, TX 77367                 HUNTSVILLE, TX 77340




ELLKAY LLC                               ELLKAY LLC                          ELMED INCORPORATED
200 RIVERFRONT BLVD                      259 CEDAR LANE                      35 N BRANDON DR
ELMWOOD PARK, NJ 07407                   TEANECK, NJ 07666                   GLENDALE HEIGHTS, IL 60139




ELMER THOMAS II VANCE                    ELMIE O. BASA                       ELMS WANDA
[ADDRESS REDACTED]                       [ADDRESS REDACTED]                  48 NELWYN LN
                                                                             HUNTSVILLE, TX 77320




ELSEVIER                                 ELYSE NICOLE MASSEY                 EMBASSY RECORDS MANAGEMENT AND
3251 RIVERPOINT LANE                     [ADDRESS REDACTED]                  PO BOX 5449
MARYLAND HEIGHTS, MO 63043                                                   BRYAN, TX 77805




EMC CORPORATION                          EMCOR-GOWAN INC                     EMDEON BUSINESS SERVICE
176 SOUTH STREET                         5550 AIRLINE DRIVE                  3055 LEBANON PIKE, STE 1000
HOPKINTON, MA 01748-9103                 HOUSTON, TX 77076                   NASHVILLE, TN 37214-2239




EME COMPANY                              EMED                                EMERALD HEALTH SERVICES
12015 INDUSTRIPLEX BLVD                  330 GREENE ST                       DEPARTMENT 6221
BATON ROUGE, LA 70809                    BUFFALO, NY 14240-0369              LOS ANGELES, CA 90084-6221




EMERGENCY NURSES ASSOCIATION             EMERGENCY PERSONNEL APPRECIATION    EMERGENCY PHYSICIANS OFFICE
915 LEE ST                               102 W FM 1375                       PO BOX 3475
DES PLAINES, IL 60016                    NEW WAVERLY, TX 77358               TOLEDO, OH 43607-0475




EMERGENCY STAFFING SOLUTIONS, INC        EMERSON                             EMERSON, LORI
17304 PRESTON ROAD, SUITE 1400           4991 CORPORATE DRIVE                HUNTSVILLE, TX 77340
DALLAS, TX 75252                         HUNTSVILLE, AL 35805




EMERSON, MARY LOU                        EMILY A RIEFEL                      EMILY MARIAH SUPAK
PO BOX 2876                              [ADDRESS REDACTED]                  [ADDRESS REDACTED]
TRINITY, TX 75862
EMILY MCGRAW     Case       19-36300 Document   1 Filed in TXSB on 11/11/19 EMMY
                                       EMILY R WHEELER                       Page  83 of 240
                                                                                 BUSHMAN
[ADDRESS REDACTED]                       [ADDRESS REDACTED]                    [ADDRESS REDACTED]




EMONO, OJOMAH A.                         EMPI INC                              EMPLOYMENT SECURITY DEPT.
4400 COLLEGE PARK DR APT 731             599 CARDIGAN ROAD                     PO BOX 24928
THE WOODLANDS, TX 77384                  ST PAUL, MN 55126-4099                SEATTLE, WA 98124-0928




ENA COURSEWORK (TNCC/ENPC)               ENCOMPAS UNLIMITED, INC               ENCORE MEDICAL LP
PO BOX 1276                              2219 WHITFIELD PARK DR                9800 METRIC BLVD
BEDFORD PARK, IL 60499-1276              SARASOTA, FL 34243                    AUSTIN, TX 78758




ENDEVIS, LLC                             ENDEVIS, LLC                          ENDOCHOICE
819 KINGSBURY ROAD, STE 100              PO BOX 823461                         11800 WILLIS ROAD
MAUMEE, OH 43537                         PHILADELPHIA, PA 19182-3461           SUITE 100
                                                                               ALPHARETTA, GA 30009




ENDOGASTRIC SOLUTIONS, INC.              ENDOLOGIX, INC.                       ENDO-SCIENTIFIC INC
18109 NE 76TH STREET, SUITE 100          PO BOX 848291                         13130B 90TH ST N 807B
REDMOND, WA 98052                        DALLAS, TX 75284-8291                 LARGO, FL 34643




ENER-G FOODS INC                         ENERGY SYSTEMS SOUTHEAST LLC          ENG SCIENTIFIC, INC
5960 1ST AVE S                           1117 WILLOWOOD ROAD                   82 INDUSTRIAL EAST
SEATTLE, WA 98124                        KNOXVILLE, TN 37922                   CLIFTON, NJ 07012




ENTELLUS MEDICAL, INC                    ENTERGY TEXAS INC                     ENTERGY
3600 HOLLY LANE NORTH, SUITE 40          PO BOX 8104                           446 NORTH BLVD
PLYMOUTH, MN 55447                       BATON ROUGE, LA 70891-8104            BATON ROUGE, LA 70802




ENTERGY                                  ENTERGY                               ENTERPRISE ASSET SERVICES, INC.
PO BOX 61009                             PO BOX 8104                           10200 W. 75TH ST
NEW ORLEANS, LA 70161-1009               BATON ROUGE, LA 70891-8104            MERRIAM, KS 66204




ENTERPRISE PERFORMANCE SYSTEMS, INC      ENTERPRISE                            ENTRIGUE SURGICAL
1734 CLARKSON ROAD                       1524 11TH ST STE E                    12672 SILICON DR. STE 150
BOX 313                                  HUNTSVILLE, TX 77340                  SAN ANTONIO, TX 78249
CHESTERFIELD, MO 63017




ENV SERVICES, INC.                       ENVIROCLEAN MANAGEMENT SERVICES INC   ENVIROMENT OF CARE LEADER
2880 BERGEY ROAD, SUITE K                12750 MERIT DRIVE                     11300 ROCKVILLE PIKE STE 1100
HATFIELD, PA 19440-1764                  PARK CENTRAL VII, SUITE 770           ROCKVILLE, MD 28052-3030
                                         DALLAS, TX 75251
ENVIRONMENT OF CARECase  19-36300
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                                          ENVIRONMENT      in TXSB
                                                      OF CARE NEWS on 11/11/19 ENVIRONMENTAL
                                                                                 Page 84 of 240
                                                                                             IMPROVEMENTS, INC.
131 WEST FIRST STREET                      16442 COLLECTIONS CENTER DRIVE        1183 BRITTMOORE RD.
DULUTH, MN 55802-2065                      CHICAGO, IL 60693                     ST 100
                                                                                 HOUSTON, TX 77043




ENVIRONMENTAL SIGNAGE SOLUTIONS INC        ENVIRONMENTAL TESTING SERVICES, INC   ENVISION, INC.
8181 JETSTAR DR. SUITE 110                 10908 METRONOME DRIVE                 644 WEST IRIS DRIVE
IRVING, TX 75063                           HOUSTON, TX 77043                     NASHVILLE, TX 37204




EPIC MEDICAL TECHNOLOGIES,LLC              EPIMED INC                            EPIMED INTERNATIONAL
2535 AMHERST AVENUE                        141 SAL LANDRIO DRIVE                 6 DIVISION STREET
LOS ANGELES, CA 90064                      JOHNSTOWN, NY 12095                   GLOVERSVILLE, NY 12078




EPSI                                       EPSON ACCESSORIES,INC                 EPSY SERVICES INC
1734 CLARKSON RD                           3840 KILROY AIRPORT WAY, MS 2-25
PMB 313                                    LONG BEACH, CA 90806
CHESTERFIELD, MO 63017




ERBE USA INC                               ERBE USA INCORP. SURGICAL SYSTEMS     ERIC L BOUDOIN
2225 NORTHWEST PARKWAY                     2225 NORTHWEST PARKWAY                [ADDRESS REDACTED]
MARIETTA, GA 30067-9317                    MARIETTA, GA 30067




ERIC SPARKS                                ERICA GRACE KNOWLES                   ERIEM SURGICAL, INC.
1833 HUBBELL DRIVE                         [ADDRESS REDACTED]                    28438 BALLARD DRIVE
MOUNT PLEASANT, SC 29466                                                         LAKE FOREST, IL 60045




ERIN ALEXANDER                             ERIN M MCMILLAN                       ERNST & YOUNG
[ADDRESS REDACTED]                         [ADDRESS REDACTED]                    PO BOX 200618 SUITE 2400
                                                                                 HOUSTON, TX 77216-0618




ERNST JEWELERS INC                         ESCALERA INC,                         ESCREEN, INC
PO BOX 300                                 PO BOX 1359                           PO BOX 25902
HUNTSVILLE, TX 77342-0300                  YUBA CITY, CA 95992                   OVERLAND PARK, KS 66225-5902




ESI LEDERLE                                ESPY SERVICES, INC                    ESPY SERVICES, INC
98 EXCELLENCE WAY-DOCK 27                  2213 16ST STREET                      2213 16TH STREET
VONORE, TN 37885                           BEDFORD, TIN 47421                    BEDFORD, IN 47421




ESSENCE CHANTAEL ROSS                      ESSER,JENNIFER                        ESTHER M CRUZ
[ADDRESS REDACTED]                         400 HICKORY ST 3                      [ADDRESS REDACTED]
                                           HUNTSVILLE, TX 77320
ESTUDIO, LLC      Case 19-36300    Document  1 Filed in TXSB on 11/11/19 ETHICON,
                                     ETHAN M SMITH                         Page 85INC of 240
2180 NOTH LOOP WEST, SUITE 500        [ADDRESS REDACTED]                   ROUTE 22 WEST
HOUSTON, TX 77018                                                          SOMERVILLE, NJ 08876




ETS-LINDGREN                          ETZA ELENA SHEPHERD                  EUNICE CAVAZOS
400 HIGH GROVE BLVD                   [ADDRESS REDACTED]                   [ADDRESS REDACTED]
GLENDALE HEIGHTS, IL 60139




EUNICE T ADJEI                        EVANS CHYREL                         EVANSTON INSURANCE CO. (MARKEL)
[ADDRESS REDACTED]                    9 ARCHIE RD                          4521 HIGHWOODS PARKWAY
                                      HUNTSVILLE, TX 77320                 GLEN ALLEN, VA 23060




EVANSTON INSURANCE CO. (MARKEL)       EVENT PLANNER OF HOUSTON INC.        EVENT PROMOTIONS NOW
TEN PARKWAY N                         6968 HOWELL SUGAR LAND RD.           1270 GLEN AVE
DEERFIELD, IL 60015                   HOUSTON, TX 77083                    MOORESTOWN, NJ 08057




EVER DIXIE USA                        EVERBANK COMMERCIAL FINANCE          EVEREST MEDICAL CORP
10101 FOSTER AVENUE                   10 WATERVIEW BLVD.                   6655 WEDGWOOD ROAD, SUITE 105
BROOKLYN, NY 11236                    PARSIPPANY, NJ 07054                 MAPLE GROVE, MN 55311-3602




EVOLOGICS, LLC                        EVOLVE HOLDINGS                      EVOLVE POWER GENERATION LLC
4766 RESEARCH DRIVE                   10555 COSSEY ROAD                    10555 COSSEY ROAD
SAN ANTONIO, TX 78240                 HOUSTON, TX 77070                    HOUSTON, TX 77070




EWT HOLDINGS III CORP                 EXCEL WASTE PARTNERS, LLC            EXCHANGE CART ACCESSORIES, INC
10 TECHNOLOGY DRIVE                   6410 LONG DR.                        PO BOX 767
LOWELL, MA 01851                      HOUSTON, TX 77087                    BELLEVILLE, IL 62222




EXECUTIVE HEALTH RESOURCES, INC.      EXERGEN CORP.                        EXIT-WRITER
PO BOX 822688                         400 PLEASANT ST.                     160 WIKIUP DRIVE, SUITE 205
PHILADELPHIA, PA 19182-2688           WATERTOWN, MA 02472                  SANTA ROSA, CA 95403




EXP PHARMACEUTICAL SERVICES CORP      EXPANETS DIRECT                      EXPEDITER SYSTEMS OF TEXAS
48021 WARM SPRINGS BLVD               339 CROSS PARK DRIVE                 145 TIMBERWILD
FREMONT, CA 94539                     PEARL, MS 39288-7569                 NEW BRAUNFELS, TX 03833




EXPEDITIVE                            EXPERIAN QAS                         EXPERTOX, INC
3 INDEPENDENCE WAY                    125 SUMMER ST. STE 1910              1430 CENTER STREET
SUITE 201                             BOSTON, MA 02110-1615                DEER PARK, TX 77536
PRINCETON, NJ 08540
                  Case 19-36300
EXPERTS PHARMACY -HOUSTON            Document  1 HAND
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                                                      THERAPY                 Page  86 ofLLC
                                                                                 EXPERTS, 240
PO BOX 1359                             7991 9TH AVE S                      7770 COOPER RD., SUITE 3, 1ST FLOOR
MORTON GROVE, IL 60053                  SAINT PETERSBURG, FL 33707          CINCINNATI, OH 45242




EXPRESS SCRIPTS INC                     EXPRESS SERVICES INC                EXTECH INSTRUMENTS
21653 NETWORK PLACE                     PO BOX 26706                        9 TOWNSEND W
CHICAGO, IL 60673-1216                  OKLAHOMA CITY, OK 73126-0706        NASHUA, NH 03063




EXTREME SIGNS & LIGHTING, LLC           EXTREMITY MEDICAL, LLC              EZ WAY INC
1800 OLD SYCAMORE AVE.                  300 INTERPACE PARKWAY, SUITE 410    PO BOX 89
HUNTSVILLE, TX 77340                    PARSIPPANY, NJ 07054                CLARINDA, IA 51632




E-Z-EM, INC                             F ADELLE TAYLOR                     FABIAN, CHUCK
1111 MARCUS AVENUE                      [ADDRESS REDACTED]                  HUNTSVILLE, TX 77340
SUITE M-60
LAKE SUCCESS, NY 11042




FACILITATIVE PROJECT LEADERSHIP         FACILITY GATEWAY CORPORATION        FACILITY SPECIALTIES, INC
1804 GREEN MEADOW CIRCLE                4916 E. BROADWAY                    PO BOX 692226
ALLEN, TX 75013                         MADISON, WI 53716                   HOUSTON, TX 77269




FACILITY STANDARDS COMPLIANCE, INC      FACTORY AUTHORIZED                  FAILS, SHARON
2813 TEAKWOOD LANE                      38595 EAGLE WAY                     HUNTSVILLE, TX 77340
PLANO, TX 75075                         CHICAGO, IL 60678-1385




FAIMLY HEARING SENSORY-NEURO CTR        FAIRFIELD INN BY MARRIOTT           FAIRWAY SUPPLY
1320 10TH ST                            620 SOUTH SANTA ROSA                2631 LOMBARDY LANE
HUNTSVILLE, TX 77340                    SAN ANTONIO, TX 78204               DALLAS, TX 75220




FAITH ANN GLESSNER                      FAITH LUTHERAN SCHOOL               FAITHSEARCH PARTNERS INC
[ADDRESS REDACTED]                      111 SUMAC ROAD                      14722 FISHERS COVE
                                        HUNTSVILLE, TX 77340                PINEHURST, TX 77362




FAITHSEARCH PARTNERS, INC               FAMILY AND CONSUMER SCIENCE         FAMILY DENTISTRY OF HUNTSVILLE
14722 FISHERS COVE                      102 TAM ROAD STE B                  2703 MONTGOMERY RD
PINEHURST, TX 77362                     HUNTSVILLE, TX 77320                HUNTSVILLE, TX 77340




FAMILY READERS SERVICE                  FARISHA M RAFIQ                     FARMER BROTHERS CO.
PO BOX 1469                             [ADDRESS REDACTED]                  PO BOX 79705
ELYRIA, OH 44035                                                            CITY OF INDUSTRY, CA 91716-9705
FARMERS BROTHERS Case
                   CO     19-36300 Document 1 CAFE
                                     FARMHOUSE Filed in TXSB on 11/11/19 FARRZ
                                                                           Page  87 of 240
                                                                               INC.
DEPT 1810                              1004 14TH STREET                   206H S LOOP 336 W
LOS ANGELES, CA 90096                  HUNTSVILLE, TX 77340               CONROE, TX 77304




FASTENAL COMPANY                       FASTSERV SUPPLY, INC.              FAT CATALOG
684 INTERSTATE 45                      PO BOX 671482                      3736 REGENT AVE
HUNTSVILLE, TX 77340                   DALLAS, TX 75238                   CINCINNATI, OH 45212-3724




FAWCETT, JOHN                          FBM HOLDINGS, LLC                  FDA-MQSA PROGRAM
1009 W. SEMANDS ST.                    PO BOX 5094                        PO BOX 70953
CONROE, TX 77301                       BRENTWOOD, TX 37024-5094           CHARLOTTE, NC 28272-0953




FDR & CP SERVICES INC                  FDR SERVICES, INC                  FEDERAL EXPRESS
PO BOX 3930                            PO BOX 3930                        2650 THOUSAND OAK
BRYAN, TX 77805                        BRYAN, TX 77805                    MEMPHIS, TN 38118




FEDERATION OF STATE MEDICAL            FEDEX KINKOS                       FEDEX
PO BOX 970899                          1304 W.DAVIS, SUITE 1              PO BOX 371461
DALLAS, TX 75397-0899                  CONROE, TX 77304                   PITTSBURGH, PA 15250-7461




FELCO PRODUCTS                         FELICIA LASHUN BENNETT             FELIX STROCH, INC
C/O PYGAR USA INC                      [ADDRESS REDACTED]                 770 GARRISON AVENUE
5470 SHILSHOLE AVE NW, STE 302                                            BRONX, NY 10474
SEATTLE, WA 98107




FENWAL INC                             FERGUSON CONNIE                    FERGUSON STANLEY H.
DEPT CH 17924                          109 PLUM CREEK ST                  109 PLUM CREEK
PALATINE, IL 60055-1234                HUNTSVILLE, TX 77320-3034          HUNTSVILLE, TX 77320




FERGUSON, THOMAS                       FERGUSON,JESSICA ANN               FERGUSON,STANLEY
[ADDRESS REDACTED]                     [ADDRESS REDACTED]                 1011 SOUTH 260TH STREET
                                                                          PITTSBURG, KS 66762




FERNANDEZ, DR ROBERT                   FERNANDEZ, NORMA                   FERNE FROSCH
123 MEDICAL PARK LANE                  147 ELKINS LAKE                    [ADDRESS REDACTED]
HUNTSVILLE, TX 77340                   HUNTSVILLE, TX 77340




FFF ENTERPRISES INC                    FIBER OPTIC BULBS INCORPORATED     FICKLEN, DAVID RYAN MD
41093 COUNTY CENTER DR                 27831 COMMERCIAL PARK LANE         PO BOX 4001
TEMECULA, CA 92591                     TOMBALL, TX 77375                  HUNTSVILLE, TX 77342-4001
                    Case LLC
FIDELIS MEDICAL PARTNERS, 19-36300   Document   1 Filed
                                       FIDIA PHARMA       in TXSB on 11/11/19 FIESTA
                                                    USA INC                     PageTEXAS
                                                                                      88 of 240
95 ARGONAUT, SUITE 160                  100 CAMPUS DRIVE, SUITE 105           17000 IH 10 WEST
ALISO VIEJO, CA 92656                   FLORHAM PARK, NJ 07932                SAN ANTONIO, TX 78257-9503




FILEX SYSTEMS INC                       FILTER TECHNOLOGY                     FILTERFRESH HOUSTON
3624 GREENWAY DR                        9018-B SCRANTON STREET                5175 WORLD HOUSTON PARKWAY
BEDFORD, TX 76021                       HOUSTON, TX 77075                     SUITE 100
                                                                              HOUSTON, TX 77032




FILTRINE MANUFACTURING CO               FINANCIAL CORP OF AMERICA             FINANCIAL CORPORATION OF AMERICA
15 KIT STREET                           400 E ANDERSON LANE                   PO BOX 16468
KEENE, NH 03431                         AUSTIN, TX 78752                      AUSTIN, TX 78761




FINANCIAL RESOURCE GROUP                FINANCIAL TRAINING INSTITUE           FINOVA CAPITAL CORP
12900 PRESTON RD STE 1030 LB-104        PO BOX 952                            PO BOX 6189
DALLAS, TX 75230                        WADING RIVER, NY 11792                CAROL STREAM, IL 60197-6189




FIRE POWER BOILER SERVICES LLC          FIRE PROTECTION ETCETERA              FIRE STARTER PUBLISHING
PO BOX 230039                           12207 CR 102                          913 GULF BREEZE PARKWAY, SUITE 6
HOUSTON, TX 77223                       NORTH ZULCH, TX 77872-9601            GULF BREEZE, FL 32561




FIRST AMERICAN EQUIPMENT FINANCE        FIRST BIOMEDICAL, INC                 FIRST DATA BANK
PO BOX 96                               878 N. JAN-MAR COURT                  SUITE 500
FAIRPORT, NY 14450                      OLATHE,, KS 66064                     INDIANAPOLIS, IN 46240




FIRST FINANCIAL BANK                    FIRST HEALTH CARE PRODUCTS            FIRST HEALTH LIFE & HEALTH
33 STATE HWY 75N                        6125 LENDELL DRIVE                    PO BOX 6495
HUNTSVILLE, TX 77320                    SANBORN, NY 14132-9199                CAROL STREAM, IL 60197-6495




FIRST NATIONAL BANK OF HUNTSVILLE       FIRST NATIONAL BANK                   FIRST NATIONAL BANK
ATTN WALTER H. BENNETT, JR.             1300 11TH ST                          PO BOX 659
1300 11TH ST                            HUNTSVILLE, TX 77340                  HUNTSVILLE, TX 77340
HUNTSVILLE, TX 77340




FIRST NATIONAL BANK                     FIRST NATIONAL HUNTSVILLE CO.         FIRST SOUTHWEST COMPANY
PO BOX 659                              PO BOX 659                            325 NORTH ST PAUL SUITE 800
HUNTSVILLE, TX 77342                    HUNTSVILLE, TX 77342-0659             DALLAS, TX 75201




FIRST UNITED METHODIST CHURCH           FIRST UNITED METHODIST CHURCH         FIRST UNITED METHODIST CHURCH
1016 SAM HOUSTON AVE.                   200 N. THOMASON ST                    PO BOX 315
HUNTSVILLE, TX 77340                    WILLIS, TX 77378                      WILLIS, TX 77378
                   Case 19-36300
FISHER & PAKEL HEALTHCARE, INC     Document  1 FiledCOMPANY,
                                     FISHER SCIENTIFIC in TXSBLLCon 11/11/19 FISK
                                                                               Page   89 of 240
                                                                                  TECHNOLOGIES
15365 BARRANCA PARKWAY                9999 VETERANS MEMORIAL DR              PO BOX 924109
IRVINE, CA 92618                      HOUSTON, TX 77038-2499                 HOUSTON, TX 77292




FIT FOR LIFE LLC                      FITZGERALD, JOSEPH                     FLAGHOUSE REHAB
833 W SOUTH BOULDER ROAD,SUITE G                                             150 NO MACQUESTEN PKWY
LOUISVILLE, CO 80027                                                         MT VERNON, NY 10550




FLAHM, INC.                           FLASHBACK DATA, LLC                    FLEMING-AOD
PO BOX 427                            4029 S. CAPITAL OF TEXAS HWY           816 THAYER AVENUE
NANUET, NY 10954-9965                 SUITE 224                              THIRD FLOOR
                                      AUSTIN, TX 78704                       SILVER SPRING, MD 20910




FLETCHER, MARTIN                      FLEX STROCH, INC                       FLORE MARIBEL STEELE
1525 W. WALNUT HILL LANE              770 GARRISON AVENUE                    207 POST OAK
IRVING, TX 75038-3702                 BRONX, NY 10474                        LIVINGSTON, TX 77351




FLORENCE ONYONI                       FLORIDA COUNCIL AGAINST                FLORIDA DEPARTMENT OF EDUCATION
[ADDRESS REDACTED]                    1820 E. PARK AVE, SUITE 300            325 WEST GAINES STREET
                                      TALLAHASSEE, FL 32301                  TALLAHASSEE, FL 32399-0400




FLOW LABORATORIES                     FLOW TEK, INC.                         FLOWERS BY JANICE
PO BOX 8500-S-6805                    7314 ISLAND CIRCLE                     1523 NORMAL PARK STE E
PHILADELPHIA, PA 19178                BOULDER, CO 80301                      HUNTSVILLE, TX 77340




FLUKE ELECTRONICS                     FMA ENTERPRISES INC                    FMG PRINT SOLUTIONS LLC
6045 COCHRAN RD.                      11811 NORTH FREEWAY SUITE 900          PO BOX 136926
CLEVELAND, OH 44139-3303              HOUSTON, TX 77060                      FORT WORTH, TX 76136




FOBI/ABS                              FOCUSED TECHNOLOGY                     FOLLETT CORPORATION
27831 COMMERICAL PARK DR.             1850 PORTER LAKE DR, STE 102           801 CHURCH LANE
TOMBALL, TX 77375                     SARASOTA, FL 34240                     EASTON, PA 18040




FONDREN ORTHOPEDIC GROUP, LLP         FOOD MEDICATION INTERACTIONS           FOR THE RECORD
7401 S. MAIN                          PO BOX 204
HOUSTON, TX 77030                     BIRCHRUNVILLE, PA 19421-0204




FORBES, JASON MD                      FORD, SHANE                            FOREMOST EQUIPMENT
1600 W. UNIVERSITY BLVD               8020 NORTH TARRYTOWN CROSSING DR.      320 NORTH WASHINGTON ST
DURANT, OK 74701                      CONROE, TX 77304                       ROCHESTER, NY 14625
FORMFAST INC.      Case 19-36300   Document
                                     FORREST,1KOLODNY
                                                Filed &inONEILL,
                                                          TXSBLLPon 11/11/19 FORT
                                                                               Page  90COUNTY
                                                                                  BEND  of 240CHILD SUPPORT
13421 MANCHESTER ROAD 208             1011 AUGUSTA DR. SUITE 111             PO BOX 118
ST LOUIS, MO 63131                    HOUSTON, TX 77057                      RICHMOND, TX 77406-0118




FORT BEND SERVICES                    FORT DEARBORN LIFE INS                 FORTENBERRY, MEGAN
13303 REDFISH LANE                    PO BOX 655730                          150 SENDERO DR
STAFFORD, TX 77477                    DALLAS, TX 75265                       HUNTSVILLE, TX 77340




FORUM SYSTEMS GROUP                   FORWARD ADVANTAGE                      FORWARD EDGE
6808 WEST AVENUE                      7255 N. FIRST STREET                   DEPT 3731
SAN ANTONIO, TX 78213                 SUITE 106                              PO BOX 123731
                                      FRESNO, CA 93720                       DALLAS, TX 75312-3731




FOSTER, SHATONJIA                     FOUNDATION MANAGEMENT SERVICES         FOUNDATION RADIOLOGY GROUP PC
                                      PO BOX 50006                           1705 S. RENAISSANCE BLVD
                                      DENTON, TX 76206                       EDMOND, OK 73013




FOUNDATION SURGERY AFFILIATES         FOUNDATION SURGERY AFFILIATES          FOUNDATION SURGERY INC
643 LH 45 S                           PO BOX 1557                            13900 N. PORTLAND AVE200
HUNTSVILLE, TX 77340                  HUNTSVILLE, TX 77342                   OKLAHOMA CITY, OK 73134-4042




FOWLER, ELIZABETH ANN HAECKER         FOX MEADOWS SOFTWARE, LTD              FOX SCIENTIFIC
111 PARADISE POINT                    400 ARBOR LAKE DRIVE STE B600          8221 E FM 917
ONALASKA, TX 77360                    COLUMBIA, SC 29223                     ALVARADO, TX 76009




FOX TOURS & TRAVEL                    FRANER GALLERY                         FRANK O. MCGEHEE, MD, CCN
313A S SAM HOUSTON                    1421 SAM HOUSTON AVE                   1909 22ND STREET
HUNTSVILLE, TX 77340                  HUNTSVILLE, TX 77340                   HUNTSVILLE, TX 77340




FRANK PUFFER                          FRANKLIN, JENNIFER                     FRAZIER, HEATHER
[ADDRESS REDACTED]                                                           HUNTSVILLE, TX 77340




FRE PRYOR SEMINARS                    FREASIER COURTNEY                      FREEMAN MATHIS AND GARY
PO BOX 219468                         HUNTSVILLE, TX 77340                   100 GALLERIA PARKWAY
KANSAS CITY, MO 64121-9468                                                   SUITE 1600
                                                                             ATLANTA, GA 30339




FREEMAN, STACEY                       FRENCH, ELIZABETH                      FRENCH, JOHN
140 PINE VALLEY                       PO BOX 525                             1220 11TH STREET
HUNTSVILLE, TX 77340                  CENTERVILLE, TX 75833                  HUNTSVILLE, TX 77340
                   Case
FROME, ADAM IMMANUEL  MD 19-36300   Document
                                      FRONTIER1MEDICAL
                                                 FiledPRODUCTS
                                                       in TXSB on 11/11/19 FRONTIER
                                                                             Page 91  of 240 INCORPORATED
                                                                                    SOUTHWEST
17198 ST LUKES WAY STE 620             140 S. PARK ST.                     401 MERRITT 7
THE WOODLANDS, TX 77384-9903           PORT WASHINGTON, WI 53074           NORWALK, TX 06851




FROST & COMPANY, P.C.                  FROST, MARY                         FRY CONSTRUCTION COMPANY INC.
4550 POST OAK PLACE, SUITE 224         1518 CASTLEROCK RD                  3212 COMMANDER DR.
HOUSTON, TX 77027                      HOUSTON, TX 77090                   CARROLTON, TX 75006




FRY, SARAH KATE                        FSA OF HUNTSVILLE, LLP              FT. BEND SERVICES
[ADDRESS REDACTED]                     643 I45 S                           13303 REDFISH LN
                                       HUNTSVILLE, TX 77340                STAFFORD, TX 77477




FUJIFILM SONOSITE, INC.                FUJIFILMA MEDICAL SYSTEMS           FULBRIGHT & JAWORSKI
21919 30TH DRIVE SE                    419 WEST AVE                        PO BOX 844284
BOTHELL, WA 98021                      STANFORD, CT 06902                  DALLAS, TX 75284-4284




FULGHAM, BRENDA LYNN                   FULLER, ANNE                        FULLER, JUSTIN
[ADDRESS REDACTED]                     159 WEST PALM BLVD
                                       MONTGOMERY, TX 77356




FULSOM PAULA K                         FUNKE F OSAREMWINDA                 FURBEE, JULIE
                                       [ADDRESS REDACTED]                  PO BOX 297
                                                                           OAKHURST, TX 77359




FURGERSON, SUSIE                       FUSION LLC                          FUSION MEDICAL STAFFING, LLC
29305 FM 149                           210 INTERSTATE NORTH PKWY STE 300   PO BOX 82674
RICHARDS, TX 77873                     ATLANTA, GA 30339                   LINCOLN, NE 68501-2674




FUTURETECH INC                         G C SERVICES                        G T ENVIRONMENTAL TECHNOLOGY INC
150 BUSINESS CENTER DR                 6330 GULFTON                        PO BOX 891301
BIRMINGHAM, AL 35244                   HOUSTON, TX 77081                   HOUSTON, TX 77289-1301




G&E HC REIT II LIVINGSTON MOB LLC      GA GROUP, INC                       GABEHART, BRANDI D.
KRISTI WRY                             958 ALTHEA DR                       1410 AVENUE N
1551 N TUSTIN AVE STE 300              HOUSTON, TX 77018-5304              HUNTSVILLE, TX 77320
SANTA ANNA, CA 92705




GABRIEL G OHIANI JEGEDE                GABRIEL GAYNELL                     GABRIEL GUIZA
[ADDRESS REDACTED]                     3200 FEDERAL RD 168                 [ADDRESS REDACTED]
                                       PASADENA, TX 77504
                   Case 19-36300
GABRIELLA CHABLIS PHILLIPS            Document 1 NANCY
                                        GAERTNER, Filed in TXSB on 11/11/19 GAGE
                                                                             Page  92 of 240
                                                                                 CONTINUING EDUCATION
[ADDRESS REDACTED]                       1244 ELKINS LAKE                    2416 MERCHANT AVE
                                         HUNSVILLE, TX 77340                 ODESSA, FL 33556




GAINES, SHERI MD                         GALE HEALTHCARE SOLUTIONS, LLC      GALIC (FORMERLY) GREAT AMER LIFE
PO BOX 545                               PO BOX 4729                         DEPT 1822
HUNTSVILLE, TX 77342                     WINTER PARK, FL 32793-4729          CINCINNATI, OH 45274-1822




GALLIART MARK A.                         GALLOWAY, PATRICIA                  GALLS ARAMARK
4109 W. PHEASANT RIDGE                                                       2680 PALUMBO DR.
STILLWATER, OK 74074                                                         P.O. BOX 54308
                                                                             LEXINGTON, KY 40555-4308




GAME WARDEN PEACE OFFICERS ASSOC         GAMMA BIOLOGICALS, INC              GAMMA CONSTRUCTION
4367 FM 1047                             PO BOX 41027                        2808 JOANEL ST
HAMILTON, TX 76531                       HOUSTON, TX 77240-1027              HOUSTON, TX 77027




GAMMEX                                   GANNETT HEALTHCARE GROUP            GARLAND LAURA
7600 DISCOVERY DR.                       PO BOX 33130
MIDDLETON, WI 53562-0327                 NEWARK, NJ 07188-0130




GARNER FRITSCHE ENGINEERING , INC.       GARRISON, STACY                     GARY E WHITTEN
8554 KATY FREEWAY STE 101                HUNTSVILLE, TX 77340                [ADDRESS REDACTED]
BELLAIRE, TX 77024




GARZA & MCLAIN STRUCTURAL ENGINEERS      GARZA, CHRISTY                      GARZA, JAMIE
13313 SOUTHWEST FREEWAY, SUITE 163       [ADDRESS REDACTED]                  5121 FM 946 NO.
SUGAR LAND, TX 77478                                                         OAKHURST, TX 77359




GAS MONITORING INC                       GASPARD DEENA                       GATEWAY INN & SUITES
PO BOX 1285                                                                  606 IH-45 SOUTH
CARY, NC 27512                                                               HUNTSVILLE, TX 77340




GATHRIGHT PHOTOGRAPHY                    GATHRIGHT, MELODY                   GAUTREAUX,LISA
1916 NORMAL PARK C                                                           313 HARDY ST
HUNTSVILLE, TX 77340                                                         HUNTSVILLE, TX 77340




GAYLORD NATIONAL RESORT &                GAYLORD PALMS                       GAYLORD TEXAN
201 WATERFRONT STREET                    6000 W OSCEOLA PARKWAY              1501 GAYLORD TRAIL
NATIONAL HARBOR, MD 20745                KISSIMMEE, FL 34746                 GRAPEVINE, TX 76051
                    Case
GCS SERVICE INC (ECOLAB)   19-36300 Document  1 Filed
                                      GCS SERVICE, INC in TXSB on 11/11/19 GCX
                                                                            Page   93 of 240
                                                                               INSTRUMENTS MOUNTING SYSTEMS
PO BOX 64373                             8150 WESTPARK                       PO BOX 14140
ST PAUL, MN 55164-0373                   HOUSTON, TX 77063                   SUISUN CITY, CA 94585-4410




GDA MICRO TECHNOLOGIES INC               GE CAPITAL                          GE CAPITAL
6815 MANHATTAN BLVD                      PO BOX 5197                         PO BOX 650016
FT WORTH, TX 76120                       WESTBOROUGH, MA 01581               DALLAS, TX 75265




GE HEALTHCARE - GE VIVID E9              GE HEALTHCARE - GE VIVID E9         GE HEALTHCARE - IMAGE VAULT
138 HOLLAND DR.                          PO BOX 641419                       138 HOLLAND DR.
BUTLER, PA 16002                         PITTSBURG, PA 15264-1419            BUTLER, PA 16002




GE HEALTHCARE - IMAGE VAULT              GE HEALTHCARE DATEX-OHMEDA          GE HEALTHCARE FIN SERVICE
PO BOX 641419                            PO BOX 7550                         PO BOX 641419
PITTSBURG, PA 15264-1419                 MADISON, WI 53707-7550              PITTSBURG, PA 15264-1419




GE HEALTHCARE FINANCE SERVICE            GE HEALTHCARE FINANCE SERVICE       GE HEALTHCARE IITS USA CORP
101 N CAMPUS DR                          PO BOX 641419                       40 IDX DRIVE
85748                                    PITTSBURG, PA 15264-1419            WOUTH BURLINGTON, VT 05040
IMPERIAL, PA 15126




GE HEALTHCARE OEC                        GE HEALTHCARE SERVICES              GE HEALTHCARE USE VENDOR H000189
384 WRIGHT BROTHERS DRIVE                3000 N GRANDVIEW BLVD               3030 OHMEDA DRIVE
SALT LAKE CITY, UT 84116                 WAUKESHA, WI 53188                  MADISON, WI 53718




GE HEALTHCARE/AMERSHAM                   GE HFS LLC                          GE HFS LLC
101 CARNEGIE CENTER                      12854 KENAN DRIVE, SUITE 201        9900 INNOVATION DRIVE
PRINCETON, NJ 08540-6231                 JACKSONVILLE, FL 32258              RP-2100
                                                                             WAUWATOSA, WI 53226




GE HFS LLC                               GE MARQUETTE SERVICES               GE MEDICAL SYSTEMS INFO TECH
PO BOX 414, W-490                        100 MARQUETTE DRIVE
MILWAUKEE, WI 53201                      JUPITER, FL 33468




GE MEDICAL SYSTEMS INFO TECH             GE MEDICAL SYSTEMS                  GE MEDICAL SYSTEMS
PO BOX 640944                            75 REMITTANCE DR. STE 1080          PO BOX 843553
PITTSBURGH, PA 15264-0944                CHICAGO, IL 60675-1080              DALLAS, TX 75284-3553




GE ULTRASOUND OTR                        GEBAUER COMPANY                     GEERLINGS, ROSS
9900 INNOVATION DR                       4444 E. 153RD STREET                200 S. WING ST 5336
WAUWATOSA, WI 53226                      CLEVELAND, OH 44128                 NORTHVILLE, MI 48167
GEIGER, JERALD T    Case 19-36300 Document  1 Filed in TXSB on 11/11/19 GENERAL
                                    GENE BARTEE                          Page 94   of 240
                                                                                ELECTRIC CAPITAL
7580 S FORK DR                         PO BOX 88                           CORPORATION
CONROE, TX 77303                       NEW WAVERLY, TX 77358               9900 INNOVATION DRIVE
                                                                           RP-2100
                                                                           WAUWATOSA, WI 53226



GENERAL ELECTRIC CAPITAL               GENERAL ELECTRIC COMPANY            GENERAL SUPPLY & SERVICES, INC.
CORPORATION                            3000 N GRANDVIEW BLVD               400 TECHNOLOGY COURT SE SUITE R
PO BOX 414, W-490                      WAUKESHA, WI 53188                  SMYRNA, GA 30082
MILWAUKEE, WI 53201




GENESIS STRATEGIES INC                 GENEVA CAPITAL MANAGEMENT LTD.      GENOMIC HEALTH INC
PO BOX 853                             100 E. WISCONSIN AVE, SUITE 2550    PO BOX 60000
MARBLE FALLS, TX 78654                 MILWAUKEE, WI 53202                 SAN FRANCISCO, CA 94160-0001




GENSIA PHARMACEUTICALS                 GENTECH CONSTRUCTION COMPANY, LLC   GENTRY, GWENDOLYN
9360 TOWNE CENTRE DR                   2211 WEST 34TH ST                   1547 MEMORIAL LANE
SAN DIEGO, CA 92121                    HOUSTON, TX 77018-6004              CONROE, TX 77304




GENZYME BIOSURGERY                     GENZYME BIOSURGERY                  GENZYME CORPORATION
PO BOX 223013                          PO BOX 223122                       55 CAMBRIDGE PARKWAY
PITTSBURG, PA 15251-0213               PITTSPURGH, PA 15251-2122           CAMBRIDGE, MA 02142




GENZYME, A SANOFI COMPANY              GEORGE ALAN JEWELERS                GEORGINA A ARMAH
55 CAMBRIDGE PARKWAY                   603 W ELEVENTH                      [ADDRESS REDACTED]
CAMBRIDGE, MA 02142                    HOUSTON, TX 77008




GERALD G OVERLY, M.D.P.A               GERALD K COBB                       GERALD SCOTT BIGGERSTAFF
1611 N. WHITLEY DRIVE, SUITE 7         [ADDRESS REDACTED]                  [ADDRESS REDACTED]
FRUITLAND, ID 83619




GERALD WAYNE LANSFORD                  GERALDINE KINGDOM                   GERBER LIFE INSURANCE COMPANY
[ADDRESS REDACTED]                     [ADDRESS REDACTED]                  994 OLD EAGLE RD STE 1005
                                                                           WAYNE, PA 19087-1802




GERMAN ELECTRONCS COMPANY              GERMFREE                            GERRY G. ACHILLE
1200 STARKEY ROAD 205                  11 AVIATOR WAY                      RT 10 BOX 301
LARGO, FL 33771                        ORMOND BEACH, FL 32174              HUNTSVILLE, TX 77340




GERTRUDO L CATOLICO                    GETCAP HEAD START                   GETGO INC
[ADDRESS REDACTED]                     PO BOX 719                          320 SUMMER STREET
                                       HUNTSVILLE, TX 77342                BOSTON, MA 02210
                   Case
GETINGE USA SALS, LLC     19-36300 Document  1 KNOW
                                     GETTING TO FiledYOU
                                                      in TXSB on 11/11/19 GGPage
                                                                             MEDIA95 of 240 INC
                                                                                  PRODUCTIONS
45 BARBOUR POND DRIVE                  115 SOUTH SERVICE RD PO BOX 1400   1828 ESE LOOP 323 STE LL 14
WAYNE, NJ 07470                        P.O. BOX 1400                      TYLER, TX 75701
                                       WESTBURY, NE 11590




GHORLEY, HOPE                          GI SUPPLY, INC                     GIBSON, CAROLYN C.
HUNTSVILLE, TX 77340                   200 GRANDVIEW AVENUE               27501 MONTGOMERY RD. 402
                                       CAMP HILL, PA 17011                HUNTSVILLE, TX 77340




GIBSON, DAVID ALEXANDER                GIBSON,PAT                         GIGI GRAZIANO
[ADDRESS REDACTED]                     16 LAZY BEND DRIVE                 [ADDRESS REDACTED]
                                       HUNTSVILLE, TX 77320




GILL, TOBY                             GILLAM, AMANDA                     GILLIAM, JENNIFER
1109 S. ROBINSON DR.                   4134 VILLA RD                      HUNTSVILLE, TX
ROBINSON, TX 76706                     KOUNTZE, TX 77625




GILLIKIN, ANGELA                       GINA D WAGGONER                    GINA K BIEGALSKI
                                       [ADDRESS REDACTED]                 [ADDRESS REDACTED]




GIRIRAJ RAVICHANDRAN                   GJERSET & LORENZ LLP               GLADDEN, NANCY
[ADDRESS REDACTED]                     2801 VIA FORTUNA, STE 500
                                       AUSTIN, TX 78746




GLADYS A AWODE                         GLAUKOS CORPORATION                GLAXOSMITHKLINE (FORMERLY)
[ADDRESS REDACTED]                     229 AVENIDA FABRICANTE             PO BOX 75553
                                       SAN CLEMENTE, CA 92672             CHARLOTTE, NC 28275




GLAZIER FOODS CO                       GLB WORLDWIDE                      GLENDA J RICHARDSON
PO BOX 2724                            PO BOX 6495                        [ADDRESS REDACTED]
HOUSTON, TX 77252                      KANEOHE, HI 96744




GLENDA LYNN HOLLAND                    GLOBAL COMPLIANCE                  GLOBAL COMPUTER SUPPLIES
[ADDRESS REDACTED]                     13950 BALLANTYNE CORPORATE PLACE   1050 NORTHBROOK PARKWAY
                                       CHARLOTTE, NC 28277                SUWANEE, GA 30024




GLOBAL FUNCTIONAL TESTING CORP         GLOBAL HEALTHCARE EXCHANGE, LLC    GLOBAL INDUSTRIAL
3705 ELIZABETH ST                      1315 W. CENTURY DRIVE              2505 MILL CENTER PARKWAY
DEER PARK, TX 77536                    LOUISVILLE, CO 80027               SUITE 100 DEPT. JM4
                                                                          BUFORD, GA 30518-3700
                  Case
GLOBAL MEDICAL IMAGING    19-36300 Document  1 Filed in SALES
                                     GLOBAL PROMOTIONAL TXSB on 11/11/19 GLOBAL
                                                                          PageSERVICES
                                                                                96 of 240
222 RAMPART STREET                     5446 N ACADEMY BLVD 205           2902 W 12TH ST
CHARLOTTE, NC 28203                    COLORODO SPRINGS, CO 80918        HOUSTON, TX 77008




GLOBAL STAR MEDICAL                    GLOBUS MEDICAL INC.               GLOYERS PHARMACY
1901 E 50TH ST                         2560 GENERAL ARMISTEAD AVENUE     1010 WEST MAIN STREET
TEXARKANA, AR 71854                    AUDUBON, PA 19403                 TOMBALL, TX 77375




GMH CONSULTANTS, L.P.                  GOAD, JAMIE                       GOEBEL, MERCEDES
3519 EMERSON DRIVE                                                       2172 SUMMIT MIST DRIVE
MONTGOMERY, TX 77356                                                     CONROE, TX 77304




GOLD N VISIONS                         GOLDGAR, BRIAN                    GOLEZ, VIDA
2002 S FIRST ST                                                          HUNTSVILLE, TX 77340
LUFKIN, TX 75901




GONZALES, MARIA                        GONZALES, METRISA                 GONZALEZ ELISA J
                                       2830 LAKE RD 110                  802 B FM 1696 W
                                       HUNTSVILLE, TX 77340              HUNTSVILLE, TX 77320




GONZALEZ, MARIA                        GONZALEZ, ROMONA                  GOOD LITE CO
                                       303 FOREST LN                     1540 HANNAH AVE
                                       HUNTSVILLE, TX 77340              FOREST PARK, IL 60130




GOODPASTOR, PAT                        GOODROW,LAWANNA                   GOODWIN JACK &
12207 ROCK OAK                         416 B WIRE RD                     157 B ARIZONA LANE
THE WOODLANDS, TX 77380                HUNTSVILLE, TX 77320              HUNTSVILLE, TX 77320




GOODYEAR                               GORDON, CHARLENE                  GOURMET RANCH
1412 SAM HOUSTON                       LIVINGSTON, TX                    3902 NORTH MAIN ST
HUNTSVILLE, TX 77340                                                     HOUSTON, TX 77009




GOVERNMENT EMPLOYEES HEALTH            GRAB BAR SPECIALIST               GRACE CHINENYE AMAH
PO BOX 4665                            8570 SOAMES DR. NW                [ADDRESS REDACTED]
INDENPENDENCE, MO 64051-4665           MASSILLON, OH 44646-9529




GRADY & ASSOCIATES                     GRADY, DIANNA                     GRAEBEL COMPANIES INC
10015 N. ELDRIDGE PKWY                 HUNTSVILLE, TX 77340              2631 PAYSHERE CIRCLE
HOUSTON, TX 77065                                                        CHICAGO, IL 60674
GRAEBEL COMPANIES,Case
                   INC    19-36300 Document  1 Filed in TXSB on 11/11/19 GRAHAM,
                                     GRAHAM, DEIRDRE                      Page 97   of 240
                                                                                 FRANKLIN DR
2631 PAYSPHERE CIRCLE                   3603 CHESSNUT GLEN DR.             PO BOX 1818
CHICAGO, IL 60674                       SPRING, TX 77388                   HUNTSVILLE, TX 77340




GRAINGER                                GRASSICK JOHN                      GRAY, ROBERT E. JR.
201 FREEDOM DRIVE                       188 WESTRIDGE DRIVE                1031 ELKINS LAKE
ROANOKE, TX 76262-3320                  HUNTSVILLE, TX 77340               HUNTSVILLE, TX 77340




GRAY, STACI                             GRAYBAR ELECTRIC COMPANY INC       GREAT EVENTS LLC
218 NE ARBOR DR                         PO BOX 840458                      8809 FAWN TRAIL
BLUE SPRINGS, MO 64014                  DALLAS, TX 75284                   CONROE, TX 77385




GREAT PERFORMANCES                      GREAT SEMINARS AND BOOKS INC       GREATER HOUSTON ECHOCARDIOGRAPHY
14964 N W GREENBRIER PKWY               2639 REVERE DRIVE                  PO BOX 70951
BEAVERTON, OR 97006                     AKRON, OH 44333-2311               HOUSTON, TX 77270




GREATER HOUSTON HEALTHCONNECT, INC      GREATER HOUSTON PARTNERSHIP        GREATER HOUSTON RADIATION ONCOLOGY
1213 HERMANN DRIVE, SUITE 135           PO BOX 301767                      PO BOX 8399
HOUSTON, TX 77004                       DALLAS, TX 75303-1767              THE WOODLANDS, TX 77387-8399




GREATER HOUSTON SOCIETY FOR             GRECIA S JIMENEZ                   GREEN, BETH
1283 NORTH POST OAK RD                  [ADDRESS REDACTED]
HOUSTON, TX 77055




GREEN, JOAN D                           GREENMAR REIMBURSEMENT LLC         GREER, GINGER LEIGH
PO BOX 802742                           6029 BELT LINE ROAD, STE 130       787 ELKINS LAKE
SANTA CLARITA, CA 91380                 DALLAS, TX 75254                   HUNTSVILLE, TX 77340




GREER, JAMIE                            GREG J MASSEY                      GREGORY ELDERS SPINE, PLLC
PO BOX 1846                             [ADDRESS REDACTED]                 10857 KUYKENDAHL RD 120
HUNTSVILLE, TX 77342                                                       THE WOODLANDS, TX 77382




GREGORY, JAMES                          GREIF WATCH / PERINATAL LOSS       GREY PARTNERS LLC
PO BOX 1053                             2116 NE 18TH AVENUE                60 NORMA ROAD
NEW WAVERLY, TX 77358                   PORTLAND, OR 97212                 HARRINGTON PARK, NJ 07640




GRIEF WATCH, INC.                       GRIEF WATCH/PERINATAL LOSS         GRIFFITH,JR., QUILLEN E
2116 NE 18TH AVE.                       2116 NE 18TH AVENUE                2726 E CAPPS RD
PORTLAND, OR 97212                      PORTLAND, OR 97212                 LIVINGSTON, TX 77351
GRIGGS AUTOMOTIVE Case     19-36300 Document  1 Filed in TXSB on 11/11/19 GRISHAM,
                                      GRISHAM PETROLEUM                    Page 98    of 240
                                                                                   DEBBIE
309 HWY 190 EAST                        PO BOX 276                          [ADDRESS REDACTED]
HUNTSVILLE, TX 77340                    HUNTSVILLE, TX 77342




GRISHAM, SHANAH                         GROS, GUY                           GROSS, MICHAEL
6905 BOZEMAN FERRY RD.                  [ADDRESS REDACTED]                  PO BOX 7097
MIDWAY, TX 75852                                                            TYLER, TX 75711




GROUP ONE SERVICES                      GROWING UP WITH US                  GT DISTRIBUTORS, INC
250 DECKER DRIVE                        PO BOX 481810                       2545 BROCKTON DR., STE 100
IRVING, TX 75062                        CHARLOTTE, NC 28269                 AUSTIN, TX 78758




GUARDIAN FIRE TESTING                   GUINN, JENNIFER A                   GULF ATLANTIC PACKAGING CORP.
15 WENONAH TERR                         [ADDRESS REDACTED]                  1100 WESTLAKE PARKWAY SW, SUITE 140
TONAWANDA, NY 14150-7027                                                    ATLANTA, GA 30336




GULF COAST BOILER SERVICES CO           GULF COAST PHARMACEUTICALS          GULF COAST REGIONAL BLOOD CTR
PO BOX 710528                           995 NORTH HALSTEAD ROAD             1400 LACONCHAN
HOUSTON, TX 77271                       OCEAN SPRINGS, MS 39564             HOUSTON, TX 77054




GULF PACKAGING INC.                     GULF SOUTH MEDICAL SUPPLY           GULFCOAST CENTER FOR NEUROLOGICAL
7720 FM 1960 EAST                       5400 KAEPA CT                       521 IH 45 SOUTH
HUMBLE, TX 77346                        SAN ANTONIO, TX 78218               SUITE 10
                                                                            HUNTSVILLE, TX 77340-5649




GULFCOAST PATHOLOGY ASSOCIATES, P.A.    GULLEDGE, MARGARET                  GUNDERSON LUTHERAN MEDICAL
PO BOX 947                              HUNTSVILLE, TX 77340                FOUNDATI
HOUSTON, TX 77001                                                           1836 SOUTH AVENUE
                                                                            LA CROSSE, WI 54601




GUNSTREAM, DONNA                        GUTIERREZ, ANGELICA                 GUY L. GROS
HUNTSVILLE, TX 77340                    2305 EARLE ST.                      [ADDRESS REDACTED]
                                        PORTNECHES, TX 77619




GWENDALYN N MATEJKA                     GYMNASTICS FOUNDATION OF TEXAS      GYNEX CORPORATION
[ADDRESS REDACTED]                      11702B GRANT RD. SUITE 123          14603 NE 87TH ST
                                        CYPRESS, TX 77429                   REDMOND, WA 98052




GYRUS ACMI                              GYRUS ENT, LLC                      H & B AIR FILTER CO
PO BOX 120166                           2925 APPLING ROAD                   9947 HARWIN DRIVE STE G
DALLAS, TX 75312-0166                   BARTLETT, TN 38133                  HOUSTON, TX 77036
H & H ASSOCIATES   Case   19-36300 Document   1 Filed in TXSB
                                     H.E.H. COMMUNICATIONS, LLC on 11/11/19 H.R.
                                                                              Page   99 of 240
                                                                                 DIRECT
2003 BAY AVE                            622 INTERSTATE HIGHWAY 45 SOUTH      PO BOX 150497
ROCKPORT, TX 78382                      HUNTSVILLE, TX 77340                 HARTFORD, CT 06115




HAAHE                                   HACKNEY, MARY                        HAEMONETICS CORPORATION
PO BOX 540637                           10656 FOREST CREEK DR                400 WOOD ROAD
HOUSTON, TX 77254-0637                  WILLIS, TX 77318                     BRAINTREE, MA 02184




HAILEE N TREVINO                        HAILEY ANN HALE                      HAILEY WILSON
[ADDRESS REDACTED]                      1003 JUSTIN LN APT 2026              [ADDRESS REDACTED]
                                        AUSTIN, TX 78757




HAIR, LAUREN                            HALEIGH A AGOT                       HALEY VICTORIA GRIFFIN
HUNTSVILLE, TX 77340                    [ADDRESS REDACTED]                   [ADDRESS REDACTED]




HALLING, DR THOMAS                      HALO BRANDED SOLUTIONS               HALO INNOVATIONS, INC.
7277 TEASWOOD DRIVE                     1500 HALO WAY                        111 CHESHIRE LANE STE 700
CONROE, TX 77304                        STERLING, IL 61081                   MINNETONKA, MN 55305




HALYARD HEALTH INC.                     HAMMOND HANLON CAMP LLC              HAMMOND, KEVIN
5405 WINDWARD PARKWAY, SUITE 100 S      4655 EXECUTIVE DRIVE, SUITE 280      10 PARK LANE
ALPHARETTA, GA 30004                    SAN DIEGO, CA 92121                  HUNTSVILLE, TX 77320




HAMPTON INN & SUITES- GREEN HILLS       HANA BIOLOGICS                       HAND BIOMECHANICS LAB
2324 CRESTMOOR ROAD                     850 MARINA VILLAGE PKY               77 SCRIPPS DR 104
NASHVILLE, TN 37215                     ALMEDA, CA 94501                     SACRAMENTO, CA 95825




HANGER PROSTHETICS & ORTHOTICS INC      HANKINS, LORI L.                     HANNAH KYLIE ALLEN
625 UNIVERSITY BLVD                     157 ARIZONA LN.                      [ADDRESS REDACTED]
GLAVESTON, TX 75550-5505                HUNTSVILLE, TX 77320




HANSEN SUPPLY LLC                       HARBOR FREIGHT TOOLS USA, INC        HARCOURT ASSESSMENT, INC
PO BOX 526                              26541 AGOURA ROAD                    PO BOX 599700
OWINGS MILLS, MD 21117                  CALABASAS, CA 91302                  SAN ANTONIO, TX 78259




HARCOURT INC                            HARDENBERGH INTERIM GROUP LLC        HARDIN, JANET
6277 SEA HARBOR DR                      42000 SIX MILE ROAD
ORLANDO, FL 32887                       SUITE 105
                                        NORTHVILLE, MI 48168
HARDY DIAGNOSTICSCase    19-36300 Document   1 Filed
                                     HARE, SHERRY     in TXSB on 11/11/19 HARGER
                                                  CHRISTINE                Page 100
                                                                                 HOWEof 240
                                                                                      & ASOCIATES, LTD
1430 WEST MCCOY LANE                    [ADDRESS REDACTED]                  1800 ST JAMES PLACE
SANTA MARIA, CA 93455                                                       STE 400
                                                                            HOUSTON, TX 77056




HARGRAVE, JANICE L.                     HARIG, KATY                         HARLEE MEDICAL
PO BOX 460065                           1615 PIN OAK DR                     2144 WATTS ROAD
HOUSTON, TX 77056                       HUNTSVILLE, TX 77340                HOUSTON, TX 77034-1204




HARLEY BELLE FEXER III                  HARMON, JERRI                       HARMS, MELISSA
3004 AZTEC ST                           9 PINE AVE                          700 LARKSPUR LANDING CIRCLE
COLLEGE STATION, TX 77845               HUNTSVILLE, TX 77340                SUITE 199
                                                                            LARKSPUR, CA 94939




HAROLD CLIFTON MORGAN                   HAROLD KENNETH STOUT                HARRELL, ANDREA
9029 CRYSTAL SPRINGS DRIVE              [ADDRESS REDACTED]
CONROE, TX 77303




HARRELL, LEAANN                         HARRIS COUNTY CHILD SUPPORT DIV     HARRIS COUNTY HOSPITAL
PO BOX 213                              1115 CONGRESS                       2525 HOLLY HALL, SUITE 292
WEESATCHE, TX 77993                     HOUSTON, TX 77002                   HOUSTON, TX 77054




HARRIS, ANDREA                          HARRIS, AUSTIN                      HARRIS, LESLIE
2115 NORMAL PARK DRIVE                  5754 BETHEL CEMETERY RD
HUNTSVILLE, TX 77340                    NORTH ZULCH, TX 77872




HARRIS, ROXELLA                         HARRY & DAVID                       HARVINGTON MEDIA,INC
PO BOX 240                              PO BOX 712                          2722 RIDGE VIEW ROAD
DODGE, TX 77334                         MEDFORD, OR 97501-0716              FRISCO, TX 75034




HASARA HEATHER L.                       HASTING BILLIE                      HAUSAM, DARYL
[ADDRESS REDACTED]                      PO BOX 1975                         HUNTSVILLE, TX 77340
                                        LIVINGSTON, TX 77384




HAUSER ORTHOTICS & PROSTHETICS, INC     HAVELS INC                          HAYDEN BRAUN
507 WACO STREET                         3726 LONSDALE AVENUE                111 SUMMIT DRIVE
CONROE, TX 77301                        CINCINNATI, OH 45227                CONROE, TX 77303




HAYSE, CHAVONDA                         HAZEL K PECHON                      HAZLEWOODS HYUNDAI OF HUNTSVILLE
2830 LAKE RD APT 907                    [ADDRESS REDACTED]                  755 I-45 SOUTH
HUNTSVILLE, TX 77340                                                        HUNTSVILLE, TX 77340
                 CaseLP19-36300
HB MECHANICAL SERVICES             Document   1 SOLUTIONS,
                                      HBI OFFICE Filed in TXSB
                                                           INC. on 11/11/19 HCF
                                                                             Page  101
                                                                                AUTO     of 240LP
                                                                                     INVESTORS
PO BOX 569                             308 STATE HWY 75 NORTH                PO BOX 10889 / 737 I-45 SOUTH
PORTER, TX 77365                       HUNTSVILLE, TX 77320                  HUNTSVILLE, TX 77340




HCL SERVICES, LLC                      HCM LLC                               HCPRO
4439 WEST 12 STREET                    703 HATAWAY DRIVE                     200 HOODS LANE
HOUSTON, TX 77055                      SIGNAL MOUNTAIN, TN 37377             MARBLEHEAD, MA 01945




HCS SEMINARS                           HD SUPPLY ELECTRICAL, LTD             HD SUPPLY POWER SOLUTIONS, LTD
7750 N. MACARTHUR BLVD                 PO BOX 4975                           PO BOX 4975
SUITE 120-121                          ORLANDO, FL 32802-4975                ORLANDO, FL 32802-4975
IRVING, TX 75063-7501




HEADSET INNOVATIONS                    HEADSETS.COM, INC.                    HEALING AIR INC
5803 THUNDERBIRD                       ONE DANIEL BURNHAM COURT, 400C        14502 HIRAM CLARKE ROAD
SUITE 102                              SAN FRANCISCO, CA 94109               HOUSTON, TX 77045
LEANDER, TX 78645




HEALING HEARTS CLINIC                  HEALOGICS                             HEALTH CARE COMPLIANCE ASSOCIATION
100 MEDICAL CENTER BLVD. STE 200                                             6500 BARRIE ROAD, SUITE 250
CONROE, TX 77304                                                             MINNEAPOLI, MN 55435




HEALTH CARE CONFERENCE                 HEALTH CARE LOGISTICS INC             HEALTH CARE LOGISTICS INC
3291 WEST WILSON ROAD                  450 E TOWN ST                         PO BOX 400
PAHRUMP, NV 89048                      CIRCLEVILLE, OH 43113-0025            CIRCLEVILLE, OH 43113-0400




HEALTH CARE RISK MANAGEMENT            HEALTH CARE SYSTEMS INC               HEALTH EDUCATION NETWORK, LLC.
PO BOX 105109                          5755 CARMICHAEL PARKWAY               PO BOX 1075
ATLANTA, GA 30348-5109                 MONTGOMERY, AL 36117                  304 GRAY STREET, SUITE 201
                                                                             EAU CLAIRE, WI 54702-1075




HEALTH FORUM                           HEALTH INK & VITALITY                 HEALTH LEVEL SEVEN INTERNATIONAL
PO BOX 92567                           780 TOWNSHIP LINE ROAD                3300 WASHTENAW AVE., SUITE 227
CHICAGO, IL 60675-2567                 YARDLEY, PA 19067                     ANN ARBOR, MI 48104




HEALTH MANAGEMENT RESOURCES            HEALTH MANAGEMENT SOLUTIONS, LLC      HEALTH MANAGEMENT SOLUTIONS, LLC
59 TEMPLE PLACE STE 704                5527 IRON GATE DRIVE                  5527 IRON GATE DRIVE
BOSTON, MA 02111-1346                  FRANKLIN, TN 37069                    FRANKLIN, TX 37069




HEALTH MANAGEMENT SYSTEMS CORP         HEALTH MEDICAL PRODUCTS               HEALTH PROMOTIONS NOW
SUITE 304                              817 S KAY AV. STE 3                   1270 GLEN AVE
PLANO, TX 75074                        ADDISON, IL 60101-4900                MOORESTOWN, NJ 08057
                   Case 19-36300
HEALTH SERVICES MANAGEMENT OF TEXAS Document   1 FiledINTERNL
                                       HEALTH SYSTEMS    in TXSB  on 11/11/19 HEALTHCARE
                                                              OF BRYAN         Page 102APPRAISERS,
                                                                                           of 240    INC
5300 HOLISTER RD. STE. 550             1705 EAST 29TH STREET                  75 NW 1ST AVE, STE 201
HOUSTON, TX 77040                      BRYAN, TX 77802                        DELRAY BEACH, FL 33444




HEALTHCARE BUSINESS INSIGHTS, LLC.     HEALTHCARE DISTRIBUTION SPECIALISTS    HEALTHCARE FINANCE GROUP LLC
4600 W. LOOMIS ROAD, SUITE 310         9337 FRASER AVENUE                     199 WATER STREET, 31ST FLOOR
MILWAUKEE, WI 53220                    SILVER SPRING, MD 20910                NEW YORK, NY 10038




HEALTHCARE FINANCIAL MANAGEMENT        HEALTHCARE FINANCIAL                   HEALTHCARE INDEMNITY, INC.
PO BOX 4237                            2 WESTBROOK CORPORATE CENTER           PO BOX 555
CAROL STREAM, IL 60197-4237            SUITE 700                              NASHVILLE, TN 37202-0555
                                       WESTCHESTER, IL 60154-5700




HEALTHCARE MANAGEMENT PARTNERS,        HEALTHCARE MARKETS GROUP LTD           HEALTHCARE REIMBURSEMENT PARTNERS
LLC                                    PO BOX 12127                           6029 BELT LINE ROAD, STE 130
1033 DEMONBEUN STREET, SUITE 300       SPRING, TX 77391-2127                  DALLAS, TX 75254
NASHVILLE, TN 37203




HEALTHCARE SERVICES INT                HEALTHCARE SERVICES INTERNATIONAL      HEALTHCARE STAFFING
PO BOX 101310                          PO BOX 3012                            FILE 54318
ATLANTA, GA 30392                      SOUTHEASTERN, PA 19398-3012            LOS ANGELES, CA 90074-4318




HEALTHCARE STRATEGIES, INC.            HEALTHCARE TRAINING                    HEALTHCARESOURCEHR, INC
PO BOX 37039                           PO BOX 31                              100 SYLVAN ROAD SUITE 100
BALTIMORE, MD 21297-3039               DEVAULT, PA 19432-9905                 WOBURN, MA 01801-7463




HEALTHCO INTERNATIONAL                 HEALTHECAREERS NETWORK/                HEALTHLINX EXECUTIVE SEARCH
9000 KIRBY DRIVE                       9100 E PANORAMA DR, STE 200            1404 GOODALE BLVD, STE 400
HOUSTON, TX 77054                      ENGLEWOOD, CO 80112                    COLUMBUS, OH 43212




HEALTHMARK INDUSTRIES                  HEALTHPOINT LTD                        HEALTHSHARE/THA
33671 DOREKA RD                        3909 HULEN STREET                      PO BOX 970584
FRASER, MI 48026                       FORT WORTH, TX 76107                   DALLAS, TX 75397




HEALTHSPRING TX                        HEALTHSTREAM RESEARCH INC.             HEALTHSURE INSURANCE SERVICES, INC.
CIGNA-HEALTHSPRING                     508 AUTUMN SPRINGS COURT, STE 1D       5900 SOUTHWEST PKWY, BLD 2 STE 200
PO BOX 981706                          FRANKLIN, TN 37067                     AUSTIN, TX 78735
EL PASO, TX 79998




HEALTHTRONICS UROLOGY SERVICES         HEALTHTRONICS UROLOGY SERVICES, LLC    HEALTHTRONICS
PO BOX 847324                          9825 SPECTRUM DR. BLDG 3               1301 CAPITAL OF TEXAS HIGHWAY
DALLAS, TX 75284                       AUSTIN, TX 78717                       AUSTIN, TX 78746
HEARST NEWSPAPERS,Case
                   LLC   19-36300 Document  1 Filed
                                     HEART RHYTHM    in TXSB on 11/11/19 HEARTCARE
                                                  ASSOCIATES              Page 103CORPORATION
                                                                                   of 240     OF
4747 SOUTHWEST FWY                     920 MEDICAL PLAZA DR                 PO BOX 3012
HOUSTON, TX 77027                      SUITE 300                            SOUTHEASTERN, PA 19398-3012
                                       THE WOODLANDS, TX 77380




HEARTFIELD FLORIST                     HEARTLAND MEDICAL SPECIALITIES INC   HEARTS VETERANS MUSEUM
1525 SAM HOUSTON AVE                   14633 W 95TH STREET                  463 STATE HWY 75 NORTH
HUNTSVILLE, TX 77340                   LENEXA, KS 66215                     HUNTSVILLE, TX 77340




HEATH, DALTON M.D.                     HEATHER ANN CUEVAS                   HEATHER BAUER
789 ELKINS LAKE                        [ADDRESS REDACTED]                   [ADDRESS REDACTED]
HUNTSVILLE, TX 77340




HEATHER BLAIS                          HEATHER HASARA                       HEATHER KEELAND
[ADDRESS REDACTED]                     [ADDRESS REDACTED]                   [ADDRESS REDACTED]




HEATHER L ASHFORD                      HEATHER L WHITE                      HEATHER LEEANN CLARK
[ADDRESS REDACTED]                     [ADDRESS REDACTED]                   [ADDRESS REDACTED]




HEATHER M. BAUER                       HEATON, ANGELA (FORMERLY)            HEEMANN, JOHN
[ADDRESS REDACTED]                     24248 COUNTY RD 115
                                       BEDIAS, TX 77831




HELEN M. DISE                          HELEN S JACKSON                      HELEN WATKINS, M.D.
[ADDRESS REDACTED]                     [ADDRESS REDACTED]                   [ADDRESS REDACTED]




HELENA LABS                            HELMER LABS, INC                     HELPING HANDS NURSING AGENCY INC
PO BOX 752 1530 LINDBERGH DR           14395 BERGEN BLVD                    PO BOX 297
BEAUMONT, TX 77704-0752                NOBLESVILLE, IN 46060                JASPER, TX 75951




HENDERSON AMANDA                       HENDERSON, MARCI                     HENDREA D MASSIE
                                       HUNTSVILLE, TX 77340                 [ADDRESS REDACTED]




HENKE, ROBERT L                        HENLEY INTERNATIONAL                 HENRY SCHEIN, INC.
249-A FM 2929                          104 INDUSTRIAL BLVD                  135 DURYEA ROAD
HUNTSVILLE, TX 77340                   SUGARLAND, TX 77478                  MELVILLE, NY 11747
HENRY, DAWN        Case     19-36300 Document
                                        HERBERT1L FLAKE
                                                   FiledCOMPANY,
                                                         in TXSB   on 11/11/19 HERGO
                                                                 LLC            Page 104 of 240
2 TAM RD                                  5235 GLENMONT DRIVE                 56-01 55TH AVENUE
HUNTSVILLE, TX 77340                      HOUSTON, TX 77081                   MASPETH, NY 11378




HERITAGE FOOD SERVICE GROUP, INC.         HERLE, LESLEE                       HERNANDEZ, VICTOR
5130 EXECUTIVE BLVD.                                                          2111DE MILO DR
FORT WAYNE, IN 46808-1149                                                     HOUSTON, TX 77018




HERNANDEZDEPAZ, MONICA E.                 HERNDON, PAUL D.                    HERRERA, PEGGY SUE
310 LAZY PINE CT                          406 HICKORY POST LANE               [ADDRESS REDACTED]
CONROE, TX 77304                          HOUSTON, TX 77079




HESS, THERESA                             HESSEL, BEVERLY                     HESSEL, RONALD
                                          15661 CORINTHIAN WAY
                                          WILLIS, TX 77318




HESTER, ALAN JOHNNY                       HESTERLEY, BECKY                    HEWITT, SUZANNE
[ADDRESS REDACTED]




HEWLETT PACKARD                           HFSE C/O JD EVENTS                  HHH GRENADIER GUARD BOOSTER CLUB
2000 WEST LOOP SOUTH                      5520 PARK AVENUE                    2012 AVENUE O
HOUSTON, TX 77027                         SUITE 305                           HUNTSVILLE, TX 77340
                                          TRUMBULL, CT 06611




HHS BASEBALL BOOSTER CLUB                 HHS ENVIRONMENTAL SYSTEMS           HHS PROJECT AFTER PROM
PO BOX 8831                               12495 SILVER CREEK RD               229 ROYAL OAKS
HUNTSVILLE, TX 77340                      DRIPPING SPRINGS, TX 78620          HUNTSVILLE, TX 77340




HHS/TRE TEXAS LLP                         HI TECH INTEGRATED SOLUTIONS        HIBNER, NATALIE
6909 GRAND BLVD                           3845 CYPRESS CREEK PKWY 450         24783 SHADY OAKS BLVD
HOUSTON, TX 77054                         HOUSTON, TX 77068                   MONTGOMERY, TX 77316




HIETT, KRISTINA ELIZABETH                 HIGGS, LIZ CURTIS                   HIGHSMITH
[ADDRESS REDACTED]                        PO BOX 43577                        PO BOX 800
                                          LOUISVILLE, KY 40253-0577           FORT ATKINSON, WI 53538-0800




HIGHTOWER, KANDACE                        HIGHWAY 19 AUTO & DIESEL            HILDANNE M MWANGI
9003 PLUM GROVE RD                        2303A SH19                          [ADDRESS REDACTED]
CLEVELAND, TX 77327                       HUNTSVILLE, TX 77320
                   Case
HILL MEDICAL SERVICES,    19-36300
                       PLLC          Document   1 Filed
                                        HILL MEDICAL      in TXSB
                                                     SERVICES, PLLC on 11/11/19 HILL
                                                                                 Page   105 of 240
                                                                                     PATRICIA
601 N. 1ST AVE                           PO BOX 1368
DURANT, OK 74701                         MUSTANG, OK 73064




HILL, CARLA                              HILL, NATASHA                         HILLCREST FORD
HUNTSVILLE, TX 77340                     [ADDRESS REDACTED]                    737 IH 45 SOUTH
                                                                               HUNTSVILLE, TX 77340-5647




HILLHOUSE, JUANITA                       HILL-ROM COMPANY                      HILL-ROM
HILLHOUSE, INC.                          335-365 NEW COMMERCE BLVD             1069 STATE ROUTE 46 EAST-
P.O BOX 116                              WILKES-BARRE, PA 18706                MAIL CODE J36
SOLDOTNA, AK 99699-0116                                                        BATESVILLE, IN 47006




HILL-ROM                                 HILTI, INC.                           HILTON ANATOLE
ONE MEDIQ PLAZA                          5400 S 122ND E AVE                    2201 NORTH STEMMONS FWY
PENNSAUKEN, NJ 08110-1460                TULSA, OK 74146                       DALLAS, TX 75207




HINES STAN MD                            HINKLE, CHIP                          HINTON, WARREN E MD
2950 I 45 SUITE 2                        HUNTSVILLE, TX                        PO BOX 1818
HUNTSVILLE, TX 77340                                                           HUNTSVILLE, TX 77342-1818




HIRERIGHT SOLUTIONS, INC                 HIRSCHL & ASSOCIATES                  HISCOX
4500 SOUTH 129TH EAST AVE, STE 200       30262 CROWN VALLEY PARKWAY            357 MAIN ST
TULSA, OK 74134-5885                     SUITE B-292                           AMONK, NY 10504
                                         LAGUAN NIGUEL, CA 92677




HISTOLOGY CONTROL SYS INC                HISTOLOGY SERVICES                    HISTORIC WALKER COUNTY
PO BOX 142                               ONE BAYLOR PLAZA 286A                 1327 11TH ST
GLEN HEAD, NY 11545                      HOUSTON, TX 77030                     HUNTSVILLE, TX 77340




HITACHI HEALTHCARE AMERICAS CORP         HMH AUXILIARY                         HMH CLINICAL MANAGEMENT, LLC
1959 SUMMIT COMMERCE PARK                110 MEMORIAL HOSPITAL DR              110 MEMORIAL HOSPITAL DR
TWINSBURG, OH 44087                      HUNTSVILLE, TX 77340                  HUNTSVILLE, TX 77340




HMH FLEX SPENDING                        HMH NURSING SCHOOL                    HMH PHYSICIAN HOSPITAL ORGANIZATION
110 MEMORIAL HOSPITAL DR                 110 MEMORIAL HOSPITAL DR              110 MEMORIAL HOSPITAL DR
HUNTSVILLE, TX 77340                     HUNTSVILLE, TX 77340                  HUNTSVILLE, TX 77340




HMH                                      HMH                                   HMISS
110 MEMORIAL HOSPITAL DR                 NURSING DEPT                          PO BOX 492
HUNTSVILLE, TX 77340                     HUNTSVILLE, TX 77340                  BROOKFIELD, IL 60513
HOBART CORPORATIONCase   19-36300 Document  1 Filed
                                     HOBB MEDICAL INC in TXSB on 11/11/19 HODGES
                                                                           Page 106  ofCO
                                                                                 BADGE  240
PO BOX 2517                            10 SP STREET                       42 VALLEY ROAD
CAROL STREAM, IL 60132                 STAFFORD SPRING, CT 06076          MIDDLETON, RI 02840-6376




HODGES BUSINESS INTERIOR               HOECHST MARION ROUSSEL             HOFFMAN, JESSICA
308 STATE HWY 75 NORTH                 PO BOX 951379                      PO BOX 404
HUNTSVILLE, TX 77320                   DALLAS, TX 75395                   ARLINGTON, TX 76004




HOGUE, BERTHA                          HOLDER, ELAINE                     HOLIDAY INN EXPRSS
HUNTSVILLE, TX 77340                                                      148 SOUTH IH 45
                                                                          HUNTSVILLE, TX 77340




HOLLAAR, PIETER                        HOLLAND LEE                        HOLLE NICOLE HILL
2604 PINESHADOW                        HUNTSVILLE, TX 77320               [ADDRESS REDACTED]
HUNTSVILLE, TX 77320




HOLLIDAY, MELANIE                      HOLLIE RANDGAARD                   HOLLINGSWORTH EQUIPMENT INC
739 ELKINS LAKE                        [ADDRESS REDACTED]                 2121 W,GOVWEBIEA CURCKE
HUNTSVILLE, TX 77340                                                      HOUSTON, TX 77292-0899




HOLLISTER INCORPORATED                 HOLLY ANN MARTINEZ                 HOLLY PROBASCO
2000 HOLLISTER DRIVE                   [ADDRESS REDACTED]                 HUNTSVILLE, TX 77340
LIBERTYVILLE, IL 60048




HOLMAN BOILER WORKS, INC               HOLOGIC (FORMALLY BIOLUCENT)       HOLOGIC LP
1956 SINGLETON BLVD                    6100 TECHNOLOGY CENTER DRIVE       250 CAMPUS DRIVE
DALLAS, TX 75212-3898                  INDIANAPOLIS, IN 46278             MARLBOROUGH, MA 01752




HOLTON, SARAH                          HOLTZMAN PARTNERS, LLP             HOME AND COMMUNITY SUPPORT
HUNTSVILLE, TX 77340                   1710 WEST SIXTH STREET             TEXAS DEPT OF AGING AND DISABILITY
                                       AUSTIN, TX 78703                   P O BOX 149030 ACCTS RECEV E-411
                                                                          AUSTIN, TX 78714-9030




HOME DECORATORS COLLECTION             HOME DEPOT                         HONEYWELL BUILDING SOLUTIONS
8920 PERSHALL RD                       215 I-H 45 N                       12250 WEST ROAD SUITE 500
HAZELWOOD, MO 63042                    HUNTSVILLE, TX 77320               HOUSTON, TX 77041




HOOKS, JOHN                            HOOPER, REGINA                     HOPE HEALTH/IHAC
717 FM 2821 SUITE 300                  14132 RUNNING BEAR DR              350 MICHIGAN AVE, STE 301
HUNTSVILLE, TX 77320                   WILLIS, TX 77378                   KALAMAZOO, MI 49007-3851
HOPE LYNN COYLE Case     19-36300 Document
                                     HOPKINS 1 FiledPRODUCTS
                                             MEDICAL in TXSB on 11/11/19 HORIZON
                                                                          Page 107   of 240
                                                                                 GENERAL CONTRACTORS, LLC
[ADDRESS REDACTED]                     5 GREENWOOD PLACE                   305 N READING RD
                                       BALTIMORE, MD 21208                 EPHRATA, PA 17522




HORNET SWIMMING & DIVING BOOSTER       HORTON, DEANNA                      HOSPIRA WORLDWIDE, INC.
500 MACUNGIE AVE                       PO BOX 2228                         75 REMITTANCE DRIVE
EMMAUS, PA 18049                       TRINITY, TX 75862                   CHICAGO, IL 60675-6136




HOSPITAL & PHYSICIAN PUBLISHING,INC    HOSPITAL DOCS PA                    HOSPITAL DOCS, PA
6116 NORTH CHAMNESSTOWN ROAD           PO BOX 946                          504 MEDICAL CENTER BLVD., 300
MARION, IL 62959                       MONTGOMERY, TX 77356                CONROE, TX 77306




HOSPITAL FINANCIAL SERVICE CORP        HOSPITAL HH OF WILBARGER            HOSPITAL HOUSEKEEPING SYSTEM
PO BOX 1214                            920 HILLCREST DR                    12495 SILVER CREEK RD
OREM, UT 84059                         VERNON, TX 76384                    DRIPPING SPRINGS, TX 78620




HOSPITAL HOUSEKEEPING SYSTEMS, LLC     HOSPITAL MAINTENANCE CONSULTANTS    HOSPITAL MEDIA ASSOCIATES
216 EAST 4TH STREET                    PO BOX 167                          PO BOX 338
AUSTIN, TX 78701                       CHETEK, WI 54728                    DUBLIN, TX 76446




HOSPITAL SOLUTIONS INC                 HOSPITALITY HARBOUR                 HOUSTON BUSINESS JOURNAL
8582 KATHY FREEWAY STE 220             24244 NETWORK PLACE                 PO BOX 36919
HOUSTON, TX 77024                      CHICAGO, IL 60673-1242              CHARLOTEE, NC 28236




HOUSTON CHAPTER ENA                    HOUSTON CHRONICLE                   HOUSTON COUNTY COURIER
PO BOX 300093                          PO BOX 80085                        PO BOX 551
HOUSTON, TX 77230                      PRESCOTT, AZ 86304-8085             CROCKETT, TX 75835-0551




HOUSTON EXTRACORPOREAL THERAPIES       HOUSTON HOSPITAL SERVICES INC.      HOUSTON HOSPITAL SERVICES
52551 RAPHAEL DRIVE                    6909 GRAND BLVD                     6909 GRAND BLVC
ALEXANDRIA, LA 71303                   HOUSTON, TX 77054                   HOUSTON, TX 77054




HOUSTON MARRIOTT MEDICAL CENTER        HOUSTON NEURODIAGNOSTICS, LLC       HOUSTON NORTHWEST OPERATING
6580 FANNIN STREET                     4545 FULLER DRIVE, SUITE 100        COMPANY
HOUSTON, TX 77030                      IRVING, TX 75038                    710 CYPRESS CREEK PWKY
                                                                           HOUSTON, TX 77090-3496




HOUSTON NORTHWEST RADIOLOGY            HOUSTON RADIOLOGY ASSOCIATED        HOUSTON RADIOLOGY ASSOCIATES
ASSOCIA                                PO BOX 4346 DEPT 488                PO BOX 4346 DEPT 488
PO BOX 3686, DEPT 467                  HOUSTON, TX 77210-4346              HOUSTON, TX 77210-4346
HOUSTON, TX 77253-3686
                  Case 19-36300
HOUSTON WELDING SUPPLY CO         Document
                                     HOWARD1  Filed in INC
                                           INDUSTRIES,  TXSB on 11/11/19 HOWARD
                                                                          Page 108  of 240
                                                                                W. SALMON
643 PICKERING                        32 HOWARD MEDICAL                   1674 BAJA VISTA DR
HOUSTON, TX 77091-3315               ELLISVILLE, MS 39437                FALLBROOK, CA 92028




HOWARD, AVA C.                       HOWARD, BRITTANY                    HOWMEDICA OSTEONICS CORP
[ADDRESS REDACTED]                   144 INTERSTATE 45 N                 4100 E MILHAM AVE
                                     APT 1213                            KALAMAZOO, MI 49001
                                     HUNTSVILLE, TX 77320




HP PUBLIC SECTOR SALES               HQCB                                HR WEB ADVISOR
PO BOX 101149                        PO BOX 19604                        2801 VIA FORTUNA BLVD
ATLANTA, GA 30392-1149               LENEXA, KS 66285                    SUITE 600
                                                                         AUSTIN, TX 78746




HRYHORCHUK, KACI                     HSS SYSTEMS, LLC                    HSS SYSTEMS, LLC
                                     8101 W. SAM HOUSTON PKWY,STE 100    TIMOTHY MCPHERSON, CEO
                                     HOUSTON, TX 77072                   8101 W SAM HOUSTON PKWY STE 100
                                                                         HOUSTON, TX 77072




HTH ENGINEERING, INC                 HUBBARD, JENNIFER                   HUBERT COMPANY, LLC
825 CYPRESS TRAILS DRIVE             10524 FALLOW LANE                   9555 DRY FORK ROAD
TARPON SPRINGS, FL 34688             CONROE, TX 77303                    HARRISON, OH 75030-1642




HUDGENS, ROBERT JOHN JR              HUDSPETH, DAVID                     HUGHES, NANCY DEANNA
1100 UNIVERSITY AVE                  HUNTSVILLE, TX                      [ADDRESS REDACTED]
HUNTSVILLE, TX 77320




HUGHEY AND PHILLIPS LLC              HUMANA HEALTH CARE PLANS            HUMANA
240 W TWAIN AVE                      PO BOX 931655                       500 W MAIN ST
URBANA, OH 43078                     ATLANTA, GA 31193-1655              LOUISVILLE, KY 40202




HUMANA                               HUMCO HOLDING GROUP                 HUMPHREY, SHANTEL
PO BOX 740083                        7400 ALUMAX DRIVE                   229 ROYAL OAKS
LOUISVILLE, KY 40201-7483            TEXARKANA, TX 75501                 HUNTSVILLE, TX 77320




HUNSVILLE AMATEUR BASEBALL           HUNTER ELROY                        HUNTINGTON LAB
8131 RENMARK LANE                    740 OLD COLONY ROAD                 8131 FORNEY RD
HOUSTON, TX 77070-3619               HUNTSVILLE, TX 77320                DALLAS, TX 75227




HUNTLEIGH HEALTHCARE                 HUNTLEY, MONIQUE                    HUNTSVILLE AKASH HOTELS INTERNATION
40 CHRISTOPHER WAY                   8602 SORREL MEADOWS DR.             631 I-45 SOUTH
EATONTOWN, NJ 07724-3327             TOMBALL, TX 77375                   HUNTSVILLE, TX 77340
                   Case
HUNTSVILLE BLUEPRINT     19-36300
                     & SUPPLY CO    Document  1 COMMUNITY
                                       HUNTSVILLE Filed in TXSB  on 11/11/19 HUNTSVILLE
                                                            THEATRE           Page 109CREDIT
                                                                                        of 240
                                                                                             MGMT
1201 UNIVERSITY                        891 ELKINS LAKE                      PO BOX 6801
HUNTSVILLE, TX 77342                   HUNTSVILLE, TX 77340                 HUNTSVILLE, TX 77342




HUNTSVILLE DELIVERY SERVICE            HUNTSVILLE DIALYSIS                  HUNTSVILLE DISCOUNT TIRES
214 MORRIS LANE                        PO BOX 402946                        309 STATE HWY 75 NORTH
HUNTSVILLE, TX 77320                   ATLANTA, GA 30384-2946               HUNTSVILLE, TX 77320




HUNTSVILLE EDUCATION FOUNDATION        HUNTSVILLE FAMILY MEDICINE, LLP      HUNTSVILLE FAMILY YMCA
441 FM 2821 EAST                       123 MEDICAL PARK LANE SUITE A        291 HWY 75 NORTH
HUNTSVILLE, TX 77340                   HUNTSVILLE, TX 77340                 HUNTSVILLE, TX 77340




HUNTSVILLE FARM SUPPLY, LLC            HUNTSVILLE FLOWER                    HUNTSVILLE FOOTBALL BOOSTER CLUB
1429 AVE I                             1211 15TH ST                         1609 17TH STREET
HUNTSVILLE, TX 77340                   HUNTSVILLE, TX 77340                 HUNTSVILLE, TX 77340




HUNTSVILLE FORD TRACTOR                HUNTSVILLE HEALTHCARE CENTER         HUNTSVILLE HIGH SCHOOL GOLF TEAM
PO BOX 115                             2628 MILAM ST                        441 FM 2821 RD E
HUNTSVILLE, TX 77340                   HUNTSVILLE, TX 77340                 HUNTSVILLE, TX 77320-9298




HUNTSVILLE LAKERS                      HUNTSVILLE LEADERSHIP INSTITUTE      HUNTSVILLE MEDICAL CENTER
PO BOX 296                             1327 11TH ST                         1116 APRIL WATER NORTH
HUNTSVILLE, TX 77342                   HUNTSVILLE, TX 77340                 MONTGOMERY, TX 77356




HUNTSVILLE MEM EMER PHY LLP            HUNTSVILLE MEMORIAL EMERGENCY        HUNTSVILLE MEMORIAL HOSPITAL
PO BOX 841687                          PO BOX 793                           110 MEMORIAL HOSPITAL DR
DALLAS, TX 75284-1687                  TRAVERSE CITY, MI 49685-0793         HUNTSVILLE, TX 77340




HUNTSVILLE MOVING COMPANY              HUNTSVILLE MOVING INC.               HUNTSVILLE ORTHOPEDIC SURGERY
341 BOWDEN ROAD                        341 BOWDEN ROAD                      129 MEDICAL PARK LANE
HUNTSVILLE, TX 77340                   HUNTSVILLE, TX 77340                 HUNTSVILLE, TX 77340-4982




HUNTSVILLE PARTNERS                    HUNTSVILLE PATHOLOGY                 HUNTSVILLE PATHOLOGY
2507 LAKE ROAD                         2950 I-45, STE 7                     DAVID TITUS
HUNTSVILLE, TX 77340                   HUNTSVILLE, TX 77340                 481 I H 45, STE 7
                                                                            HUNTSVILLE, TX 77340




HUNTSVILLE PEDIATRIC                   HUNTSVILLE POLICE DEPARTMENT         HUNTSVILLE RADIOLOGY ASSOC
485 I45 SOUTH                          PO BOX 1232                          PO BOX 1818
HUNTSVILLE, TX 77340                   LAFAYETTE, CA 94549                  HUNTSVILLE, TX 77342
                  Case
HUNTSVILLE RADIOLOGY   19-36300PA Document
                     CONSULTANTS             1 RAVEN
                                     HUNTSVILLE  Filed RIDE
                                                       in TXSB    on 11/11/19 HUNTSVILLE
                                                                               Page 110RENTAL
                                                                                         of 240
                                                                                              CENTER
PO BOX 1888                          PO BOX 67                                362 STATE HIGHWAY 75 NORTH
GREENVILE, TX 75403                  HUNTSVILLE, TX 77342                     HUNTSVILLE, TX 77320




HUNTSVILLE ROTARY CLUB               HUNTSVILLE SLEEP CENTER                  HUNTSVILLE STEEL & FABRICATION, INC
PO BOX 186                           122 MEDICAL PARK LN, STE B               2530 SYCAMORE AVE
HUNTSVILLE, TX 77342-0186            HUNTSVILLE, TX 77340                     HUNTSVILLE, TX 77340




HUNTSVILLE SUPERSTAR                 HUNTSVILLE TOUCH OF NATURE               HUNTSVILLE TRAVEL SERVICES
PO BOX 554                           3116 CLAY CIRCLE                         168B COL. ETHEREDGE BLVD.
HUNTSVILLE, TX 77342                 HUNTSVILLE, TX 77340                     HUNTSVILLE, TX 77340




HUNTSVILLE WALKER CO                 HUNTSVILLE WHOLESALE                     HUNTSVILLE WOMENS CENTER LP
PO BOX 538                           PO BOX 6279                              25511 BUDDLE RD STE 1201
HUNTSVILLE, TX 77340                 HUNTSVILLE, TX 77342                     SPRING, TX 77380




HUNTSVILLES PROMISE                  HUNTSVILLE-WALKER CO EMS                 HUNTSVILLE-WALKER COUNTY CHAMBER
1212 AVENUE M                        1100 UNIVERSITY AVENUE                   1327 11TH STREET
HUNTSVILLE, TX 77340                 HUNTSVILLE, TX 77340                     HUNTSVILLE, TX 77340




HUNTSVILLE-WALKER COUNTY             HURLEY, DIANE B.                         HUTCHERSON, LISA R.
PO BOX 538                           [ADDRESS REDACTED]
HUNTSVILLE, TX 77342-0538




HUTCHISON, SANDRA KAY                HYATT REGENCY BALTIMORE                  HYDE, KIM
6748 FM 3126                         300 LIGHT STREET                         HUNTSVILLE, TX
LIVINGSTON, TX 77351                 BALTIMORE, MD 21202




HYLAND THERAPEUTICS                  HYMAN, ABBEY                             HYMAN, KATY
PO BOX 730087                        2104 AVE O                               2104 AVE 0
DALLAS, TX 75373                     HUNTSVILLE, TX 77340                     HUNTSVILLE, TX 77340




HYRHORCHUK, KACI                     I BUYPOWER                               I.S.I. COMMERCIAL REFRIGERATION
                                     602 MONTEREY PASS ROAD                   9136 VISCOUNT ROW
                                     MONTEREY PARK, CA 91754                  DALLAS, TX 75247




I-45 SELF STORAGE                    IATRIC SYSTEMS, INC.                     IBARRA, KENNETH A.
700 I-45 SOUTH                       100 QUANNAPOWITT PKWY UNIT 405           [ADDRESS REDACTED]
HUNTSVILLE, TX 77340                 WAKEFIELD, MA 01880
ICONTRACTS INC    Case 19-36300      Document   1 Filed
                                        ICP MEDICAL LLC in TXSB on 11/11/19 ICPA,
                                                                             Page INC.111 of 240
1011 US ROUTE 22 WEST SUITE 104          13720 RIDER TRAIL NORTH              515 S. CAPITAL OF TEXAS HWY,STE 240
BRIDGEWATER, NJ 08807                    ST. LOUIS, MO 63045                  AUSTIN, TX 78746-4305




IDEAS FOR MEDICINE                       IDENT-A-DRUG                         IGODO, CHRISTIAN
12167 49TH ST NORTH                      PO BOX 8190                          9755 COURT GLEN DR. 1216
CLEARWATER, FL 34622                     STOCKTON, CA 95208-0190              HOUSTON, TX 77099




IKON                                     ILAYSIA D EVANS                      ILLINOIS MUTUAL
3019 ALVIN DEVANE 400                    [ADDRESS REDACTED]                   300 S W ADAMS
EQUIP. ID 10200297                                                            PEORIA, IL 61634-0001
AUSTIN, TX 78741




IMAGE ANALYSIS INC                       IMAGINE NATION BOOKS, LTD            IMANI L WILLIAMS
1380 BURKESVILLE ST                      282 CENTURY PLACE, SUITE 2000        [ADDRESS REDACTED]
COLUMBIA, KY 42728                       LOUISVILLE, CO 80027




IMED/IVAC                                IMELDA NJERI MUCHOKI                 IMMUCOR
PO BOX 100226                            [ADDRESS REDACTED]                   PO BOX 102118
ATLANTA, GA 30384                                                             ATLANTA, GA 30368-2118




IMPACT APPLICATIONS INC                  IMPRA                                IMS
2000 TECHNOLOGY DR.                      PO BOX 1740                          1501 WYOMING AVENUE
SUITE 150                                1625 WEST 3RD STREET                 EL PASO, TX 79902
PITTSBURGH, PA 15219                     TEMPE, AZ 85280-1740




IN2BONES USA LLC                         INCREDIBLE MEDICAL                   INDEED, INC
6060 POPLAR AVE SUITE 380                102 TOWNSEND PASS                    177 BROAD STREET, 4TH FLOOR
MEMPHIS, TN 38119                        ALPHARETTA, GA 30004                 STAMFORD, CT 06901




INDIGENT HEALTHCARE SOLUTIONS, LTD       INDOFF INCORPORATED                  INDUSTRIAL ARMATURE WORKS
3011 ARMORY DRIVE, SUITE 190             11816 LACKLAND AVENUE                1009 S FIRST
NASHVILLE, TN 37204                      ST. LOUIS, MO 63146                  CONROE, TX 77301




INDUSTRIAL SAFETY PRODUCTS COMPANY       INDUSTRIAL SAFETY PRODUCTS LLC       INFOLAB, INC.
PO BOX 1417                              PO BOX 8159                          2100 GREENHILL DRIVE
BRYAN, TX 77806                          HUNTSVILLE, TX 77340                 ROUND ROCK, TX 78664




INFORMD MEDICAL DEVICES, LLC             INFRA RED TECHNOLOGY                 INFUSION NURSES SOCIETY
25003 FORT AUGUSTA DR.                   7586 US HWY 79E                      315 NORWOOD PARK SOUTH
SPRING, TX 77389                         HENDERSON, TX 75652                  NORWOOD, MA 02062
INGALLA,ALVIN V. Case     19-36300 Document
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                                                                            Page 112   of 240
                                                                                   ASSIST
[ADDRESS REDACTED]                      PO BOX 922189                        6751 NORTH SUNSET BLVD, SUITE 450
                                        NORCROSS, GA 30092-9998              GLENDALE, AZ 85305




INJOY PRODUCTIONS, INC.                 INJURY MANAGEMENT ORGANIZATION INC   INLAND NORTHWEST HEALTH SERVICES
77107 LA VISTA PLACE                    PO BOX 118577                        PO BOX 2185
LONGMONT, CO 80503                      CARROLLTON, TX 75011                 SPOKANE, WA 99210-2185




INMAN-THOMAS, KIMBERLY                  INNERFACE ARCHITECTURAL              INNOCORP, LTD
606 MOSSWOOD DR                         5849 PEACHTREE ROAD                  PO BOX 930064
CONROE, TX 77302                        BLDG 100                             VERNOA, WI 53593-0064
                                        ATLANTA, GA 30341




INNOMED, INC                            INNOVASIVE DEVICES                   INNOVATIVE EMPLOYEE SOLUTIONS, INC.
103 ESTUS DRIVE                         734 FOREST ST                        9665 GRANITE RIDGE DRIVE
SAVANNAH, GA 31404                      MARLBOROUGH, MA 01752                SUITE 420
                                                                             SAN DIEGO, CA 92123




INNOVATIVE OUTDOORS,LLC                 INNOVATIVE RADIOLOGY, PA             INNOVATIVE TECHNOLOGIES BY DESIGN
807 LAKE VIEW DR                        PO BOX 4346 DEPT 486                 4680 LIPSCOMB STREET, N.E. STE 1
MONTGOMERY, TX 77356                    HOUSTON, TX 77210-4348               PALM BAY, FL 32905-2928




INPRO CORPORATION                       INPRO CORPORATION                    INRAD
5131 PAYSPHERE CIRCLE                   S80 W 18766 APOLLO DRIVE             4375 DONKER CT. SE
CHICAGO, IL 60674                       MUSKEGO, WI 53150                    GRAND RAPIDS, MI 49512




INSIDE THE JOINT COMMISSION             INSIGHT MEDIA                        INSIGHT
9737 WASHINGTON BLVD, SUITE 100         2162 BROADWAY                        PO BOX 731069
GAITHERSBURG, MD 20878-7364             NEW YORK, NY 10024                   DALLAS, TX 75373-1069




INSTRAMED SURGICAL ASSOC. INC           INSTRAMED                            INSTRATEK, INCORPORATED
204 NORTH FRONT STREET                  3071 COMMERCE DRIVE STE C            4141 DIRECTORS ROW
ROANOKE, TX 76262                       FORT GRATIOT, MI 48059-3869          STE H
                                                                             HOUSTON, TX 77092




INSTRUMENT MAKAR INC                    INSTRUMENTATION INDUSTRIES INC.      INSTRUMENTATION LABORATORY COMPANY
PO BOX 885                              2990 INDUSTRIAL BLVD                 180 HARTWELL ROAD
OKEMOS, MI 48805                        BETHEL PARK, PA 15102                BEDFORD, MA 01730-2443




INSTRUMENTATION LABORATORY              INSURANCE INFORMATION EXCHANGE       INSURANCE REFUND
180 HARTWELL ROAD                       3011 EARL RUDDER FWY S               N/A
BEDFORD, MA 01730-2443                  COLLEGE STATION, TX 77845            N/A
                                                                             N/A, N/A N/A
                  Case
INTEGRA LIFESCIENCES    19-36300
                     SALES LLC     Document
                                      INTEGRA 1   Filed
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                                                    UNCERTAINTY              Page 113    of 240
                                                                                    PAIN MANAGEMENT
311 ENTERRISE DRIVE                    2 GOODYEAR                           PO BOX 100416
PLAINSBORO, NJ 08536                   IRVINE, CA 92618                     ATLANTA, GA 30384-0416




INTEGRA SPINAL SPECIALTIES             INTEGRA/JARIT                        INTEGRATED COMMERCIALIZATION SOLUTI
311 ENTERPRISE DRIVE                   9 SKYLINE DRIVE                      3101 GAYLORD PARKWAY
PLAINSBORO, NJ 08536                   HAWTHORN, NY 10532                   FRISCO, TX 75034




INTEGRATED HEALTHCARE                  INTEGRATED MEDICAL SYSTEMS           INTEGRATED PRESCRIPTION MANAGEMENT
901 MARQUETTE AVE S SUITE 2100         PO BOX 934683                        7815 N. PALM AVENUE,SUITE 400
MINNEAPOLIS, MN 55402                  ATLANTA, GA 31193-4683               FRESNO, CA 93711




INTEGRATED SERVICES DIVISION           INTELEK TECHNOLOGIES                 INTELISTAF TRAVEL
1717 DEERFIELD RD                      901 WALL STREET                      PO BOX 202996
DEERFIELD, IL 60015-0778               NORMAN, OK 73069-6342                DALLAS, TX 75320-2996




INTELLIGENT MEDICAL OBJECTS, INC       INTER CONTINENTAL SAN FRANCISCO      INTERACTIVATION HEALTH NETWORKS, LLC
60 REVERE DRIVE, SUITE 360             888 HOWARD STREET                    PO BOX 100442
NORTHBROOK, IL 60062                   SAN FRANCISCO, CA 94103              ATLANTA, GA 30384-0442




INTERACTIVE EXHIBITS LLC               INTERFACE PEOPLE, LP                 INTERIOR DESIGN SERVICES, INC.
PO BOX 631121                          2274 ROCKBROOK DR                    209 POWELL PLACE
HOUSTON, TX 77263                      LEWISVILLE, TX 75067                 BRENTWOOD, TN 37027




INTERIOR DESIGN                        INTERMETRO INDUSTRIES CORPORATION    INTERNAL REVENUE SERVICE CTR
PO BOX 5662                            N. WASHINGTON ST.                    COLLECTION BRANCH
HARLAN, IA 51593-5162                  WILKES-BARRES, PA 18705-0557         AUSTIN, TX 73301




INTERNAL REVENUE SERVICE               INTERNAL REVENUE SERVICE             INTERNAL REVENUE SERVICE
ACS SUPPORT                            ACS SUPPORT                          OGDEN, UT 84201-0038
P O BOX 24017                          PO BOX 57
FRESNO, CA 93779-4017                  BENSALEM, PA 19020-0057




INTERNAL REVENUE SERVICE               INTERNAL REVENUE SERVICE             INTERNAL REVENUE SERVICES
PO BOX 105083                          STOP 5224H-NW RO 2401                CENTRALIZED INSOLVENCY OFFICE
ATLANTA, GA 30348-5083                 HOUSTON, TX 77060-1241               PO BOX 7346
                                                                            PHILADELPHIA, PA 19101-7346




INTERNAL REVENUE SERVICES              INTERNAL REVENUE SERVICES            INTERNATIONAL ASSOCIATION FOR
DEPARTMENT OF THE TREASURY             LOCAL OFFICE                         PO BOX 5038
1500 PENNSYLVANIA AVENUE, N.W.         1100 COMMERCE STREET                 GLENDALE HIEGHTS, IL 60139
WASHINGTON, DC 20220                   ROOM 121
                                       DALLAS, TX 75242
                  Case 19-36300
INTERNATIONAL BIOMEDICAL             Document  1 Filed
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                                                             RECOVERY 11/11/19 INTERNATIONAL
                                                                                Page 114 ofENVELOPE
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8206 CROSS PARK DRIVE                    300 MAIN STREET                      PO BOX 210996
AUSTIN, TX 78754                         VESTAL, NY 13851                     BEDFORD, TX 76095-7996




INTERNATIONAL LIGHTING CORPORATION       INTERNATIONAL MEDICATION SYS LTD     INTERNATIONAL SCIENCE & TECH, LP
7939 NEW JERSERY AVE                     1886 SANTA ANITA AVE S EL            210 NURSERY ROAD
HAMMOND, IN 46323                        MONTE CARLO, CA 91733                THE WOODLANDS, TX 77380




INTERNET AMERICA                         IN-TOUCH COMMUNICATION               INTOUCH HEALTH
6210 ROTHWAY ST SUITE 100                PO BOX 425                           6330 HOLLISTER AVENUE
HOUSTON, TX 77040                        HUNTSVILLE, TX 77342-0425            SANTA BARBARA, CA 93117




INTUITIVE SURGICAL INC                   INTUITIVE SURGICAL INC.              INTUITIVE SURGICAL INC.
1266 KIFER ROAD                          1020 KIFER ROAD                      GARY GURHART, CEO
SUNNYVALE, CA 94086                      SUNNYVALE, CA 94086                  1266 KIFER ROAD
                                                                              SUNNYVALE, CA 94086




INVENSYS BUILDING SYSTEMS                INVICTUS BACKUPS                     INVIVO CORPORATION
1354 CLIFFORD AVENUE                     13009 TITUS CT                       PO BOX 100355
LOVES PARK, IL 61132-2940                AUSTIN, TX 78732                     ATLANTA, GA 30384-0355




IPEOPLE                                  IPSWITCH INC                         IQDR INC
2274 ROCKBROOK DR                        83 HARTWELL AVE                      34 SANDRA LANE
LEWISVILLE, TX 75067                     LEXINGTON, MA 02421                  MANITOU SPRINGS, CO 80829




IQVIA RDS INC.                           IRADIMED CORPORATION                 IRIDIAN I URBINA GARCIA
4820 EMPEROR BLVD                        1025 WILLA SPRINGS DR                [ADDRESS REDACTED]
DURHAM, NC 27703                         WINTER SPRINGS, FL 32708




IRIS SAMPLE PROCESSING                   IRN LEASING                          IRON MOUNTAIN INC.
60 GLACIER DRIVE                         800 SHAMES DRIVE                     PO BOX 915004
WESTWOOD, MA 02090                       WESTBURY, NY 11590                   DALLAS, TX 75391-5004




IRON MOUNTAIN PROPERTIES INC             IRON MOUNTAIN RECORDS MANAGEMENT     IRON WORKS HEALTH CLUB
16 CHAMPIONS BEND CIRCLE                 1000 CAMPUS DRIVE                    21025-B S SAM HOUSTON
HOUSTON, TX 77069                        COLLEGEVILLE, PA 19426               HUNTSVILLE, TX 77340




IRUN PRODUCTIONS                         IRVIN, FLODIA                        ISAMAR G PENA
815 W. GRAY UNIT 3                       HUNTSVILLE, TX 77340                 145 ESSEX BLVD APT 812
HUNTSVILLE, TX 77019                                                          HUNTSVILLE, TX 77340
                  Case
ISC BUILDING MATERIALS        19-36300 Document   1 Filed in TXSB
                                          ISOTIS ORTHOBIOLOGIS, INC on 11/11/19 IVA
                                                                                 Page    115 of 240
                                                                                    LIFETEC
PO BOX 55489                                 16386 COLLECTIONS CTR DR            1416 N. SAM HOUSTON PKWY E. 190
HOUSTON, TX 77255                            CHICAGO, IL 60693                   HOUSTON, TX 77032




IVANS                                        IVY BIOMEDICAL SYSTEMS, INC.        IVY BIOMEDICAL SYSTEMS, INC.
PO BOX 6262                                  11 BUSINESS PARK DRIVE              11 BUSINESS PARK DRIVE
NEW YORK, NY 10249-6262                      BRANFORD, CT 06040                  BRANFORD, CT 06405




IZELLA CASANDRA DUKES                        J & J RESOURCES L.P.                J A MAJORS SCIENTIFIC
[ADDRESS REDACTED]                           15810 PARK TEN PLACE, SUITE 255     2550 WEST TYVOLA RD, SUITE 30
                                             HOUSTON, TX 77084                   CHARLOTTE, NC 28217-4574




J B LIPPINCOTT                               J H RECOGNITION                     J J KELLER & ASSOC
PO BOX 1610                                  226 PUBLIC ST                       PO BOX 6609
HAGERSTOWN, MD 21741                         PROVIDENCE, RI 02940-6500           CAROLSTREAM, IL 60197-6609




J J WILD INC OF NEW ENGLAND                  J P LANDSCAPE SUPPLY INC            J&L COMPUTER SERVICE
120 ROYALL STREET                            PO BOX 6593                         4640 FM 1374
CANTON, MA 02021                             HUNTSVILLE, TX 77340                HUNTSVILLE, TX 77340




J. BRANDT RECOGNITION, LTD.                  J. CLAYPOOL ASSOCIATES, INC.        J.C. FINLEY COMPANY, INC.
2816 W. LANCASTER AVE.                       5009 LITTLE CREEK TRAIL             404 E. INDUSTRIAL DR
FORT WORTH, TX 76107                         SPICEWOOD, TX 78668                 GERALD, MO 63037




J.J. KELLER AND ASSOC. INC.                  J.P. MORGAN CHASE BANK              J.T. VAUGHN CONSTRUCTION LLC
PO BOX 368                                   707 TRAVIS STREET, 9 FL             10355 WESTPARK DRIVE
NEENAH, WI 54957-0368                        HOUSTON, TX 77002                   HOUSTON, TX 77042-5312




J4G,LLC                                      JACK CHOATE                         JACK DANIELS DELIVERY SERVICE
1421 SAM HOUSTON AVE                         [ADDRESS REDACTED]                  505 OLD MAGNOLIA RD.
HUNTSVILLE, TX 77340                                                             CONROE, TX 77304




JACKIE M REAMES                              JACKSON PHYSICIAN SEARCH, LLC       JACKSON WALKER LLP
[ADDRESS REDACTED]                           2655 NORTHWINDS PARKWAY             2323 ROSS AVE SUITE 600
                                             ALPHARETTA, GA 30009                DALLAS, TX 75201




JACKSON, HELEN                               JACKSON, TYSHEKIA                   JACO ROOFING & CONSTRUCTION INC
HUNTSVILLE, TX 77340                                                             PO BOX 937
                                                                                 CLUTE, TX 77531
                 Case
JACOB ANDREW GAISER     19-36300 Document  1 Filed in TXSB on 11/11/19 JACOB
                                    JACOB DELAGARZA                     PageW116 of 240
                                                                             PICKENS
[ADDRESS REDACTED]                   [ADDRESS REDACTED]                [ADDRESS REDACTED]




JACQUELINE HILL                      JACQUELINE M KIPE                 JACQUELINE TREJO
[ADDRESS REDACTED]                   [ADDRESS REDACTED]                [ADDRESS REDACTED]




JAIDA A MURRAY                       JALEESA SHAGARIA BURNS            JAMA SUBSCRIBER SERVICES
[ADDRESS REDACTED]                   [ADDRESS REDACTED]                BOX 4189
                                                                       CAROL STREAM, IL 60197-9798




JAMELA L JOHNSON                     JAMES A BARTOSH                   JAMES A BRITT
[ADDRESS REDACTED]                   [ADDRESS REDACTED]                [ADDRESS REDACTED]




JAMES CHILDRESS                      JAMES D PICKENS                   JAMES LAVON EDWARDS
2384 HWY 287 N 214                   [ADDRESS REDACTED]                [ADDRESS REDACTED]
MANSFIELD, TX 76063




JAMES M. HANNA MD                    JAMES R WELSH                     JAMES TYREL WILLIAMS
130 MEDICAL CENTER PARKWAY 3         [ADDRESS REDACTED]                [ADDRESS REDACTED]
HUNTSVILLE, TX 77340




JAMES W JONES                        JAMISON BAILEY TEAGUE             JAMMAR NETS
[ADDRESS REDACTED]                   [ADDRESS REDACTED]                PO BOX 392
                                                                       UNCASVILLE, CT 06382




JANA K ENDICOTT                      JANAYE NICOLE MITCHELL            JANES ASPHALT PAVING
[ADDRESS REDACTED]                   [ADDRESS REDACTED]                615 16TH STREET
                                                                       HUNTSVILLE, TX 77340




JANET ENE EDE                        JANET L KRISCHKE                  JANET L LOUCKS
[ADDRESS REDACTED]                   [ADDRESS REDACTED]                [ADDRESS REDACTED]




JANET M MASTERS                      JANET NOTTINGHAM EASON            JANET R KLINGER
[ADDRESS REDACTED]                   [ADDRESS REDACTED]                [ADDRESS REDACTED]
JANICE B LETBETTERCase   19-36300 Document
                                     JANICE L 1  Filed in TXSB on 11/11/19 JANICE
                                              OLDHAM                        PageWILLETT
                                                                                  117 ofCONSULTING
                                                                                         240
[ADDRESS REDACTED]                     [ADDRESS REDACTED]                    2205 AVE S
                                                                             HUNTSVILLE, TX 77340




JANICE WYNELLE HAY                     JANIE L ROBERTS                       JANIKA ERNST
[ADDRESS REDACTED]                     [ADDRESS REDACTED]                    [ADDRESS REDACTED]




JANITA NOEL                            JANPAK SUPPLY SOLUTIONS               JANUARYS HERBS AND WELLNESS
[ADDRESS REDACTED]                     6356 CLARA RD.                        1401 AVE M, SUITE B
                                       STE 100                               HUNTSVILLE, TX 77340
                                       HOUSTON, TX 77041




JARIT                                  JARRARD PHILLIPS CATE & HANCOCK INC   JARRELL,KIMBERLY D.
9 SKYLINE DR.                          219 WARD CIRCLE                       [ADDRESS REDACTED]
HAWTHORNE, NY 10532                    BRENTWOOD, TN 37027




JASMIN N KOLAJA                        JASMINE MARIE BOONE                   JASMINE VERNELL DAVIS
[ADDRESS REDACTED]                     [ADDRESS REDACTED]                    [ADDRESS REDACTED]




JASON KNOBLOCH                         JASON PHARMACEUTICALS                 J-C MEDICAL SERVICES
201 CREEK CLIFF DR                     1840 YOSRK ROAD                       1184 ELKINS LAKE
GATESVILLE, TX 76528                   TIMONIUM, MD 21093                    HUNTSVILLE, TX 77340




JCAHO                                  JEAN DENISE TAYLOR                    JEANETTE L MCGINTY
ONE RENAISSANCE BLVD                   [ADDRESS REDACTED]                    [ADDRESS REDACTED]
OAKBROOK TERRACE, IL 60181




JEANNE M BEARD                         JEDMED INSTRUMENT                     JEFF GREGORY
[ADDRESS REDACTED]                     60696 LEMAY FERRY ROAD                21318 MANDORIN GLEN CIR
                                       ST LOUIS, MO 63129                    SPRING, TX 77388




JEFF TAYLOR, LLC                       JEFFERSON PILOT FINANCIAL INS CO      JEFFREY EVANS WARD
MAC N0005-055, 800 WALNUT STREET       PO BOX 0821                           [ADDRESS REDACTED]
DES MOINES, IA 50309                   CAROL STREAM, IL 60132-0821




JEFFREY L TAIT                         JEFFREY TODD HULEN                    JENKINS II, MARK ALAN
[ADDRESS REDACTED]                     [ADDRESS REDACTED]                    1220 11TH ST
                                                                             HUNTSVILLE, TX 77340
                 Case
JENNA ARNETT BAKER       19-36300 Document
                                     JENNA D 1  Filed in TXSB on 11/11/19 JENNIFER
                                             COLE                          Page 118   of 240
                                                                                   A WHITE
[ADDRESS REDACTED]                     [ADDRESS REDACTED]                  [ADDRESS REDACTED]




JENNIFER AGOSTINETTI                   JENNIFER ANN GUINN                  JENNIFER CLARK WARREN
[ADDRESS REDACTED]                     [ADDRESS REDACTED]                  [ADDRESS REDACTED]




JENNIFER I MCKNIGHT                    JENNIFER L NEELY                    JENNIFER L STEIN
[ADDRESS REDACTED]                     [ADDRESS REDACTED]                  [ADDRESS REDACTED]




JENNIFER L TUSI                        JENNIFER LYNN ADAMS                 JENNIFER LYNNE HAMNER
[ADDRESS REDACTED]                     [ADDRESS REDACTED]                  [ADDRESS REDACTED]




JENNIFER M GRACE                       JENNIFER M SCOTT                    JENNIFER MARIE ARTHUR
[ADDRESS REDACTED]                     [ADDRESS REDACTED]                  [ADDRESS REDACTED]




JENNIFER MOTL                          JENNIFER NICOLE MANN                JENNIFER PRICE
[ADDRESS REDACTED]                     [ADDRESS REDACTED]                  [ADDRESS REDACTED]




JENNIFER RAPP                          JENNIFER RIVAS                      JENNIFER W SPINKS
[ADDRESS REDACTED]                     2450 LAKE RD. APT. 302              [ADDRESS REDACTED]
                                       HUNTSVILLE, TX 77340




JENNISCHE-SIMON, KAREN                 JENSEN SHAWN                        JEREMY M. LAMONT
124 WOODLAND HILLS DR                                                      967 OAK TERRACE DRIVE
HUNTSVILLE, TX 77320                                                       WILLIS, TX 77378




JERRIELL J REDD                        JESSICA A FERGUSON                  JESSICA A FORCE
[ADDRESS REDACTED]                     [ADDRESS REDACTED]                  [ADDRESS REDACTED]




JESSICA BERRYMAN                       JESSICA COLE                        JESSICA DEAN BABIN
[ADDRESS REDACTED]                     [ADDRESS REDACTED]                  [ADDRESS REDACTED]
                  Case 19-36300
JESSICA ELIZABET CASTELLON        Document
                                     JESSICA L1MARTIN
                                                 Filed in TXSB on 11/11/19 JESSICA
                                                                            Page L.119 of 240
                                                                                    RHODES
[ADDRESS REDACTED]                    [ADDRESS REDACTED]                   [ADDRESS REDACTED]




JESSICA LYNN BEASLEY                  JESSICA M KLAPUT                     JESSICA OROZCO
[ADDRESS REDACTED]                    [ADDRESS REDACTED]                   [ADDRESS REDACTED]




JESSICA SEITER                        JETAH TLN                            JETER SYSTEMS
[ADDRESS REDACTED]                    3862 US HWY 59 S                     606 FORTH ST
                                      LIVINGSTON, TX 77351                 PO BOX 153
                                                                           MAYVILLE, WI 53050




JETER, GARRETT                        JETER, LANIE                         JEWELRY & MORE FUNDRAISING LLC
1220 11TH STREET                      1697 FM 980 6                        26126 ST. GERMAIN COURT
HUNTSVILLE, TX 77340                  HUNTSVILLE, TX 77320                 DENHAM SPRINGS, LA 70726




JG MEDIA                              JIM COLEMAN LTD                      JIMBO AMUNDSON ELECTRICAL
16225 IMPACT WAY, SUITE 1             1500 S. HICKS RD., SUITE400          PO BOX 296
PLUGERVILLE, TX 78660                 ROLLING MEADOWS, IL 60008            MIDWAY, TX 75852




JIMENEZ, CLAUDIA                      JIMMY DON PACK                       JJIPC CONSULTING SERVICES INC
                                      173 COUNTY ROAD 415                  BOX 112351
                                      STEPHENVILLE, TX 76401               CARROLLTON, TX 75011-2351




JM PORTABLE BUILDINGS, LLC            JM SPECIALTY PARTS INC.              JNP AFFORDABLE PLUMBING, INC
5825 HWY 21W                          11689 SORRENTO VALLEY RD.            PO BOX 1582
BRYAN, TX 77803                       SUITE - Q                            HUNTSVILLE, TX 77342
                                      SAN DIEGO, CA 92121




JO ANN DUFFY                          JO DAWN M. STRACK                    JOACQUONNA LEE TAYLOR
2906 BROTHERS BLVD                    [ADDRESS REDACTED]                   [ADDRESS REDACTED]
COLLEGE STATION, TX 77845




JOANNA ISABELLA ABRIL                 JOBAR INC                            JOBS ETC
[ADDRESS REDACTED]                    4909 BISSONNET                       3201 OLD HOUSTON RD
                                      BELLAIRE, TX 77401-4030              HUNTSVILLE, TX 77340




JODAWN MICHELE STRACK                 JODI ANDREWS                         JODI LYNN MCKAMIE
[ADDRESS REDACTED]                    [ADDRESS REDACTED]                   [ADDRESS REDACTED]
JOE TYE           Case 19-36300 Document  1 Filed in TXSB on 11/11/19 JOHN
                                   JOEY NUGUID                         Page  120LIFE
                                                                           ALDEN  of INSURANCE
                                                                                     240
PO BOX 490                           [ADDRESS REDACTED]                  PO BOX 1609
SOLON, IA 52333                                                          FORT MILL, SC 29716-1609




JOHN ANTHONY KOPECKY                 JOHN BALDWIN                        JOHN D. HOWLAND C/O IVY HOWLAND
[ADDRESS REDACTED]                   2212 N. FRAZIER ST.                 PO BOX 1168
                                     CONROE, TX 77303                    KASILOF, AK 99610




JOHN E WARD                          JOHN KNIGHT, M.D.                   JOHN MARK THOMPSON
[ADDRESS REDACTED]                   [ADDRESS REDACTED]                  [ADDRESS REDACTED]




JOHN MOORE                           JOHN T MONTAINE                     JOHN WIESNER INC.
[ADDRESS REDACTED]                   19141 STONE OAK PARWAY, SUITE 104   1645 I 45 NORTH
                                     SAN ANTONIO, TX 78258               CONROE, TX 77304




JOHNNY ALAN HESTER                   JOHNS TV & ELECTRONICS              JOHNSON & JOHNSON HEALTHCARE
[ADDRESS REDACTED]                   2104 AVE M                          SYSTEM
                                     HUNTSVILLE, TX 77340                425 HOES LANE
                                                                         PISCAAWAY, NJ 08855-6800




JOHNSON & JOHNSON HEALTHCARE         JOHNSON & JOHNSON HEALTHCARE        JOHNSON JULIE
SYSTEM                               SYSTEM                              40180 LINDSAY DR.
425 HOES LANE                        425 HOES LANE                       STEAMBOAT SPRINGS, CO 80487-8419
PISCATAWAY, NJ 08855                 PISCATAWAY, NJ 08855-6800




JOHNSON MARIA                        JOHNSON SUPPLY                      JOHNSON, BENNIE A
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                                     HOUSTON, TX 77025-5398              HUNTSVILLE, TX 77320




JOHNSON, DAVID                       JOHNSON, DIETRICK                   JOHNSON, DON
1220 11TH ST                         15000 MANSION VIEW DRIVE 3606       503 ELKINS LAKE
HUNTSVILLE, TX 77320                 CONROE, TX 77384                    HUNTSVILLE, TX 77340




JOHNSON, JEAN                        JOHNSON, KEISHA L                   JOHNSON, KELLI
                                     [ADDRESS REDACTED]




JOHNSON, MAGAN                       JOHNSON, MARK DR                    JOHNSON, PAM
205 DIDLAKE RD                       5618 MEDICAL CENTER PLACE STE 109   HUNTSVILLE, TX 77340
HUNTSVILLE, TX 77340                 KATY, TX 77993
JOHNSON, STEPANIE Case
                   CCS    19-36300 Document  1 WILSIE
                                      JOHNSON,   Filed in TXSB on 11/11/19 JOHNSTON,
                                                                            Page 121 LLCof 240
4180 LAVALSE 103                        30 MEADOWLINK RD                     800 WILCREST DRIVE, SUITE 150
GRAND PRAIRIE, TX 75052                 HUNTSVILLE, TX 77320                 HOUSTON, TX 77042




JOHNSTONE SUPPLY                        JOINT COMMISSION RESOURCES           JOINT COMMISSION RESOURCES
501 N SHEPHERD DR, STE 120              1515 W 22ND ST STE 1300W             75 REMITTANCE DRIVE, STE 1057
HOUSTON, TX 77007                       OAK BROOK, IL 60523                  CHICAGO, IL 60675-1057




JOINT RESTORATION FOUNDATION            JOLEEN SMITH                         JON BALDWIN
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COLORADO SPRINGS, CO 80920




JON-DON, INC.                           JONES, AMBER                         JONES, BOB C MD
400 MEDINAH ROAD                        HUNTSVILLE, TX 77340                 2950 I 45 SUITE 10
ROSELLE, IL 60172                                                            HUNTSVILLE, TX 77340




JONES, JIMMY                            JONES, KIM                           JONES, LORNA
HUNTSVILLE, TX 77340                    MADISONVILLE, TX 77864               15596 INTERSTATE 45 S APT. 1101
                                                                             CONROE, TX 77384




JONES, SARAH J                          JONES, STEVEN                        JONES, TAMMY L.
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CONROE, TX 77304                        MADISONVILLE, TX 77864               LUBBOCK, TX 79415




JONESSIA SHARDELL SHIRDEN               JONI GABRIELLE MADERA                JONI Y TAN
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JORDAN, BYRON      Case   19-36300 Document   1 PUEYO
                                      JOSE A RAY Filed in TXSB on 11/11/19 JOSE
                                                                            Page   122 of 240
                                                                                E PORTALES
904 HILL PINE                           [ADDRESS REDACTED]                    [ADDRESS REDACTED]
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JOSEPH O AYOOLA                         JOSEPHINE JAMES                       JOSHUA C SMITH
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JUSTIN DAGLE     Case     19-36300 Document   1 Filed
                                      JUSTIN DAVID      in TXSB on 11/11/19 JUSTIN
                                                   WALLACE                   PageGARRETT
                                                                                   123 of GONZALES
                                                                                          240
[ADDRESS REDACTED]                      [ADDRESS REDACTED]                   [ADDRESS REDACTED]




JUSTINE A DAHLKE                        JUSTINE M SACKMAN                    JVB ENTERPRISES, INC.
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KAREN LABAR      Case   19-36300 Document
                                    KAREN M.1LANE
                                               Filed  in TXSB on 11/11/19 KAREN
                                                  TAX ASSESSOR             PageM.124
                                                                                  LANEof 240
                                                                                       TAX ASSESSOR
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2151 E. GRAND AVENUE                   [ADDRESS REDACTED]                  1801 WEST D ST
EL SEGUNDO, CA 90245                                                       VINTON, IA 52349-2500




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                 Case
KATHY ANN BAUMGARDNER      19-36300 Document   1 Filed in TXSB on 11/11/19 KATIE
                                       KATHY J VARDEMAN                     Page   125 of DIETSCH
                                                                                 ELIZABETH 240
[ADDRESS REDACTED]                       [ADDRESS REDACTED]                  [ADDRESS REDACTED]




KATIE MELISSA WENGLIKOWSKI               KATLYNN M PENNINGTON                KATY EVANS HARIG
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KAYLA MARIE WALTERBACH                   KAYLA N ELLIOTT                     KAYLA PAIGE GEALE
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BRYAN, TX 77805




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SALT LAKE CITY, UT 84116                 SALT LAKE CITY, UT 84116            HUNTSVILLE, TX 77340




KEDRION BIOPHARMA, INC                   KEEN, KEVIN                         KEEVER, MEREDITH
400 KELBY STREET, 11TH FLOOR             101 REDBUD CIRCLE                   739 B VICKI DR
FORT LEE, NJ 07024                       LIVINGSTON, TX 77351                HUNTSVILLE, TX 77340




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KELLER CONSULTING GROUP LLC              KELLER LONG TEXAS                   KELLEY FASHIONS LLC
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DALLAS, TX 75370-1360                    NAVASOTA, TX 77868                  MAGNOLIA, TX 77354
KELLEY, BILL       Case   19-36300 Document   1 Filed in TXSB on 11/11/19 KELLY
                                      KELLEY, DALE                         PageA HICKS
                                                                                 126 of 240
3901 TIMBERWOOD LANE                    PO BOX 99                            [ADDRESS REDACTED]
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KELLY ALLYSON                           KELLY ANN REED                       KELLY COMMUNICATIONS
331 FM 247                              [ADDRESS REDACTED]                   2 CRESCENT VIEW CT
HUNTSVILLE, TX 77320                                                         THE WOODLANDS, TX 77381




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KENTEC MEDICAL, INC.                    KENTECH INC.                         KERMA MEDICAL PRODUCTS INC
17871 FITCH                             21855 E HAMMOND                      11490 INTERCHANGE CIRCLE N
IRVINE, CA 92614                        PORTER, TX 77365                     MIRAMAR, FL 33025




KERRI BISHOP WARD                       KERRI K KINCADE                      KERRI S. CRAVEY
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KETCHUM NICOLE     Case 19-36300 Document  1 Filed
                                    KETELHOHN, DANIELin TXSB on 11/11/19 KEUNDRA
                                                                          Page 127   of 240
                                                                                 RICHARD
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KEVAN L KEEN                           KEVIN DWAYNE BYRD                  KEVIN RUSSELL
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KEVIN SCOTT RUSSELL                    KEY BENEFIT ADMINSTRATORS, INC     KEY PRINTING
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KEY SURGICAL                           KEYES LIFE SAFETY COMPLIANCE       KEYSER, CHARRISSA
11000W. 78TH ST. SUITE 100             6725 SHIRLAND ROAD                 1209 TRINITY CUT OFF
EDEN PRAIRIE, MN 55344                 ROCKTON, IL 61072                  HUNTSVILLE, TX 77320




KHAN, NABEEL A MD                      KHEDR, MOHAMMAD                    KHUN FM 102
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HUNTSVILLE, TX 77340                   CROWN POINT, IN 43607              HUNTSVILLE, TX 77340




KHURANA, DR. DAVE                      KHUSHBOO ATODARIA                  KIBBY, KELLIE
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HUNTSVILLE, TX 77340




KIBBY, MANDY                           KIBBY, MELISSA                     KIDNEY SPECIALIST OF THE WOODLANDS
195 THOMAS LAKE ROAD D1                195 THOMAS LAKE ROAD D1            PO BOX
HUNTSVILLE, TX 77320                   HUNTSVILLE, TX 77320               GRAPEVINE, TX 76099




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PO BOX 12307                           [ADDRESS REDACTED]                 HUNTSVILLE, TX 77340
OMAHA, NE 68112-0307




KIMBERLEE A NOBLE                      KIMBERLI D REYNOLDS                KIMBERLY A NUNN
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KIMBERLY ANN PINCUS                    KIMBERLY BAKE CLEVELAND            KIMBERLY CLARK GLOBAL SALES, LLC
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                                                                          LAKE FOREST, CA 92630
KIMBERLY D JARRELLCase   19-36300 Document  1H. Filed
                                     KIMBERLY         in TXSB on 11/11/19 KIMBERLY
                                                MCMILLAN                   Page 128   of 240
                                                                                   INMAN
[ADDRESS REDACTED]                       [ADDRESS REDACTED]                [ADDRESS REDACTED]




KIMBERLY MONIQUE HAYES                   KIMBERLY-CLARK                    KINCADE, KERRI
[ADDRESS REDACTED]                       6620 SOUTH MEMORIAL PLACE         103 REDBUD CIRCLE
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                                         TUCSON, AZ 85756




KINCHELOE COMPANY                        KINEMEDIC CONCEPTS, INC.          KING & SPALDING
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KIRKSEY ALEXIS                           KISER, BAMBI                      KISS HEALTHCARE, INC.
                                                                           2367 GYPSUM CT.
                                                                           CHINO HILLS, CA 91709




KISS, DEBBIE                             KLORRES, APRIL                    KMC HOLDINGS LLC
1011 10TH ST                             148 LOOP DRIVE                    1260 INDUSTRIAL DRIVE
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KMU COMMUNICATIONS                       KMVL RADIO INC                    KNIGHT, HOLLE N.
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KOHERS, DR GERALD                        KOIZUMI, CHIE                     KOLAJA, JASMIN
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                 Case 19-36300
KOLLEEN VON SHAE ROLLING         Document   1 Filed
                                    KONICA MINOLTA   in TXSB
                                                   MEDICAL     on 11/11/19 KOOL
                                                           IMAGING          Page   129COof 240
                                                                                X RAY
[ADDRESS REDACTED]                   DEPT 2272                             5090 RICHMOND AVE 84
                                     P.O. BOX 122272                       HOUSTON, TX 77056
                                     DALLAS, TX 75312-2272




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KRAMER,KIMBERLY                      KREAGER MITCHELL PLLC                 KREAGER SYSTEMS, INC
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KROGER                               KRONOS INC                            KROTOFIL,MICHAELA
1610 I-45                            1225 NORTH LOOP WEST 700
HUNTSVILLE, TX 77340                 HOUSTON, TX 77008
                  Case 19-36300
KRS GLOBAL BIOTECHNOLOGY  INC       Document
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                                               LUCCIA,    in TXSB on 11/11/19 KRUSE,
                                                       L.L.P.                  PageLASER
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                                                                                         & GRIFFIN
791 PARK OF COMMERCE BLVD               3355 W ALABAMA ST, STE 1050           5599 SAN FELIPE 1000
STE 600                                 HOUSTON, TX 77098                     HOUSTON, TX 77056
BOCA RATON, FL 33487




KRYSTAL G COLEMAN                       KRYSTAL MICHELLE SALINAS              KRYSTAL ROSARIO MELENDEZ
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KYLR-AM                                 KYNISHA WHITE-MELANCON                KYPHON INC
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LA BARRINGTON - SIEMENS                 LA MONTAGNE, AMY                      LA TORRETTA LAKE RESORT & SPA
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LACIE C BLAIR    Case     19-36300 Document
                                      LADONNA1S NARON
                                                 Filed in TXSB on 11/11/19 LAERDAL
                                                                            Page 131 of 240
[ADDRESS REDACTED]                      [ADDRESS REDACTED]                167 MYERS CORNERS RD
                                                                          WAPPINGERS FALL, NY 12590




LAKE AREA CONCRETE, LLC                 LAKE AREA DEVELOPMENTS            LAKE CITY PRINTING
4950 HWY 190                            PO BOX 1724                       1723 W SALE ROAD
LIVINGSTON, TX 77351                    LIVINGSTON, TX 77351              LAKE CHARLES, LA 70605




LAKE COMMUNICATION CO., INC             LAKE CONROE CONDOS                LAKISHA NICOLE MACK
2124 US HWY 190 W                       216 LAKE VIEW CIRCLE              [ADDRESS REDACTED]
LIVINGSTON, TX 77351                    MONTGOMERY, TX 77356




LAKITA ROCHA CURTIS                     LAMAR COMPANIES                   LANCASTER POLLARD HOLDINGS, LLC
[ADDRESS REDACTED]                      PO BOX 66338                      65 EAST STATE STREET 16TH FLOOR
                                        BATON ROUGE, LA 70896             MAIL CODE 100
                                                                          COLUMBUS, OH 43215




LANCORE TECHNOLOGIES                    LAND AND WHEELS                   LANDAUER INC
11211 RICHMOND AVE ST B-107             7811 N 86TH ST                    2 SCIENCE RD
HOUSTON, TX 77802                       MILWAUKEE, WI 53224               GLENWOOD, IL 60425-1586




LANDIS, RAVEN                           LANDIS, ROBIN                     LANE EQUIPMENT COMPANY-HOUSTON
590 CAMP BRANCH RD                                                        2030 RICHMOND AVE
TRINITY, TX 75862                                                         HOUSTON, TX 77098-3498




LANGE DISTRIBUTION CO., INC.            LANGSTON, ROXANN                  LANIER WORLDWIDE INC
PO BOX 3457                             [ADDRESS REDACTED]                PO BOX 105533
BRYAN, TX 77805-3457                                                      ATLANTA, GA 30348-5533




LANTHEUS MEDICAL IMAGING INC            LAPLINK                           LAPOINTE, DENNIS
331 TREBLE COVE ROAD                    14335 NE 24TH STREET, SUITE 201   3320 THORNWOOD WAY
BILLERICA, MA 01862                     BELLEVUE, WA 98007                HUNTSVILLE, TX 77320




LAPOINTE, LINDA                         LAQUINTA INNS                     LARONDA ALLEN
HUNTSVILLE, TX 77340                    124 IH 45 N                       PO BOX 172188
                                        HUNTSVILLE, TX 77320              ARLINGTON, TX 76003-2188




LARRY A FREDENBURG                      LARRY BILICKI                     LARRY D HOLLEY
[ADDRESS REDACTED]                      [ADDRESS REDACTED]                [ADDRESS REDACTED]
                 Case
LARRY ONEIL FREEMAN       19-36300 Document   1 KELLEY
                                      LARRY, ADA Filed in TXSB on 11/11/19 LASER
                                                                            PageSAFETY
                                                                                 132 of  240
                                                                                       INDUSTRIES
[ADDRESS REDACTED]                      HUNTSVILLE, TX 77340                6311 CAMBRIDGE STREET
                                                                            MINNEAPOLIS, MN 55416




LASERSCOPE                              LASSMAN, DANIELLE                   LATABITA C KING
3052 ORCHARD DRIVE                      607 MOONWALK ST                     [ADDRESS REDACTED]
SAN JOSE, CA 95134-2011                 MONTGOMERY, TX 77356




LATANYA R BLANKS                        LATANYA R. LEWIS                    LATEEF A SOFIOYE
[ADDRESS REDACTED]                      [ADDRESS REDACTED]                  [ADDRESS REDACTED]




LATONYA KARIN MCENTIRE                  LATOR & LLERAS                      LATRENDA DENISE THOMPSON
[ADDRESS REDACTED]                      230 NW 76TH DRIVE                   [ADDRESS REDACTED]
                                        SUITE A
                                        GAINSVILLE, FL 32607




LAUHER, LINDSEY                         LAURA ANN WATSON                    LAURA B GARLAND
2208 SHANNON DR.                        [ADDRESS REDACTED]                  [ADDRESS REDACTED]
HUNTSVILLE, TX 77320




LAURA BERG                              LAURA E DENNING                     LAURA MEGAN DIXON
3826 KATY HOLLOW DRIVE                  [ADDRESS REDACTED]                  [ADDRESS REDACTED]
KATY, TX 77449




LAUREL DIANNE GRAY                      LAUREN BRANCH LOHNER                LAUREN DIERINGER
[ADDRESS REDACTED]                      [ADDRESS REDACTED]                  [ADDRESS REDACTED]




LAUREN MICHEL ESTRIDGE                  LAURIE BITTINGER                    LAURIE CARTER
[ADDRESS REDACTED]                      [ADDRESS REDACTED]                  [ADDRESS REDACTED]




LAW PUBLICATIONS                        LAWN PROS                           L-A-W-PUBLICATION
1500 E. BELTWAY                         PO BOX 7436                         15000 E BELTWOOD PKWY
ADDISON, TX 75001                       HUNTSVILLE, TX 77342-7436           ADDISON, TX 75001




LAWRENCE G OBRIEN                       LAWRENCE W. SMALL, M.D.             LAWRENCE, DAWN
10403 OLEANDER POINT DR                 PO BOX 2946                         13900 SHORELINE DR.
HOUSTON, TX 77095                       CONROE, TX 77305                    WILLIS, TX 77318
LAWSON PRODUCTS Case      19-36300 Document
                                      LAWSON,1VIRGINIA
                                                 Filed in TXSB on 11/11/19 LAWTON
                                                                            Page 133   of 240
                                                                                  PRINTING INC
PO BOX 300012                                                                PO BOX 284
DALLAS, TX 75303-0012                                                        SPOKANE, WA 99210




LAWTON PUBLICATIONS                     LAYTON, HAROLD                       L-COM INC
4111 EAST MISSION                                                            45 BEECHWOOD DRIVE
SPOKANE, WA 99202                                                            NORTH ANDOVER, MA 01845




LCT SOLUTIONS, INC.                     LDDS WORLDCOM                        LE MERIDIEN DALLAS BY THE GALLERIA
6700 WOODLANDS PARKWAY                  PO BOX 96023                         13402 NEOL ROAD
SUITE 230-206                           CHARLOTTE, NC 28296-0023             DALLAS, TX 75240
THE WOODLANDS, TX 77382




LEACH, ROXANE                           LEADERSHIP MONTGOMERY COUNTY         LEASING ASSOCIATES OF BARRINGTON INC
12627 LAZY COVE DR                      ALUMNI                               220 NORTH RIVER STREET
WILLIS, TX 77318                        PO BOX 2813                          EAST DUNDEE, IL 60118
                                        CONROE, TX 77305-2813




LEASING ASSOCIATES OF BARRINGTON INC    LEBLANC,KAITLINN                     LECHLER, MIKA
33 WEST HIGGINS ROAD, SUITE 1030        416 MAPLE STREET
SOUTH BARRINGTON, IL 60010              LIVINGSTON, TX 77351




LECLAIR, HEIDI                          LEDER, STUART MD                     LEDERLE LAB
240 CHESTNUT BEND                       521 IH 45 S SUITE 10                 PO BOX 70401
HUNTSVILLE, TX 77320                    HUNTSVILLE, TX 77340                 CHICAGO, IL 60673




LEDEZMA, BETHANY                        LEDTRONICS,INC.                      LEE ANN HOLLAND
HUNTSVILLE, TX 77340                    23105 KASHWA CT.                     [ADDRESS REDACTED]
                                        TORRANCE, CA 90505




LEE DRYWALL INC                         LEE LINDA S                          LEEDS INSTRUMENT, INC
PO BOX 1676                             [ADDRESS REDACTED]                   8150 SPRINGWOOD DRIVE SUITE 125
CONROE, TX 77305                                                             IRVING, TX 75063




LEFTGATE PROPERTY HOLDING INC           LEGACY EMS                           LEHMAN, JENNIFER
12053 SOUTHWEST FREEWAY                 4710 ELMO WEEDON RD
STAFFORD, TX 77477                      COLLEGE, TX 77845




LEHMAN, JUSTIN J                        LEICA BIOSYSTEMS RICHMOND INC        LEICA BIOSYSTEMS RICHMOND
1220 11TH STREET                        5205 ROUTE 12                        PO BOX 525
HUNTSVILLE, TX 77340                    P.O. BOX 528                         RICHMOND, IL 60071
                                        RICHMOND, IL 60071
LEICA            Case     19-36300 Document   1 BARKER
                                      LEIGH ANN  Filed in TXSB on 11/11/19 LELAND,BRENTLEY
                                                                            Page 134 of 240
2345 WAUKEGAN ROAD                      [ADDRESS REDACTED]                13735 FM 1280
BANNOCKBURN, IL 60015                                                     CROCKETT, TX 75835




LEMAITRE VASCULAR                       LENE GRACE JACOBE                 LENETH S ROZIER
63 SECOND AVENUE                        [ADDRESS REDACTED]                [ADDRESS REDACTED]
BURLINGTON, MA 01803




LENORMAN, DUSTIN                        LEONDRA SABRIEL COLE              LEONORA DESTINY SHARROCK
HUNTSVILLE, TX 77340                    [ADDRESS REDACTED]                [ADDRESS REDACTED]




LESA COPELAND                           LESA K BRADLEY                    LESLEE F HERLE
[ADDRESS REDACTED]                      [ADDRESS REDACTED]                [ADDRESS REDACTED]




LESLIE J HARRIS                         LESLIE J MATCHETT                 LESLIE R HARRIS
[ADDRESS REDACTED]                      [ADDRESS REDACTED]                [ADDRESS REDACTED]




LESTER, DEIRDRE                         LETBETTER, JANICE B.              LETSOS COMPANY
660 2 PINEWOOD COURT                    [ADDRESS REDACTED]                8435 WESTGLEN DR.
LOVELADY, TX 75851                                                        HOUSTON, TX 77063




LETSOS COMPANY                          LETSOS COMPANY                    LEVEL 4 HARDWARE, LLC
8435 WESTGLEN DRIVE                     PO BOX 36927                      4141 STATE ST STE D
HOUSTON, TX 77063-6311                  HOUSTON, TX 77236                 SANTA BARBARA, CA 93110




LEVEL4 HARDWARE                         LEVERETTE JUDY                    LEVY RESTAURANTS AT TOYOTA CENTER
4141 STATE ST UNIT D                                                      1510 POLK STREET
SANTA BARBARA, CA 93110                                                   HOUSTON, TX 77002




LEWIS, KRISTINE                         LEWIS, KYLE                       LEWIS, TODD
26111 I-45 NORTH                        60 CR 3180                        1220 11TH STREET
THE WOODLANDS, TX 77380                 CLEVELAND, TX 77327               HUNTSVILLE, TX 77340




LEXI-COMP,INC                           LEXISNEXIS RISK MANAGMENT, INC    LIBBY, JENNIFER
1100 TEREX ROAD                         PO BOX 7247-6157                  2603 KIMBERLY DAWN DR
HUDSON, OH 44236                        PHILADELPHIA, PA 19170-6157       CONROE, TX 77304
                  Case 19-36300
LIBERTY SURPLUS INSURANCE CORP.       Document
                                         LIBRARY 1   Filed
                                                 BINDING   in TXSB on 11/11/19 LIDDELL,
                                                         COMPANY                Page 135SAPP,of 240
                                                                                              ZIVELY,
175 BERKELEY ST                           2900 FRANKLIN                           3400 TEXAS COMMERCE TOWER
BOSTON, MA 02116                          WACO, TX 76710                          HOUSTON, TX 77002




LIEBERT GLOBAL SVC                        LIFE INSURANCE COMPANY OF NORTH         LIFE SAFETY SERVICES
610 EXECUTIVE CAMPUS DR                   1601 CHESTNUT ST., TWO LIBERTY          4720 PINEWOOD ROAD
WESTERVILL, OH 43082                      PHILADELPHIA, PA 19192                  LOUISVILLE, KY 70218




LIFECARE TECHNOLOGY INC                   LIFECELL                                LIFELOC TECHNOLOGIES, INC.
113 PRODUCTION DR                         ONE MILLENNIUM WAY                      12441 W. 49TH AVE 4
SUITE 2                                   BRANCHBURG, NJ 08876                    WHEAT RIDGE, CO 80033
SLIDELL, LA 70460




LIFENET                                   LIFESECURE, LLC                         LIGGINS, BOBBIE
1864 CONCERT DR.                          2624 CHERRY LANE                        93 BRANCH AVE
VIRGINIA BEACH, VA 23453                  NORTHBROOK, IL 60062                    HUNTSVILLE, TX 77320




LIGHTHOUSE RECRUITING, LLC                LIGHTYEAR COMMUNICATIONS                LILES, ASHLEY FIELDS
1090 CLASSIC ROAD                         PO BOX 742516                           HUNTSVILLE, TX 77340
APEX, CT 02753                            CINCINNATI, OH 45274-2516




LILIANA C CANGELOSE                       LILLIAN M GULLEDGE-WARD                 LILLIAN SANDS
[ADDRESS REDACTED]                        [ADDRESS REDACTED]                      [ADDRESS REDACTED]




LIN, HUI                                  LINCARE, INC                            LINCOLN & CO.
863 50TH STREET                           PO BOX 25456                            321 BILLERICA ROAD
6B                                        OKLAHOMA CITY, OK 73125-0456            CHELMSFORD, MA 01824
BROOKLYN, NY 11220




LINCOLN FINANCIAL GROUP                   LINCOLN HARRIS CSG                      LINCOLN PROP CO COM SVS ENT, INC.
PO BOX 2212                               6688 NORTH CENTRAL EXPRESSWAY           5400LBJ FREEWAY, SUITE 700
FORT WAYNE, IN 46801-2212                 STE 300                                 DALLAS, TX 75240
                                          DALLAS, TX 75206




LINCOLN PROPERTY CO. COMMERCIAL SRV       LINDA C FUKUICHI                        LINDA L FENNER
6688 N. CENTRAL EXPWAY. STE 300           [ADDRESS REDACTED]                      [ADDRESS REDACTED]
DALLAS, TX 75206




LINDA L HARDY                             LINDA MARUGG                            LINDA S LEE
[ADDRESS REDACTED]                        HUNTSVILLE, TX 77340                    [ADDRESS REDACTED]
LINDA S. FLYNN     Case   19-36300 Document  1 RFFiled
                                      LINDGREN         in TXSB
                                                 ENCLOSURES, INCon 11/11/19 LINDSAY
                                                                             Page 136    of 240
                                                                                    D MABE
1066 CHURCHILL DR.                       400 HIGH GROVE BLVD                 [ADDRESS REDACTED]
FLORENCE, KY 41042                       GLENDALE HEIGHTS, IL 60139




LINDSAY DIRK                             LINDSAY R LAUHER                    LINDSEY ALEXANDER
[ADDRESS REDACTED]                       [ADDRESS REDACTED]                  [ADDRESS REDACTED]




LINDSEY L SMITH                          LINDSEY LOUVIERE                    LINDSTROM, MARK
[ADDRESS REDACTED]                       [ADDRESS REDACTED]




LINDY LOU CROWSON                        LINGUISYSTEMS, INC.                 LINK SPLINTS PLUS
[ADDRESS REDACTED]                       3100 4TH AVENUE                     PO BOX 512715
                                         EAST MOLINE, IL 61244               PUNTA GORDA, FL 33951




LINKBIO                                  LINKLATER, DIANE                    LINTON, TINA
200 ROUNDHILL                            HUNTSVILLE, TX                      10 BOBBY JONES LANE 1721
ROCKAWAY, NJ 07866                                                           NORMANGEE, TX 77871




LIPPINCOTT VAN LINES                     LIPPINCOTT WILLIAMS & WILKINS       LIPPINCOTT WILLIAMS & WILKINS
PO BOX 716                               PO BOX 1590                         PO BOX 1600
WINSTED, CT 06098                        HAGERSTOWN, MD 21741                HAGERSTOWN, MD 21740-9910




LIPPINCOTT WILLIAMS & WILKINS            LIQUIDAGENTS HEALTHCARE, LLC        LISA B. WARNER
PO BOX 1610                              PO BOX 202056                       [ADDRESS REDACTED]
HAGERSTOWN, MD 21741                     DALLAS, TX 75320-2056




LISA D PROUD                             LISA HOWARD                         LISA J PARROTT
[ADDRESS REDACTED]                       [ADDRESS REDACTED]                  [ADDRESS REDACTED]




LISA LOPEZ                               LISA M GAUTREAUX                    LISA M PROCHASKA
[ADDRESS REDACTED]                       [ADDRESS REDACTED]                  [ADDRESS REDACTED]




LISA MOODY                               LISETE VEGA                         LISKOW & LEWIS, A PROFESSIONAL LAW
[ADDRESS REDACTED]                       [ADDRESS REDACTED]                  701 POYDRAS STREET, SUITE 5000
                                                                             NEW ORLEANS, LA 70139
LITHOTRIPERS INC Case     19-36300 Document   1 CLINIC
                                      LIVINGSTON Filed in TXSB on 11/11/19 LIVINGSTON
                                                                            Page 137COMMUNICATIONS
                                                                                      of 240
9825 SPECTRUM DR BLVD 3                 500 W MAIN ST                      701 W. CHURCH ST
AUSTIN, TX 78717-4930                   LIVINGSTON, TN 38570               LIVINGSTON, TX 77351-3158




LIVINGSTON FAMILY MEDICINE              LLANOS ETHEL LEANN                 LLOYDS OF LONDON
317 WEST CHURCH ST.                                                        ONE LIME ST
STE 106                                                                    LONDON EC3M 7HA
LIVINGSTON, TX 77351                                                       UNITED KINGDOM




LMA NORTH AMERICA INC                   LMRPMANAGER, LLC                   LOCAL RN
PO BOX 51275                            PO BOX 536338                      FILE 54318
LOS ANGELES, CA 90051-5575              ORLANDO, FL 32853                  LOS ANGELES, CA 90074-4318




LOCKE LORD BISSELL & LIDDELL LLP        LOCKTON COMPANIES, LLC             LOCKTON INVESTMENT ADVISORS, LLC
PO BOX 911541                           PO BOX 802707                      PO BOX 877579
DALLAS, TX 75391-1541                   KANSAS CITY, MO 64180-2707         KANSAS CITY, MO 64187-7579




LOCUMTENENS                             LOCUMTENENS.COM LLC                LOFLIN ENVIRONMENTAL SERVICES, INC.
2655 NORTHWINDS PARKWAY                 2655 NORTHWINDS PARKWAY            2020 MONTROSE BLVD, SUITE 100
ALPHARETTA, GA 30009                    ALPHARETTA, GA 30009               HOUSTON, TX 77006




LOFTIN, JASON                           LOGICS ONE LLC                     LOIS BAUTISTA-BORJA
34 JONES VIEW                           5885 CUMMING HWY                   [ADDRESS REDACTED]
HUNTSVILLE, TX 77320                    SUGAR HILL, GA 30518




LOLITA BROUSSARD                        LOMBART INSTRUMENTS                LONE STAR AMBULANCE 1, LLC
819 BOETTCHER MILLS RD                  5358 ROBIN HOOD ROAD               PO BOX 2775
HUNTSVILLE, TX 77340                    NORFOLK, VA 23513-2407             GEORGETOWN, TX 78627




LONE STAR COLLEGE SYSTEM DISTRICT       LONE STAR ENERGY SERVICES INC      LONE STAR EXTREMITIES, LLC
5000 RESEARCH FOREST DR                 9000 E NICHOLS AVE STE 150         3450 S. HIGHLAND DRIVE SUITE 302
THE WOODLANDS, TX 77381                 ENGLEWOOD, CO 80112                SALT LAKE CITY, UT 84106




LONE STAR GROWERS                       LONE STAR MEDICAL PRODUCTS         LONE STAR MEDICAL SUPPLY
7960 CAGNON RD.                         HOUSTON                            130 COLONEL ETHEREDGE BLVD, D2
SAN ANTONIO, TX 78252-2202              HOUSTON, TX 77225                  HUNTSVILLE, TX 77340




LONE STAR MEDSTAFF, LLC                 LONESTAR AMBULANCE 1, LLC          LONESTAR DELIVERY & PROCESS
PO BOX 16341                            PO BOX 4320                        1064 HERCULES AVE
SUGAR LAND, TX 77479                    HOUSTON, TX 77210-4320             HOUSTON, TX 77058
LONG ALISON         Case 19-36300 Document  1 Filed in TXSB on 11/11/19 LONGNECKER,
                                     LONG DOLL                           Page 138 of   240
                                                                                    CINDY
                                       834 HIGHLAND VILLAGE ROAD         HUNTSVILLE, TX 77340
                                       HIGHLAND VILLAGE, TX 75077




LONGORIA, RYAN RAY                     LOOSIER, MADILENE A               LOPEZ, ANNA
138 GROBE RD                           PO BOX 8963                       455 WILDWOOD FOREST DR. APT 6208
SAN ANTONIO, TX 78220                  HUNTSVILLE, TX 77340              SPRING, TX 77380




LOPEZ, ERIC                            LOPEZ, ESMERALDA                  LOPEZ, NIRIA YOANN
13103 HAPPY LANE                       HUNTSVILLE, TX 77340              PO BOX 1320
CYPRESS, TX 77429                                                        TRINITY, TX 75862




LORAN INTERNATIONAL SALES              LOREN A NORTHERN                  LORENA B BRIONES
2650 MALTIDA DR                        [ADDRESS REDACTED]                [ADDRESS REDACTED]
HOUSTON, TX 77032




LORENZ,ELIZABETH                       LORI A. DUPERE                    LORI KAY LAVALLEE
[ADDRESS REDACTED]                     [ADDRESS REDACTED]                [ADDRESS REDACTED]




LORNA D JONES                          LOUCKS, JANET                     LOUTHER, REBECCA
[ADDRESS REDACTED]                                                       PO BOX 163
                                                                         DODGE, TX 77334




LOUVIERE,LINDSEY                       LOVE, KARRIE                      LOVEDAY, KATHRYN MONIQUE
[ADDRESS REDACTED]                     112 C LOVE LOOP                   1846 TUCSON DRIVE
                                       RICHARDS, TX 77873                LEWISVILLE, TX 75077




LOWERY, PENNY                          LOWES HOME CENTERS, INC           LOYA, RANDY
HUNTSVILLE, TX 77340                   1920 WESTVIEW BLVC                HUNTSVILLE, TX
                                       CONROE, TX 77304




LS FLYNN & ASSOCIATES, LLC             LSA VIDEO, INC.                   LUCENT TECHNOLOGIES
1066 CHURCHHILL DRIVE                  455 BUSINESS CENTER DRIVE         PO BOX 52602
FLORENCE, KY 41042                     SUITE 100                         PHOENIX, AZ 85072-2602
                                       HORSHAM, PA 19044




LUCIA L PAGE                           LUCIA L PAGE                      LUCIA LASKOWSKI
[ADDRESS REDACTED]                     [ADDRESS REDACTED]                [ADDRESS REDACTED]
LUCY DEVILLIER   Case        19-36300 Document
                                         LUDRICK,1KELLY
                                                     Filed in TXSB on 11/11/19 LUFKIN
                                                                                PageENDO
                                                                                      139ANESTHESIA
                                                                                          of 240 PLLC
[ADDRESS REDACTED]                         45 LYREBIRD DRIVE                  319 GASLIGHT BLVD
                                           THE WOODLANDS, TX 77380            LUFKIN, TX 75904-3124




LUFKIN ENDOSCOPY CENTER                    LUFKIN PRINTING CO                 LUMALIER
317 GASLIGHT BLVD                          1030 NORTH FIRST                   743 S. DUDLEY ST.
LUFKIN, TX 75904                           LUFKIN, TX 75901                   MEMPHIS, TN 38104




LUMENATE TECHNOLOGIES, LP                  LUMENIS INC                        LUNA, CYNTHIA
1633 DALLAS PARKWAY, SUITE 450             2033 GATEWAY PLACE STE 200         502 AVE J
ADDISON, TX 75001                          SAN JOSE, CA 95110                 HUNTSVILLE, TX 77320




LUPE ELIZABET GONZALES                     LUPHER, LLC                        LUXZIO, INC.
[ADDRESS REDACTED]                         10801 HAMMERLY BOULEVARD           5090 RICHMOND AVE, STE 460
                                           SUITE 250                          HOUSTON, TX 77056
                                           HOUSTON, TX 77043




LYDIAS PROFESSIONAL UNIFORMS               LYLE, SUSIE                        LYNCH, MARY T
2547 THREE MILE ROAD N.W. SUITE F          1105 12TH ST                       2805 LAKE ROAD, APT 302
GRAND RAPIDS, MI 49534-1358                HUNTSVILLE, TX 77340               HUNTSVILLE, TX 77340-5691




LYNN P STILES                              LYNN R MULKEY                      LYNN TILLOTSON PINKER & COX, LLP
[ADDRESS REDACTED]                         [ADDRESS REDACTED]                 2100 ROSS AVE, SUITE 2700
                                                                              DALLAS, TX 75201




M & M DRYWALL                              M & N INTERNATIONAL                M C S ENTERPRISES
RT 15 BOX 395                              PO BOX 64784                       3796 HOWELL BRANCH RD
HUNTSVILLE, TX 77340                       ST PAUL, MN 55164-0784             WINTER PARK, FL 32792




M&C INVESTMENTS, LLC                       M.O.T. DISTRIBUTING LLC            MABE, LINDSAY
9421 FM 2920 RD., BLDG. 20                 1000 W. WEATHERFORD STREET         21558 DUKE ALEXANDER DRIVE
TOMBALL, TX 77375                          FORT WORTH, TX 76102               KINGWOOD, TX 77339




MAC WAREHOUSE                              MAC WOODWARD                       MACALUSO PLUMBING
7077 COLLECTION CENTER DR                  [ADDRESS REDACTED]                 202 LIVE OAK
CHICAGO, IL 60693-0072                                                        ONALASKA, TX 77360




MACK, MICHELLE                             MACKENZIE KATE HORNER              MACKENZIE RUTTIGER
                                           [ADDRESS REDACTED]                 [ADDRESS REDACTED]
MACY LEANN PICKETTCase      19-36300 Document  1ALEXANDRIA
                                        MADELINE  Filed in TXSB
                                                           HATCH on 11/11/19 MADISON
                                                                              Page 140   of 240
                                                                                     BEAIRD
[ADDRESS REDACTED]                        [ADDRESS REDACTED]                  [ADDRESS REDACTED]




MADISON CO NAACP UNIT                     MADISON COUNTY CHAMBER OF           MADISON COUNTY PULMONARY REHAB
110 ROSEBUD ST                            COMMERCE                            3200 ROBINSON CREEK PARKWAY STE B
MADISONVILLE, TX 77864                    113 WEST TRINITY                    HUNTSVILLE, TX 77340
                                          MADISONVILLE, TX 77864




MADISON COUNTY, TEXAS                     MADISON ELAINE LAWRENCE             MADISON INVESTMENT ADVISORS, LLC
103 W. TRINITY, SUITE 115                 [ADDRESS REDACTED]                  550 SCIENCE DR
MADISONVILLE, TX 77864                                                        MADISON, WI 53791-8551




MADISONVILLE NEWSPAPERS, INC              MADISONVILLE REVITALIZATION         MADL SHARLA
205 NORTH MADISON                         PO BOX 445                          99 FISHERMANS TRAIL
MADISONVILLE, TX 77864                    MADISONVILLE, TX 77864              HUNTSVILLE, TX 77320




MADYSON MAREE FONTANA                     MAG MUTUAL INSURANCE COMPANY        MAGAN N JOHNSON
[ADDRESS REDACTED]                        3525 PIEDMONT RD. BLDG 8-600        [ADDRESS REDACTED]
                                          ATALANTA, GA 30305




MAGAY MUYONG NUGUID                       MAGELLAN BEHAVIORAL HEALTH INC      MAGGIE ELIZABETH ROBERTS
[ADDRESS REDACTED]                        PO BOX 785341                       [ADDRESS REDACTED]
                                          PHILADELPHIA, PA 19178-5341




MAGNACOUSTICS, INC.                       MAGNATAG VISIBLE SYSTEMS            MAGNETKIN
1995 PARK STREET                          2031 ONEILL RD.
ALTANTIC BEACH, NY 11509                  MACEDON, NY 14502-8953




MAGNI-VIEW CO                             MAGNOLIA LAKE                       MAHAFFEY, MELISSA
4921 W ST JOSEPH                          2001 HWY 30 EAST                    2104 AVE N1/2
LANSING, MI 48917                         HUNTSVILLE, TX 77320                HUNTSVILLE, TX 77340




MAHAFFEY, ROBERT KARL                     MAHAN, MELISSA                      MAHLEN JULIE
1322 ELKINS LAKE
HUNTSVILLE, TX 77340




MAHMOODUDDIN, FAISAL                      MAIER, DEVON                        MAILFINANCE
551 SOUTH RAYS RD                         PO BOX 1951                         478 WHEELERS FARMS ROAD
STONE MOUNTAIN, GA 30083                  HUNTSVILLE, TX 77342-1951           MILFORD, CT 06461
MAILFINANCE       Case     19-36300 Document  1 FINANCE
                                       MAILROOM   Filed in TXSB on 11/11/19 MAIN
                                                        INC.                 Page   141PROGRAM
                                                                                 STREET of 240
C/O NEOPOST USA                          PO BOX 30193                       1203 UNIVERSITY AVE
478 WHEELERS FARM RD                     TAMPA, FL 33630-3193               HUNTSVILLE, TX 77340
MILFORD, CT 06461




MAINE STANDARDS COMPANY LLC              MAINLINE MEDICAL INC               MALIGNANT HYPERTHERMIA ASSOC
765 ROOSEVELT TRAIL, STE 9A              3250-J PEACHTREE CORNERS CIRCLE    PO BOX 1069
WINDHAM, ME 04062                        NORCROSS, GA 30092                 SHERBURNE, NY 13460




MALLADI & REDDY, PA                      MALLINCKRODT ANESTHESIOL           MALLINCKRODT MEDICAL INC
319 GASLIGHT BLVD                        900 HORNET DRIVE                   900 HORNET DRIVE
LUFKIN, TX 75904                         ST LOUIS, MO 63042                 ST LOUIS, MO 63042




MALLINCKRODT MEDICAL TPI                 MALLORY B HOWARD                   MALYN J DECORION
900 HORNET DRIVE                         [ADDRESS REDACTED]                 [ADDRESS REDACTED]
ST LOUIS, MO 63042




MAMMOGRAPHY REPORTING SYSTEMS            MAN LU LEONARD                     MANAGED DIGITAL DOCUMENTS
9709 -3RD AVE NE, SUITE 208              [ADDRESS REDACTED]                 9180 OLD KATY ROAD SUITE 200
SEATTLE, WA 98115-2027                                                      HOUSTON, TX 77055




MANAGED PHARMACY BENEFITS INC            MANAIRCO, INC                      MANDI G SOUTHERN
1100 N LINDBERGH                         28 MANSFIELD INDUSTRIAL PARK       [ADDRESS REDACTED]
ST LOUIS, MO 63132                       MANSFIELD, OH 44901




MANDI LANA PEACE                         MANDY L KIBBY                      MANN BERKELEY EYE CENTER
[ADDRESS REDACTED]                       [ADDRESS REDACTED]                 1200 BINZ SUITE 1000
                                                                            HOUSTON, TX 77004




MANNING, MELISSA                         MANNING, SHENEKA                   MANTEK
                                                                            PO BOX 971330
                                                                            DALLAS, TX 75397-1330




MANTZOROS, DIMITRIOS S                   MANTZOROS, DIMITRIOS SPIROS DPM    MAPANAO,SUZAN
100 MEDICAL CENTER BLVD STE 216          1501 RIVER POINTE, STE 110         1413 EDEN VALLEY LANE
CONROE, TX 77304                         CONROE, TX 77304-2860              PLANO, TX 75093




MAQUET CARDIOVASCULAR US SALES, LLC      MARA COMEAUX                       MARATHON FITNESS
45 BARBOUR POND DR                       [ADDRESS REDACTED]                 PO BOX 17705
WAYNE, NJ 07470                                                             SUGAR LAND, TX 77496
MARBURGER, BRIDGETCase    19-36300 Document  1 Filed in TXSB on 11/11/19 MARCAL
                                      MARC RUGAGAZA                       Page MEDICAL
                                                                                142 of 240
                                                                                       INC
119 FOREST VALLEY BEND                  [ADDRESS REDACTED]                8213 JUMPERS HOLE RD
CONROE, TX 77384                                                          MILLERSVILLE, MD 21108




MARCI M HENDERSON                       MARCIVE INC                       MARCONI/PHILLIPS
[ADDRESS REDACTED]                      PO BOX 47508                      595 MINER ROAD
                                        SAN ANTONIO, TX 78265             HIGHLAND HEIGHTS, OH 44143




MARCUS DANGELO LESLIE                   MARCY GIBSON BAXTER               MARGARET A MOSLEY
[ADDRESS REDACTED]                      [ADDRESS REDACTED]                [ADDRESS REDACTED]




MARGARET I LEE                          MARGARET MARIE THOMAS             MARGARET R BELL
[ADDRESS REDACTED]                      [ADDRESS REDACTED]                [ADDRESS REDACTED]




MARGARETTE M ROBERTSON                  MARGARITA RODRIGUEZ               MARGARITAS MEXICAN RESTAURANT
[ADDRESS REDACTED]                      [ADDRESS REDACTED]                630 IH-45 SOUTH
                                                                          HUNTSVILLE, TX 77340




MARIA CELESTE DELATORRE                 MARIA CRISTINA STEVENS            MARIA FRAGOSO
[ADDRESS REDACTED]                      [ADDRESS REDACTED]                [ADDRESS REDACTED]




MARIA GIANILLI H GARCIA                 MARIA JOHNSON                     MARIA KRISTINA T CABABASAY
[ADDRESS REDACTED]                      [ADDRESS REDACTED]                [ADDRESS REDACTED]




MARIA LUNA BROOKS                       MARIA T HERNANDEZ                 MARIAH MICHELE GLOVER
426 A HELEN STREET                      [ADDRESS REDACTED]                [ADDRESS REDACTED]
HUNTSVILLE, TX 77340




MARIAH SHYDE MOORE                      MARIBEL STEELE                    MARICAR RIVERA CANADY
[ADDRESS REDACTED]                      [ADDRESS REDACTED]                [ADDRESS REDACTED]




MARILYN I POLICARPO                     MARILYN KAY WALKER                MARILYN LANGLEY
[ADDRESS REDACTED]                      [ADDRESS REDACTED]
MARILYN SCHEFFE   Case 19-36300 Document   1 FiledTECHNOLOGIES,
                                   MARINE POLYMER  in TXSB onINC11/11/19 MARINER,
                                                                          Page 143   of G.
                                                                                  AUDRA 240
                                      107 WATER STREET                    [ADDRESS REDACTED]
                                      DANVERS, MA 01923-3727




MARINO CUSTOM DISPLAY WOODWORKING     MARISA D MASSEY                     MARISSA L MCKINNEY
413 BOSTON STREET                     [ADDRESS REDACTED]                  [ADDRESS REDACTED]
TOPSFIELD, MA 01983




MARJORIE A HILL                       MARJORIE SUE BONDS                  MARK ALLEN GRUBBS
[ADDRESS REDACTED]                    [ADDRESS REDACTED]                  [ADDRESS REDACTED]




MARK FOURNIER & ASSOC                 MARKETLAB, INC.                     MARKET-TIERS INC
PO BOX 1641                           6850 SOUTHBELT DR SE                8231 MELROSE DR
HURST, TX 76053                       CALEDONIA, MI 49316                 LENEXA, KS 66214




MARKS PHARMACY                        MARKS PLUMBING PARTS                MARLIN CO
1532 11TH STREET                      PO BOX 121554                       10 RESEARCH PARKWAY
HUNTSVILLE, TX 77340                  FORT WORTH, TX 76121-1554           WALLINGFORD, CT 06473-6492




MARQUETTE ELECTRONICS                 MARQUETTE MED SYS                   MARRINDA CONNELLE GRAY
8200 WEST TOWER AVE                   61 BARNES PARK ROAD N               [ADDRESS REDACTED]
MILWAUKEE, WI 53223                   WALLINGFORD, CT 06492-0333




MARRISA DAYE GASKAMP                  MARS ZULAY                          MARSHALL BARRY
[ADDRESS REDACTED]                                                        10154 OAK SEED LAND
                                                                          LAKELAND, TN 38002




MARSHALL, NEIL & PAULEY               MARTIN, AUDREY                      MARTIN, DARREL
8711 FALLBROOK DRIVE                                                      129 MEDICAL PARK LANE
HOUSTON, TX 77064                                                         HUNTSVILLE, TX 77340




MARTIN, J. DARREL MD                  MARTIN, JESSICA                     MARTIN, LEWANDA
PO BOX 9289                           29367 ALBA ROSE DR
HUNTSVILLE, TX 77340                  SPRING, TX 77386




MARTIN, SUZANNE C.                    MARTIN, VIOLET                      MARTIN,FLETCHER & ASSOCIATES
[ADDRESS REDACTED]                    HUNTSVILLE, TX 77340                1525 W. WALNUT HILL LANE, SUITE 100
                                                                          IRVING, TX 75038
                  Case
MARTINA LETICIA MUNOZ    19-36300 Document  1DAISY
                                     MARTINEZ  Filed in TXSB on 11/11/19 MARVIN
                                                                          Page E.144 of 240
                                                                                  ORSACK
[ADDRESS REDACTED]                                                            6197 FOREST DR
                                                                              CLEVELAND, TX 77328




MARY A ARSENAULT                       MARY A DRISKELL                        MARY A LOBB
[ADDRESS REDACTED]                     [ADDRESS REDACTED]                     [ADDRESS REDACTED]




MARY ELIZABETH MEIER                   MARY ELIZABETH WELBORN                 MARY HEISEY FROST
[ADDRESS REDACTED]                     [ADDRESS REDACTED]                     [ADDRESS REDACTED]




MARY INGRID WRIGHT                     MARY J FELICIA                         MARY LOU HOLLEY
[ADDRESS REDACTED]                     [ADDRESS REDACTED]                     [ADDRESS REDACTED]




MARY LOU MATHESON                      MARY LOU MATHESON                      MARY M STAPLETON
12979 BROWDER TRAYLOR ROAD             12979 BROWDER TRAYLOR TOAD             [ADDRESS REDACTED]
WILLIS, TX 77378-4109                  WILLIS, TX 77378-4109




MARY S. MASON                          MARY SMITHS CLEANING SERVICE           MARYLEANN PARRISH REESE
[ADDRESS REDACTED]                     PO BOX 302                             [ADDRESS REDACTED]
                                       CENTERVILLE, TX 75833




MASON A SMITH AND ASSOCIATES, LLC      MASON, RONALD                          MASS MARKETING INC
5657 171ST AVE SE                      338 WREN DRIVE                         7209 DIXIE HWY
BELLEVUE, WA 98007                     TRINITY, TX 74862                      FAIRFILD, OH 45014




MASSACHUSETTS MEDICAL SOCIETY          MASSEY, MARISA D.                      MASSIE, HENDREA
860 WINTER STREET                      [ADDRESS REDACTED]                     324 1/2 13TH ST. APT 2
WALTHAM, MA 02451                                                             HUNTSVILLE, TX 77342




MASTER-BILT PRODUCTS                   MATA, RICHARD                          MATHESON TRI-GAS
HWY 15N - PO BOX 59                    [ADDRESS REDACTED]                     2200 HOUSTON AVE
NEW ALBANY, MS 38652                                                          HOUSTON, TX 77007




MATHEWS BEAU                           MATRIX TRUST COMPANY                   MATSON, CHARLIE
522 14TH ST APT B                      BROADRIDGE FINANCIAL SOLUTIONS, INC.   [ADDRESS REDACTED]
HUNTSVILLE, TX 77340                   2800 N CENTRAL AVE STE 900
                                       PHOENIX, AZ 85004
                   Case 19-36300
MATTHEW BENDER COMPANY   INC       Document
                                      MATTHEW1C. Filed in TXSB on 11/11/19 MATTHEW
                                                 WHITNEY                    Page 145   of 240
                                                                                   J. MURPHY
PO BOX 733106                         2040 N LOOP 336 WEST, SUITE 118      113 N BALLAS ROAD
DALLAS, TX 75373-3106                 CONROE, TX 77304                     KIRKWOOD, MO 63122




MATTHEW KVAM                          MATTHEW, JOHNSON                     MATTISON, CAMERON
PO BOX 81                                                                  1220 11TH STREET
ST. JOHNSBURG, VT 05863                                                    HUNTSVILLE, TX 77340




MAURER, KIMBERLY                      MAX REVENUE SOLUTIONS LTD            MAXTEC
HUNTSVILLE, TX 77340                  7676 HILLMON ST                      6526 SOUTH 300 WEST
                                      SUITE 250                            SALT LAKE CITY, UT 84107
                                      HOUSTON, TX 77040




MAXWELL ALLAN OWENS                   MAXXIM/ATHENS TX DIV.                MAYES, WILLIAM KEITH
[ADDRESS REDACTED]                    PO BOX 4346 DEPT 147                 277 WALKER LANE
                                      HOUSTON, TX 77210                    LIVINGSTON, TX 77351




MAYFIELD, DANA                        MAYFLOWER TRANSIT, LLC               MAYFLOWER TRANSIT, LLC
123 SUMMER PLACE                      22262 NETWORK PLACE                  PO BOX 26150
HUNTSVILLE, TX 77340                  CHICAGO, IL 60673                    FENTON, MO 63026-1350




MAYO CLINIC WOMENS HEALTHSOURCE       MAYRANT, BOBETTE                     MAZUROSKI, ANN
PO BOX 9302                           PO BOX 1002                          7406 FALL SPRING LANE
BIG SANDY, TX 75755-9302              RIVERSIDE, TX 77367                  HUMBLE, TX 77396




MB FINANCIAL BANK, N.A.               MCCAFFETY ELECTRIC CO., INC.         MCCAFFETY ELECTRIC, INC
16111 NORTH RIVER ROAD                PO BOX 163                           1711 SYCAMORE
ROSEMONT, IL 60018                    HUNTSVILLE, TX 77342                 HUNTSVILLE, TX 77342-0163




MCCALPIN, MELISSA                     MCCLATCHY, SCOTT                     MCCOURT, SUE
                                                                           2237 IDAHO FALLS DR.
                                                                           HENDERSON, NV 89044




MCCOYS BUILDING SUPPLY                MCDANIEL, MATTHEW R.                 MCFADDEN, BETH
6021 HWY 75 SOUTH                     512 HICKORY                          15204 ARROWHEAD LP EAST
HUNTSVILLE, TX 77340                  HUNTSVILLE, TX 77320                 WILLIS, TX 77378




MCGEHEE, FRANK M.D.C.C.N, P.A         MCGILBERRY MECHANICAL                MCGINTY JAN
1909 22ND STREET                      123 WOODLAND HILL DR.                312 ELKINS LAKE
HUNTSVILLE, TX 77340                  HUNTSVILLE, TX 77320                 HUNTSVILLE, TX 77340
MCGINTY, ELIZABETHCase   19-36300 Document
                                     MCGINTY,1JANFiled in TXSB on 11/11/19 MCGRIFF,
                                                                            Page 146    of 240
                                                                                    SEIBELS, & WILLIAMS, INC.
HUNTSVILLE, TX                           312 ELKINS LAKE                        2211 8TH AVE S
                                         HUNTSVILLE, TX 77340                   BIRBINGHAM, AL 35233




MCHALE, HARRIETT                         MCHARGUE, RALPH                        MCHD-EMS
111A NORMAL PARK DR.                                                            PO BOX 2687
HUNTSVILLE, TX 77320                                                            CONROE, TX 77305




MCI COMMUNICATIONS                       MCKEAN, SALENA                         MCKEEVER, GREG MD
PO BOX 660206                            11589 NEWTON CR                        100 MEDICAL CENTER PKWY STE 1000
DALLAS, TX 75266-0206                    CONROE, TX 77303                       HUNTSVILLE, TX 77340




MCKENZIE EQUIPMENT CO                    MCKENZIES BARBEQUE                     MCKESSON HBOC
9260 BRYANT ST                           1700 11TH STREET                       904 WESTCOTT 329
HOUSTON, TX 77075                        HUNTSVILLE, TX 77340                   HOUSTON, TX 77007




MCKESSON HEALTH SOLUTIONS                MCKESSON SPECIALTY DISTRIBUTION        MCKESSON TECHNOLOGIES, INC.
275 GROVE STREET SUITE 1-110             4853 CRUMPLER ROAD                     275 GROVE STREET SUITE 1-110
NEWTON, MA 02466                         MEMPHIS, TN 38141                      NEWTON, MA 02466




MCKESSON TECHNOLOGIES, INC.              MCKNIGHT, JENNIFER                     MCLEOD, PEGGY
5955 WINDWARD PARKWAY                    1803 NORTHAMPTON DR                    3020 BENTWATER DR. W
ALPHARETTA, GA 30005                     CONROE, TX 77303                       MONTGOMERY, TX 77356




MCM ELECTRONICS                          MCMASTER CARR SUPPLY                   MCNEASE DRUGS
650 CONGRESS PARK DR                     6100 FULTON INDUSTRIAL BLVC            PO BOX 9080
CENTERVILLE, OH 45459-4072               ATLANTA, GA 30336-2852                 HUNTSVILLE, TX 77340




MCS DOOR AND HARDWARE                    MCWHORTER, PHYLLIS                     MCWILLIAMS, JEREMY
P.O.6626                                 1215 AVE G 5                           18733 PALM BEACH BLVD
BRYAN, TX 77805                          HUNTSVILLE, TX 77340                   MONTGOMERY, TX 77356




MDM COMMERICAL                           MDSAVE INC                             MEAD JOHNSON NUTR GR
1102A1A NORTH SUITE 205                  100 WINNERS CIRCLE, N. STE 202         1015 MILL CROSSING PLACE
PONTE VEDRA BEACH, FL 32082              BRENTWOOD, TN 37027                    ARLINGTON, TX 76006




MEADOX MEDICAL INC                       MEAN GREEN BOOSTER CLUB                MECH
232 BEAUER DR                            ONE FINANCIAL PLAZE, SUITE 300         4836 GREEN MOOR CT
OAKLAND, NJ 07436                        HUNTSVILLE, TX 77340                   HUDSONVILLE, MI 49426
MED ALLIANCE      Case    19-36300 Document  1 Filed in TXSB on 11/11/19 MED
                                      MED CHANNEL                         Page  147 of 240
                                                                             LEARN
5643 PLYMOUTH ROAD                      PO BOX 870038                     287 EAST SIXTH ST. STE 400
ANN ARBOR, MI 48105                     MILTON VILLAGE, MA 02187-0038     ST PAUL, MN 55101




MED ONE CAPITAL FUNDING LLC             MED ONE CAPITAL                   MED SHOP TOTAL CARE PHARMACY, INC
10712 S 1300 E                          10712 SOUTH 1300 EAST             470 EAST LOOP 281
SANDY, UT 84094                         SANDY, UT 84094                   LONGVIEW, TX 75605




MED SUPPORTS                            MED SYSTEMS                       MED TRAVELERS INC
10078 FLANDERS CT.NE, SUITE 150         2631 ARIANE DR                    PO BOX 281939
BLAINE, MN 55449                        SAN DIEGO, CA 92117               ATLANTA, GA 30384-1939




MEDACIST SOLUTIONS GROUP,LLC            MEDAFOR, INC                      MEDARTIS, INC
714 SOUTH MAIN STREET                   4001 LAKEBREEZE AVENUE NORTH      224 VALLEY CREEK BLVD.,SUITE 100
CHESHIRE, CT 06410                      SUITE 200                         EXTON, PA 19341
                                        MINNEAPOLIS, MN 55429




MEDASSETS NET REVENUE SYSTEMS           MEDASSETS                         MEDASSETS
200 NORTH POINT CENTER EAST             PO BOX 405652                     PO BOX 842291
SUITE 200                               ATLANTA, GA 30384-5652            DALLAS, TX 75284-2291
ALPHARETTA, GA 30022




MEDCHEM PRODUCTS                        MEDCO SPORTS MEDICINE             MEDCO SUPPLY COMPANY
232 WEST CUMMING PEEK                   PO BOX 21773                      500 FILLMORE AVE
WABURN, MA 01801                        CHICAGO, IL 60673-1217            TONAWANDA, NY 14150




MEDCO                                   MEDCOM TRAINEX                    MED-ED
8319 THORA A1                           PO BOX 6003                       1911 CHARLOTTE DR.
SPRING, TX 77379                        CYPRESS, CA 90630                 CHAROLETTE, NC 28203




MEDELA INC                              MEDFILMS INC                      MEDFILMS INC
38789 EAGLE WAY                         4910 WEST MONTE CARLO DR.         6841 N CASSIN PLACE
CHICAGO, IL 60678-1387                  TUSCON, AZ 85745                  TUCSON, AZ 85701




MEDGYN PRODUCTS, INC.                   MEDIA COLLECTIONS, INC.           MEDIA MANAGEMENT LLC
328 N. EISENHOWER LANE                  8948 CANYON FALLS BLVD. 200       1801 ROYAL LANE STE 906
LOMBARD, IL 60148                       TWINSBURG, OH 44087               DALLAS, TX 75229




MEDIBADGE, INC.                         MEDIBAG COMPANY, INC              MEDICAID-TX
7250 REYNOLDS ST                        107 RANCH ROAD 620 SOUTH, 20-B    US DEPT OF HEALTH & MEDICAID SERVICES
OMAHA, NE 68122-1060                    AUSTIN, TX 78734                  26 FEDERAL PLAZA RM 38-130
                                                                          NEW YORK, NY 10278
MEDICAL ADVANTAGECase 19-36300         Document
                                          MEDICAL 1  Filed
                                                  ARTS     in TXSB on 11/11/19 MEDICAL
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15455 DALLAS PARKWAY, SUITE 600            PO BOX 37647                           PO BOX 37647
ADDISON, TX 75001                          MINNEAPOLIS, MN 55445-1825             PHILADELPHIA, PA 19101-0647




MEDICAL CONSULTANTS NETWORK INC.           MEDICAL CONSULTANTS NETWORK, INC       MEDICAL DIGITAL IMAGING OF
1777 SOUTH HARRISON STREET STE 405         1777 SOUTH HARRISON STREET STE 405     PO BOX 771
DENVER, CO 80210                           DENVER, CO 80210                       SAN ANTONIO, TX 78293-0771




MEDICAL DYNAMICS                           MEDICAL EQUIPMENT AFFILIATES           MEDICAL EQUIPMENT AFFILLATES
5720 LONETREE BLVD                         1012 E. DOWNING ST                     1012 E. DOWNING ST.
ROCKLIN, CA 95765                          TAHLEQUAH, OK 74464                    TAHLEQUAH, OK 74464




MEDICAL INFORMATION TECH INC               MEDICAL LIBRARY ASSOCIATION            MEDICAL OFFICE PARK-HUNTSVILLE MOP1
MEDITECH CIRCLE                            36348 TREASURY CENTER                  100 MEDICAL CENTER BLVD.
WESTWOOD, MA 02090                         CHICAGO, IL 60694-6300                 SUITE 204
                                                                                  CONROE, TX 77304




MEDICAL OFFICE PARK-HUNTSVILLE MOPII       MEDICAL OFFICE PARK-HUNTSVILLE, L.P.   MEDICAL PACKAGING, INC.
100 MEDICAL CENTER BLVD                    100 MEDICAL CENTER BLVD.               8 KINGS COURT
SUITE 204                                  SUITE 204                              FLEMINGTON, NJ 08822
CONROE, TX 77304                           CONROE, TX 77304




MEDICAL PLASTIC LABORATORY, INC            MEDICAL PLUS SUPPLIES, INC             MEDICAL POSITIONING INC
PO BOX 38                                  PO BOX 847529                          1717 WASHINGTON
GATESVILLE, TX 76528                       DALLAS, TX 75284-0110                  KANSAS CITY, MO 64108




MEDICAL PRODUCTS RESOURCE                  MEDICAL PROTECTIVE COMPANY             MEDICAL SOLUTIONS LLC
1166 EAST CLIFF ROAD                       23289 NETWORK PLACE                    1010 NORTH 102ND STREET, SUITE 300
MINNEAPOLIS, MN 55337                      CHICAGO, IL 60673-1232                 OMAHA, NE 68114




MEDICAL SOLUTIONS, INC                     MEDICAL STAFFING NETWORK ALLIED        MEDICAL STAFFING NETWORK INC
3901 CENTERVIEW DR. STE.L                  3139 PAYSPHERE CIRCLE                  DEPT 77-5609
CHANTILLY, VA 20151                        CHICAGO, IL 60674                      CHICAGO, IL 60678-5609




MEDICAL STAFFING NETWORK                   MEDICAL SUPPLIES & EQUIPMENT CO.       MEDICAL SUPPLY GROUP
6551 PARK OF COMMERCE BLVD.                6420 RICHMOND AVE, SUITE 233           1801 WEST SAMPLE RD.
BOCCA RATON, FL 33487                      HOUSTON, TX 77057                      DEERFIELD BEACH, FL 33064




MEDICAL TECHNOLOGY ASSOCIATES, INC.        MEDICAL TECHNOLOGY INDUSTRIES, INC.    MEDICAL TECTRONICS INC
12445 62ND ST., SUITE 305                  3655 WEST NINIGRET DRIVE               7320 ASHCROFT, STE 206
LARGO, FL 33773                            SALT LAKE CITY, UT 84104               HOUSTONS, TX 77081
MEDICARE PART A Case       19-36300 Document  1 Filed in TXSB on 11/11/19 MEDICO
                                       MEDICARE                            Page INTERNATIONAL
                                                                                 149 of 240 INC.
PO BOX 100277                            VICTORIA ABRIL                          440 ALLENTOWN DRIVE
COLUMBIA, SC 29202-3277                  US DEPT OF HEALTH & MEDICAID SERVICES   ALLENTOWN, PA 18109
                                         26 FEDERAL PLAZA RM 38-130
                                         NEW YORK, NY 10278



MEDICOS                                  MEDICUS HEALTH DIRECT, INC.             MEDI-DOSE INCORPORATED
1910 SILVER STREET                       4767 BROADMOOR AVE SUITE 6              70 INDUSTRIAL DRIVE
GARLAND, TX 75042                        KENTWOOD, MI 49512                      IVYLAND, PA 18974




MEDI-DRAPE INC                           MEDIMEDIA USA, INC.                     MEDIMPEX UNITED INC.
1500 SKOKIE BLVE                         780 TOWNSHIP LINE ROAD                  984 BRISTOL PIKE
NORTHBROOK, IL 60062                     YARDLEY, PA 19067                       BENSALEM, PA 19020




MEDINC OF TEXAS                          MEDI-NUCLEAR LLC                        MEDIPRO
11205 SOUTH MAIN                         5201 NAIMAN PARKWAY                     1301 SHILIOH ROAD, SUITE 1250
STE. 110                                 SOLON, OH 44139                         KEBBESAW, GA 30144
HOUSTON, TX 77025




MEDIPRO                                  MEDIQUIP                                MEDIVATORS INC.
1301 SHILIOH ROAD, SUITE 1250            1865 SUMMIT AVE STE 600                 14605 8TH AVENUE NORTH
KENNESAW, GA 30144                       PLANO, TX 75074                         MINNEAPOLIS, MN 55447-4829




MEDIVATORS                               MEDLEARN MEDIA                          MEDLINE INDUSTRIES, INC
14605 8TH AVENUE NORTH                   445 MINNESOTA STREET                    DONALD TORRES, SR COLLECTIONS
MINNEAPOLIS, MN 55447-4829               STE 514                                 PO BOX 121080
                                         ST. PAUL, MN 55101                      DALLAS, TX 75312-1080




MEDLINE INDUSTRIES, INC                  MEDLINE INDUSTRIES, INC                 MEDMARC COMPANY
PO BOX 121080                            THREE LAKES DRIVE                       415 N MAIN ST, STE 106
DALLAS, TX 75312-1080                    NORTHFIELD, IL 60093                    EULESS, TX 76039




MEDOVATIONS, INC.                        MEDPACIFIC PROFESSIONAL PARTNERS,       MED-PAT
102 E. KEEFE AVE                         3011 HWY 30W SUITE 101-278              31 RIORDAN PLACE
MILWAUKEE, WI 53212                      HUNTSVILLE, TX 77340                    SHREWSBURY, NJ 07702




MEDRAD INC                               MEDS PUBLISHING                         MED-SAVER, INC.
ONE MEDRAD DR                            STE 203                                 1220 VALLEY FORGE ROAD SUITE 34
INDIANOLA, PA 15051                      LAUREL, MD 20707                        PHOENIXVILLE, PA 19480




MEDSHAPE SOLUTIONS                       MEDSTAR UNIFORMS                        MEDSTRAT
1575 NORTHSIDE DRIVE, NW                 198CR.43600                             1901 BUTTERFIELD ROAD
SUITE 440                                PARIS, TX 75462                         SUITE 600
ATLANTA, GA 30318                                                                DOWNERS GROVE, IL 60515
MEDSURG EQUIPMENT,Case
                   LLC   19-36300 Document 1 Filed
                                     MEDSYNERGIES INC in TXSB on 11/11/19 MED-TEK
                                                                           Page 150 of 240
425 S 4TH STREET                       PO BOX 671642                     1335 S CLAUDINA
BEAUMONT, TX 77701                     DALLAS, TX 75267-1642             ANAHEIM, CA 92805-6235




MEDTOWEL ENTERPRISES, INC              MEDTR0NIC SD USA, INC             MEDTRONIC USA, INC
300 SMITH ROAD, SUITE 104              12099 COLLECTION CENTER DRIVE     6743 SOUTHPOINT DRIVE N
AUSTIN, TX 78721                       CHICAGO, IL 60693                 JACKSONVILLE, FL 32216




MEDTRONIC USA/INTERVENT VASCULAR       MEDTRONICS                        MED-X PRODUCTS, INC
8200 CORAL SEA STREET                  7337 SOUTH REVERE PARKWAY         PO BOX 893
MOUNDS VIEW, MN 55112                  ENGLEWOOD, CO 80112-3994          LITTLETON, NC 27850




MEDX SURGICAL PARTNERS INC             MEGAN D CRESS                     MEGAN DANIELLE RUBLE
2616 SOUTH LOOP WEST, STE 210          [ADDRESS REDACTED]                751 GEE BEE WAY
HOUSTON, TX 77054                                                        YUBA CITY, CA 95991




MEGAN LEIGH THOMAS                     MEGAN MARIE PICKENS               MEGAN WHITNEY MORRIS
[ADDRESS REDACTED]                     [ADDRESS REDACTED]                [ADDRESS REDACTED]




MEGHAN JEANETTE PEACOCK                MEIER, MARY ELIZABETH             MELANIE ANN CHAVEZ
[ADDRESS REDACTED]                     [ADDRESS REDACTED]                [ADDRESS REDACTED]




MELANIE HALL                           MELANIE NICHOLE BIEGALSKI         MELINDA JAMISON
67 MAGNOLIA LN                         [ADDRESS REDACTED]                1603 14TH STREET
CONROE, TX 77304                                                         HUNTSVILLE, TX 77340




MELISSA ANN DAVIDSON                   MELISSA E MCCOLPIN                MELISSA JUDITH LARA
[ADDRESS REDACTED]                     [ADDRESS REDACTED]                [ADDRESS REDACTED]




MELISSA KAY HARDY                      MELISSA L SANCHEZ                 MELISSA LARA
[ADDRESS REDACTED]                     [ADDRESS REDACTED]                [ADDRESS REDACTED]




MELISSA TUCK-WHITE                     MELODIE AND JAMES PEVETO          MEMOMETAL INC. USA
12921 N. PUFFIN LANE                   516 RUSTLING WIND ROAD            6060 POPLAR, SUITE 254
WILLIS, TX 77318                       TRINITY, TX 78862                 MEMPHIS, TN 38119
                   Case 19-36300
MEMORIAL HERMAN HOSPITAL SYSTEM     Document  1 HERMANN
                                       MEMORIAL  Filed inHEALTH
                                                          TXSB on 11/11/19 MEMORIAL
                                                                            Page 151   of 240HEALTH
                                                                                    HERMANN
PO BOX 301208                          909 FROSTWOOD, SUITE 2               9401 SOUTHWEST FREEWAY, SUITE 1100
DALLAS, TX 75303-1208                  HOUSTON, TX 77024                    HOUSTON, TX 77074




MEMORIAL HERMANN HOME HEALTH           MEMORIAL HERMANN HOSPITAL C/O MHS    MEMORIAL HERMANN HOSPITAL SYSTEM
8585 COMMERCE PARK, STE.550            6400 FANNIN, SUITE 2070              9301 SOUTHWEST FWY
HOUSTON, TX 77036                      HOUSTON, TX 77030                    SUITE 649
                                                                            HOUSTON, TX 77074




MEMORIAL HERMANN HOSPITAL SYSTEM       MEMORIAL HERMANN HOSPITAL SYSTEM     MEMORIAL HERMANN HOSPITAL SYSTEMS
9701 SOUTHWEST FREEWAY, SUITE 600      PO BOX 301208                        9301 SOUTHWEST FEEWAY, SUITE 600
HOUSTON, TX 77074                      DALLAS, TX 75303-1208                HOUSTON, TX 77074




MEMORIAL HERMANN PATIENT BUSINESS      MEMORIAL HERMANN PRINTING SERVICES   MEMORIAL HERMANN THE WOODLANDS
PO BOX 4370                            929 GESSNER DRIVE, SUITE 2600        HOSP
HOUSTON, TX 77210-4370                 HOUSTON, TX 77024                    9520 PINECROFT
                                                                            THE WOODLANDS, TX 77380




MEMORIAL HERMANN                       MEMORIAL HERMANN                     MEMORIAL PATHOLOGY CONSULTANTS PA
9301 SW FREEWAY, STE 470               PO BOX 201367                        PO BOX 910
HOUSTON, TX 77074                      HOUSTON, TX 77216-1367               GREENVILLE, TX 75403




MEMORIES UNLIMITED, INC                MENDOZA, LISA                        MENTAL HEALTH MENTAL RETARDATION
9511 JOHNSON POINT LOOP NE             29 SMITH HILL RD APT A               1504 TEXAS AVE
OLYMPIA, WA 98516-9529                 HUNTSVILLE, TX 77320                 BRYAN, TX 77802




MENTOR- AESTHETICS PRODUCTS            MENTOR OPHTHALMICS                   MERCHANT, DELOIS
PO BOX 512370                          5425 HOLLISTER AVENUE                HUNTSVILLE, TX 77340
LOS ANGELES, CA 90051-0370             SANTA BARBARA, CA 93111




MERCK HUMAN HEALTH                     MERCK SHARP & DOHME CORP.            MERCO SAVORY
PO BOX 910339                          ONE MERCK DR.
DALLAS, TX 75391                       WHITEHOUSE STATION, NJ 08889-3400




MERCURY FIRE & SECURITY                MERCY CARE PLAN                      MERCY MEDICAL EMS
5315 CAPRESS CREEK PKWY                4350 E. COTTON CENTER BLVD           1212 15TH STREET
SUITE B233                             BLDG D                               HUNTSVILLE, TX 77340
HOUSTON, TX 77069                      PHOENIX, AZ 85040




MERIAN D JONES                         MERIDIAN DIAGNOSTICS                 MERION MATTERS
[ADDRESS REDACTED]                     3471 RIVER HILLS DR                  PO BOX 8500-52278
                                       CINCINNATI, OH 45244-3091            PHILADELPHIA, PA 19178-2278
                  CaseINC19-36300
MERIT MEDICAL SYSTEMS,              Document  1 HEALTHCARE
                                       MERITAGE   Filed in TXSB   on 11/11/19
                                                            STRATEGIES, LLC    Page 152
                                                                              MERRILL     of 240
                                                                                      COMMUNICATIONS, LLC
1600 WEST MERIT PARKWAY                 2602 MCKINNEY AVE., SUITE 240          ONE MERRILL CIRCLE
SOUTH JORDAN, UT 84095                  DALLAS, TX 75204                       ST. PAUL, MN 55108




MERRITT, HAWKINS & ASSOCIATES           MERRY X-RAY HOUSTON                    MERRY X-RAY-INC
5001 STATESMAN DR                       3615 WILLOWBEND BLVD, SUITE 400        3615 WILLOWBEND BLVD, SUITE 400
IRVING, TX 75063-2414                   HOUSTON, TX 77054                      HOUSTON, TX 77054




MES, INC                                METASURG                               METHODIST CENTER FOR
1968 EAST US HWY 90                     16350 PARK TEN PLACE, STE 101          ATTN BOB MARLEY - UTMS
SEGUIN, TX 78155                        HOUSTON, TX 77084                      15200 SOUTHWEST FREEWAY, STE 175
                                                                               SUGARLAND, TX 77478




METROPOLITAN MEDICAL SERVICES           MEYER,HUNTER                           MFR, P.C.
15 WESTSIDE DRIVE                                                              ONE RIVERWAY, SUITE 1100
ASHEVILLE, NC 28806                                                            HOUSTON, TX 77056




MG TRUST COMPANY                        MGES, INC                              MGMA-ACMPE
717 17TH STREET SUITE 1300              8725 KNIGHT ROAD                       104 INVERNESS TERRACE EAST
DENVER, CO 80202                        HOUSTON, TX 77054                      ENGLEWOOD, CO 80112




MHEALTH, INC                            MHMD                                   MHMD
929 GESSNER, STE. 1500                  7737 SOUTHWEST FREEWAY - SUITE C98     7737 SOUTHWEST FWY-SIOTE C98
HOUSTON, TX 77024                       HOUSTON, TX 77074                      HOUSTON, TX 77074




MHS PHYSICIANS OF TEXAS                 MHS PROJECT GRADUATION                 MHSC ENERGY MANAGEMENT, LLC
PO BOX 5863                             PO BOX 51                              12639 STATE HWY 30
BELFAST, ME 04915-5800                  MADISONVILLE, TX 77864                 COLLEGE STATION, TX 77842




MIAH CASCIO                             MICAELA DIANE DAVIS                    MICAH LYNN RICHARDSON
[ADDRESS REDACTED]                      [ADDRESS REDACTED]                     [ADDRESS REDACTED]




MICHAEL ALLEN NICHOLS                   MICHAEL D FIELD                        MICHAEL E. CADENA, D.O., P.A
[ADDRESS REDACTED]                      [ADDRESS REDACTED]                     260 IH 45S, SUITE C
                                                                               HUNTSVILLE, TX 77340




MICHAEL L GIBSON                        MICHAEL LEBLANC                        MICHAEL MORGAN
[ADDRESS REDACTED]                      11601 PRINCESS ANN COURT               [ADDRESS REDACTED]
                                        MONTGOMERY, TX 77316
MICHAEL P OLDEN Case     19-36300 Document
                                     MICHAEL 1  Filed
                                             TODD     in TXSB on 11/11/19 MICHAEL
                                                  RUTHERFORD               Page 153   of GOOSBY
                                                                                  WAYNE  240
[ADDRESS REDACTED]                     101 CANTERBURY GREEN DR.                 [ADDRESS REDACTED]
                                       MONTOGOMERY, TX 77356




MICHAEL WILLIAMS                       MICHAELA ELVIRA COLLINS                  MICHAELSON,WILLIAM
113 AVE M                              [ADDRESS REDACTED]                       132 DAHLIA ST.
HUNTSVILLE, TX 77340                                                            HUNTSVILLE, TX 77320




MICHELE S DELGADO                      MICHELLE A SPURLING                      MICHELLE BROWN
[ADDRESS REDACTED]                     [ADDRESS REDACTED]                       [ADDRESS REDACTED]




MICHELLE M RAMIREZ                     MICHELLE PATRICIA WATT                   MICHELLE R. WADE
[ADDRESS REDACTED]                     [ADDRESS REDACTED]                       [ADDRESS REDACTED]




MICHELLE RENEE BOW                     MICHELLE RENEE CORONIS                   MICHELLE ROSE WADE
[ADDRESS REDACTED]                     [ADDRESS REDACTED]                       [ADDRESS REDACTED]




MICHIGAN STATE DISBURSEMENT UNIT       MICKAYLA JOYCE LITTLE                    MICROAIRE SURG, INST.
PO BOX 30350                           [ADDRESS REDACTED]                       1641 EDLICH DRIVE
LANSING, MI 48909-7850                                                          CHARLOTTESVILLE, VA 22911




MICROAIRE                              MICROASSIST INC                          MICROBIOLOGICS INC.
1641 EDLICH DRIVE                      PO BOX 28126                             200 COOPER AVENUE N
CHARLOTTESVILLE, VA 22911              AUSTIN, TX 78755-7865                    ST. CLOUD, MN 56303




MICROFILMS SYSTEMS INC                 MICROGENICS CORP                         MICROLINE SURGICAL INC
2225 WOODWARD AVE                      7055 COLLECTION CENTER DR                800 CUMMINGS CENTER, STE 166T
SHREVEPORT, LA 74403                   CHICAGO, IL 60693                        BEVERLY, MA 01915




MICROSURGICAL TECHNOLOGY               MICROTEX MEDICAL, INC.                   MICROVENA
8415 154TH AVE. NE                     PO BOX 2487                              1861 BUERKLE RD
REDMOND, WA 98052                      COLUMBUS, MS 39704                       WHITE BEAR LAKE, MN 55110




MIDCAP FINANCIAL TRUST                 MIDCAP FINANCIAL TRUST, AS AGENT         MIDCAP FUNDING IV TRUST, AS AGENT
7255 WOODMONT AVE                      C/O MIDCAP FINANCIAL SVCS, AS SERVICER   C/O MIDCAP FINANCIAL SVCS, AS SERVICER
BETHESDA, MD 20814                     7255 WOODMONT AVENUE, SUITE 200          7255 WOODMONT AVENUE, SUITE 200
                                       BETHESDA, MD 20814                       BETHESDA, MD 20814
MIDDLETON, LAVITA   Case 19-36300 Document  1 Filed
                                     MIDWAY ENERGY   in TXSB on 11/11/19 MIDWEST
                                                   SERVICES               Page 154   of 240
                                                                                 MEDICAL SUPPLY
                                        12627 STATE HIGHWAY 21 EAST        13400 LAKEFRONT DRIVE
                                        MIDWAY, TX 75852                   EARTH CITY, MO 63045




MIDWEST TECHNICAL SALES                 MIGUEL A ROBLES                    MILAM COUNTY DISTRICT CLERK
12205 RIVERWOOD DRIVE                   [ADDRESS REDACTED]                 PO BOX 999
BURNSVILLE, MN 55337                                                       CAMERON, TX 76520




MILES, PEACHES MONIQUE                  MILLENNIUM LABORATORIES, INC.      MILLENNIUM LABORATORY CLINICAL
2501 LAKE ROAD APT 296                  PO BOX 841773                      15330 AVENUE OF SCIENCE
HUNTSVILLE, TX 77340                    DALLAS, TX 75284                   SAN DIEGO, CA 92128




MILLENNIUM PHYSICIAN ASSOCIATIONLLC     MILLENNIUM RADIOLOGY INC           MILLENNIUM SURGICAL GROUP
PO BOX 840900                           9123 OSAGE VALLEY                  822 MONTGOMERY AVE 205
DALLAS, TX 75284-0900                   SAN ANTONIO, TX 78251              NARBERTH, PA 19072




MILLER, DDS, R. MARSH                   MILLER, MELINDA                    MILLER, OSRECA
3301 COLLARD ST.                                                           PO BOX 193
HUNTSVILLE, TX 77340                                                       HUNTSVILLE, TX 77340




MILLER, STORMY                          MILLIMAN CARE GUIDELINES LLC       MILLIPORE CORPORATION
                                        PO BOX 742350                      PO BOX 856
                                        ATLANTA, GA 30374-2350             BEDFORD, MA 01730




MILLS SHIRLEY LLP                       MILNER FENWICK                     MILUM CORPORATION
2228 MECHANIC STREET, STE 400           119 LAKEFRONT DRIVE                PO BOX 384
GALVESTON, TX 77550                     HUNT VALLEY, MD 21030              KINGSLAND, TX 78639




MIMEDX GROUP, INC.                      MIMS MEAT COMPANY, INC             MINDRAY DS USA INC
1775 WEST OAK COMMONS CT NE             12634 I-10 EAST                    24312 NETWORK PL
MARIETTA, GA 30062                      HOUSTON, TX 77015                  CHICAGO, IL 60673-1243




MINDY J NEILL                           MINERVA T MANGILAYA                MINUTEMAN PRESS
[ADDRESS REDACTED]                      [ADDRESS REDACTED]                 (S.E. CORNER COIT & ARAPAHO)
                                                                           RICHARDSON, TX 75080




MISTY D BUSTER                          MISTY L KAHL                       MIX INSURANCE COMPANY IN
[ADDRESS REDACTED]                      [ADDRESS REDACTED]                 134 FRANKLIN CORNER RD, SUITE 104
                                                                           LAWRENCEVILLE, NJ 08648
MIZUHO 0SI         Case   19-36300 Document  1 Filed in
                                      MNJ TECHNOLOGIES   TXSB on 11/11/19 MOBILE
                                                       DIRECT              PageINSTRUMENT
                                                                                 155 of 240SERVICE
30031 AHERN AVENUE                      1025 BUSCH PKWY                     333 WATER AVENUE
UNION CITY, CA 94587                    BUFFALO GROVE, IL 60089             BELLEFONTAINE, OH 43311-1777




MOBILE MINI INC.                        MOBILE MODULAR MGMT CORP            MOBILE SURGICAL TECHNOLOGIES INC
7420 S. KYRENE RD SUITE 101             PO BOX 45043                        17817 DAVENPORT 315
TEMPE, AZ 85283                         SAN FRANCISCO, CA 94145-0043        DALLAS, TX 75252




MOBOLAJI M. ODELOWO M.D.                MODERN HEALTHCARE                   MODERN HEALTHCARE
100 MEDICAL CENTER BLVD 118             PO BOX 7936                         SUBSCRIBER SERVICES DEPARTMENT
CONROE, TX 77304                        DETROIT, MI 48207-9856              77940
                                                                            DETROIT, MI 48207-0940




MODERN WAY IMMOBILIZERS, INC            MODULAR SYSTEMS                     MODULUS DATA SYSTEMS
104 JOHNSON STREET                      11225 NEESHAW DR.                   386 MAIN STREET
P.O. BOX 660                            HOUSTON, TX 77065                   REDWOOD CITY, CA 94063
CLIFTON, TN 38425




MOHAMMED E BADARNA                      MOHSIN, RABAB                       MOLINA HEALTHCARE OF TEXAS
[ADDRESS REDACTED]                      6106 RUSTIC CREEK LANE              PO BOX 3396
                                        KINGWOOD, TX 77345                  BATON ROUGE, LA 70821




MOLLY O MCMILLAN                        MONARCH, SAMMUAL CRAIG              MONDEAL NORTH AMERICA, INC.
[ADDRESS REDACTED]                      [ADDRESS REDACTED]                  PO BOX 500521
                                                                            SAN DIEGO, CA 92150-0521




MONICA ESTRADA-LOPEZ                    MONICA GAYLE POWELL                 MONICAH KINYANJUI
[ADDRESS REDACTED]                      [ADDRESS REDACTED]                  [ADDRESS REDACTED]




MONOPRICE, INC                          MONTALBO, PHILIP (TRIPP)            MONTANDON, ANGELA
11701 6TH STREET                        1024 ELKINS LAKE                    12802 ROYAL GREEN DR
RANCHO CUCAMONGA, CA 91730              HUNTSVILLE, TX 77340                CONROE, TX 77303




MONTGOMERY COUNTY HOSPITAL DISTRICT     MONTGOMERY, CURTIS E MD             MONTOGOMERY COUNTY LUNG CLINIC,P.A.
PO BOX 478                              100 MEDICAL CENTER PKWY STE 500     110 COMMERCIAL CIRCLE
CONROE, TX 77305-2587                   HUNTSVILLE, TX 77340                CONROE, TX 77304




MONTREVIN KEVON GILLASPIE               MOODY, LISA J.                      MOORE BUSINESS FORMS
[ADDRESS REDACTED]                      [ADDRESS REDACTED]                  900 BUFFALO AVE
                                                                            NIAGARA FALLS, NY 14303-0127
                   Case 19-36300
MOORE BUSINESS PRODUCT  DIV           Document  1 Filed in TXSB on 11/11/19 MOORE
                                         MOORE MEDICAL                       PageSUPPLY
                                                                                  156 of 240
ONE LAKEVIEW PLACE                       PO BOX 1500                           PO BOX 4625
STE 206-25 CENTURY BLVD                  NEW BRITAIN, CT 06050                 HOUSTON, TX 77210
NASHVILLE, TN 37214




MOORE, ALEXIS                            MOORE, BETHANY                        MOORE, ROY
9820 ORIOLE LN                                                                 1220 11TH STREET
CONROE, TX 77385                                                               HUNTSVILLE, TX 77340




MOORE, SHARI                             MOORER & WOODS, INC                   MORALES, PEGGY SUE
29 DOGWOOD RD                            PO BOX 981                            3366 S.H. 19 LOT 31
HUNTSVILLE, TX 77320                     HUNTSVILLE, TX 77342-0981             HUNTSVILLE, TX 77320




MORBIDITY AND MORTALITY WEEKLY           MORGAN ASHLEY PATTON                  MORGAN CHARLENE
PO BOX 9085                              [ADDRESS REDACTED]
WALTHAM, MA 02454-9085




MORGAN E DREWYER                         MORGAN, DONALD                        MORGAN, LINDA S
[ADDRESS REDACTED]                       HUNTSVILLE, TX 77340                  TX CHILD SUPPORT DISBURSEMENT UNIT
                                                                               P O BOX 659791
                                                                               SAN ANTONIO, TX 78265-9791




MORGAN, PETER R.                         MORO, ALEXANDRIA                      MORRIS & DICKSON CO
[ADDRESS REDACTED]                                                             410 KAY LANE
                                                                               SHREVEPORT, LA 71115




MORRISON MANAGEMENT SPECIALISTS INC      MORRISON MANAGEMENT SPECIALISTS INC   MORRISSEY, JOHN RICARDO
400 NORTHRIDGE ROAD, SUITE 600           5801 PEACHTREE DUNWOODY ROAD          226 WESTRIDGE DR.
ATLANTA, GA 30350                        ATLANTA, GA 30342-1503                HUNTSVILLE, TX 77340




MORSE WATCHMANS INCORPORATED             MORTAN INC                            MORTARA INSTRUMENT, INC.
2 MORSE ROAD                             2806 GARFIELD                         7865 N 86TH ST
OXFORD, CT 06478                         MISSOULA, MT 59806                    MILWAUKEE, WI 53224




MORTECH MANUFACTURING COMPANY, INC       MORTON, DICK                          MOSBY SAUNDERS
411 N. AEROJET AVENUE                    295 ELKINS LAKE
AZUSA, CA 91702                          HUNTSVILLE, TX 77340




MOSBY                                    MOSS, FELICIA                         MOTEL 6-HUNTSVILLE
11830 WEST IND DR                        PO BOX 2099                           1607 I-45
ST LOUIS, MO 63146-3318                  TRINITY, TX 75862                     HUNTSVILLE, TX 77340
MOTION INDUSTRIES Case     19-36300 Document  1 Filed
                                       MOTIVATIONS, INC. in TXSB on 11/11/19 MOTORLOLA
                                                                              Page 157INC
                                                                                        of 240
610 WEST CARSON STREET                   3581 CENTRE CIRCLE, SUITE 104       PO BOX 3358
BRYAN, TX 77801                          FORT MILL, SC 29715                 DALLAS, TX 75285




MOUSER ELECTRONICS, INC.                 MPI PHARMACY SERVICES               MRC TOWNCREEK
1000 N. MAIN STREET                      PO BOX 95498                        1115 AVE O
MANSFIELD, TX 76063                      CHICAGO, IL 60694-5498              HUNTSVILLE, TX 77340-4443




MRIEQUIP.COM                             MRK SALES, INC                      MRS SYSTEMS,INC.
6248 BITTERSWEET LANE                    9947 HARWIN DRIVE STE G             19000 33RD AVE W. SUITE 130
NISSWA, MN 56468                         HOUSTON, TX 77036                   LYNNWOOD, WA 98036




MSC INDUSTRIAL SUPPLY                    MSCA, INC.                          MSDSONLINE
75 MAXESS ROAD                           PO BOX 1197                         350 NORTH ORLEANS SUITE 950
MELVILLE, NY 11747                       MADISONVILLE, TX 77864              CHICAGO, IL 60654




MSR HEALTHCARE GROUP                     MSS BUSINESS MANAGEMENT, INC.       MTI STAFFING
7548 PRESTON ROAD                        PO BOX 190265                       5001 STATESMAN DR
SUITE 141-119                            BOSTON, MA 02119                    IRVING, TX 75063-2414
FRISCO, TX 75034




MTI, INC.                                MUCHOKI, IMELDA                     MUELLER WATER CONDITIONING, INC.
3655 WEST NINIGRET DRIVE                 93 DEERFIELD RD                     PO BOX 165
SALT LAKE CITY, UT 84104                 HUNTSVILLE, TX 77340                HOUSTON, TX 77001




MUELLER WATER CONDITIONING, INC.         MULLENER, WILLIAM R                 MULLIKIN, LISA D.
PO BOX 975118                            HUNTSVILLE, TX 77340                73 DAWNS EDGE DR.
DALLAS, TX 75397-5118                                                        MONTGOMERY, TX 77356




MULTIPLE SCLEROSIS SOCIETY               MURDOCK, JANET                      MUREX DIAGNOSTICS INC
101A 1ST AVE, STE 6                      HUNTSVILLE, TX 77340                3075 NORTHWOODS CIRCLE
WALTHAM, MA 02451-1115                                                       NORCROSS, GA 30071




MURPHY, CHRISTINA                        MURPHY, JOHN                        MURPHY, TRACEY
                                                                             4033 SAM HOUSTON AVE
                                                                             HUNTSVILLE, TX 77340




MURRAY, DAN                              MURRAY, JAIDA                       MURRAY, JAMES
1841 BLACKBEAR DRIVE                     122 COLONIAL DRIVE                  HUNTSVILLE, TX 77320
FORT WAYNE, IN 46808                     HUNTSVILLE, TX 77320
                  Case
MUSIC MOUNTAIN WATER      19-36300
                       COMPANY, LLC   Document  1 INFO
                                         MUST HAVE Filed
                                                       INCin TXSB on 11/11/19 MUSTANG
                                                                               Page 158  of 240
                                                                                      BOOSTER CLUB
PO BOX 2252                              1854 TRADE CENTER WAY SUITE 201      PO BOX 654
BIRMINGHAM, AL 35246-0051                NAPLES, FL 34109                     MADISONVILLE, TX 77864




MUTUAL OF OMAHA                          MVAP MEDICAL SUPPLIES                MW PRODUCTIONS LLC
ATTN JUSTIN PAUL KAVAN SVP               1415 LAWRENCE DRIVE                  11442 JAKE PEARSON ROAD
MUTUAL OF OMAHA PLAZA                    NEWBURY PARK, CA 91320               CONROE, TX 77304
OMAHA, NE 68175




MYPOPCORNMACHINE.COM                     MYRA B ZAVALA                        MYSTIC STUDIO
PO BOX 3109 15575                        [ADDRESS REDACTED]                   1806 AVE P 1/2
SUITE 555                                                                     HUNTSVILLE, TX 77340
HOUSTON, TX 77253-3109




N.F.P.A.                                 NABEEL A. KHAN, M.D., P.A.           NADEEM UDIN KHATAK
PO BOX 8977                              119 MEDICAL PARK LANE                [ADDRESS REDACTED]
BOSTON, MA 02266-8977                    HUNTSVILLE, TX 77340




NADER G. HUSARY                          NALCO CHEMICAL COMPANY               NALLURI, PRASADA
1320 STUB RD                             PO BOX 87
PETALUMA, CA 94954                       SUGARLAND, TX 77487-0087




NAMAN HOWELL SMITH & LEE PLLC            NAMESCAPE                            NAMKEN, DEIDRA
PO BOX 1470                              11811N. TATUM BLVD., SUITE P153      66 KELLY LANE
WACO, TX 76703                           PHOENIX, AZ 85028                    NEW WAVERLY, TX 77358




NAMSS                                    NANCY A. KRAUS                       NANCY D JOHNSON
DEPT 3115                                PO BOX 1476                          [ADDRESS REDACTED]
WASHINGTON, DC 20042-3115                CYPRESS, TX 77410-1476




NANCY DEANNA HUGHES                      NANCY E. MCMURRAY                    NANCY GAERTNER
[ADDRESS REDACTED]                       4415 W. EXCELL                       [ADDRESS REDACTED]
                                         SPOKANE, WA 99208




NANCY J GLADDEN                          NANDA L GERICH                       NAOMI L WOODMAN
[ADDRESS REDACTED]                       [ADDRESS REDACTED]                   [ADDRESS REDACTED]




NAOUFEL BRAHMI                           NAQVI, SHAHZEB MD                    NARVAEZ TRACEY
[ADDRESS REDACTED]                       46 BECKONVALE CT                     511 BIRCH ST.
                                         THE WOODLANDS, TX 77382              CLEVELAND, TX 77328
NASCO              Case 19-36300     Document   1 Filed
                                        NASH, JERRY A.  in TXSB on 11/11/19 NASHVILLE
                                                                             Page 159   of 240INSTRUMENTS
                                                                                      SURGICAL
901 JANESVILLE AVE                      142 QUAIL RIDGE PLACE                 2005 KUMAR LANE
P O BOX 901                             MONTGOMERY, TX 77316                  SPRINGFIELD, TN 37172
FORT ATKINSON, WI 53538-0901




NASW                                    NASW                                  NASW/TEXAS
750 FIRST ST NE, STE 700                PO BOX 79949                          810 W 11TH ST,
WASHINGTON, DC 20002-4241               BALTIMORE, MD 21279-0949              AUSTIN, TX 78701




NATALIA RIDEAUX                         NATALIE ELIZABET GUNSELMAN            NATASHA HILL
[ADDRESS REDACTED]                      [ADDRESS REDACTED]                    [ADDRESS REDACTED]




NATHAN MANUEL CUEVAS                    NATHAN S. SLATTER                     NATHAN SMITH
[ADDRESS REDACTED]                      [ADDRESS REDACTED]                    1427 SAM HOUSTON AVE
                                                                              HUNTSVILLE, TX 77340




NATHAN SOMMERS JACOBS                   NATHAN TUDOR                          NATIONAL ASSOC OF SOCIAL WORK
2800 POST OAK BLVD, 61TH FL             411 N ESPLANDE ST. APT. 3             PO BOX 96104
HOUSTON, TX 77056-6102                  KARNES CITY, TX 78118                 WASHINGTON, DC 20090-6104




NATIONAL ASSOCATION FOR HEALTCARE       NATIONAL ASSOCIATION FOR HEALTH       NATIONAL ASSOCIATION FOR HOME CARE
PO BOX 3781                             222 S WESTMONTE DRIVE SUITE 101       PO BOX 91486
OAK BROOK, IL 60522                     ALTAMONTE, FL 32714                   WASHINGTON, DC 20090




NATIONAL ASSOCIATION MEDICAL STAFF      NATIONAL ASSOCIATION OF               NATIONAL ASSOCIATION OF NEONATAL
8658 SOLUTION CENTER                                                          8735 W. HIGGINS ROAD,SUITE 300
CHICAGO, IL 60677-8006                                                        CHICAGO, IL 60631




NATIONAL ASSOCIATION                    NATIONAL ASSSOCIATION OF HEALTHCARE   NATIONAL ATHLETIC TRAINERS ASSOC
2 EAST MAIN ST                          DEPT 3119                             2952 M STEMMONS FWY STE 200
FREMONT, MI 49412                       WASHINGTON, DC 20042                  DALLAS, TX 75247




NATIONAL BUSINESS FURNITURE             NATIONAL FIRE PROTECTION ASSOC        NATIONAL GUARDIAN LIFE INSURANCE CO
1819 PEACHTREE RD NE                    PO BOX 9689                           PO BOX 201839
SUITE 520                               MANCHESTER, NH 03108-9806             DALLAS, TX 75320-1839
ATLANTA, GA 30309




NATIONAL HEALTHCARE REVIEW              NATIONAL HERITAGE INSURANCE COMPANY   NATIONAL LAMINATING. INC
PO BOX 30788                            PO BOX 200555                         165 AMARAL STREET
LOS ANGELES, CA 90030-0788              AUSTIN, TX 78720-0555                 EAST PROVIDENCE, RI 02915
NATIONAL LEAGUE OFCase  19-36300
                   NURSING           Document
                                        NATIONAL1MEDICAL
                                                   Filed SERVICES,
                                                         in TXSBINC.
                                                                   on 11/11/19 NATIONAL
                                                                                Page 160    of 240
                                                                                        PATIENT SAFETY FOUNDATION
61 BROADWAY                              3701 WELSH ROAD                        268 SUMMER STREET, 6TH FLOOR
NEW YORK, NY 10006                       WILLOW GROVE, PA 19090                 BOSTON, MA 02210




NATIONAL RECORD SOLUTIONS                NATIONAL STRENGTH AND                  NATIONAL STROKE ASSOCIATION
1215 HARBOUR VIEW DRIVE                  1885 BOB JOHNSON DR                    9707 E EATER LN STE B
KILL DEVIL HILLS, NC 27948               COLORADO SPRINGS, CO 80906             CENTENNIAL, CO 80112




NATIONAL TECHNICAL INFORMATION SER       NATIONAL TESTING LABORATORY, LTD.      NATIONAL YELLOW PAGES
5301 SHAWNEE ROAD                        556 SOUTH MANSFIELD STREET             2625 CUMBERLAND PKWY 295
ALEXANDRIA, VA 22312                     YPSILANTI, MI 48197                    ATLANTA, GA 30339




NATIONAL, LLC                            NATIONS PHOTO LAB LLC                  NATIONSBANK OF TEXAS NA
PO BOX 255                               11103 PEPPER ROAD                      PO BOX 841385
GLYNDON, MD 21071                        HUNT VALLEY, MD 21031                  DALLAS, TX 75284-1385




NATIONWIDE LIFE INSURANCE CO             NATIONWIDE RELOCATION                  NATIONWIDE SIGNS LLC
PO BOX 16609                             6245 POWERLINE RD.                     9901 REGAL ROW
COLUMBUS, OH 43216-6609                  SUITE 202                              HOUSTON, TX 77040
                                         FT. LAUDERDALE, FL 33309




NATUS MEDICAL INC.                       NATUS MEDICAL INC.                     NATUS MEDICAL INC.
1501 INDUSTRIAL ROAD                     5900 FIRST AVE SO                      PO BOX 39000
SAN CARLOS, CA 94070                     SEATTLE, WA 98108                      SAN FRANCISCO, CA 94139




NATUS NEUROLOGY                          NATUS PEDIATRICS                       NAUTILUS HEALTH CENTER
88059 EXPEDITE WAY                       1501 INDUSTRIAL RD                     123 AMERICAN BANK ST
CHICAGO, IL 60695-0001                   SAN CARLOS, CA 94070                   P.O. BOX 7345
                                                                                HUNTSVILLE, TX 77320




NAUTILUS INSURANCE COMPANY               NAVASARD, KATHRYN L.                   NAVASOTA EXAMINER
250 S. WACKER DRIVE, SUITE 700           [ADDRESS REDACTED]                     PO BOX 751
CHICAGO, IL 60606                                                               NAVASOTA, TX 77868-0751




NAVEX GLOBAL, INC                        NAVILYST MEDICAL INC                   NCES
5500 MEADOWS ROAD, SUITE 500             10 GLENS FALLS TECHNICAL               1904 EAST 123RD STREET
LAKE OSWEGO, OR 97035-3626               GLENS FALLS, NY 12801-3864             OLATHE, KS 66061-5886




NCGINTY JERRY                            NCH CORPORATION                        NCO FINANCIAL SYSTEMS INC
312 ELKINS LAKE                          PO BOX 971269                          5555 OAKBROOK PARKWAY
HUNTSVILLE, TX 77340                     DALLAS, TX 75397-1269                  BLDG 100 STE 140
                                                                                NORCROSS, GA 30093
NCR CORPORATION Case        19-36300 Document  1 Filed
                                        NCS PEARSON INC in TXSB on 11/11/19 NDS
                                                                             Page  161 of
                                                                                SURGICAL   240
                                                                                         IMAGING
DEPT 0162                                 5601 GREEN VALLEY DRIVE             5750 HELLYER AVE.
CINCINNATI, OH 45263-0162                 BLOOMINGTON, MN 55437               SAN JOSE, CA 95138




NEARTERM                                  NEDRA ELIZABETH PICKENS             NEELY,JENNIFER
15915 KATY FREEWAY, SUITE 205             [ADDRESS REDACTED]                  PO BOX 173
HOUSTON, TX 77094                                                             CENTERVILLE, TX 75833




NEIGHBORHOOD NETWORKS PUBLISHING          NEIL B LACASANDILE                  NEILL MINDY
5051 NEW CENTRE CR                        [ADDRESS REDACTED]
WILMINGTON, NC 28403




NELLCOR PURITAN BENNETT INC               NELNET, INC.                        NELSON, PATRICK ROBERT
4280 HACIENDA DR                          PO BOX 2970                         [ADDRESS REDACTED]
PLEASANTON, CA 94588                      OMAHA, NE 68103-2970




NELSON, SALLY                             NELSON, SHIRLEY                     NELSON, TERRENCE G
HUNTSVILLE, TX                            HUNTSVILLE, TX                      141 PARAS HILL DRIVE
                                                                              HARTFORD, MI 49057




NEOGENOMICS LABORATORIES INC              NEOPOST USA INC                     NEOPROBE
2575 W BELLFORT ST STE 2001               1335 VALWOOD PARKWAY                425 METRO PL N STE 300
HOUSTON, TX 77054                         SUITE III                           DUBLIN, OH 43017-1367
                                          CARROLLTON, TX 75006




NEOTECH PRODUCTS INC                      NEOTRACT, INC.                      NEPHROLOGY ASSOCIATES
27822 FREMONT COURT                       4473 WILLOW ROAD, SUITE 100         46 BECKONVALE CT
VALENCIA, CA 91355                        PLEASANTON, CA 94588                THE WOODLANDS, TX 77382




NEPHRON 503B OUTSOURCING FACILITY         NEPHROPATHOLOGY ASSOCIATES, PLC     NET HEALTHCARE
4500 12TH STREET EXTENSION                10810 EXECUTIVE CENTER DRIVE        100 W CYPRESS CREEK ROAD STE 600
WEST COLUMBIA, SC 29172                   SUITE 100                           FT LAUDERDALE, FL 33309
                                          LITTLE ROCK, AR 72211




NETCO ASSOCIATES                          NETRIX, LLC                         NETSUPPORT INC.
PO BOX 1490                               2801 LAKESIDE DR                    6815 SHILOH RD EAST
NEW WAVERLY, TX 77368                     BANNOCKBURN, IL 60015               SUITE A-7
                                                                              ALPHARETTA, GA 30005




NETWORK COLLECTION SYS                    NETWORK HARDWARE RESALE             NETWORK TECHNOLOGIES INC
9894 BISSONNET 650                        26 CASTILIAN DRIVE, SUITE A         1275 DANNER DRIVE
HOUSTON, TX 77036                         SANTA BARBARA, CA 93117             AURORA, OH 44202-8054
NEVA B CHRISTY   Case     19-36300 Document  1 Filed in TXSB on 11/11/19 NEW
                                      NEVA CORPORATION                    Page  162TILES,
                                                                             CEILING of 240
                                                                                          LLC
[ADDRESS REDACTED]                      11350 BRITTMOORE PARK DR            5035 FM 2920 ROAD, 401
                                        HOUSTON, TX 77041                   SPRING, TX 77388




NEW ENGLAND MEDICAL SYSTEMS CO.         NEW PIG CORPORATION                 NEW TECH INDUSTRIES
589 AVENUE D, SUITE 10                  ONE PORK AVENUE                     55000 OAKES RD. STE A.
WILLISTON, VT 05495                     TIPTON, PA 16684-0304               DAVIE, FL 33314




NEW WAVE SURGICAL CORP.                 NEW WAVERLY INDEPENDENT SCHOOL      NEW YORK JOES
3700 NW 124TH AVENUE STE 135            355 FRONT STREET                    1421 SAM HOUSTON AVE
CORAL SPRINGS, FL 33065                 NEW WAVERLY, TX 77358               HUNTSVILLE, TX 77340




NEW YORK LIFE INS CO                    NEWARK INONE (FORMERLY)             NEWBOLD CORPORATION
BOX 539                                 PO BOX 94151                        450 WEAVER ST
DALLAS, TX 75221-0539                   PALATINE, IL 60094-4151             ROCKY MOUNT, VA 24151




NEWEGG.COM                              NEWMAN OFFICE SUPPLY                NEWMAN PRINTING
9997 E. ROSE HILLS ROAD                 PO BOX 1227                         1300 E 29TH ST
WHITTER, CA 90601                       HUNTSVILLE, TX 77340                BRYAN, TX 77802




NEWMAN, DAVID                           NEWMATIC MEDICAL                    NEWPORT MEDICAL INSTRUMENTS
17 PINECREST DRIVE                      3027 MOMENTUM PLACE                 1620 SUNFLOWER AVE
HUNTSVILLE, TX 77320                    CHICAGO, IL 60689-5330              COSTA MESA, CA 92626




NEWSPAPER HOLDINGS INC                  NEWTEK TECHNOLOGY SERVICES          NEXT GENERATION RECRUITING, INC
1409 10TH STREET                        1125 W. PINNACLE PEAK ROAD          37 W 236TH ST
HUNTSVILLE, TX 77342                    SUITE 103                           SHERIDAN, IN 46069
                                        PHOENIX, AZ 85027




NEXTGEN HEALTHCARE                      NEXTGEN REFUNDS                     NEXYSIS INC
1811 VON KARMAN AVENUE                  C/O ITENTIVE HEALTHCARE SOLUTIONS   PO BOX 501466
SUITE 600                               1 PIERRE PL, STE 400E               INDIANAPOLIS, IN 46250
IRVINE, CA 92612                        ITASCA, IL 60143




NFPA                                    NGLIC                               NHIC
PO BOX 9689                             PO BOX 201839                       12545 RIATA VISTA CIRCLE
MANCHESTER, NH 03108-9689               DALLAS, TX 75320-1839               AUSTIN, TX 78727-6404




NHU BRUCE, M.D.                         NICHOLAS E CLARK                    NICHOLAS JONATHAN
[ADDRESS REDACTED]                      [ADDRESS REDACTED]                  12 CREEK RD.
                                                                            HUNTSVILLE, TX 77320
NICHOLAS L. JAMES Case     19-36300 Document  1PENICK
                                       NICHOLAS  Filed in TXSB on 11/11/19 NICHOLAS
                                                                            Page 163   of 240
                                                                                    THOMAS
[ADDRESS REDACTED]                       34 HARDING RD                      [ADDRESS REDACTED]
                                         HUNTSVILLE, TX 77340




NICHOLS, ROBIN E.                        NICKERSON, EMILY                   NICKERSON, ROYCE D.
10315 N. WALKER                                                             [ADDRESS REDACTED]
CLEVELAND, TX 77328




NICOLE DANIELLE DAVIS                    NICOLE JAYE VON HEUVEL             NICOLE RENEE STALKER
[ADDRESS REDACTED]                       [ADDRESS REDACTED]                 [ADDRESS REDACTED]




NICOLETA A NISTOR                        NIEKAMP, ASHLEY                    NIERLICH, ANDREA
[ADDRESS REDACTED]                       27541 KINGPORT DR                  HUNTSVILLE, TX
                                         SPLENDORA, TX 77372




NIHON KOHDEN AMERICA, INC.               NIKKI SCHOENEMANN                  NIRIA YOANN LOPEZ
15353 BARRANCA PKWY                      [ADDRESS REDACTED]                 PO BOX 1320
IRVINE, CA 92618                                                            TRINITY, TX 75862




NK MEDICAL PRODUCTS                      NKURMAH BRIGHT B                   NNSDO
160 HOLTZ DRIVE                          20973 38TH PLACE SOUTH F-108       8444 SOLUTIONS CENTER
BUFFALO, NY 14225                        SEATAC, WA 98198                   CHICAGO, IL 60677-8004




NOBLIS, INC.                             NOLANA DORREES JALOWY              NOOR KHALED
2002 EDMUND HALLEY DRIVE                 [ADDRESS REDACTED]                 [ADDRESS REDACTED]
RASTON, VA 20191




NORMAN P JACOBE                          NORRELL MARK                       NORRIS, MAC
[ADDRESS REDACTED]                       PO BOX 1192                        1220 11TH STREET
                                         WARSAW, IN 46581-1192              HUNTSVILLE, TX 77340




NORTH AMERICAN RESCUE HOLDINGS LLC       NORTH AMERICAN SEMINARS, INC.      NORTH HOUSTON CANCER CLINICS
35 TEDWALL COURT                         2000 MALLORY LANE SUITE 130-67     3115 COLLEGE PARK DR. STE 108
GREER, SC 29650                          FRANKLIN, TN 37067                 CONROE, TX 77384




NORTH SHORE SUPPLY CO                    NORTH STAR EMS                     NORTHERN TOOLS
12944 MARKET STREET                      2022 HUMBLE PLACE DR.              2800 SOUTHCROSS DR W
HOUSTON, TX 77015                        HUMBLE, TX 77338-5281              BURNSVILLE, MN 55306
                 Case
NORTHFIELD MEDICAL LLC    19-36300 Document  1 Filed
                                      NORTHFIELD       inREPAIR
                                                 MEDICAL  TXSB on 11/11/19 NORTHGAUGE
                                                                            Page 164 of 240
                                                                                      HEALTHCARE ADVISORS,LLC
4210 TUDOR LANE                         4210 TUDOR LANE                       384 INVERNESS PARKWAY, STE 260
WINSTON SALEM, NC 27410                 WINSTON SALEM, NC 27410               ENGLEWOOD, CO 80112




NORTHWEST ORAL &MAXILLOFACIAL           NORTHWEST SYSTEMS INC.                NORTHWOOD UROLOGY ASSOCIATES
4185 TECHNOLOGY FOREST BLVD.            29603 TUDOR WAY                       PO BOX 1538
SUITE 100                               MAGNOILA, TX 77355                    HOUSTON, TX 77251-1538
THE WOODLANDS, TX 77381




NORTHWOOD UROLOGY ASSOCIATES            NORTHWOOD UROLOGY OF TEXAS PLLC       NORTON, JAMES
PO BOX 4959                             PO BOX 1538                           5851 APPLETREE ROAD
HOUSTON, TX 77210-3001                  HOUSTON, TX 77251-1538                MOBILE, AL 36609




NORTON, RALPH E.,M.D.                   NOTARY PUBLIC UNDERWRITERS AGENCY O   NOTEWORTHY MEDICAL SYSTEMS INC
800 PEAKWOOD DRIVE, SUITE 5E            PO BOX 140106                         3300 NORTH CENTRAL AVE
HOUSTON, TX 77090                       AUSTIN, TX 78714-0106                 SUITE 2100
                                                                              PHOENIX, AZ 85012




NOVA HEALTHCARE CENTERS                 NOVA RECORDS MANAGEMENT LLC           NOVARTIS NUTRITION
110 CYPRESS STATION, SUITE 280          PO BOX 197                            PO BOX 370
HOUSTON, TX 77090                       STERLING, VA 20167                    MINNEAPOLIS, MN 55440-0370




NOVARTIS VACCINES & DIAGNOSTICS,INC     NOVITAS SOLUTIONS                     NTHRIVE, INC
4560 HORTON STREET                      2020 TECHNOLOGY PKWY, STE 100         200 NORTH POINT CENTER EAST, STE 600
EMERYVILLE, CA 64608                    MECHANICSBURG, PA 17050               ALPHARETTA, GA 30022




NUAIRE, INC.                            NUANCE COMMUNICATIONS, INC            NUANCE COMMUNICATIONS, INC
2100 FERNBROOK LANE                     ONE WAYSIDE ROAD                      PO BOX 7247-6924
PLYMOUTH, MN 55447                      BURLINGTON, MA 01803                  PHILADELPHIA, PA 19170-6924




NUNN, KIMBERLY                          NURSING 2008                          NURSING ADMINISTRATION QUARTERLY
100 NUNN LANE                           ONE HEALTH CARE DRIVE                 PO BOX 1590
COLDSPRING, TX 77331                    P.O. BOX 55332                        HAGERSTOWN, MD 21740
                                        BOULDER, CO 80321-5332




NURSING EDUCATION CONSULTANTS           NURSING MADE INCREDIBLY EASY          NURSING MANAGEMENT
PO BOX 12200                            PO BOX 50470                          SUITE 200, 323 NORRISTOWN RD
CHANDLER, AZ 85248                      BOULDER, CO 80322-0470                AMBLER, PA 19002




NURSING MANAGEMENT                      NURSING REGISTRY CONSULTANTS          NUTECH INC
WOLTERS KLUWER HEALTH                   3165 SOUTH ALMA SCHOOL                702 UNIVERSITY DR F102
P.O.BOX 1590                            SUITE 29-260                          COLLEGE STATION, TX 77840
HAGERSTOWN, MD 21740                    CHANDLER, AZ 85248
NUVASIVE          Case     19-36300 Document  1 Filed in TXSB on 11/11/19 NX
                                       NW RADIO                            Page  165
                                                                             HEALTH   of 240
                                                                                    NETWORK
7475 LUSK BLVD.                          10818 BARELY LANE SUITE B             23048 N. 15TH AVENUE
SAN DIEGO, CA 92121                      HOUSTON, TX 77070                     PHOENIX, AZ 85027




NYARA MARQUEE WATERS                     NYGREN, CAROLYN ANNE                  NYLCARE
[ADDRESS REDACTED]                       16405 MANY TRES LANE                  PO BOX 56228
                                         CONROE, TX 77302                      HOUSTON, TX 77256-6228




O C TANNER RECOGNITION COMPANY           O T COURSES.COM                       O. R. SURGICAL CO INC
1930 SOUTH STATE STREET                  PO BOX 4968                           PO BOX 8864
SALT LAKE CITY, UT 84115-2383            TEMPLE, TX 76505                      GREENSBORO, NC 27419




OBANNON & COOPER PEST CONTROL,INC        OBRIEN JOHN                           OCSE CLEARINGHOUSE SDU
PO BOX 1715                              6536 PIONEER LANE                     PO BOX 8125
HUNTSVILLE, TX 77342-1715                DUBLIN, CA 94568                      LITTLE ROCK, AR 72203




OCULO-PASTIK INC.                        ODELL HOUSE, LLC                      ODEN, GARY
200 SAUVE WEST                           2323 S. SHEPHERD SUITE 1014
MONTREAL, QC H3L1Y9                      HOUSTON, TX 77019
CANADA




ODETUNDE, TEMITOPE                       OFFICE DEPOT CREDIT PLAN              OFFICE DEPOT INC
51 NORTHTOWN DR. APT 16K                 PO BOX 9020                           FILE 81901
JACKSON, MS 39211                        DES MOINES, IA 50368-9020             LOS ANGELES, CA 90074-1901




OFFICE DEPOT                             OFFICE MAX                            OFFICE OF CHILD SUPPORT ENFORCEMENT
133 I-45N                                PO BOX 9020                           ARKANSAS CS CLEARINGHOUSE
HUNTSVILLE, TX 77340                     DES MOINES, IA 50368-9020             P O BOX 8125
                                                                               LITTLE ROCK, AR 72203




OFFICE OF SECRETARY OF STATE OF TEXAS    OFFICE OF THE ATTORNEY GENERAL        OFFICE OF THE ATTORNEY GENERAL
HON. ROLANDO B. PABLOS                   PO BOX 12048                          PO BOX 659791
1100 CONGRESS                            AUSTIN, TX 78711-2048                 SAN ANTONIO, TX 78265-9791
CAPITOL BLDG, ROOM 1E.8
AUSTIN, TX 78701



OFFICE OF THE ATTORNEY GENERAL           OFFICE OF THE ATTORNEY GENERAL        OFFICE OF THE ATTORNEY GENERAL
TEXAS CHILD SUPPLORT SDU                 TX CHILD SUPPORT DISBURSEMENT UNIT    TX CHILD SUPPORT SDC
P O BOX 659791                           P O BOX 659791                        P O BOX 659791
SAN ANTONIO, TX 78265-9761               SAN ANTONIO, TX 78265-9791            SAN ANTONIO, TX 78265-9791




OFFICE OF THE ATTORNEY GENERAL           OFFICE OF THE UNITED STATES TRUSTEE   OGLE, PAMELA
TX CHILD SUPPORT SDU                     FOR THE SOUTHERN DISCTRICT OF TEXAS   1412 CIRCLE DR
P O BOX 659791                           515 RUSK ST STE 3516                  NAVASOTA, TX 77868
SAN ANTONIO, TX 78265-9791               HOUSTON, TX 77002
OGLETREE, DEAKINS,Case   19-36300
                   NASH, SMOAK &    Document  1 DEAKINS,
                                       OGLETREE, Filed inNASH,
                                                          TXSB   on &11/11/19 OHIO
                                                               SMOAK           Page  166 of
                                                                                   MEDICAL,   240
                                                                                            LLC
PO BOX 167                              PO BOX 89                             1111 LAKESIDE DR
GREENVILLE, SC 29602                    COLUMBIA, SC 29202                    GURNEE, IL 60031




OHIRI, CHIOMA                           OHMEDA MEDICAL                        OIL PURIFICATION SPECIALISTS, INC.
[ADDRESS REDACTED]                      PO BOX 7550                           PO BOX 8513
                                        MADISON, WI 53707-7550                THE WOODLANDS, TX 77387




OLDEN, MICHAEL                          OLGA SIMS                             OLIVIA CATHERINE PADILLA
620 HICKORY ST APT 116                  [ADDRESS REDACTED]                    [ADDRESS REDACTED]
HUNTSVILLE, TX 77320




OLSON, KARIN                            OLUWASENI S SOTONWA                   OLYMPUS AMERICA INC.
3817 SUMMER LANE                        [ADDRESS REDACTED]                    3131 W ROYALE LANE
HUNTSVILLE, TX 77340                                                          IRVING, TX 75063




OLYMPUS AMERICA INC.                    OLYMPUS AMERICA INC.                  OLYMPUS CORPORATION
48 WOERD AVENUE, SUITE 105              PO BOX 610                            3131 W ROYALE LANE
WALTHAM, MA 02453                       CENTER VALLEY, PA 18034-0610          IRVING, TX 75063




OLYMPUS SURGICAL & INDUSTRIAL           OMC INVESTORS, LLC                    OMNI AUSTIN HOTEL DOWNTOWN
ONE CORPORATE DRIVE                     1111 LAKESIDE DR                      700 SAN JACINTO BLVD
ORANGEBURG, NY 10962                    GURNEE, IL 60031                      AUSTIN, TX 78701




OMNICELL INC                            OMOWUNMI OJO                          ONE MUSIC SQUARE
PO BOX 204650                           [ADDRESS REDACTED]                    1110 SAM HOUSTON AVE
DALLAS, TX 75320-4650                                                         HUNTSVILLE, TX 77340




ONE OFFICE FURNITURE                    ONE SOURCE TOXICOLOGY                 ONEILL JEREMY
415 SPRING HILL DR                      1209 GENOA RED BLUFF                  4520 BFM 1374
THE WOODLANDS, TX 77386                 PASADENA, TX 77504                    HUNTSVILLE, TX 77340




ONLINE YELLOW PAGES.COM                 ONYX M.D.                             OPED MEDICAL INC.
620 PARK AVE 163                        PO BOX 9387                           37 FLAGSHIP DRIVE
ROCHESTER, NY 14607                     DENVOR, CO 80209                      NORTH ANDOVER, MA 01845




OPED                                    OPRY, CARRIE LYNNE                    OPS FUEL SERVICE INC.
203 CRESCENT STREET                     5402 FM 1488, APT 833                 PO BOX 8513
SUITE 205                               MAGNOLIA, TX 77354                    THE WOODLANDS, TX 77387
WALTHAM, MA 02456
                  Case 19-36300
OPTIMAL PHARMACEUTICALS,   INC.     Document
                                       OPTIMUM1COMPUTER
                                                 Filed inSOLUTIONS,
                                                          TXSB onINC11/11/19 OPTUM360
                                                                              Page 167LLC of 240
8406 N MAGNOLIA AVE, SUITE D            780 WESTRIDGE ROAD                    13625 TECHNOLOGY DRIVE
SANTEE, CA 92071                        THE WOODLANDS, TX 77380               EDEN PRAIRIE, MN 55343




OPTUMINSIGHT                            OPTUMINSIGHT                          OPTUMINSIGHT, INC
12125 TECHNOLOGY DRIVE                  PO BOX 822688                         PO BOX 96561
EDEN PRAIRIE, MN 55344                  PHILADELPHIA, PA 19182-2688           WASHINGTON, DC 20090-6561




OR MANAGER                              OR SUPPLY                             ORA SURE TECHNOLOGIES, INC
PO BOX 5303                             1800 WILLIAMSON COURT                 220 E FIRST STREET
SANTA FE, NM 87502-5303                 LOUISVILLE, KY 40223                  BETHLEHEM, PA 18015-1360




ORANGE SOL INC                          ORGAIN, BELL & TUCKER LLP             ORGANOGENESIS INC.
PO BOX 306                              PO BOX 1751                           150 DAN ROAD
CHANDLER, AZ 85244-0306                 BEAUMONT, TX 77704-1751               CANTON, MA 02021




ORGANON TEKNIKA CORP                    ORIENTAL TRADING                      ORIENTAL TRADING
100 AKZO AVE                                                                  PO BOX 2308
DURHAM, NC 27712                                                              5455 S 90TH ST
                                                                              OAMAHA, NE 68103-2308




ORION PAYMENT SYSTEMS, INC              ORIX CREDIT ALLIANCE, INC             ORKIN EXTERMINATING COMPANY, INC.
14340 TORREY CHASE                      PO BOX 535220                         BRANCH 769
SUITE 400                               PITTSBURGH, PA 15253-5220             COLLEGE STATION, TX 77845
HOUSTON, TX 77014




ORLANDO MARTINEZ                        ORLOWSKI, HOLLY MARIE                 ORMBERG, AUDREY
4718 SHOAL CREEK DRIVE                  1317 WALWOOD DRIVE                    9251 BROOKWATER CIRCLE
COLLEGE STATION, TX 77845               GRAND RAPIDS, MI 49505                COLLEGE STATION, TX 77845




ORTHO HELIX SURGICAL DESIGNS, INC       ORTHO PRO LLC                         ORTHO REHAB INC
1065 MEDINA ROAD SUITE 500              3939 S WASATCH BLVD, STE 19           PO BOX 917848
MEDINE, OH 44256                        SALT LAKE CITY, UT 84124              ORLANDO, FL 32891-7848




ORTHO-CLINICAL DIAGNOSTICS, INC.        ORTHOFIX INC                          ORTHOLOGIC CORPORATION
1001 US HIGHWAY ROUTE 202               PO BOX 849806                         N/K/A CAPSTONE THERAPEUTICS CORP
RARITAN, NJ 08869                       DALLAS, TX 75284-9806                 1275 W WASHINGTON ST, STE 104
                                                                              TEMPE, AZ 85281




ORTHOPEDIC HOSPITAL LTD                 ORTHOREBIRTH USA, CORPORATION         ORTHORX INC
PO BOX 406313                           102 W. MORROW ST., SUITE 204          3201 UNIVERSITY DRIVE EAST 1
ATLANTA, GA 30384-6313                  GEORGETOWN, TX 78626                  BRYAN, TX 77802
                   Case 19-36300
ORTIZ, OSCAR OCTAVIO               Document   1 Filed in TXSB on 11/11/19 OSI/QUALINK
                                      OSCOR, INC.                          Page 168INCof 240
2435 MONTGOMERY ROAD 235              3816 DESOTO BLVD.                    PO BOX 771748
HUNTSVILLE, TX 77340                  PALM HARBOR, FL 34683                HOUSTON, TX 77215




OSTEOMED L.P.                         OTIS OLIPHANT                        OTIS SPUNKMEYER INC
3885 ARAPAHO ROAD                     PO BOX 6183                          7090 COLLECTION DR
ADDISON, TX 75001                     HUNTSVILLE, TX 77342                 CHICAGO, IL 60693




OTODYNAMICS LTD/DAC MEDICAL           OUTCOME SCIENCES, INC                OUTCOME
PO BOX 3345                           4820 EMPEROR BLVD.                   PO BOX 983022
CHURCH STREET STATION                 DURHAM, NC 27703                     BOSTON, MA 02298-3022
NEW YORK, NY 10008-3345




OVERSTOCK.COM, INC.                   OWENS AND MINOR, INC                 OWENS AND MINOR, INC
799 WEST COLISEUM WAY                 2700 BRITTMOORE                      PO BOX 841420
MIDVALE, UT 84047                     HOUSTON, TX 77043                    DALLAS, TX 75284-1420




OWO, TOKS DR.                         OXFORD IMMUNOTEC, INC                OZARK BIOMEDICAL INC
110 MEMORIAL HOSPITAL DR              75 REMITTANCE DRIVE, SUITE 1368      1001 COMMERCE PL
HUNTSVILLE, TX 77342                  CHICAGO, IL 60675-1368               BEEBE, AZ 72012




P & C X-RAY SERVICES                  P&M SOLUTIONS, LLC                   P&W ARCHITECTS, LLP
8800 JAMEEL ROAD, STE. 170            5730 OADKBROOK PKWY, SUITE 130       11275 S. SAM HOUSTON PARKWAY W.
HOUSTON, TX 77040                     NORCROSS, GA 30093                   SUITE 200
                                                                           HOUSTON, TX 77031




PA SCDU                               PACHECO VANESSA                      PACIFIC MEDICAL GROUP, INC
PO BOX 69112                          2802 CO RD 479                       212 AVENIDA FABRICANTE
HARRISBURGH, PA 17106-9112            CENTERVILLE, TX 75833                SAN CLEMENTE, CA 92672




PACIFIC MEDICAL LLC                   PACK AND SHIP                        PACKAGE EXPRESS, LP
212 AVENIDA FABRICANTE                SUITE 101                            PO BOX 70090
SAN CLEMENTE, CA 92672                HUNTSVILLE, TX 77340                 HOUSTON, TX 77270




PAIGE JENNIFER MEYER                  PAIRETT, SARAH                       PAIRETTE, SARAH
[ADDRESS REDACTED]                    2807 LOCKERIDGE BEND                 HUNTSVILLE, TX
                                      SPRING, TX 77386




PALL CORPORATION                      PALMER, KAMA                         PALMETTO GBA
PO BOX 116195                                                              AG-215
ATLANTA, GA 30368-6195                                                     P O BOX 100192
                                                                           COLUMBIA, SC 29202-3192
PALMETTO GBA      Case    19-36300 Document  1 Filed in TXSB on 11/11/19 PAMATIAN,
                                      PALOS SPORTS                        Page 169   of 240
                                                                                   MELIZA
PO BOX 10066                            11711 S. AUSTIN
AUGUSTA, GA 30999-0001                  ALSIP, IL 60803




PAMELA F DELAUNE                        PAMELA J CARR                           PAMELA K RUTLEDGE
[ADDRESS REDACTED]                      [ADDRESS REDACTED]                      [ADDRESS REDACTED]




PAMELA L OGLE                           PAMELA S BRYAN                          PAMELA S CHURIN
[ADDRESS REDACTED]                      [ADDRESS REDACTED]                      [ADDRESS REDACTED]




PANACEA HEALTHCARE SOLUCIONS, INC.      PANDORA MEDIA INC                       PANTOJA, CONNIE
287 6TH ST E, STE 400                   2101 WEBSTER ST STE1650                 3699 TIDWELL ROAD
ST PAUL, MN 55101                       OAKLAND, CA 94612                       DIBOLL, TX 75941




PAPER DIRECT                            PAPERLESSPAY CORPORATION                PAR CODE SYMBOLOGY, INC.
PO BOX 2933                             800 WATER ST, SUITE 203                 119 HARRISON AVENUE
COLORADO SPRINGS, CO 80901-2933         JACKSONVILLE, FL 32204                  ROSELAND, NJ 07068




PARA HEALTHCARE FINANCIAL SERVICES      PARADYSZ, CRYSTAL                       PARAGON C & C CO INC
4801 E COPA DE ORO DR                   195 FM 2628                             2755 ATLANTIC AVE
ANAHEIM, CA 92807                       HUNTSVILLE, TX 77320                    BROOKLYN, NY 11207




PARAGON HOSPITAL SERVICES, LLC          PARAGON INFUSION CARE-HOUSTON           PARAGON SCIENTIFIC CORPORATION
6700 WOODLANDS PARKWAY                  6721 PORTWEST DR. STE. 100              301 LAVACA ST
SUITE 230-201                           HOUSTON, TX 77024                       AUSTIN, TX 78701
THE WOODLANDS, TX 77382




PARAGON SERVICE                         PARALLON REFUNDS                        PARALLON WORKFORCE MANAGEMENT
204 WEST BENNETT STREET                 1100 DR MARTIN L. KING BLVD, STE 1600   1000 SAWGRASS CORPORATE PARKWAY
SALINE, MI 48176                        NASHVILLE, TN 37203                     SUNRISE, FL 33323




PARKER, BRIAN                           PARKER, ELAINE                          PARKER, SANDRA
HUNTSVILLE, TX 77340                    PO BOX 2656                             HUNTSVILLE, TX 77340
                                        TRINITY, TX 75867




PARKER, TINA MARIA                      PARKLAND TRAUMA PROGRAM                 PARKS MEDICAL ELECTRONICS INC
217 LACE 4 RD.                          5600 W. LOVERS LANE                     PO BOX 5669
GROVETON, TX 75845                      STE 116 413                             ALOHA, OR 97006-0669
                                        DALLAS, TX 75209-4360
                 Case 19-36300
PARKS MEDICAL ELECTRONICS SALES, INC   Document   1 Filed in TXSB on 11/11/19 PARMAR,
                                          PARLAY INTERNATIONAL                 Page 170   of 240
                                                                                      STAVAN MD
19460 S.W. SHAW                           PO BOX 8817                          130 MEDICAL CENTER PKWY 10
ALOHA, OR 97007                           EMERYVILLE, CA 94662                 HUNTSVILLE, TX 77340




PARRENT,CHEYENNE                          PARTS SOURCE INC                     PARTSTOWN LLC
PO BOX 455                                777 LENA DRIVE                       1120 N.DUPAGE
DODGE, TX 77334                           AURORA, OH 44202                     LOMBARD, IL 60148




PATE, CYNTHIA                             PATEL, KUSHAL                        PATHFINDER HEALTH CARE LLC
6459 FM 1374                              2480 KITTREDGE LOOP DR 801           318 BRIAR ROCK RD
NEW WAVERLY, TX 77358                     BOULDER, CO 80305                    THE WOODLANDS, TX 77380




PATHWAY MEDICAL TECHNOLOGIES              PATIENT CARE SYSTEMS INC             PATRICE M. EASTLAND
10801 120 AVE NE                          5802 GARDENDALE                      [ADDRESS REDACTED]
KIRKLAND, WA 98033                        HOUSTON, TX 77092




PATRICIA A MORGAN                         PATRICIA A TORRES                    PATRICIA A WETHERBEE
[ADDRESS REDACTED]                        [ADDRESS REDACTED]                   [ADDRESS REDACTED]




PATRICIA A. MORGAN                        PATRICIA BELLE JOHNSON               PATRICIA GRAY P.C.
[ADDRESS REDACTED]                        [ADDRESS REDACTED]                   520 20TH ST
                                                                               GALVESTON, TX 77550




PATRICIA MARIE BIRI                       PATRICIA PRICE IBARRA                PATRICIA ROSE DARK
[ADDRESS REDACTED]                        [ADDRESS REDACTED]                   [ADDRESS REDACTED]




PATRICIA ZAMORA                           PATRICK J BIEGALSKI                  PATRICK KEVIN CANADY
[ADDRESS REDACTED]                        [ADDRESS REDACTED]                   [ADDRESS REDACTED]




PATRICK T RHODES                          PATRICK, KYLE                        PATTERSON CATELYNN
[ADDRESS REDACTED]                        7406 NICKABURR CREEK
                                          MAGNOLIA, TX 77354




PATTERSON, LARRY                          PATTON, JAMES D                      PATTY ANN BERRY
4927 SOARING EAGLE ST                     COUNTY CLERK DEPT                    [ADDRESS REDACTED]
GRAND PRAIRIE, TX 75052                   P O BOX 210
                                          HUNTSVILLE, TX 77342
PATTY KAKE, INC   Case     19-36300 Document   1 Filed in TXSB on 11/11/19 PAUL
                                       PAUL D HERNDON                       Page   171 of 240
                                                                                E HARBISON
2022 W. NW HWY SUITE 210                 406 HICKORY POST LANE              [ADDRESS REDACTED]
GRAPEVINE, TX 76051                      HOUSTON, TX 77079




PAUL H. GESSWEIN & CO. INC.              PAULA A COCHRAN                    PAULA J REX
201 HANCOCK AVENUE                       [ADDRESS REDACTED]                 [ADDRESS REDACTED]
BRIDGEPORT, CT 06605




PAULA N MATTHEWS                         PAULA T COON                       PAULINA PUENTE
[ADDRESS REDACTED]                       [ADDRESS REDACTED]                 [ADDRESS REDACTED]




PAYNE SHIRLEY                            PAYNE, DARLENE                     PAYTON N STANDLEY
                                                                            [ADDRESS REDACTED]




PC CONNECTION SALES CORPORATION          PC MALL                            PCI MEDICAL INC
730 MILFORD ROAD                         FILE 55327                         8 INSPIRATION LANE
MERRIMACK, NH 03054                      LOS ANGELES, CA 90074-5327         CHESTER, CT 06412




PEACOCK, MEGHAN                          PEAKE, DAVID G                     PEARSON VIEW
2333 LAKE RD APT 500                     PO BOX 2158                        PEARSON VUE
HUNTSVILLE, TX 77340                     MEMPHIS, TN 38101-2158             5601 GREEN VALLEY DR
                                                                            BLOOMINGTON, MN 55437-1099




PEARSON, JORDAN                          PECK, MICHAEL DO                   PEDICRAFT
79 FRANK CLOUD RD.                       1530 AVE O                         PO BOX 5969
HUNTSVILLE, TX 77320                     HUNTSVILLE, TX 77340               JACKSONVILLE, FL 32247-5969




PEDS TEST                                PEGGY L KNIGHT                     PEGGY S. PIERCE
1013 AUSTIN COURT                        [ADDRESS REDACTED]                 [ADDRESS REDACTED]
NOLENSVILLE, TN 37135




PEGGY SUE HERRERA                        PEISERS                            PELVIC BINDER, INC
[ADDRESS REDACTED]                       I.J. PEISERS SONS                  3419 WESTMINSTER, SUITE 276
                                         979 3RD AVE                        DALLAS, TX 75205
                                         CONCOURSE LEVEL, STE C1
                                         NEW YORK, NY 10022



PENICK, CIMBERLY LYNN                    PENLON, INC.                       PENNSYLVANIA HIGHER EDUCATION
25 PLATINE 420                           11515 K-TEL DRIVE                  PO BOX 1463
IRVINE, CA 92612                         MINNETONKA, MN 55343               HARRISBURG, PA 17105
PENNY S BOMAN    Case      19-36300 Document  1 Filed in TXSB
                                       PENRAD TECHNOLOGIES INC on 11/11/19 PENSION
                                                                            Page 172   of 240
                                                                                   CONCEPTS
[ADDRESS REDACTED]                       114 COMMERCE CIRCLE                PO BOX 64233
                                         BUFFALO, MN 55313                  LUBBOCK, TX 79464




PENTAX                                   PEOPLE 2.0 GLOBAL, LLC             PEOPLE FRIENDLY PLACES, INC.
3 PARAGON DRIVE                          222 VALLEY CREEK BOULEVARD         1954 FIRST STREET 301
MONTVILLE, NJ 07645                      SUITE 100                          HIGHLAND PARK, IL 60035
                                         EXTON, PA 19341




PEOPLEREADY INC                          PEPSI COLA COMPANY                 PEREZ, NORMA
1002 SOLUTIONS CENTER                    PO BOX 841828
CHICAGO, IL 60677-1000                   DALLAS, TX 75284-1828




PEREZ, SHERLEY                           PERFECT FORMS                      PERFORMANCE CONTROLS GROUP, LLC.
4340 HWY 30 WEST                         1917 PALOMAR OAKS WAY SUITE 310    20180 PARK ROW 5721
HUNTSVILLE, TX 77340                     CARLSBAD, CA 92008                 KATY, TX 77491




PERFORMANCE FOOD GROUP                   PERFORMANCE HEALTH SUPPLY INC      PERFORMANT RECOVERY, INC.
PO BOX 951641                            28100 TORCH PARKWAY STE 700        333 NORTH CANYONS PARKWAY, STE 100
DALLAS, TX 75395-1641                    WARRENVILLE, IL 60555-3938         LIVERMORE, CA 94551




PERIMED INC                              PERI-OP SPECIALIST INC             PERKINS, AMBER
44 W LANCASTER AVENUE                    16720 STUBNER AIRLINE 141          14985 FM 1119
SUITE 220                                SPRING, TX 77379                   LEONA, TX 75850
ARDMORE, PA 19003




PERMA-VAULT SAFE CO                      PERRY, LAMEL S                     PERRY, LYLE
72 ASH CIRCLE                            77 ECHO LANE                       HUNTSVILLE, TX 77340
WARMINSTER, PA 18974                     HUNTSVILLE, TX 77320




PERSONNEL CONCEPTS                       PERSTAT MEDICAL                    PESI HEALTHCARE
PO BOX 3353                              11514 ORCHARD MOUNTAIN DRIVE       PO BOX 900
SAN DIMAS, CA 91773-7353                 HOUSTON, TX 77059                  EAU CLAIRE, WI 54702-0900




PETALZ BY ANNIE                          PETER BRASSELER HOLDINGS, LLC      PETER ROBERT MORGAN
109 EAST ABBEY                           ONE BRASSELER BLVD                 [ADDRESS REDACTED]
LIVINGSTON, TX 77351                     SAVANNAH, GA 31419




PETER W. DOUGHERTY                       PETERSON, MARLENE M LMSW-ACP       PETERSONS MICROSCOPE SVC
1609 BUTTERNUT AVENUE                    PO BOX 17                          350 CLIMBING WAY
METAIRIE, LA 70001                       POINT BLANK, TX 77364              WIMBERLEY, TX 78676
PETROSS, MELISSA Case      19-36300 Document  1 Filed
                                       PFANNSTIEL,       in TXSB on 11/11/19 PFIZER
                                                   JESSICA                    PageINC
                                                                                    173 of 240
5 WEST SH 150                            909 ROSEWICK                        235 EAST 42ND STREET
NEW WAVERLY, TX 77358                    HOUSTON, TX 77015                   NEW YORK, NY 10017-5755




PHARMACIA & UPJOHN                       PHARMACIA                           PHARMACY INNOVATIONS
PO BOX 93930                             PO BOX 102803                       863 FAIRMOUNT AVE
CHICAGO, IL 60673                        ATLANTA, GA 30368-2803              JAMESTOWN, NY 14701




PHARMACY ONESOURCE INC                   PHARMED                             PHARMEDIUM HEALTHCARE CORPORATION
PO BOX 3026                              3075 NW 107TH AVE                   39797 TREASURY CENTER
BELLEVUE, WA 98009                       MIAMI, FL 33172-2134                CHICAGO, IL 60694-3900




PHB CONROE, LLC                          PHELAN MANUFACTURING CORP           PHELAN, NIKKI DEE
400 LOCUST STREET SUITE 790              2523 MINNEHAHA AVENUE               42 OAK BEND DRIVE
DES MOINES, IA 50309                     MINNEAPOLIS, MN 55404-4186          HUNTSVILLE, TX 77320




PHELPS, KATHERINE LOUISE                 PHILIP D CLAUNCH                    PHILIP WISIACKAS
[ADDRESS REDACTED]                       [ADDRESS REDACTED]                  7000 FM 224
                                                                             COLDSPRING, TX 77331




PHILIPS HEALTHCARE                       PHILIPS HEALTHCARE                  PHILIPS MEDICAL CAPITAL LLC
3000 MINUTEMAN ROAD, MS 400              SEAN LATHAM, MGR AR                 1111 OLD EAGLE SCHOOL ROAD
ANDOVER, MA 01810                        3000 MINUTEMAN ROAD, MS 400         WAYNE, PA 19087
                                         ANDOVER, MA 01810




PHILIPS MEDICAL CAPITAL, LLC             PHILIPS MEDICAL CAPITAL, LLC        PHILIPS MEDICAL SYSTEMS NA CO
1111 OLD EAGLE SCHOOL RD.                PO BOX 92449                        22100 BOTHELL EVERETT HWY
WAYNE, PA 19087                          CLEVELAND, OH 44193-0003            BOTHELL, WA 98021




PHILIPS MEDICAL SYSTEMS                  PHILIPS RESPIRONICS INC             PHILLIPS, DAVID E.
3000 MINUTEMAN RD.                       PO BOX 405740                       1021 12TH ST. 6
ANDOVER, MA 01810                        ATLANTA, GA 30384-5740              HUNTSVILLE, TX 77340




PHILLIPS, JEANIE                         PHILLIPS, LINDSEY M                 PHILO WILKE PARTNERSHIP
HUNTSVILLE, TX                           PO BOX 92                           11275 S. SAM HOUSTON PARKWAY WEST
                                         ROMAYOR, TX 77368                   SUITE 200
                                                                             HOUTSON, TX 77031




PHILY PHILIP                             PHUONG ANH PHAN                     PHYSCIANS DESK REF
[ADDRESS REDACTED]                       [ADDRESS REDACTED]                  2301 FLEUR DRIVE
                                                                             DES MOINES, IA 50381-0242
PHYSICIANS RECORDCase    19-36300
                    COMPANY           Document   1 REFERRAL
                                         PHYSICIANS Filed in TXSB
                                                             SERVICEon 11/11/19 PHYSIO-CONTROL
                                                                                 Page 174 of 240
                                                                                               INC
3000 SOUTH RIDGELAND AVE                  1516 HOLCOMBE, UNIT 702               11811 WILLOWS ROAD NE
BERWYN, IL 60402-0724                     HOUSTON, TX 77030                     PO BOX 97006
                                                                                REDMOND, WA 98073-9706




PHYSIO-CONTROL, INC                       PIC-A-POC ENTERPRISES, INC.           PICIS
11811 WILLOWS ROAD NE                     53 UNION AVE                          200 QUANNA POWITT PKWY
P O BOX 97006                             RONKONKOMA, NY 11779                  WAKEFIELD, MA 01880
REDMOND, WA 98073-9706




PICISMSM                                  PICKENS, JAMES                        PICKENS, JULIE
200 QUANNAPOWITT PARKWAY STE. 2           229 CR 720                            102 FCR 721
WAKEFIELD, MA 01880                       TEAGUE, TX 75860                      TEAGUE, TX 75860




PICKERING, JOAN                           PICKETT, BARBARA                      PICKETT, COLT
                                          HUNTSVILLE, TX 77340                  1555 OLD BOSTON RD
                                                                                TEXARKANA, TX 75501




PIERCE, PEGGY                             PIIPPO ELIZABETH                      PILLAI, SUJESH SATHYAN
1701 PIERCE ROAD                          [ADDRESS REDACTED]                    111 MARLBERRY BRANCH DR.
OAKHURST, TX 77359                                                              CONROE, TX 77384




PINE TREE PUBLISHING                      PINEDA, CECILIA                       PINESTAR TECHNOLOGY INC
PO BOX 1356                               HUNTSVILLE, TX 77340                  PO BOX 824
HUNTSVILLE, TX 77342                                                            GREENVILLE, PA 16125




PINETREE PUBLISHING                       PINEYWOODS PATHOLOGY, PA              PINNACLE HEALTH GROUP
1214 SAM HOUSTON AVE STE. 4               PO BOX 1400                           2 PIEDMONT CENTER STE 100
HUNTSVILLE, TX 77340                      GREENVILLE, TX 76403                  ATLANTA, GA 30305




PIONEER CREDIT RECOVERY                   PITNEY BOWES GLOBAL FINANCIAL         PITNEY BOWES GLOBAL FINANCIAL
PO BOX 100                                PO BOX 371887                         PO BOX 856460
ARCADE, NY 14009                          PITTSBURGH, PA 15250-7887             LOUISVILLE, KY 40285-6460




PITNEY BOWES USE FOR SUPPLIES ORDER       PITNEY BOWES                          PIZZITOLA, BETTY J
216 BUSINESS PARK DR                      216 BUSINESS PARK DR                  5076 CR 2161
VIRGINIA BCH, VA 23462-6521               VIRGINIA BCH, VA 23462-6521           CENTERVILLE, TX 75833




PLANTRONIC                                PLATTENBURG, TAMMY                    PLIMUS, INC
345 ENCINAL ST                            PO BOX 1125                           142 N MILPITAS BLVE 435
SANTA CRUZ, CA 95060                      LIVINGSTON, TX 77351                  MILPITAS, CA 95035-4401
PLIMUS, INC        Case 19-36300      Document 1 Filed
                                         PLUMBMASTER    in TXSB GROUP
                                                     PROFESSIONAL on 11/11/19 PML
                                                                               Page   175 of 240
                                                                                  MICROBIOLOGICALS
1735 TECHNOLOGY DRIVE SUITE 720           PO BOX 2570                           PO BOX 2767
SAN JOSE, CA 95110                        OCEANSIDE, CA 92051                   PORTLAND, OR 97208




PNC EQUIPMENT FINANCE LLC                 POCKET NURSE ENTERPRISES, INC.        POL ANGELO LABRADOR
2300 CABOT DRIVE, SUITE 355               610 FRANKFORT ROAD                    [ADDRESS REDACTED]
LISLE, IL 60532                           MONACA, PA 15061-2218




POLICY MEDICAL INC                        POLK CO PUBLISHING CO.                POLK COUNTY ASSESSOR-COLLECTOR
28 FULTON WAY, UNIT 2                     PO BOX 1276                           416 M WASHINGTON AVE
RICHMOND HILL, ON L4B 1J5                 LIVINGSTON, TX 77351                  LIVINGSTON, TX 77351-2899
CANADA




POLK COUNTY ASSESSOR-COLLECTOR            POLLARD, JOHN                         POLYMEDCO INC
416 N WASHINGTON AVE                      9708 FOUNDERS WAY                     PO BOX 95816
LIVINGSTON, TX 77351-2899                 FORT WAYNE, IN 46835                  CHICAGO, IL 60694-5816




PONDER & CO                               POPPY DRIVE INPATIENT SERVICES,PLLC   POREX SURGICAL INC.
8498 SOLUTION CENTER                      PO BOX 98823                          4715 ROOSEVELT HIGHWAY
CHICAGO, IL 60677-8004                    LAS VEGAS, NV 89193                   COLLEGE PARK, GA 30349-2417




PORINCHAK, MARTHA                         PORSHA DEANB HARRISON                 POSEY CO
MONTGOMERY, TX                            [ADDRESS REDACTED]                    5635 PECK RD
                                                                                ARCADIA, CA 91006




POSEY, KENNETH                            POSITIVE PROMOTIONS INC               POSKUS-SCHNEIDER, HELEN
1220 11TH STREET                          15 GILPIN AVE
HUNTSVILLE, TX 77340                      HAUPPAUGE, NY 11788




POST-ACUTE PHYSICIANS OF TEXAS PLLC       POSTAL SUPPLY WAREHOUSE               POSTIVE PROMOTIONS
1776 WOODSTEAD CT                         17939 CHATSWORTH ST. 427              15 GILPIN AVE
SUITE 208                                 GRANADA HILLS, CA 91344               HAUPPAUGE, NY 11788
THE WOODLANDS, TX 77380




POSTMASTERS                               POTHIER, VICKI                        POTTER COUNTRY STORE
1315 10TH STREET                          HUNTSVILLE, TX 77340                  PO BOX 50
HUNTSVILLE, TX 77340                                                            SCHULENBURG, TX 78956




POWELL, BRANDY                            POWER SYSTEMS                         POWERVAR
HUNTSVILLE, TX 77340                      PO BOX 51030                          1450 LAKESIDE DRIVE
                                          KNOXVILLE, TN 37950-1030              WAUKEGAN, IL 60085
PRACTICE DYNAMICSCase      19-36300 Document  1MANAGEMENT
                                       PRACTICE  Filed in TXSB   on 11/11/19 PRACTICEMATCH
                                                           INSTITUTE          Page 176 of SERVICES
                                                                                           240     LLC
1335 TRACE DR.                            9501 CONSOLE DRIVE                  600 EMERSON ROAD SUITE 450
HOUSTON, TX 77077                         SUITE 100                           ST. LOUIS, MO 63141
                                          SAN ANTONIO, TX 78229




PRATT, DIANE                              PRAXAIR DISTRIBUTION INC            PRAXAIR
1170 PLEASANT STREET                      482 FM 2821                         1542 11TH STREET D
HORSEHEADS, NY 14845                      HUNTSVILLE, TX 77340                HUNTSVILLE, TX 77340




PRE-BANC BUSINESS CREDIT, INC             PRECHECK INC                        PRECISE PRESSURE WASHING
PO BOX 16727                              1287 NORTH POST OAK ROAD            PO BOX 1773
IRVINE, CA 92023-0727                     HOUSTON, TX 77055                   HUNTSVILLE, TX 77342




PRECISION BIOLOGIC, INC.                  PRECISION BIOMEDICAL                PRECISION DYNAMICS CORPORATION
140 EILEEN STUBBS AVE                     1111 JUPITOR RD                     4193 SOLUTIONS CTR
DARTMOUTH, NS B3B0A9                      PLANO, TX 75074                     CHICAGO, IL 60677-4001
CANADA




PRECISION MEDICAL                         PRECISION PEST CONTROL, INC.        PRECISION PRINTING & OFFICE SUPPLY
300 HELD DRIVE                            130 FM 2821                         206 E. WASHINGTON AVE
NORTHAMPTON, PA 18067                     HUNTSVILLE, TX 77320                NAVASOTA, TX 77868




PRECISION SURGICAL LLC                    PRECOR INCORPORATED                 PREFERRED MEDICAL MARKETING CORP
2551 FARRINGTON ST.                       20031 142ND AVE NE                  15720 BRIXHAM HILL AVENUE
DALLAS, TX 75207                          WOODINVILLE, WA 98072-4002          SUITE 460
                                                                              CHARLOTTE, NC 28277




PREFERRED MEDICAL PLACEMENT INC           PREFERRED PRINTING SERVICES INC     PREHODA, EDWARD R
125 S CLAIRBORNE                          207 WEST 31ST ST                    3824 SPRING DR
OLATHE, KS 66062                          CHARLOTTE, NC 28206                 HUNTSVILLE, TX 77340




PREHODA, REED                             PREMIER ANESTHESIA                  PREMIER ANESTHESIA
102 TAM ROAD SUITE C                      2655 NORTHWINDS PARKWAY             ANNI GLOVER, MARKETING DIRECTOR
HUNTSVILLE, TX 77320                      ALPHARETTA, GA 30009                2655 NORTHWINDS PKWY
                                                                              ALPHARETTA, GA 30009




PREMIER BIRTH TOOLS LLC                   PREMIER MEDICAL PRODUCTS            PREMIUM CREDIT CORP
12017 E 110TH PL N                        102 HANOVER LANE                    PO BOX 750
DWASSO, OK 74055                          CONROE, TX 77304                    SCOTTSDALE, AZ 85252-0750




PREMIUM FINANCING SPECIALISTS             PRENATAL SCREENING PROG             PRENTICE, RANDY
PO BOX 419090                             6550 FANNIN SM 921                  9459 CR 505
KANSAS CITY, MO 64141-6090                HOUSTON, TX 77030                   MATHIS, TX 78365
PRESCOTTS INC.    Case    19-36300 Document  1 Filed
                                      PRESS GANEY     in TXSB
                                                  ASSOCIATES INC on 11/11/19 PRESTIGIOUS
                                                                              Page 177 EVENT
                                                                                         of 240
                                                                                              RENTALS
18940 EMIGRANT TRAIL                     BOX 88335                                7211 FM 1488, SUITE B
MONUMENT, CO 80132                       MILWAUKEE, WI 53288-0335                 MAGNOLIA, TX 77354




PRESTON B ALLEN                          PREVALENT BILLING, LLC                   PREVENTICE SERVICES, LLC
[ADDRESS REDACTED]                       PO BOX 743                               1717 N. SAM HOUSTON PARKWAY WEST
                                         FULSHEAR, TX 77441                       SUITE 100
                                                                                  HOUSTON, TX 77038




PRICEWATERHOUSECOOPERSLLP                PRIER DAVID A MD                         PRIHODA, SHIRLEY
PO BOX 952282                            100 MEDICAL CENTER PARKWAY; SUITE 1000   1440 BRAZOS APT 64
DALLAS, TX 75395-2282                    HUNTSVILLE, TX 77340                     HUNTSVILLE, TX 77340




PRIME ALLIANCE BANK                      PRIME RATE PREMIUM FINANCE CORP INC      PRIME RATE PREMIUM FINANCE CORP INC
1868 SOUTH 500 WEST                      2141 ENTERPRISE DRIVE                    PO BOX 100507
WOODS CROSS, UT 84087                    FLORENCE, SC 29501                       FLORENCE, SC 29502




PRIMETIME RESOURCES                      PRIMEX WIRELESS INC                      PRIORITY HEALTHCARE DISTRIBUTION
PO BOX 6014                              965 WELLS STREET                         255 TECHNOLOGY PARK
KINGWOOD, TX 77325-6014                  LAKE GENEVA, WI 53147                    LAKE MARY, FL 32746




PRISM HOSPITAL VENTURES                  PRITCHETT & HULL ASSOC                   PRITI PATEL
3626 NORTH HALL STREET SUITE 826         3440 OAKCLIFFE RD. NE 110                11011 NORTH FREEWAY
DALLAS, TX 75219                         ATLANTA, GA 30340-3079                   HOUSTON, TX 77037




PRO KLEENE                               PRO MEDICAL                              PRO SERVICES
15425 N HWY 75                           1526 SAM HOUSTON AVE                     PO BOX 8034
WILLIS, TX 77378                         HUNTSVILLE, TX 77340                     HUNTSVILLE, TX 77340




PRO-ACTION MEDICAL                       PROCARE PBM                              PROCLAIM AMERICA INCORPORATED
16 N AUTUMNWOOD WAY                      1267 PROFESSIONAL PARKWAY                9800 CENTRE PARKWAY, SUITE 650
THE WOODLANDS, TX 77380                  GAINESVILLE, GA 30507                    HOUSTON, TX 77036




PROCTER & GAMBLE PHARMACEUTICALS         PRODIGY HEALTH SUPPLIER CORPORATION      PRODUCTS FOR SURGERY
8500 GOVERNORS HILL DRIVE                9417 BRODIE LANE                         PO BOX 2048
CINCINNATI, OH 45249                     AUSTIN, TX 78748                         FT WORTH, TX 76113-2048




PROFESSIONAL FINANCE COMPANY, INC.       PROFESSIONAL HEALTH                      PROFESSIONAL MEDICAL SERVICES
52754 W. 11ST SUITE 100                  2600 S GESSNER 520                       5601 BRIDGE STREET STE 150
GREELY, CO 80634                         HOUSTON, TX 77063-3218                   FORT WORTH, TX 76112
                   Case 19-36300
PROFESSIONAL PLACEMENT  RESOURCES   Document  1 Filed
                                       PROFESSIONAL    in TXSB on 11/11/19 PROFESSIONAL
                                                    PRODUCTS                Page 178 ofSECURITY
                                                                                        240
PO BOX 402741                          9116 GAITHER RD                     2 FINANCIAL PLAZA 470
ATLANTA, GA 30384-2741                 GAITHERSBURG, MD 20877-1422         HUNTSVILLE, TX 77340




PROFESSIONAL UNIFORM COMPANY           PROFITLAB INC                       PROGRESSIVE BUSINESS AUDIO
6601 S MAIN                            1003 LAURENS RD STE 101             384 TECHNOLOGY DRIVE
HOUSTON, TX 77030                      GREENVILLE, SC 29607                MALVERN, PA 19355




PROGRESSIVE BUSINESS PUBLICATIONS      PROGRESSIVE GIFTS & INCENTIVES      PROGRESSIVE HEALTHCARE
PO BOX 3019                            PO BOX 3020                         384 TECHNOLOGY DRIVE
MALVERN, PA 19355                      MALVERN, PA 19355                   MALVERN, PA 19355




PROGRESSIVE MEDICAL INC                PROJECT AFTER PROM 2009             PROJECT GRADUATION 2009
11085 GRAVOIS INDUSTIRAL COURT         108 ELKINS LAKE                     PO BOX 51
SAINT LOUIS, MO 63128                  HUNTSVILLE, TX 77340                MADISONVILLE, TX 77864




PROJECT MANAGEMENT INSTITUTE           PROJECT SUNSHIE                     PRO-LINE
14 CAMPUS BOULEVARD                    211 E 43RD ST, STE 4010             10 AVCO RD
NEWTON SQUARE, PA 19073                NEW YORK, NY 10017                  HAVERHILL, MA 01835




PROMO WORLD                            PROSPERITY BANK                     PROSPERITY FUNDING, INC.
1002 15TH STREET, STE. B               1301 N MECHANIC                     200 S. ANDREW AVE SUITE 201-C
HUNTSVILLE, TX 77340                   EL CAMPO, TX 77437                  FORT LAUDERDALE, FL 33301




PROSTAR WASTE, LLC                     PROTEC AMBULANCE TRANSPORT          PRO-TEX INTERNATIONAL
PO BOX 794                             PO BOX 290184                       5038 SALIDA BLVD
GOODRICH, TX 77335-0794                WETHERSFIELD, CT 06129-0184         SALIDA, CA 95368-0238




PROTOUCH STAFFING                      PRO-TUFF DECALS, INC                PROVANTAGE
17822 DAVENPORT ROAD, STE A            7505 EASTGATE                       7249 WHIPPLE AVE NW
DALLAS, TX 75252                       CRYSTAL LAKE, IL 60014              NORTH CANTON, OH 44720-7143




PROVIDENT LIFE & ACCIDENT INS CO       PROVIDIAN MEDICAL EQUIPMENT LLC     PROXIMITY TECHNOLOGY
PO BOX 403748                          30510 LAKELAND BLVD UNIT A          PUBLISHERS INC.
ATLANTA, GA 30384-3748                 WILLOWICK, OH 44095                 8 TERRI LANE ONE FRANKLIN PLAZA
                                                                           BURLINGTON, NJ 08016-4907




PRUDENTIAL FINANCIAL                   PSALMS FUNERAL HOME                 PSYCHOLOGICAL SERVICES BUREAU INC
PO BOX 101241                          501 SO. LASALLE STREET              977 SEMINOLE TRAIL PMB 317
ATLANTA, GA 30392-1241                 NAVASOTA, TX 77868                  CHARLOTTESVILLE, VA 22901
PTC INSTRUMENTS Case 19-36300   Document
                                   PUCKETT,1BRITTANY
                                              Filed in TXSB on 11/11/19 PUCKETT,
                                                                         Page 179    of 240
                                                                                 TIFFANY
2301 FEDERAL AVE.                   109 S TAMMYE LN                      771 HWY 190 E
LOS ANGLES, CA 90064-1482           MADISONVILLE, TX 77864               HUNTSVILLE, TX 77340




PUENTE PAULINA                      PUEYO, RAY                           PUEYO, RONITA
[ADDRESS REDACTED]                  HUNTSVILLE, TX                       110 WILLOW BEND STREET
                                                                         HUNTSVILLE, TX 77320




PULMONARY CRITICAL CARE             PULSE PHYSICIAN ORGANIZATION         PULSE STAFFING
75 GOLDEN SCROLL CIRCLE             119 MEDICAL PARK LN SUITE D          PO BOX 200834
SPRING, TX 77382                    HUNTSVILLE, TX 77340                 HOUSTON, TX 77216-0834




PURDUE FREDERICK                    PURITAN BENNETT                      PURLESHA IKEA MCGRUDER
PO BOX 40000 DEPT 148               2314 NAOMI STREET                    [ADDRESS REDACTED]
HARTFORD, CT 06151                  HOUSTON, TX 77054




PURVIS, VENEDA                      QAS                                  QIAGEN INC.
1110 AVE N APT 202                  125 SUMMER ST. STE 1910              27220 WEST TURNBERRY LANE SUITE 200
HUNTSVILLE, TX 77340                BOSTON, MA 02110-1615                VALENCIA, CA 91355




QQEST SOFTWARE SYSTEMS              QUALITY LOGO PRODUCTS, INC.          QUALITY SYSTEMS, INC.
PO BOX 860                          724 N HIGHLAND AVENUE                18111 VON KARMA AVE, STE 700
SANDY, UT 84091                     AURORA, IL 60506                     IRVINE, CA 92612




QUALITY SYSTEMS, INC.               QUALITY WATER SYSTEMS                QUANTIMETRIX
18111 VON KARMAN AVENUE             114 COMMERCIAL CIR                   2005 MANHATTAN BEACH BLVD
SUITE 700                           CONROE, TX 77304                     REDONDO BEACH, CA 90278
IRVINE, CA 92612




QUATEL GROUP-HOUSTON                QUEST DIAGNOSTIC                     QUEST DIAGNOSTICS NICHOLS INSTITUTE
13225 FM 529, SUITE M               3500 HORIZON DR                      12436 COLLECTIONS CENTER DR
HOUSTON, TX 77041                   KING OF PRUSSIA, PA 19406            CHICAGO, IL 60693-2436




QUEST DIAGNOSTICS                   QUEST DIAGNOSTICS                    QUEST HEALTHCARE SOLUTIONS
PO BOX 14730                        PO BOX 841725                        6 CONCOURSE PARKWAY, SUITE 2250
ST. LOUIS, MO 63150-4730            DALLAS, TX 75284-1725                ATLANTA, GA 30328




QUEST INTERNATIONAL, INC.           QUEST MEDICAL                        QUEST SOFTWARE INC
65 PARKER                           ONE ALLENTOWN PARKWAY                4 POLARIS WAY
IRVINE, CA 92618                    ALLEN, TX 75002                      ALISO VIEJO, CA 92656
QUICK MEDICAL       Case    19-36300 Document   1 Filed in TXSB on 11/11/19 QUILL
                                        QUIDEL CORPORATION                   Page   180 of 240
                                                                                  CORPORATION
30200 SE 79TH ST, STE 120                 12544 HIGH BLUFF STE. 200          100 SCHELTER ROAD
ISSAQUAH, WA 98027-8792                   SAN DIEGO, CA 92130                LINCOLNSHIRE, IL 60069




QUILLEN E. GRIFFITH JR.                   QUINN,MAGGIE                       QUINTILES, INC.
2726 E CAPPS RD                           HUNTSVILLE, TX                     4820 EMPEROR BLVD
LIVINGSTON, TX 77351                                                         DUHAM, NC 27703




QUINTON INSTRUMENT CO                     QUOTIENT BIODIAGNOSTICS            R & D BATTERY INC
PO BOX 12816                              301 S. STATE STREET, S204          PO BOX 5007
SEATTLE, WA 98111                         NEWTOWN, PA 18940                  BURNSVILLE, MN 55337-5007




R&D SYSTEMS                               R. KARL MAHAFFEY, MD PA            R. KARL MAHAFFEY, MD PA
614 MCKINLEY PLACE NE                     1322 ELKINS LAKE                   2507 LAKE RD. STE A
MINNEAPOLIS, MN 55413                     HUNTSVILLE, TX 77340               HUNTSVILLE, TX 77340




R. SMITH INTERNATIONAL, LLC               R.M.D.                             RAC MONITOR LLC
6001 BROKEN SOUND PARKWAY NW              710 E PARK STE 208                 595 SHREWSBURY AVE, STE 201
BOCA RATON, FL 33487                      PLANO, TX 75074                    SHREWBURY, NY 07702




RAC UNIVERSITY                            RACHEL A CASBURN                   RACHEL CASBURN
595 SHREWSBURY AVE, SUITE 201             [ADDRESS REDACTED]                 [ADDRESS REDACTED]
SHREWSBURY, NJ 07702




RACHEL E BRISLEY                          RACHEL EILEEN PARKER               RACHEL HAYDEN
[ADDRESS REDACTED]                        [ADDRESS REDACTED]                 [ADDRESS REDACTED]




RACHEL SERNA SHEARN                       RACHUNDA RANETTE MACK              RACMONITOR LLC
[ADDRESS REDACTED]                        [ADDRESS REDACTED]                 10 MECHANIC STREET
                                                                             SUITE 140
                                                                             RED BANK, NJ 07701




RADICALOGIC TECHNOLOGIES, INC.            RADIOMETER AMERICA INC             RADIOSHACK
PO BOX 143 STATION B                      810 SHARON DRIVE                   3011 11TH STREET 200
TORONTO, ON M5T 2T3                       WESTLAKE, OH 44145                 HUNTSVILLE, TX 77340
CANADA




RAINBOW INTERNATIONAL OF CONROE           RAKIA LENELL WILLIAMS              RAMESH & RADHIKA, MD PLLC
63A SUNSET LAKE RD                        [ADDRESS REDACTED]                 5005 EVERGREEN ST
HUNTSVILLE, TX 77340                                                         BELLAIRE, TX 77401
RAMIREZ, NOEMI       Case 19-36300 Document   1 Filed in RYAN
                                      RAMPY, CHRISTOPHER TXSB on 11/11/19 RAMSDELL
                                                                           Page 181   of 240
                                                                                   LARRY
1104 N. 8TH STREET                      [ADDRESS REDACTED]                 212 RIDGEVIEW DR
CONROE, TX 77301                                                           DAVENPORT, FL 33837




RAMSEY SHERRY                           RANDGAARD, HOLLIE                  RANEY, SARAH
HUNTSVILLE, TX 77340                    [ADDRESS REDACTED]




RANFAC                                  RAO, BHAVANA                       RASHMAN CORP
PO BOX 635                              114 EAST LASTING SPRING CIRCLE     8600 WILBUR AVE
AVON, MA 02322-0635                     THE WOODLANDS, TX 77389            NORTHRIDGE, CA 91324-4499




RAVE MOBILE SAFETY                      RAVE, JENNY                        RAVICHANDRAN, GIRIRAJ
50 SPEEN STREET SUITE 301               22873 CUMBRE DR.                   [ADDRESS REDACTED]
FRAMINGHAM, MA 01701                    PORTER, TX 77365




RAY JR., DAVID WAYNE                    RAY, BRENDA                        RAY, RACHEL A
2611 TIMECHESTER DR.                    [ADDRESS REDACTED]                 2002 WINDCREST DR
KINGWOOD, TX 77339                                                         MAGNOLIA, TX 77354




RAY, VICKI                              RAZA, ALI                          RC MEDICAL INC
HUNTSVILLE, TX                          91 SOUTH DOWNY WILLOW CIRCLE       PO BOX 833
                                        SPRING, TX 77382                   TOLLAND, CT 06084




RCM ENTERTAINMENT, LP                   RCS GROUP LLC                      RDNX BUSINESS SOLUTIONS
NRG STADIUM                             7155 OLD KATY RD. STE S103         1329 UNIVERSITY SUITE E
TWO NRG PARK                            HOUSTON, TX 77024                  HUNTSVILLE, TX 77340
HOUSTON, TX 77054




READORE, GARY T.                        READY, NORMA                       REAGAN QUALITY LIGHTING
3700 SPRING DRIVE                       84 A BURNETT RD                    32402 TAMINA ROAD
HUNTSVILLE, TX 77340                    HUNTSVILLE, TX 77340               MAGNOLIA, TX 77354




REAMES, JACKIE M.                       REAMS, JASON                       REBECCA A LUCHAK
[ADDRESS REDACTED]                                                         [ADDRESS REDACTED]




REBECCA BIRDWELL                        REBECCA DURAN                      REBECCA L YOUNG
PO BOX 1406                             [ADDRESS REDACTED]                 [ADDRESS REDACTED]
HUNTSVILLE, TX 77342-1406
                 Case
REBECCA LYNN BRUMLEY      19-36300 Document
                                      REBECCA1T SKEEN
                                                 Filed in TXSB on 11/11/19 REBECCA
                                                                            Page 182   of 240
                                                                                   W LOUTHER
[ADDRESS REDACTED]                      [ADDRESS REDACTED]                   [ADDRESS REDACTED]




REBEKAH HOLMES NELLUMS                  REBEKAH J GONZALES                   REBEKAH R. RHAMES
[ADDRESS REDACTED]                      [ADDRESS REDACTED]                   [ADDRESS REDACTED]




REBEKAH SUE HELMAN                      RECONDO TECHNOLOGY INC               RECORD SERVICE CENTER
[ADDRESS REDACTED]                      7900 E UNION AVE                     1801 WEST BELT NORTH
                                        SUITE 400                            HOUSTON, TX 77043-2793
                                        DENVER, CO 80237




RED RIDER RENTALS                       REDA M DALBY                         REDI-TAG CORPORATION
684 I45 SOUTH                           [ADDRESS REDACTED]                   5252 ORANGE AVE STE 107
HUNTSVILLE, TX 77342                                                         CYPRESS, CA 90630




REDWOOD LAB SERVICES                    REDWOOD LAB SERVICES, LLC            REED ADVERTISING
3650 WESTWIND BLVD                      25321 INTERSTATE 45 N, SUITE C       2314 W AVENUE M
SANTA ROSA, CA 95403                    SPRING, TX 77380                     TEMPLE, TX 76504




REED,CLAYMON,MEEKER & HARGETT,PLLC      REEVES COUNTY                        REEVES COUNTY
5608 PARKCREST DRIVE                    120 W 5TH ST                         PO BOX 700
SUITE 200                               PECOS, TX 79772                      PECOS, TX 79772
AUSTIN, TX 78731-4999




REFIGIWEAR INC                          REFRIGERATION HARDWARE SUPPLY CORP   REFUNDS-ATHENA
PO BOX 39 BREAKSTONE DR                 632 FORESIGHT CIRCLE                 PO BOX 7098
DAHLONE, GA 30533                       GRAND JUNCTION, CO 81505             BOZEMAN, MT 59771




REGINA LYNN                             REGINOAL ADJUSTMENT BUREAU INC       REGISTRY PARTNERS INCORPORATED
[ADDRESS REDACTED]                      PO BOX 34111                         2607 HOLLY HILL STREET, SUITE D
                                        MEMHIS, TN 38184                     BURLINGTON, NC 27215




REHAB AND ASPIRE ASSOC OF HOUSTON       REICHERT INC                         REID OFFICE SUPPLY
3101 COLLEGE PARK DR                    3362 WALDEN AVE, STE 100             1329 UNIVERSITY AVE. SUITE E
THE WOODLANDS, TX 73384                 DEPEW, NY 14043                      HUNTSVILLE, TX 77340




REINSTEIN, TRY                          REINSTEIN,AMBER                      RELAY FOR LIFE
                                        RIVERSIDE, TX                        PO BOX 281
                                                                             HUNTSVILLE, TX 77342
RELIABLE IT        Case     19-36300 Document
                                        RELIABLE1PARTS
                                                   Filed in TXSB on 11/11/19 RELIANCE
                                                                              Page 183    of 240 SYSTEMS LLC
                                                                                      DIAGNOSTIC
1201 3RD STREET SUITE 100                  1011 11TH STREET                     2408 TIMBERLOCH PLACE SUITE A-6
ALEXANDRIA, LA 71301                       HUNTSVILLE, TX 77340                 THE WOODLANDS, TX 77380




RELIANT MEDICAL                            REMEL INC                            REMINGTON MEDICAL, INC.
2345 W MOORE RD                            12076 SANTA FE DR                    6830 MEADOWRIDGE COURT
TUCSON, AZ 85742                           LENEXA, KS 66215                     ALPHARETTA, GA 30005




REMOTE PHARMACY SOLUTIONS                  RENAL DIVISION                       RENAL PHYSICIANS OF MONTGOMERY
7307 STARFLOWER                            1620 WAUKEGAN RD                     200 RIVERPOINTE DR. STE 120
KATY, TX 77494                             MCGAW PARK, IL 60085                 CONROE, TX 77304-2817




RENE INDUSTRIES                            RENEE VAURIGAUD                      RENIASSANCE HOTELS
PO BOX 842                                 [ADDRESS REDACTED]                   200 MAIN ST.
HIGHSMITH, NJ 08520                                                             FORTH WORTH, TX 76102




REPUBLIC SERVICES, INC.                    RESEARCH IN MOTION CORPORATION       RESERVE NATIONAL INSURANCE COMPANY
18500 NORTH ALLIED WAY                     122 WEST JOHN CARPENTER PARKWAY      601 E BRITTON ROAD
PHOENIX, AZ 85054                          STE 430                              OKLAHOMA CITY, OK 73114
                                           IRVING, TX 75039




RESOURCE CORPORATION OF AMERICA LLC        RESOURCE ELECTRONICS                 RESOURCES SECURITY, INC
1120 MARINA BAY DRIVE                      PO BOX 840385                        PO BOX 425
CLEAR LAKE SHORES, TX 77565                DALLAS, TX 75284-0385                HUNTSVILLE, TX 77342




RESPIRATORY SLEEP SOLUTIONS, LLC           RESPONSIVE PROVIDERS INC - R.P.I.    RETINA CONSULTANTS OF HOUSTON
4545 FULLER DRIVE STE. 100                 10700 KINGHURST                      PO BOX 4634, DEPT 100
IRVING, TX 75038                           HOUSTON, TX 77099                    HOUSTON, TX 77210-4634




REUEL L SHAVER                             REUEL SHAVER                         REUTER, ANGELA
[ADDRESS REDACTED]                         [ADDRESS REDACTED]                   6 WHIPPOORWILL DR
                                                                                HUNTSVILLE, TX 77340




REVELLES PHOTOGRAPHY                       REX, DAVID MD                        REX, PAULA
1401 AVE M                                 PO BOX 1907                          2019 AVE Q
HUNTSVILLE, TX 77340                       GREENVILLE, TX 75403                 HUNTSVILLE, TX 77340




REYNA SANTIAGO GOMEZ                       REYNOLDS, AMANDA                     REYNOLDS, JAMES
[ADDRESS REDACTED]                         1217 AVE M                           1220 11TH STREET
                                           HUNTSVILLE, TX 77340                 HUNTSVILLE, TX 77340
REYNOLDS, KATELYNCase      19-36300 Document  1 STEPHANIE
                                       REYNOLDS, Filed in TXSB on 11/11/19 REYNOLDS,
                                                                            Page 184   of 240
                                                                                     SUSAN
1300 SMITHER DR                          13227 US HWY 287 S                 3651 TIMBERSIDE CIRCLE DRIVE
APT 9310                                 PENNINGTON, TX 75856               HOUSTON, TX 77025
HUNTSVILLE, TX 77340




RF TECHNOLOGIES                          RHEIN MEDICAL                      RHODES, KARLY
3125 N 126TH ST                          3360 SCHERER DRIVE                 1409 ANCHOR DR
BOOKFIELD, WI 53005                      SUITE B                            WYLIE, TX 75098
                                         ST. PETERSBURG, FL 33716




RHONDA GWEN LINDLEY                      RHONDA K BING                      RHUBARB
[ADDRESS REDACTED]                       [ADDRESS REDACTED]                 PO BOX 975305
                                                                            DALLAS, TX 75397-5305




RHYMES, DAMION                           RICARDO S LEMOS MD PA              RICHARD HEALTHCARE INC
PO BOX 1110                              2801 EAST 29TH ST STE123           950 ECHO LANE STE 355
SHEPHERD, TX 77371                       BRYAN, TX 77802                    HOUSTON, TX 77024




RICHARD MATA                             RICHARD P. CURTIS                  RICHARD WOLF MEDICAL
[ADDRESS REDACTED]                       PO BOX 848                         353 CORPORATE WOODS PKWY
                                         ROUND ROCK, TX 78680               VERNON HILLS, IL 60061




RICHARD-ALLAN SCIENTIFIC                 RICHARDS HEALTHCARE INC            RICK L. WRIGHT
4481 CAMPUS DR                           8550 KATY FREEWAY STE 110          18731 CANDLE PARK DR
KALAMAZOO, MI 49008                      HOUSTON, TX 77340                  SPRING, TX 77388




RICKORDS MISTY                           RICKS OFFICE FURNITURE             RIFF & ASSOCIATES
                                         1311 S. AUSTIN STREET              1716 SUNSET BLVD
                                         BRENHAM, TX 77833-4517             HOUSTON, TX 77005




RIGHT WAY MEDICAL LLC                    RIGSBY, BARBARA                    RIGSBY, SHAVETTA
510 E WILSON BRIDGE ROAD,SUITE H         126 SUMAC                          772 A BOWDEN ROAD
WORTHINGTON, OH 43085                    HUNTSVILLE, TX 77340               HUNTSVILLE, TX 77340




RILEY SHANNON                            RILEY, HEATHER                     RILING, SUSIE
95 JOHN KAY RD                           27 CAROLINA WAY                    HUNTSVILLE, TX 77340
HUNTSVILLE, TX 77320                     HUNTSVILLE, TX 77320




RILLER NICHELLE WALKER                   RIMAGE                             RINAJOYCE F ABRIL
[ADDRESS REDACTED]                       7725 WASHINGTON AVE                [ADDRESS REDACTED]
                                         SOUTH MINNEAPOLIS, MN 55439
                  Case 19-36300
RISING MEDICAL SOLUTIONS            Document   1 HUMANE
                                       RITA B HUFF Filed inSOCIETY
                                                            TXSB on 11/11/19 RITTENHOUSE
                                                                              Page 185 of  240
                                                                                         BOOK DISTRI
325 NORTH LASALLE STREET                530 BEARKAT BLVD                      511 FEHENLEY DRIVE
SUITE 600                               HUNTSVILLE, TX 77340                  KING OF PRUSSIA, PA 19406
CHICAGO, IL 60654




RITTER, APRIL                           RITTER, GWEN                          RITTER, SHERRIE BENNETT
HUNTSVILLE, TX                          123 ELKINS LAKE                       [ADDRESS REDACTED]
                                        HUNTSVILLE, TX 77340




RITZ CAMERA.COM AND ELECTRONICS         RIVERSIDE WATERWORKS                  RJ YOUNG COMPANY, INC.
114 TIVED LN E                          PO BOX 194                            PO BOX 40623
EDISON, NJ 08837                        RIVERSIDE, TX 77367                   NASHVILLE, TN 37204




RL SOLUTIONS                            RN                                    ROACH, MIRANDA
ONE BROADWAY, 14TH FLOOR                PO BOX 57139
CAMBRIDGE, MA 02142                     BOULDER, CO 80322-8945




ROACHGANNON LLP                         ROACHS TEAM SUPPLY                    ROBERDS SPECIALTY PHARMACY, LLC
4605 POST OAK PLACE DR, SUITE 226       12587 CR 192                          503 MEDICAL CENTER BLVD
HOUSTON, TX 77027                       TYLER, TX 75703                       STE 130
                                                                              CONROE, TX 77304




ROBERT ALAN EDMONDS                     ROBERT CIZIK EYE CLINIC               ROBERT D. PIERCE II
[ADDRESS REDACTED]                      6400 FANNIN, 18TH FLOOR               1525 SAM HOUSTON AVE
                                        HOUSTON, TX 77030                     HUNTSVILLE, TX 77340




ROBERT FERNANDEZ, M.D.                  ROBERT FRANKLIN III                   ROBERT GALEN YOUNGER
[ADDRESS REDACTED]                      [ADDRESS REDACTED]                    PO BOX 690194
                                                                              HOUSTON, TX 77269




ROBERT K ELLIOTT                        ROBERT KEITH ELLIOTT                  ROBERT L TUCKER
[ADDRESS REDACTED]                      [ADDRESS REDACTED]                    [ADDRESS REDACTED]




ROBERT PATRICK NELSON                   ROBERTO DEJESUS                       ROBERTS, CHARLOTTE
[ADDRESS REDACTED]                      [ADDRESS REDACTED]                    PO BOX 790
                                                                              BUNA, TX 77612




ROBERTS, DONNA                          ROBERTS, JANIE                        ROBERTS, WADE D
211 WESTRIDGE DR                                                              1220 11TH STREET
HUNTSVILLE, TX 77340                                                          HUNTSVILLE, TX 77340
ROBIN BATSON     Case    19-36300 Document
                                     ROBIN E. 1  Filed in TXSB on 11/11/19 ROBINSON,
                                              LANDIS                        Page 186   of 240
                                                                                     ANGELA
[ADDRESS REDACTED]                     [ADDRESS REDACTED]




ROBINSON, GINA                         ROBLES, MIGUEL A                     ROBYN SHYANNE BRUNER
HUNTSVILLE, TX                         [ADDRESS REDACTED]                   [ADDRESS REDACTED]




ROCHE DIAGNOSTICS CORP                 ROCKBRIDGE UNDERWRITING AGENCY       RODNEY TAYLOR HOOD
9115 HAGUE RD.                         3700 BUFFALO SPEEDWAY, STE 300       [ADDRESS REDACTED]
INDIANAPOLIS, IN 46250                 HOUSTON, TX 77098




RODRIGUEZ, CHRIS                       ROENTGEN MEDICAL XRAY CO.            ROGERS, DAPHNE
231 W. LAKESIDE DRIVE                  12921 W. WASHINGTON BLVD             PO BOX 1434
HUNTSVILLE, TX 77320                   LOS ANGELES, CA 90066                ONALASKA, TX 77360




ROLLINS, DR LOWELL                     ROLYAN                               ROMAN III, M.D.S, P.A., JOE
100 MEDICAL CENTER PARKWAY             ONE QUALITY DR., PO BOX 1005         PO BOX 398
HUNTSVILLE, TX 77340                   GERMANTOWN, WI 53022-8205            BARKER, TX 77413




RONCI SURGICAL                         RONI MICHAL PARRISH-HAMNER           RONITA P. PUEYO
1100 NEW BRIGHTON BLVD                 [ADDRESS REDACTED]                   [ADDRESS REDACTED]
MINNEAPOLIS, MN 55413




RONS LASER SERVICE                     RONSONETTE, ALIVIA                   ROSA M PACK
PO BOX 3173                            PO BOX 7204                          [ADDRESS REDACTED]
CONROE, TX 77305-3173                  HUNTSVILLE, TX 77342




ROSE M PACK                            ROSEMARY E LONG                      ROSEMARY IVIE EDOGUN
[ADDRESS REDACTED]                     [ADDRESS REDACTED]                   [ADDRESS REDACTED]




ROSENQUIST, MARY MD                    ROSS, JACQUELINE                     ROURKE, BLAINE
PO BOX 520                             HUNTSVILLE, TX 77340
ONALASKA, TX 77360




ROXANE M LEACH                         ROXANN LANGSTON                      ROXELLA L. HARRIS
[ADDRESS REDACTED]                     [ADDRESS REDACTED]                   [ADDRESS REDACTED]
ROY D CASTLEBERRYCase      19-36300 Document   1 Filed
                                       ROY, SANDRA E   in TXSB on 11/11/19 ROYAL
                                                                            PageCERTIFIED
                                                                                 187 of 240
                                                                                          PLB. INC
[ADDRESS REDACTED]                        [ADDRESS REDACTED]                  3728 MONTGOMERY RD
                                                                              HUNTSVILLE, TX 77340




ROYCE D NICKERSON                         RR MAGNOLIA LAKE LLC                RR. DONNELLEY
[ADDRESS REDACTED]                        2001 HWY 30 EAST                    PO BOX 730165
                                          HUNTSVILLE, TX 77320                DALLAS, TX 75373-1065




RS WATER HOLDINGS LLC                     RT 66 AUTO INTERIORS                RTG MEDICAL
3201 PREMIER DR. STE 300                  160 HOWELL RD                       1005 E. 23RD STREET
IRVING, TX 75063                          ROYSE CITY, TX 75189                SUITE 200
                                                                              FREMONT, NE 68025




RUBIDIA M VASQUEZ                         RUBLE, DANIELLE                     RUDD AND WISDOM, INC.
[ADDRESS REDACTED]                        231 B HOSTETTER RD                  9500 ARBORETUM BLVD.
                                          NEW WAVERLY, TX 77358               SUITE 200
                                                                              AUSTIN, TX 78759




RUFFIN, JOHNNA                            RUHOF CORP                          RUSHING, GINA
[ADDRESS REDACTED]                        393 SAFAMORE AVENUE                 18 LAKE FALLS LANE
                                          MINEOLA, NY 11501-1919              HUNTSVILLE, TX 77340




RUSS REID COMPANY                         RUTH REA                            RUTHERFORD, TODD
14384 COLLECTION CENTER DRIV              [ADDRESS REDACTED]                  101 CANTERBURY GREEN DRIVE
CHICAGO, IL 60693                                                             MONTGOMERY, TX 77356-7788




RUTLEDGE, KELLY                           RX OUTREACH INC.                    RXAIR INDUSTRIES, LLC
HUNTSVILLE, TX 77342                      3171 RIVERPORT TECH CENTER DRIVE    3323 GARDEN BROOK DR.
                                          MARYLAND HEIGHTS, MO 63043          DALLAS, TX 75234




RYAN KATHRYN                              RYAN, BRYAN                         RYKKIA FISHER-CLAY
2132 HALLMARK WAY N                       2451 LAKE ROAD 501                  [ADDRESS REDACTED]
OAKDALE, MN 55128                         HUNTSVILLE, TX 77340




S & S CO OF GEORGIA                       S W CONSOLIDATED                    S&S HVAC EQUIPMENT, LLC
827 PINE AVENUE                           PO BOX 1677                         21815 KATY FREEWAY
ALBANY, GA 31702                          LIVINGSTON, TX 77351                SUITE C-124
                                                                              KATY, TX 77450




S&S WORLDWIDE INC                         SAAFE HOUSE                         SABO, TERI
PO BOX 516                                PO BOX 1893                         PO BOX 8675
COLCHESTER, CT 06415-0516                 HUNTSVILLE, TX 77342                HUNTSVILLE, TX 77340
SABRE ELECTRIC CO.Case   19-36300 Document   1 Filed inLLC
                                     SABRE INVESTMENTS  TXSB on 11/11/19 SADIE
                                                                          Page   188 of 240
                                                                               BROTHERTON
PO BOX 79292                           1 PASTORAL POND CIR                [ADDRESS REDACTED]
HOUSTON, TX 77279                      THE WOODLANDS, TX 77380




SAFE HOSPITAL SERVICES                 SAFE SITTER                        SAFEGUARD DENTAL & VISION
24811 HICKORY HILL RD.                 8604 ALLISONVILLE RD               PO BOX 30910
SPRING, TX 77380                       SUITE 248                          LAGUNA HILLS, CA 92654-0910
                                       INDIANAPOLIS, IN 46250-1597




SAFETY KLEEN                           SAFETY LADY LLC                    SAFETY MANAGEMENT SERVICES, INC.
PO BOX 1800                            3300 MAGNOLIA LANDING LANE         1500 N ARLINGTON HEIGHTS RD.
ELGIN, IL 60121-7857                   NORTH FOR MYERS, FL 33917-7806     SUITE 1502
                                                                          ARLINGTON HEIGHTS, IL 60004-4827




SAGE PRODUCTS INC                      SAGENT PHARMACEUTICALS, INC.       SALENA L MCKEAN
3909 THREE OAKS ROAD                   1901 N. ROSELLE ROAD, SUITE 700    [ADDRESS REDACTED]
CARY, IL 60013                         SCHAUMBURG, IL 60195




SALIENT SURGICAL TECHNOLOGIES          SALUS SOLUTIONS LLC                SAM BURRIS
180 INTERNATIONAL DR.                  2620 CENTENARY BLVD 202            [ADDRESS REDACTED]
PORTSMOUTH, NH 03080                   SHREVEPORT, LA 71104




SAM HOUSTON ASSOCIATION FOR            SAM HOUSTON CANCER CENTER          SAM HOUSTON CANCER CENTER, LP
1027 11TH STREET APT 1                 PO BOX 8399                        112 MEDICAL PARK LANE
HUNTSVILLE, TX 77340                   THE WOODLANDS, TX 77387            HUNTSVILLE, TX 77340




SAM HOUSTON ELECTRIC COOPERATIVE       SAM HOUSTON ELECTRIC COOPERATIVE   SAM HOUSTON ELECTRIC COOPERATIVE
1157 E CHURCH ST                       PO BOX 1121                        PO BOX 426
LIVINGSTON, TX 77351                   LIVINGSTON, TX 77351               LIVINGSTON, TX 77351-0008




SAM HOUSTON EMERGENCY CENTER, LLC      SAM HOUSTON INN                    SAM HOUSTON MEMORIAL MUSEUM
6800 WEST LOOP SOUTH                   3296 I-45 SOUTH                    1402 19TH ST
SUITE 300                              HUNTSVILLE, TX 77340               HUNTSVILLE, TX 77340
BELLAIRE, TX 77401




SAM HOUSTON STATE UNIVERSITY HOTEL     SAM HOUSTON STATE UNIVERSITY       SAM HOUSTON STATE UNIVERSITY
PO BOX 2388-SHSU                       1903 UNIVERSITY AVE.               BOBBY K MARKS ADMIN BLDG
1610 BOBBY K. MARKS DR                 STE 230                            1806 AVENUE J, SUITE 303
HUNTSVILLE, TX 77341                   HUNTSVILLE, TX 77340               HUNTSVILLE, TX 77340




SAM HOUSTON STATE UNIVERSITY           SAM HOUSTON STATE UNIVERSITY       SAM HOUSTON STATE UNIVERSITY
PO BOX 2185                            PO BOX 2268                        PO BOX 2297
HUNTSVILLE, TX 77341-2185              HUNTSVILLE, TX 77341               HUNTSVILLE, TX 77340
SAM HOUSTON STATECase    19-36300
                    UNIVERSITY      Document  1 K Filed
                                       SAMANTHA   WHITE in TXSB on 11/11/19 SAME
                                                                             Page  189
                                                                                 DAY    of 240
                                                                                     DISTRIBUTING
PO BOX 2537                             [ADDRESS REDACTED]                     5692 BUCKINGTON DRIVE
HUNTSVILLE, TX 77341                                                           HUNTINGTON BEACH, CA 92649




SAMELA, INC.                            SAMFORD,TERRI                          SAMMUAL C MONARCH
1200 BARCLAY BLVD                       750 W COX                              [ADDRESS REDACTED]
BUFFALO GROVE, IL 60089                 LOVELADY, TX 75851




SAMS CLUB                               SAN ANTONIO MARRIOTT RIVERCENTER       SAN FRANCISCO MARRIOT
4265 DIPLOMACY DR                       101 BOWIE STREET                       55 FOURTH STREET
COLUMBUS, OH 43228                      SAN ANTONIO, TX 78205                  SAN FRANCISCO, CA 94103




SAN JACINTO NEWS TIMES                  SAN JACINTO SPECIAL UTILITY DISTRICT   SANBURG EILEEN
PO BOX 1689                             70 CHURCH AVE
SHEPHERD, TX 77371                      COLDSPRING, TX 77331




SANCHEZ, WILLIAM                        SANDERS, KEVIN                         SANDERS,STEVE
                                        HUNTSVILLE, TX




SANDERSON, CUTBIRTH, AND COPELAND       SANDOVAL, ROBERT MICHAEL               SANDRA ANN STEAKLEY
PLLC                                    8060 A SH 75 S                         [ADDRESS REDACTED]
2402 SAM HOUSTON AVE                    HUNTSVILLE, TX 77340
HUNTSVILLE, TX 77340




SANDRA CROW                             SANDRA E ROY                           SANDRA JANE GILLILAND
[ADDRESS REDACTED]                      [ADDRESS REDACTED]                     [ADDRESS REDACTED]




SANDRA K WHITENER                       SANDS POINT INDUSTRIES INC             SANDY LYNETTE HILL
[ADDRESS REDACTED]                      30 S HIGHLAND AVE                      [ADDRESS REDACTED]
                                        OSSINING, NY 10562




SANGUEDOLCE, THOMASINE                  SANITARY SUPPLY COMPANY, INC.          SANOFI PASTEUR INC
34 AKRIDGE DR.                          PO BOX 5408                            12458 COLLECTIONS CENTER DR
HUNTSVILLE, TX 77320                    BEAUMONT, TX 77726-5408                CHICAGO, IL 60693




SANOFI PASTEUR                          SANTA BARBARA MEDCO, INC.              SANTA FE DISTRIBUTING, INC
PO BOX 60244                            815 NORTHWEST PARKWAY, SUITE 100       9640 LEGLER RD
CHARLOTTE, NC 28260-0244                ST. PAUL, MN 55121-1579                LENEXA, KS 66219
SANTOS, ADILFIA    Case   19-36300 Document   1 Filed in TXSB on 11/11/19 SAPP,
                                      SAPP LAUREN                          Page   190 of 240
                                                                                JOE
202 YOUNG ST.                           10324 VALLEY DR. SOUTH             HUNTSVILLE, TX
HUNTSVILLE, TX 77320                    WILLIS, TX 77318




SAPP, RICHARD                           SARA LEE BAKING GROUP              SARAH ANNE GREEN
HUNTSVILLE, TX 77340                    C/O BIMBO BAKERIES USA             [ADDRESS REDACTED]
                                        CONSUMER RELATIONS DEPT
                                        PO BOX 976
                                        HORSHAM, PA 19044



SARAH BETH DIAZ                         SARAH C WOODS                      SARAH E CLARK
[ADDRESS REDACTED]                      [ADDRESS REDACTED]                 [ADDRESS REDACTED]




SARAH F LINTON                          SARAH GULICK                       SARAH K FRY
[ADDRESS REDACTED]                      555 BOWERS BLVD. APT 728           [ADDRESS REDACTED]
                                        HUNTSVILLE, TX 77340




SARAH L BECK                            SARGENT, KAMILLE                   SARRAF, KEITH D
[ADDRESS REDACTED]                      608 W WINTER PARK ST               1220 11TH STREET
                                        ORLANDO, FL 32805                  HUNTSVILLE, TX 77340




SA-SO COMPANY                           SAU MULERIDERS BOOSTER             SAUSAGE, RYAN
525 N. GREAT SOUTHWEST PARKWAY          PO BOX 9374
ARLINGTON, TX 76011                     MAGNOLIA, AR 71754




SAVANNAH GRIGGS                         SAVANNAH L WETZLER                 SAVANNAH LEE TOLBERT
301 KRENEK TAP ROAD 125                 [ADDRESS REDACTED]                 [ADDRESS REDACTED]
COLLEGE STATION, TX 77840




SAVOY, AMBER                            SBC SOUTHWESTERN BELL TELE         SBC SOUTHWESTERN BELL TELEPHONE
WILLIS, TX 77318                        PO BOX 3025                        PO BOX 650502
                                        HOUSTON, TX 77097-0043             DALLAS, TX 75265-0502




SCALE-TRONIX ACCESSORIES, INC           SCALE-TRONIX INC.                  SCANTLIN, TONI
200 EAST POST ROAD                      200 EAST POST ROAD-SUITE 1         PO BOX 101
WHITE PLAINS, NY 10601                  WHITE PLAINS, NY 10601             ONALASKA, TX 77360




SCANTRON CORPORATION                    SCARMARDO PRODUCE INC              SCHAPER, DALE T
1313 LONE OAK ROAD                      PO BOX 4508                        PO BOX 154
EAGAN, MN 55121                         BRYAN, TX 77805-4508               IOLA, TX 77861
SCHEFFE, MARILYN Case     19-36300 Document  1 Filed
                                      SCHEIDECKER, LINDAin TXSB on 11/11/19 SCHEIDECKER,
                                                                             Page 191 of   240
                                                                                         MIKE
9 WILLOWBEND                            12834 TIMORTHY DR
THE WOODLANDS, TX 77380                 WILLIS, TX 77318




SCHEPPS DIARY                           SCHINDLERS                           SCHLEUSNER, THOMAS
PO BOX 973913                           901 NORMAL PARK                      12131 PARIS AVENUE N
1901 PARKWOOD                           HUNTSVILLE, TX 77340                 STELLWATER, MN 55082
BEDFORD, TX 76021




SCHLUETER,ERIK                          SCHMIDT, MELISSA                     SCHNARR, DIRK
PO BOX 360461                           326 COUNTY ROAD 381                  174 COLD CAMP ROAD
DALLAS, TX 75336                        CLEVELAND, TX 77328                  PARKTON, NC 28371




SCHOOL SPECIALTY, INC.                  SCHOOLEY, LINDA                      SCHOOLSIN.COM
W6316 DESIGN DRIVE                      HUNTSVILLE, TX 77340                 PO BOX 62026
GREENVILLE, WI 54942                                                         CINCINNATI, OH 45262




SCHRAMM, KIMBERLY                       SCHUBERT, JUSTIN M                   SCHWAAB
HUNTSVILLE, TX 77340                    1220 11TH ST                         11415 WEST BURLEIGH ST
                                        HUNTSVILLE, TX 77340                 MILWAUKEE, WI 53226




SCHWANS SALES ENT                       SCHWEIG STEPHANIE                    SCHWINKENDORF, ROBERT
1155 W OSR
BRYAN, TX 77807-5080




SCIFIT SYSTEMS INC (FORMERLY)           SCOBEY MOVING & STRAGE               SCORPION HEALTHCARE, LLC
5616A S 122 E AVE                       9625 BROADWAY                        28480 AVENUE STANFORD, SUITE 100
TULSA, OK 74146-6913                    SAN ANTONIO, TX 78217                VALENCIA, CA 91355




SCOTT & WHITE CLINIC                    SCOTT & WHITE PHARMACY               SCOTT & WHITE
PO BOX 844658                           1110 EARL RUDDER FWY S               PO BOX 847500
DALLAS, TX 75284                        COLLEGE STATION, TX 77840            DALLAS, TX 75284-7500




SCOTT ALLAN SURGICAL DISTRIBUTION       SCOTT COMMUNICATIONS, INC            SCOTT, ERIC
33671 DOREKA                            10535 FM 1097 RD WEST SUITE A        1220 11TH STREET
FRASER, MI 48026                        WILLIS, TX 77318                     HUNTSVILLE, TX 77340




SCOTT, JENNIFER                         SCOTT, KENYETTA                      SCOTT, SHIRLEY
                                        2830 LAKE RD APT 511
                                        HUNTSVILLE, TX 77340
SCOTTIE F THOMAS Case   19-36300 Document  1 Filed in TXSB on 11/11/19 SCRIP
                                    SCREEM DREAMZ                       Page   192 of 240
                                                                             INC
[ADDRESS REDACTED]                    1304 SAM HOUSTON AVE              360 VETERANS PARKWAY, SUITE 115
                                      HUNTSVILLE, TX 77340              BOLINGBROOK, IL 60440




SCRUBBER DOCTOR LLC.                  SCRUBS & BEYOND, LLC              SCRUBS ETC
2210 PEPPERMILL RD                    823 HANLEY INDUSTRIAL CT          224A SOUTH LOOP 336N
HOUSTON, TX 77080                     BRENTWOOD, MO 63144               CONROE, TX 77304




SCULAPIO PROFESSIONAL SERVICES LLC    SCW LMM INC.                      SDFI-TELEMEDICINE LLC
3710 BRIDLE CT                        3675 COMMERCIAL AVE.              806 BUCHANAN BLVD
COLLEGE STATION, TX 77845             NORTHBROCK, IL 60062              SUITE 115-299
                                                                        BOULDER CITY, NV 89005




SEA BREEZE PRODUCTS                   SEAFOOD SUPPLY COMPANY            SEAFOOD WHOLESALERS, LTD
PO BOX 1614                           1500 E. GRIFFIN                   PO BOX 571196
GRAPEVINE, TX 76051                   DALLAS, TX 75215                  HOUSTON, TX 77257-1196




SEALE, PAULA                          SEAMLESS SOLUTIONS                SEAN HILL
                                      7786 BLANKENSHIP DR               [ADDRESS REDACTED]
                                      HOUSTON, TX 77055




SEARS COMMERICAL ONE                  SEARS                             SEASONAL COMFORT
PO BOX 630859                         3333 BEVERLY RD                   248 GARROTSVILLE
IRVING, TX 75063-0859                 HOFFMAN ESTATES, IL 60179         HOUSTON, TX 77222




SECOND ADVENTURE                      SECRETARY OF STATE                SECURADYNE SYSTEMS INTERMEDIATE LLC
13645 GARDEN GROVE COURT              PO BOX 13697                      3440 SOJOURN, SUITE 240
HOUSTON, TX 77082                     AUSTIN, TX 78711-3697             CAROLLTON, TX 75006




SECURE-IT                             SECURITY BENEFIT LIFE INS         SECURITY LOCKSMITH
140 DENSLOW ROAD                      700 SW HARRISON ST                1220 12TH ST
EAST LONGMEADOW, MA 01028             TOPEKA, KS 66636-0001             HUNTSVILLE, TX 77340




SECURITY SYSTEMS DIVISION             SEDGWICK CLAIMS MANAGEMENT        SEHGAL, SUDHIR M.D.
PO BOX 77-5169                        33696 TREASURY CENTER             2721 SILVERSTONE WAY
CHICAGO, IL 60678-5169                CHICAGO, IL 60694-3600            CONROE, TX 77304




SEHGAL, SUDHIR                        SEHGAL, SUDHIR                    SEILER INSTRUMENT & MFG CO INC
2721 SILVERSTONE WAY                  PO BOX 540088                     3433 TREE COURT INDUSTRIAL BLVD
CONROE, TX 77304                      HOUSTON, TX 77254                 ST LOUIS, MO 63122
SE-KURE CONTROLS,CaseINC      19-36300 Document   1 MHRETE
                                          SELASSIE,   Filed GinMDTXSB on 11/11/19 SELASSIE,
                                                                                   Page 193     of 240
                                                                                            MIRIAM
3414 RUNGE ST                                2804 LAKE RD 4                         2804 LAKE ROAD 4
FRANKLIN PK., IL 60131-1112                  HUNTSVILLE, TX 77340                   HUNTSVILLE, TX 77340




SELECTIVE MEDICAL COMPONENTS INC             SELF, MIRIAM                           SELMAN, HOLLIE
201 W HIGH ST                                995 WOOD FARM ROAD 15                  5121 FM 946 N
MOUNT VERNON, OH 43050                       HUNTSVILLE, TX 77320                   OAKHURST, TX 77359




SEMEQUIA Y GREATHOUSE                        SEMLER TECHNOLOGIES, INC               SENIOR CENTER OF WALKER COUNTY
[ADDRESS REDACTED]                           4252 SE INTERNATIONAL WAY, SUITE F     340F SH75N
                                             MILWAUKIE, OR 97222                    HUNTSVILLE, TX 77320




SENSORS CHEM. EXP. LTD.                      SENTINEL INSURANCE COMPANY             SENTRY AIR SYSTEM
113 PHILLIPS MEDICAL WAY                     ONE HARTFORD PLAZA                     6999 W. LITTLE YORK, STE. P1
APEX, NC 27502                               HARTFORD, CT 06155                     HOUSTON, TX 77040




SENTRY MEDICAL PRODUCTS                      SERENA GONZALEZ MCDOUGLE               SERENA MARIE BALES
331 SOUTH EISENHOWER LN                      [ADDRESS REDACTED]                     [ADDRESS REDACTED]
LOMBARD, IL 60148




SERIM RESEARCH CORP                          SERPE, JONES, ANDREWS, CALLENDER       SERVER SUPPLY
1030 RANDOLPH ST BLDG 17                     2929 ALLEN PARKWAY, SUITE 1600         31-00 47TH AVE
ELKHART, IN 46514-0002                       HOUSTON, TX 77019                      LONG ISLAND CITY, NY 01101




SERVICE & COMPLIANCE CONS. INC               SERVICE EXPRESS, INC.                  SERVICE REFRIGERATION CO
901 NORMAL PARK STE 204                      3854 BROADMOOR AVE SE                  1208 FIRST STREET SUITE B
HUNTSVILLE, TX 77320                         GRAND RAPIDS, MI 49512                 HUMBLE, TX 77338




SERVICEFLAGS.COM                             SETON IDENTIFICATION PRODUCTS          SETRAC
3688 RESEARCH WAY, STE 2                     PO BOX 1331                            1111 NORTH LOOP WEST, SUITE 160
CARSON CITY, NV 89706                        NEW HAVEN, CT 06505                    HOUSTON, TX 77008




SEXAUER                                      SHADLE LIDIA                           SHAHNAZ KIRMANI
200 E. PARK DRIVE, STE 200                   HUNTSVILLE, TX 77340                   [ADDRESS REDACTED]
MT. LAUREL, NJ 08054




SHAMBLEE, DEBRA                              SHAMROCK SCIENTIFIC SPECIALTY SYSTE    SHAMROCK SCIENTIFIC
                                             34 DAVIS DRIVE                         34 DAVIS DRIVE
                                             PO BOX 143                             BELLWOOD, IL 60104
                                             BELLWOOD, IL 60104
SHANEQUIA T SNELL Case    19-36300 Document
                                      SHANICE 1  Filed in TXSB on 11/11/19 SHANIQUA
                                              CHEDI                         Page 194  of 240
                                                                                    ROWLETT
[ADDRESS REDACTED]                      9108 PINE MISSION AVE              [ADDRESS REDACTED]
                                        LAS VEGAS, NV 89143




SHANNA KELLY PAYNE                      SHANNA M GEORGE                    SHANNON BROWN
[ADDRESS REDACTED]                      [ADDRESS REDACTED]                 [ADDRESS REDACTED]




SHANNON D RILEY                         SHANNON DENISE MCINTYRE            SHANNON L BROWN
[ADDRESS REDACTED]                      [ADDRESS REDACTED]                 [ADDRESS REDACTED]




SHANNON L BROWN                         SHANNON LEIGH YATES                SHANNON M BUIE
28415 MONTEREY CLIFF LN                 [ADDRESS REDACTED]                 [ADDRESS REDACTED]
HUFFMAN, TX 77336




SHAO-JEN CHANG, MD                      SHARI SUE MOORE                    SHARIN
102 A MEDICAL PARK LANE                 [ADDRESS REDACTED]
HUNTSVILLE, TX 77340




SHARMEEN F HUSSAIN                      SHARN INC                          SHARON A VYTOPIL
[ADDRESS REDACTED]                      6850 SOUTHBELT DR                  [ADDRESS REDACTED]
                                        CALEDONIA, MI 49316




SHARON M ESKRIDGE                       SHARON S. DORONDO                  SHARPE ASSOCIATES
[ADDRESS REDACTED]                      [ADDRESS REDACTED]                 2102 PECAN TRAIL
                                                                           RICHMOND, TX 77406-6720




SHAVER, SALLY ANN                       SHAW CONTRACT FLOORING SERVICES    SHAW, LINDA
25083 WATSON RANCH                      7425 PINEMONT DR STE 150
MONTGOMERY, TX 77356                    HOUSTON, TX 77040




SHAWN C SACKMAN                         SHAWN D MATHIEWS                   SHAWNA S RUMFOLO
[ADDRESS REDACTED]                      [ADDRESS REDACTED]                 [ADDRESS REDACTED]




SHAWNNA C. PERIGO                       SHAYLEN WELLS                      SHAYNA DIANE GOOLSBY
[ADDRESS REDACTED]                      [ADDRESS REDACTED]                 [ADDRESS REDACTED]
                 Case
SHAYNARHEY MANNING    19-36300
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                                                 SORENSEN                PageMETAL
                                                                              195 WORKERS
                                                                                   of 240 NATIONAL
[ADDRESS REDACTED]                  [ADDRESS REDACTED]                  PO BOX 1449
                                                                        GOODLETTSVILLE, TN 37070-1449




SHEILA ARD                          SHEILA G DEBRISCOE                  SHEILA G PALMATEER
[ADDRESS REDACTED]                  [ADDRESS REDACTED]                  [ADDRESS REDACTED]




SHEILA HOGUE ARD                    SHEILA Y JOHNSON                    SHELBY G MCLAIN
[ADDRESS REDACTED]                  [ADDRESS REDACTED]                  [ADDRESS REDACTED]




SHELBY L BRADFORD                   SHELBY LYNN SCHUMACHER              SHELBY NICOLE WILMES
[ADDRESS REDACTED]                  [ADDRESS REDACTED]                  [ADDRESS REDACTED]




SHELLEY C PELLEY                    SHELLY, KRISTIN                     SHEPHERD HILL FLORIST
[ADDRESS REDACTED]                  15462 CARMEL DR.                    1700 11TH STREET, STE F
                                    WILLIS, TX 77318                    HUNTSVILLE, TX 77340




SHERI H RAMBY                       SHERITTA SHANTA CARTER              SHERLINE PAUL
[ADDRESS REDACTED]                  [ADDRESS REDACTED]                  1518 THACKERY ST
                                                                        SCRANTON, PA 18504




SHERRIE BENNETT-RITTER              SHERROUSE WALTER                    SHERRY CHRISTINE HARE
[ADDRESS REDACTED]                                                      [ADDRESS REDACTED]




SHERWIN-WILLIAMS                    SHERWOOD MEDICAL                    SHERYL B. MUELLER
1109 AVE M                          1915 OLIVE ST                       11805 WINDWOOD WAY
HUNTSVILLE, TX 77340                ST LOUIS, MO 63103                  WILLIS, TX 77318-6570




SHI INTERNATIONAL CORP              SHIELDING DYNAMICS                  SHIELDS, COURTNEY
290 DAVIDSON AVE                    27830 COMMERCIAL PARK ROAD          25319 OAKHURST DR.
SOMERSET, NJ 08873                  HOUSTON, TX 77375                   SPRING, TX 77386




SHIELDS, COURTNEY                   SHIELDS, PETRA                      SHIMADZU PRECISION INSTRUMENTS, INC
9985 KINGFISHER DR                  SUITE 301 CASE 3912                 10625 NEWKIRK ST, SUITE 500
CONROE, TX 77385                    HUNTSVILLE, TX 77340                DALLAS, TX 75220
SHIN DIGZ          Case 19-36300     Document
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                                                                              Page 196KAY
                                                                                        of 240
919 S HARRISON ST, STE 300              [ADDRESS REDACTED]                   IOLA, TX 77861
FORT WAYNE, IN 46802




SHOES FOR CREWS INC                     SHOFNER, JUDY                        SHOREY, KATHERINE
1400 CENTREPARK BLVD STE 310            HUNTSVILLE, TX 77340                 HUNTSVILLE, TX 77342
WEST PALM BEACH, FL 33401-7403




SHSU CONTINUING EDUCATION               SHSU DUCKS UNLIMITED                 SHSU
BOX 2477                                2456 MONTGOMERY ROAD APT 117         PO BOX 2026
1825 SYCAMORE AVE.                      HUNTSVILLE, TX 77340                 HUNTSVILLE, TX 77341
HUNTSVILLE, TX 77341




SHSU-THEATER & DANCE                    SHSY/ENCUENTRO                       SHUKLA, URMIL MD
BOX 2297                                BOX 2026                             130 MEDICAL CENTER PKWY, 10
HUNTSVILLE, TX 77341-2297               HUNTSVILLE, TX 77341                 HUNTSVILLE, TX 77340




SHULTS, SANDRA D.                       SI-BONE INC                          SIEFEN HOWARD T
2951 N. LOOP 336 W. 728                 3055 OLIN AVE, SUITE 2200            21 SCENIC CIRCLE
CONROE, TX 77304                        SAN JOSE, CA 95128                   POINT BLANK, TX 77364




SIEGEL DISPLAY PRODUCTS                 SIEMENS FINANCIAL SERVICES           SIEMENS HEALTCARE DIAGNOSTICS INC
300 SIXTH AVE. NORTH SUITE 200          2809 COLLECTION CENTER DRIVE         PO BOX 121102
MINNEAPOLIS, MN 55401                   CHICAGO, IL 60693                    DALLAS, TX 75312-1102




SIEMENS HEALTHCARE DIAGNOSTICS          SIEMENS INDUSTRY INC                 SIEMENS INDUSTRY, INC.
115 NORWOORD PARK SOUTH                 10 TECHNOLOGY DR.                    1000 DEERFIELD PARKWAY
NORWOOD, MA 02062                       LOWELL, MA 01851                     BUFFALO GROVE, IL 60089-4513




SIEMENS MEDICAL SOLUTIONS USA, INC      SIEMENS MEDICAL SYSTEMS              SIEMENS WATER TECHNOLOGIES LLC
51 VALLEY STREAM PARKWAY                313 INVERNESS WAY SOUTH              4800 N POINT PKWY
MALVERN, PA 19355                       ENGLEWOOD, CO 80112                  ALPHARETTA, GA 30005




SIGMA DIAGNOSTIC                        SIGMA SOLUTIONS, INCORPORATED        SIGN AD OUTDOOR ADVERTISING INC
3050 SPRUCE ST                          10675 RICHMOND AVE, STE 100          1010 NORTH LOOP
ST LOUIS, MO 63103                      HOUSTON, TX 77042                    HOUSTON, TX 77009




SIGNET HEALTH                           SIGNS365.COM, LLC                    SILCOX, BELINDA
504 SEVILLE RD STE 201                  51245 FILOMENA DRIVE                 PO BOX 9873
DENTON, TX 76205                        SHELBY TWP., MI 48315                HUNTSVILLE, TX 77340
SILCRAFT           Case     19-36300 Document   1 Filed
                                        SILEX MEDICAL, LLC in TXSB on 11/11/19 SILVER
                                                                                PageQUEST
                                                                                      197 of 240
                                                                                          JEWELRY
PO BOX 684                                24B ROBERT PORTER RD                PO BOX 1041
TRAVERSE CITY, MI 49685                   SOUTHINGTON, CT 06489               BRIDGE CITY, TX 77611




SILVER RING SPLINT CO                     SILVIA M NAVARRETE                  SILVIA WHITE
PO BOX 2856                               [ADDRESS REDACTED]                  [ADDRESS REDACTED]
CHARLOTTESVILLE, VA 22902-2856




SIMMONS, CHANTEL D.                       SIMMONS, JULIE                      SIMMONS. ANGELA S
17000 FM 1484                             HUNTSVILLE, TX
CONROE, TX 77303




SIMMS, GARRETT                            SIMPKINS & ASSOCIATES INC           SIMPLE TRUTHS
1154 ELKINS LAKE                          BOX 450                             1952 MCDOWELL RD. SUITE 205
HUNTSVILLE, TX 77340                      SAN ANTONIO, TX 78258-7500          NAPERVILLE, IL 60563




SIMPLIFY COMPLIANCE LLC                   SIMS, DEIDRA                        SIMS, OLGA
PO BOX 5094                               643 FM 247 21                       [ADDRESS REDACTED]
BRENTWOOD, TN 37024-5094                  HUNTSVILLE, TX 77320




SIRCHIE ACQUISITION COMPANY, LLC          SIX FLAGS OVER TEXAS                SJS PARTNERSHIP DBA WRS GROUP, LTD
100 HUNTER PLACE                          PO BOX 911974                       PO BOX 21207
YOUNGSVILLE, NC 27596                     DALLAS, TX 75391                    WACO, TX 76702-1207




SKBL NIDA TESTING                         SKC                                 SKELETAL DYNAMICS, LLC
3500 HORIZON DR                           863 VALLEY VIEW RD                  8905 SW 87TH AVE STE 201
KING OF PRUSSIA, PA 19406                 EIGHTY FOUR, PA 15330               MIAMI, FL 33176




SKIDMORE, DEBBIE                          SKILLPATH SEMINARS                  SKYLINE DISPLAYS OF HOUSTON
                                          PO BOX 804441                       5215 TED STREET
                                          KANSAS CITY, MO 64180-4441          HOUSTON, TX 77040




SLACK INCORPORATED                        SLATER, TANYA MICHELE               SLATTER, CELESTE
6900 GROVE RD                             [ADDRESS REDACTED]                  31 WALLACE RD
THOROFARE, NJ 08086-9865                                                      HUNTSVILLE, TX 77320




SLATTER, NATHAN                           SLAVTCHEVA-SAVOVA, ALBENA T.        SLOAN CORPORATION
31 WALLACE RD.                            273 OAKLAWN AVE.                    4224 S 133RD ST STE G
HUNTSVILLE, TX 77320                      ELMHURST, IL 60125                  OMAHA, NE 68137
SMAILI, TARICK MD   Case 19-36300 Document  1 Filed
                                     SMALL BONE       in TXSB
                                                INNOVATIONS, INC.on 11/11/19 SMART
                                                                              PagePATIENTS,
                                                                                   198 of 240
                                                                                            INC.
673 N MILWAUKEE 2                        1380 SOUTH PENNSYLVANIA AVE.         144 S. WHISMAN ROAD, SUITE G
CHICAGO, IL 60622                        MORRISVILLE, PA 19067                MOUNTAIN VIEW, CA 94041




SMART SMO                                SMARTSHEET.COM, INC.                 SMC NURSING
398 COLUMBUS AVENUE 515                  10500 NE 8TH ST, SUITE 1750          PO BOX 88
BOSTON, MA 02116                         BELLEVUE, WA 98004                   FAIRFIELD, TX 75840




SMILE MAKERS                             SMITH & NEPHEW ENDOSCOPY INC         SMITH & NEPHEW ENDOSCOPY
PO BOX 2543                              1450 BROOKS RD                       1450 BROOKS RD
SPARTANBURG, SC 29304                    MEMPHIS, TN 38116                    MEMPHIS, TN 38116




SMITH & NEPHEW INC                       SMITH & NEPHEW INC                   SMITH & NEPHEW
1450 BROOKS RD                           PO BOX 70127                         1450 BROOKS RD
MEMPHIS, TN 38116                        CHICAGO, IL 60673-0127               MEMPHIS, TN 38116




SMITH MEDICAL ASD INC (FORMERLY)         SMITH, ANDREA                        SMITH, ANNA E.
PO BOX 7247-7784                         HUNTSVILLE, TX                       [ADDRESS REDACTED]
PHILADELPHIA, PA 19170-7784




SMITH, DIRETHA                           SMITH, JAMES A MD                    SMITH, JENNY REBECCA
320 GREENLEAF ST.                        369 ELKINS LAKE                      288 SUNNY DR.
HUNTSVILLE, TX 77340                     HUNTSVILLE, TX 77340                 LIVINGSTON, TX 77351




SMITH, KAREN                             SMITH, KARL M                        SMITH, LARRY
195 WICK WILLOW DR.                      [ADDRESS REDACTED]                   10444 HAWAII LANE
MONTGOMERY, TX 77356                                                          MIDWAY, TX 75852




SMITH, MARCUS D MD                       SMITH, MARCUS DR                     SMITH, MICHELLE
6700 WOODLANDS PARKWAY, STE230-3112      6700 WOODLANDS PARKWAY               620 HICKORY DR. 422
THE WOODLANDS, TX 77382                  SUITE 230-312                        HUNTSVILLE, TX 77340
                                         THE WOODLANDS, TX 77382




SMITH, RITA YVONNE                       SMITH, STACY                         SMITH, TERESA
PO BOX 735                               1220 11TH STREET
COLDSPRING, TX 77331                     HUNTSVILLE, TX 77340




SMITH, WESLEY REED                       SMITH,TINA                           SMITHS MEDICAL MD
[ADDRESS REDACTED]                       [ADDRESS REDACTED]                   CORPORATE DRIVE
                                                                              1265 GREY FOX RD
                                                                              ST PAUL, MN 55112
SMSC                Case   19-36300 Document   1 Filed TRANISE
                                       SNELL, SHANEQUIA in TXSB on 11/11/19 SNELL,SABRINA
                                                                             Page 199 of 240
PO BOX 11509                             [ADDRESS REDACTED]                  HUNTSVILLE, TX 77340
KILLEEN, TX 76547-1509




SOCAL PROPERTIES, LLC                    SOCIETY FOR HEALTHCARE STRATEGY &   SOCIETY HUMAN RESOURCE MANAGEMENT
PO BOX 1958                              PO BOX 75315                        PO BOX 79561
LAQUINTA, CA 92247                       CHICAGO, IL 60675-5315              BALTIMORE, MD 21279-0561




SOFIA NGUYEN                             SOFT TILES/IMAGINATION PROJECT      SOLANA SURGICAL, LLC
[ADDRESS REDACTED]                       9465 SUTTON PLACE                   6363 POPLAR AVENUE, SUITE 312
                                         HAMILTON, OH 45011                  MEMPHIS, TN 38119




SOLARA HOSPITAL CONROE, L.P.             SOLARWINDS, INC.                    SOLIANT HEALTH
1500 GRAND LAKE DRIVE                    7171 SOUTHWEST PARKWAY,             PO BOX 930425
CONROE, TX 77304                         BUILDING 400                        ATLANTA, GA 31193-0425
                                         AUTIN, TX 78735




SOLID BRIDGE CONSTRUCTION                SOLOS ENDOSCOPY                     SOLSYS MEDICAL, LLC
PO BOX 9201                              65 SPRAGUE STREET, WEST B           600 THIMBLE SHOALS BLVD, STE 200
HUNTSVILLE, TX 77340                     BOSTON, MA 02136                    NEWPORT NEWS, VA 23606




SOLTMAN, KRISTEN                         SOLUCIENT\MEDSTAT                   SOMA TECHNOLOGY, INC
                                         1007 CHURCH STREET                  166 HIGHLAND PARK DRIVE
                                         EVANSTON, IL 60201                  BLOOMFIELD, CT 06002




SOMPO (ENDURANCE)                        SONOSITE INC                        SONTEC INSTRUMENTS
WATERLOO HOUSE 100 PITTS                 21919 30TH DRIVE                    7248 SOUTH TUCSON WA
BAY ROAD PEMBROKE, HM 08                 BOTHELL, WA 98021                   CENTENNIAL, CO 80112
BERMUDA




SONYA BUTTS CAMERON                      SONYA R JOHNSON                     SOUHTWEST SOLUTIONS
[ADDRESS REDACTED]                       [ADDRESS REDACTED]                  GROUP(FORMERLY)
                                                                             1665 TOWNHURST SUITE 100
                                                                             HOUSTON, TX 77043




SOUND IMAGING                            SOURCE DISTRIBUTORS INC.            SOURCEMARK
14 W FOREST AVE                          11116 GRADER ST                     100 WINNERS CIRCLE, STE 250
ENGLEWOOD, NJ 07631                      DALLAS, TX 75238                    BRENTWOOD, TN 37027




SOURCEMEDICAL                            SOURCEONE HEALTHCARE TECHNOLOGIES   SOUTH TEXAS YOUTH SOCCER ASSOC.
100 GRANDVIEW PLACE SUITE 400            17800 E 32ND AVE STE 20             PO BOX 6707
BIRMINGHAM, AL 35243                     AURORA, CO 80011                    HUNTSVILLE, TX 77340
                 Case 19-36300
SOUTHEAST REIMBURSEMENT GROUP,LLC   Document  1 TEXAS
                                       SOUTHEAST Filed EMS
                                                       in TXSB on 11/11/19 SOUTHEAST
                                                                            Page 200TEXAS
                                                                                      of 240
                                                                                          HORIZONS, LLC
2959 CHEROKEE STREET                   PO BOX 12898                         300 E HIGHLAND MALL BLVD. STE 390
SUITE 301                              BEAUMONT, TX 77707                   AUSTIN, TX 78752
KENNESAW, GA 30144




SOUTHEAST TEXAS TRAUMA REGIONAL        SOUTHERN EMPRESS                     SOUTHERN FOODS GROUP L.P.
2260 W. HOLCOMBE BLVD BOX 221          SH RESORT                            PO BOX 973866
HOUSTON, TX 77030-2008                 7041 KINGSTON COVE LANE              DALLAS, TX 75397-3866
                                       WILLIS, TX 77318




SOUTHERN ICE CREAM CORPORATION         SOUTHERN TEXAS PHYSICIANS NETWORK    SOUTHERNWESTERN PETROLEUM CORP
13755 GREEN LAND DRIVE                 PO BOX 404554                        PO BOX 671089
STAFFORD, TX 77477                     ATLANTA, GA 30384-4554               DALLAS, TX 75267-1089




SOUTHPAW ENTERPRISES                   SOUTHWASTE DISPOSAL,LLC              SOUTHWEST & JOHNSON
109 WEBB STREET                        6407 HURST STREET                    5806 PARKERSBURG DR
DAYTON, OH 45403                       HOUSTON, TX 77008                    HOUSTON, TX 77060




SOUTHWEST ATHLETIC TRAINERS ASSOC      SOUTHWEST CENTURY COMM               SOUTHWEST CONSULTING ASSOCIATES
2625 TRIANGLE LEAF DR                  600 KENRICK                          2805 N. DALLAS PARKWAY, SUITE 620
FT WORTH, TX 76244                     HOUSTON, TX 77060                    PLANO, TX 75093




SOUTHWEST DATACOM SYSTEMS              SOUTHWEST FORD                       SOUTHWEST HISTOLOGY LLC
7630 COMMERCE WAY                      PO BOX 234                           3700 CURIE DRIVE
EDEN PRAIRIE, MN 55344                 3000 FT WORTH HWY                    SUITE 6000
                                       WEATHERFORD, TX 76036                EL PASO, TX 79902




SOUTHWEST LABORATORIES, LLC            SOUTHWEST MEDICAL ASSOC              SOUTHWEST PUBLIC SAFETY
4225 OFFICE PKWY, STE 100              PO BOX 2168                          9905 PERRIN BEITEL RD.
DALLAS, TX 75204                       ROCKPORT, TX 78381                   SAN ANTONIO, TX 78217-3101




SOUTHWEST RECYLING EQUIP               SOUTHWEST TEXAS EQUIPMENT            SOUTHWESTERN BELL TELECOM
PO BOX 9937                            8777 CLAY RD                         PO BOX 300060
THE WOODLANDS, TX 77387                HOUSTON, TX 77080                    DALLAS, TX 77060




SOUTHWESTERN BELL TELEPHONE            SOUTHWESTERN BELL                    SOUTHWESTERN PETROLEUM
PO BOX 650502                          C/O AT&T                             CORPORATION
DALLAS, TX 75265-0502                  1 BELL CENTRE                        PO BOX 671089
                                       ST LOUIS, MO 63101                   DALLAS, TX 75267-1089




SOUTHWIND                              SOWER, DUFFY & ASSOCIATES            SPACELABS HEALTHCARE LLC
PO BOX 79461                           601 ELKINS LAKE                      5150 220 AVE SE
BALTIMORE, MD 21279                    HUNTSVILLE, TX 77340                 ISSAQUAH, WA 98029
SPARTAN TOOL LLC Case 19-36300      Document   1 Filed
                                       SPECIAL RESCUE   in TXSB on 11/11/19 SPECIALTY
                                                      INTERNATIONAL          Page 201    of 240
                                                                                      LABORATORIES
1506 WEST DIVISION STREET               2697 INTERNATIONAL PARKWAY           PO BOX 54920
MENDOTA, IL 61342                       PARKWAY 4, SUITE 198                 LOS ANGELES, CA 90054-0920
                                        VIRGINIA BEACH, VA 23452




SPECIALTY MED CARE LLC                  SPECIALTY SURGICAL INSTRUMENTATION   SPECIALTY SURGICAL INTRUMENTATION
104 SOUTH WALNUT CREEK DR.              3034 OWEN DRIVE                      3034 OWEN DRIVE
MANSFIELD, TX 76063                     ANTIOCH, TN 37013                    ANTIOCH, TN 37013




SPECIALTY UNDERWRITERS                  SPECTERA INC                         SPECTRACORP TECHNOLOGIES GROUP INC
9880 S RIDGEVIEW DRIVE                  PO BOX 31850                         8181 LBJ FREEWAY, SUITE 360
OAK CREEK, WI 53154                     BALTIMORE, MD 21207-1850             DALLAS, TX 75251




SPECTRANETICS                           SPECTRUM HYDRO MED                   SPECTRUM SURGICAL INSTRUMENTS CO
PO BOX 12007, STE 4999                  23022 LA CADENA DR                   4575 HUDSON DRIVE
CHEYENNE, WY 82003                      LAGUNA HILLS, CA 92653-1362          STOW, OH 44224




SPEED PRINTING OF CONROE, INC           SPENCER, COLLEEN                     SPIKER, TERRI
1105 W. DALLAS                          HUNTSVILLE, TX                       MADISONVILLE, TX 77864
CONROE, TX 77301




SPINAL SPECIALTIES                      SPINESMITH PARTNERS, LP              SPINKS, JENNIFER
12001 NETWORK BLDG.F, SUITE 208         93 RED RIVER                         530 ROSENWALL RD
SAN ANTONIO, TX 78249                   AUSTIN, TX 78701                     HUNTSVILLE, TX 77320




SPIRACUR INC.                           SPIRITUAL LEADERSHIP INSTITUTE       SPIRTUAL LIFE INSTITUTE
1180 BORDEAUX DRIVE                     ONE SUGAR CREEK CENTER BLVD.,        ONE SUGAR CREEK CENTER BLVD.
SUNNYVALE, CA 94089                     SUITE 1000                           SUITE 1000
                                        SUGAR LAND, TX 77478                 SUGARLAND, TX 77478




SPIVEY CONCRETE CONTRACTORS             SPOK, INC                            SPORTS FLOORING
102 COLONIAL DR                         10400 YELLOW CIRCLE DRIVE            2500 WEST MAIN ST
HUNTSVILLE, TX 77320                    EDEN PRAIRIE, MN 55343               SUITE G8
                                                                             LEAGUE CITY, TX 77573




SPRI PRODUCTS                           SPRING CREEK UROLOGY LLC             SPRING, DEWAYNE
507 N WOLF ROAD                         PO BOX 4346 DEPT 642
WHEELING, IL 60090                      HOUSTON, TX 77210-4346




SPRINGBOARD INC.                        SPRINGER, DARRELL W.                 SPRINGER, LINDA
6970 EAST CHAUNCEY LANE SUITE 110       129 N. LAKEWAY CIRCLE                115 LAKE SHORE DRIVE
PHOENIX, AR 85054                       TRINITY, TX 75862                    CONROE, TX 77304
SPRINGHOUSE DIRECT Case     19-36300 Document   1 Filed INC
                                        SPRINT SOLUTIONS in TXSB on 11/11/19 SPROUSE
                                                                              Page 202  of 240
                                                                                     SHRADER SMITH PLLC
PO BOX 10613                              PO BOX 4181                          701 S. TAYLOR, STE 500
DES MOINES, IA 50336-0613                 CAROL STREAM, IL 60197-4181          AMARILLO, TX 79101




SQUARE VENTURES, INC                      SQUIRE COGSWELL                      SRJ MARKETING COMMUNICATIONS, LLC
PO BOX 374                                6690 EAGEL WAY                       3131 MCKINNEY AVE., SUITE 600
HUNTSVILLE, TX 77342                      CHICAGO, IL 60678-1066               DALLAS, TX 75204




ST JOHN                                   ST JUDE MEDICALS.C. INC              ST. JOSEPH HOSPICE OF HOUSTON, LLC
PO BOX 51263                              6300 BEE CAVE ROAD                   10615 JEFFERSON HWY
LOS ANGELES, CA 90051-5563                BLDG TWO, STE 100                    BATON ROUGE, LA 70809
                                          AUSTIN, TX 78746




ST. JOSEPH PHYSICIAN ASSOCIATES           ST. JOSEPH REGIONAL HEALTH CENTER    ST. LUKES COMMUNITY HEALTH SERVICE
PO BOX 48277                              2801 FRANCISCAN DRIVE                PO BOX 4560
BRYAN, TX 77805-4827                      BRYAN, TX 77802                      HOUSTON, TX 77210-4560




ST.JOSEPH REGIONAL HEALTH CENTER          STAAR SURGICAL COMPANY               STACEY D TUBBS
PO BOX 202536                             1911 WALKER AVE                      [ADDRESS REDACTED]
DALLAS, TX 75320-2536                     MONROVIA, CA 91016-4846




STACEY E ULERY                            STACEY WILLIAMSON                    STACKHOUSE
[ADDRESS REDACTED]                        3001 W. DAVIS ST                     PO BOX 371574
                                          CONROE, TX 77304                     PITTSBURGH, PA 15251-7574




STACY CLINE                               STACY JO HENDERSON                   STACY R KEITH
[ADDRESS REDACTED]                        [ADDRESS REDACTED]                   [ADDRESS REDACTED]




STACY ROSSER SMITH                        STACY SHERMAN-YOUNG                  STAFF RELIEF INCORPORATED
[ADDRESS REDACTED]                        [ADDRESS REDACTED]                   PO BOX 840416
                                                                               DALLAS, TX 75284-0416




STAFF SEARCH (FORMERLY)                   STANBIO LABORATORY                   STANDARD COFFEE SERVICE
PO BOX 4585                               1261 NORTH MAIN STREET               PO BOX 1582
HOUSTON, TX 77210-4585                    BOERNE, TX 78006                     TRINITY, TX 75862-1582




STANDARD REGISTER CO                      STANDARD TEXTILE                     STANDLEY, PAYTON
PO BOX 840655                             PO BOX 0302                          7729 FM 1372
DALLAS, TX 75284                          CINCINNATI, OH 45263-0302            NORTH ZULCH, TX 77872
STANFIELD, RICKY   Case 19-36300 Document   1 TAMMY
                                    STANFIELD, Filed in TXSB on 11/11/19 STANFORD,
                                                                          Page 203   of 240
                                                                                   AMY
HUNTSVILLE, TX                         28 STANFIELD LANE                    PO BOX 112
                                       BEDIAS, TX 77831                     HUNTSVILLE, TX 77342




STANLEY ACCESS TECH LLC                STANLEY INNERSPACE                   STANLEY SECURITY SOLUTIONS INC.
65 SCOTT SWAMP ROAD                    PO BOX 2186                          8350 SUNLIGHT DR
FARMINGTON, CT 06032                   GRAND RAPIDS, MI 49501               FISHERS, IN 46037




STANLEY SUPPLY & SERVICES              STAODYN                              STAPLES ADVANTAGE
335 WILLOW ST                          3611 QUEEN PALM DR                   500 STAPLES DRIVE
NORTH ANDOVER, MA 01845-5995           TAMPA, FL 33619                      FRAMINGHAM, MA 01702




STAPLES ADVANTAGE                      STAPLES CONTRACT & COMMERCIAL LLC    STAPLES CONTRACT & COMMERCIAL, INC
PO BOX 71217                           BIN 150003, PO BOX 790322            500 STAPLES ADVANTAGE
CHICAGO, IL 60694-1217                 ST. LOUIS, MO 63179-0322             FRAMINGHAM, MA 01702




STAPLES CONTRACT & COMMERCIAL, INC     STAPLETON, MARY M                    STAR ANESTHESIA,PA
500 STAPLES DRIVE                      [ADDRESS REDACTED]                   45 N.E. LOOP 410, SUITE 900
FRAMINGHAM, MA 01702                                                        SAN ANTONIO, TX 78216




STAR FURNITURE                         STARZYK & ASSOCIATES, P.C.           STAT CORP
16666 BARKERS SPRING RD                10200 GROGANS MILL ROAD              35301 SE CENTER ST
HOUSTON, TX 77084                      SUITE 300                            SNOQUALMINE, WA 98065
                                       THE WOODLANDS, TX 77380




STAT HOME HEALTH HOUSTON, LLC          STAT LAB MEDICAL PRODUCTS            STATE COLLECTIONS & DISBURSEMENT
10615 JEFFERSON HIGHWAY                106 HILLSIDE DRIVE                   PO BOX 98950
BATON ROUGE, LA 70809                  LEWISVILLE, TX 75057                 LAS VEGAS, NV 89193-8950




STATE COMPTROLLER                      STATE OF FLORIDA DISBURSEMENT UNIT   STATE OF LOUISIANA
111 E 17TH ST                          PO BOX 8500                          PO BOX 96074
AUSTIN, TX 78774-0110                  TALLAHASSEE, FL 32314-8500           BATON ROUGE, LA 70896




STATE OF MISSISSIPPI-UNIVERSITY OF     STATE OF TEXAS ATTORNEY GENERAL      STATE OF TEXAS ATTORNEY GENERAL
2500 NORTH STATE STREET                ATTN: KEN PAXTON                     ATTN: KEN PAXTON
JACKSON, MS 39216-4505                 300 W 15TH ST                        PO BOX 12548
                                       AUSTIN, TX 78701                     AUSTIN, TX 78711-2548




STATE OF TEXAS OFFICE OF RISK          STATE STREET BANK                    STATE SUPPLY CO
MANAGEMENT (SORM) 11468                200 NEWPORT AVENUE, 7TH FLOOR        597 EAST 7TH STREET
                                       NORTH QUINCY, MA 02171               ST PAUL, MN 55101-2477
STATHAM, TAMMARIECase
                 A       19-36300 Document   1 Filed in TXSB on 11/11/19 STAXI
                                     STAUB, CLINTON                       Page   204 of 240
                                                                               CORPORATION
[ADDRESS REDACTED]                     2212 BADGER LANE                   28200 NORTHUP WAY, SUITE 130
                                       HUNTSVILLE, TX 77320               BELLEVUE, WA 98004




STEBBINS, PATRICIA                     STEELY, HEATHER                    STELCK, CHERYL LYNN
2401 NORTH DUSTIN 124                                                     [ADDRESS REDACTED]
FARMINGTON, NM 87401




STELLA, MELANIE                        STENSTADVOLD, ALICE                STEPHANIE HARRIS THOMPSON
9877 EXPEDITION TR                     PO BOX 343                         [ADDRESS REDACTED]
CONROE, TX 77385                       LOVELADY, TX 75851




STEPHANIE HERNANDEZ                    STEPHANIE J REYNOLDS               STEPHANIE KAYE OLVERA
[ADDRESS REDACTED]                     [ADDRESS REDACTED]                 [ADDRESS REDACTED]




STEPHANIE S JONES                      STEPHANIE SHAY CROFFORD            STEPHANIE STACE FRENCH-KIM
[ADDRESS REDACTED]                     [ADDRESS REDACTED]                 [ADDRESS REDACTED]




STEPHEN FOSSLER COMPANY                STEPHEN M. SIMS, MD, PA            STEPHEN SHEARER INC., HEALTHCARE
439 SOUTH DARTMOOR DRIVE               503 MEDICAL CENTER BLVD STE. 110   446 UPLAND ROAD
CRYSTAL LAKE, IL 60014                 CONROE, TX 77304                   REDWOOD CITY, CA 94062




STEPHENS, KATHLEEN                     STEREO OPTICAL COMPANY, INC.       STERICYCLE
14323 DARSCHELLE CT.                   8623 W. BRYN MAWR AVE. SUITE 502   8950 CONROE PARK NORTH DRIVE
HOUSTON, TX 77069-1447                 CHICAGO, IL 60631                  CONROE, TX 77303




STERION INCORPORATED                   STERIS CORPORATION                 STERIS CORPORATION
13828 LINCOLN ST NE                    5960 HEISLEY ROAD                  5960 HEISLEY ROAD
HAM LAKE, MN 55304                     MENTOR, OH 44060                   MENTOR, OH 44061-0834




STERLING OPTION                        STERN, SUSAN                       STEVE DIANA BRAZA
PO BOX 1917                            112 E. WHISPERING HILLS BLVD       [ADDRESS REDACTED]
BELLINGHAM, WA 98227-1917              LONE JACK, MO 64070




STEVE LEAVINGS                         STEVE SMITH                        STEVEN BLANK
PO BOX 11278                           [ADDRESS REDACTED]                 809 HYLTON RD, STE 13
COLLEGE STATION, TX 77842-1278                                            PENNSAUKEN, NJ 08110
STEVEN CHRISTIAN Case       19-36300 Document
                                        STEVEN D1SPEAR
                                                   Filed in TXSB on 11/11/19 STEVEN
                                                                              Page DONALD
                                                                                    205 of COSTNER
                                                                                           240
[ADDRESS REDACTED]                        18 ROBIN TRAIL                      [ADDRESS REDACTED]
                                          CONROE, TX 77304




STEVENS, BRANDI                           STEVENS, CHARLOTTE                  STEVENS, DIANE
22474 CR 137                              708 ELKINS LAKE                     HUNTSVILLE, TX
BEDIAS, TX 77831                          HUNTSVILLE, TX 77340




STEVENS, REBECCA                          STEVENS-RASH BRANDI                 STEVES GOLF CART REPAIR
HUNTSVILLE, TX 77340                      22474 CR 137                        1134 HWY 190
                                          BEDIAS, TX 77831                    HUNTSVILLE, TX 77340




STEWART C BUSHONG SC D                    STEWART, CHARITY                    STEWART, DONNA
PO BOX 200095                             PO BOX 283
HOUSTON, TX 77216-0095                    LOVELADY, TX 75851




STEWART, SCOTT E.                         STOKES PHARMACY                     STONE LAB SERVICES LLC
1002 VILLA POINT PARKWAY                  639 STOKES ROAD                     2202 TIMERLOCH PLACE SUITE 128
MCDONOUGH, GA 30253                       MEDFORD, NJ 08055                   THE WOODLANDS, TX 77380




STONE RIVER-PHARMACY SOLUTIONS            STONE, KATHY                        STONE, SHARLIE
PO BOX 504591                             14063 LAKEPOINT DR                  231 ELKINS LAKE
ST LOUIS, MO 63150-4591                   WILLIS, TX 77318                    HUNTSVILLE, TX 77340




STORAGE SYSTEMS UNLIMITED INC             STOREROOM INC                       STORZ OPTHALMIC DIVISION
3343 ASPEN GROVE DRIVE                    598 WALNUT                          21 PARK PLACE BLVD N
STE 290                                   HUNTSVILLE, TX 77340                CLEARWATER, FL 34619
FRANKLIN, TN 37067




STOW STUFF                                STRAHAN, HEATHER                    STRATA DECISION TECHNOLOGY LLC
PO BOX 5027                               HUNTSVILLE, TX                      2001 SOUTH FIRST STREET
HUNTSVILLE, TX 77342-5027                                                     SUITE 200
                                                                              CHAMPAIGN, IL 61820




STRATFORD HALL                            STRATUS AUDIO, INC                  STRAUS SYSTEMS INC
PO BOX 2001                               PO BOX 675007                       PO BOX 1189
BEDFORD PARK, IL 60499                    DETROIT, MI 48267-5007              STAFFORD, TX 77497




STRECK                                    STRICKLAND, BEVERLY                 STROIKE, JAN
14124 INDUSTRIAL RD                       HUNTSVILLE, TX                      PO BOX 315
OMAHA, NE 68144                                                               WILLIS, TX 77378
STRONGHOLD DRYWALL Case     19-36300 Document 1 Filed
                                        STROUDWATER    in TXSB on 11/11/19 STROUDWATER
                                                    ASSOCIATES              Page 206 ofASSOCIATES
                                                                                        240
PO BOX 937                                ERIC SHELL, CHAIRMAN              STROUDWATER CROSSING
HUNTSVILLE, TX 77342-0937                 STROUDWATER CROSSING              1685 CONGRESS ST., SUITE 202
                                          1685 CONGRESS ST STE 202          PORTLAND, ME 04102
                                          PORTLAND, ME 04102



STRYKER COMMUNICATIONS                    STRYKER CORP MEDICAL DIVISION     STRYKER CORPORATION
1410 LAKESIDE PARKWAY                     3800 EAST CENTRE AVE.             3800 EAST CENTRE AVE.
FLOWER MOUND, TX 75028                    PORTAGE, MI 49002                 PORTAGE, MI 49002




STRYKER ENDOSCOPY                         STRYKER FINANCE                   STRYKER FINANCE
5900 OPTICAL COURT                        25652 NETWORK PLACE               950 TRADE CENTRE WAY, SUITE 200
SAN JOSE, CA 95020                        CHICAGO, IL 60673-1256            KALAMAZOO, MI 49002




STRYKER FINANCE                           STRYKER FINANCIAL                 STRYKER INSTRUMENTS (SIMPLEX)
A DIVISION OF STRYKER SALES               1851 E FIRST ST STE 450           400 E MILHAM AVE
CORPORATION                               SANTA ANA, CA 92706               KALAMAZOO, MI 49001
1111 OLD EAGLE SCHOOL ROAD
WAYNE, PA 19087



STRYKER INSTRUMENTS (SIMPLEX)             STRYKER ORTHOPAEDICS              STRYKER SALES CORP.
4100 E MILHAM AVE                         3625 WILLOWBEND, SUITE 132        25652 NETWORK PLACE
KALAMAZOO, MI 49001                       HOUSTON, TX 77054                 CHICAGO, IL 60673-1256




STRYKER SALES CORP.                       STRYKER SPINE                     STRYKER SUSTAINABILITY SOLUTIONS
4100 E MILHAM AVE                         21912 NETWORK PLACE               10232 SOUTH 51ST STREET
KALAMAZOO, MI 49001                       CHICAGO, IL 60673-1912            PHOENIX, AZ 85044




STRYKER                                   STRYKER/TRIUS SERVICES            STUART A LEDER, MD
10 CENTRE DRIVE                           27351 BLUEBERRY HILL 34           13414 MEDICAL COMPLEX DRIVE
ORCHARD PARK, NY 14127                    CONROE, TX 77385                  SUITE 12
                                                                            TOMBALL, TX 77375




STUCKS, DIANE                             SUDDENLINK                        SUDDENLINK
HUNTSVILLE, TX                            520 MARYVILLE CENTRE DR           PO BOX 121264
                                          ST LOUIS, MO 63141                DALLAS, TX 75312-1264




SUDDENLINK                                SUDDENLINK                        SUITES AT SUNCHASE
PO BOX 5019                               PO BOX 742535                     1004 PADRE BLVD
CAROL STREAM, IL 60197-5001               CINCINNATI, OH 45274-2535         SOUTH PADRE, TX 78597




SUJATA NANDULA                            SULLINS & JOHNSTON, ATTN AT LAW   SULLIVAN, COTTER AND ASSOCIATES INC
[ADDRESS REDACTED]                        2200 PHOENIX TOWER                62272 COLLECTIONS CENTER DRIVE
                                          3200 SOUTHWEST FREEWAY            CHICAGO, IL 60693-0622
                                          HOUSTON, TX 77027
SUMMIT IMAGING, INCCase 19-36300   Document  1 Filed in TXSB on 11/11/19 SUMMIT
                                      SUMMIT MEDICAL                      Page PROFESSIONAL
                                                                                207 of 240 EDUC
15000 WOODINVILLE REDMOND RD NE       815 NORTHWEST PARKWAY SUITE 100     PO BOX 908
BLDG B STE 800                        ST. PAUL, MN 55121                  FRANKLIN, TX 37065
WOODINVILLE, WA 98072




SUN COAST RESOURCES, INC.             SUN MEDICAL INCORPORATED            SUN TECH BUILDING SYSTEMS, INC
PO BOX 202603                         7112 SANDY LAKE ROAD                11326 PERRY ROAD
DALLAS, TX 75320                      QUINLAN, TX 75474                   HOUSTON, TX 77064




SUNIL K. REDDY MDPA                   SUNRISE CREDIT SERVICES, INC.       SUNSET OUTDOOR ADVERTISING
1501 RIVER POINTE DR                  260 AIRPORT PLAZA BLVD.             RT 2 BOX 153B
CONROE, TX 77304                      FARMINGDALE, NY 11735               MIDWAY, TX 75852




SUPER DUPER INC.                      SUPERIOR ECONOMIC MEDICAL PROD      SUPERIOR HEALTHPLAN
5201 PELHAM ROAD                      12600 EXCHANGE DRIVE, STE 202       5900 E. BEN WHITE BLVD
GREENVILLE, SC 29615-5723             STAFFORD, TX 77477                  AUSTIN, TX 78741




SUPERMEDIA INC.                       SUPERTECH ORTHOTICS & PROSTHETICS   SUPPLEMENTAL HEALTH CARE
2200 W. AIRFIELD DRIVE                505 N SAM HOUSTON PKWY E STE 235    PO BOX 27124
DFW AIRPORT, TX 75261-9810            HOUSTON, TX 77060                   SALT LAKE CITY, UT 84127-0124




SUPPORT PAYMENT CLEARINGHOUSE         SUPRA-LITE SUPPLY CO                SURE TECH DIAGNOSTIC ASSOC INC
PO BOX 52107                          3302 OLD ALVIN                      11040 LIN VALLE, STE D
PHOENIX, AZ 85072-2107                PEARLAND, TX 77588                  ST LOUIS, MO 63123




SURGICAL ASSOCIATED SERVICES INC      SURGICAL EDGE                       SURGICAL INFORMATION SYSTEMS LLC
6825 E TENNESSEE AVE, 407             319 PINE MANOR DR                   555 NORTH POINT CENTER EAST
DENVER, CO 80224-1632                 CONROE, TX 77385                    SUITE 300
                                                                          ALPHARETTA, GA 30022




SURGICAL PRINCIPALS, INC.             SURGICAL REVIEW CORPORATION         SURGIDEV
1625 SOUTH TACOMA WAY                 PO BOX 18136                        5743 THORNWOOD DRIVE
TACOMA, WA 98409                      RALEIGH, NC 27619                   GOLETA, CA 93117




SURGIMEDICS                           SURGIQUIP SOLUTIONS, INC            SURGITEK
2950 MECHANIC ST                      PO BOX 2224                         3037 MT PLEASANT ST
LAKE CITY, PA 16423                   SUGAR LAND, TX 77487                RACINE, WI 53404




SURRELL, YVETTE                       SURVEYGIZMO SUPPORT                 SURVEYMONKEY INC.
19802 BREEZY COVE CT                  3090 STERLING CIR. STE. 200         101 LYTTON AVENUE
TOMBALL, TX 77375                     BOULDER, CO 80301                   PALO ALTO, CA 94301
SUSAN BOCKHORN Case       19-36300 Document  1 Filed
                                      SUSAN CAROL     in TXSB on 11/11/19 SUSAN
                                                  SIMMONS                  PageE 208 of 240
                                                                                 ARONS
[ADDRESS REDACTED]                      [ADDRESS REDACTED]                [ADDRESS REDACTED]




SUSAN E MAY                             SUSAN G KOMEN FOUNDATION          SUSAN GRISHAM DEBERTOLIS
[ADDRESS REDACTED]                      5005 LBJ FREEWAY. SUITE 250       PO BOX 511
                                        DALLAS, TX 75244                  NORTH ZULCH, TX 77872




SUSAN K. DEWITT                         SUSAN KATHLEEN WOLFE              SUTTERFIELD,TIFFANY
1818 CHESTERFIELD PLACE                 LAND ON THE LAKES                 RT1 BOX 122C
MCLEAN, VA 22101                        1 STATE HWY 150 RM 4              LOVELADY, TX 75851
                                        COLDSPRING, TX 77331




SUTTON, DEBORAH                         SUTTON, HANNAH                    SUTURE EXPRESS, INC
148 6TH AVENUE                          2451 LAKE RD APT 518              11020 KING STREET, SUITE 400
ONALASKA, TX 77360                      HUNTSVILLE, TX 77340              OVERLAND PARK, KS 66210




SUZANNE HUMBIRD                         SUZANNE MARTIN                    SUZANNE SMITH WOODS
[ADDRESS REDACTED]                      [ADDRESS REDACTED]                [ADDRESS REDACTED]




SUZANNE V. HEWITT                       SW MED-SOURCE INC.                SW MED-SOURCE
[ADDRESS REDACTED]                      PO BOX 93115                      PO BOX 93115
                                        SOUTHLAKE, TX 76092               SOUTHLAKE, TX 76092




SW NURSES INC                           SWEETIN, KRISTIN                  SWINNER SUE
10807 JONES RD STE 107                  600 PALM ST. 16                   [ADDRESS REDACTED]
HOUSTON, TX 77065                       HUNTSVILLE, TX 77340




SWISS CHALET FINE FOODS INC             SYBYL RENEE TAYLOR                SYED S HASAN
9455 N W 40TH ST RD                     [ADDRESS REDACTED]                [ADDRESS REDACTED]
MIAMI, FL 33178-2076




SYLVIA JANET MARTINEZ                   SYLVIA R SMITH                    SYMPLR
[ADDRESS REDACTED]                      [ADDRESS REDACTED]                315 CAPITOL STREET 100
                                                                          HOUSTON, TX 77002




SYNCOR INTERNATIONAL                    SYNCOR INTL CORP                  SYNERGY RADIOLOGY ASSOCIATES, P.A.
PO BOX 7609                             PO BOX 70609                      7026 OLD KATY ROAD, SUITE 276
CHICAGO, IL 60673-0609                  CHICAGO, IL 60673-0609            HOUSTON, TX 77024
SYNTHES USA SALESCase      19-36300
                     LLC NOW H004283   Document
                                          SYNTREX1TECHNOLOGIES
                                                    Filed in TXSB
                                                               INC on 11/11/19 SYSCO
                                                                                PageHOUSTON,
                                                                                     209 of 240
                                                                                             INC.
PO BOX 1766                               PO BOX 80007                         10710 GREENS CROSSING BLVD.
PAOLI, PA 19301-0800                      VALLEY FORGE, PA 19484               HOUSTON, TX 77038-2716




SYSTEM 13 INC                             SYSTEM ID WAREHOUSE                  SYSTEMS DISTRIBUTORS, LLC
1648 STATE FARM BLVD.                     1400 10TH STREET                     1345 CAMPUS PARKWAY
CHARLOTTESVILLE, VA 22911                 PLANO, TX 75074                      NEPTUNE, NJ 07753




SYVA                                      TAB PRODUCTS CO LLC                  TAB PRODUCTS CO LLC
1383 SHOREBIRD WAY                        606 FORTH ST                         606 FOURTH ST.
MOUNTAIN VIEW, CA 94043                   PO BOX 153                           PO BOX 153
                                          MAYVILLE, WI 53050                   MAYVILLE, WI 53050




TAB PRODUCTS CO, LLC                      TABLER,SUE                           TACTILE SYSTEMS TECHNOLOGY, INC
605 4TH STREET                            TX 77340                             1331 TYLER STREET NE
MAYVILLE, WI 53050                                                             SUITE 200
                                                                               MINNEAPOLIS, MN 55413




TADCO INCORPORATED                        TADVS                                TAHFA
1140 RANDOLPH AVE                         105 E. CASTELLANO, SUITE B           PO BOX 27874
FARMINGTON, NM 87401                      EL PASO, TX 77912                    AUSTIN, TX 78755




TAHFM                                     TAHP                                 TAIMI D GONZALEZ
PO BOX 26498                              PO BOX 970663                        [ADDRESS REDACTED]
AUSTIN, TX 78755                          DALLAS, TX 75397-0663




TAJUDEEN O ARE                            TAKIRA BRIANNE LYLES                 TALK TOOLS
[ADDRESS REDACTED]                        [ADDRESS REDACTED]                   3420 N DODGE BLVD
                                                                               TUCSON, AZ 85716-1464




TALWD                                     TAMARA C. DIXON                      TAMARA J HARPER
PO BOX 9382                               [ADDRESS REDACTED]                   [ADDRESS REDACTED]
AUSTIN, TX 78766-9382




TAMAYO, FATIMA A                          TAMAYO, KAREN                        TAMEKA D BELL
132 PARIS                                 SHIRO, TX                            [ADDRESS REDACTED]
LIVINGSTON, TX 77351




TAMIKA HOLIDAY DEERE                      TAMIKIIA BROWN                       TAMMARIE A STATHAM
[ADDRESS REDACTED]                        [ADDRESS REDACTED]                   [ADDRESS REDACTED]
TAMMIE GUZMAN    Case        19-36300 Document
                                         TAMMY J 1  Filed in TXSB on 11/11/19 TAMMY
                                                 WHITE                         PageL 210 of 240
                                                                                     PLATTENBURG
[ADDRESS REDACTED]                         [ADDRESS REDACTED]                 [ADDRESS REDACTED]




TAMMY LYNN DOYLE                           TAMMY M DECKER                     TAMMY MCKEE
[ADDRESS REDACTED]                         [ADDRESS REDACTED]                 [ADDRESS REDACTED]




TAMMY MICHELLE COLLINS                     TANDUS US, LLC                     TANGENT SIGNS
[ADDRESS REDACTED]                         1735 CLEVELAND HWY                 1719 11TH STREET STE. 102
                                           DALTON, GA 30721                   HUNTSVILLE, TX 77340




TANGENT                                    TANKSLEY JR., JOHN ANTHONY         TANNYA C BADILLO
191 AIRPORT BLVD.                          901 RAYMOND RD                     [ADDRESS REDACTED]
BURLINGAME, CA 94010                       CHARLOTTESVILLE, VA 22902




TANYA FIELD                                TANYA M SLATER                     TAO LIMITED
[ADDRESS REDACTED]                         [ADDRESS REDACTED]                 1207 UNIVERSITY AVE
                                                                              HUNTSVILLE, TX 77340




TAPCO MEDICAL INC                          TARA ANN PANKEY                    TARA E DAVIS
23961 CRAFTSMAN RD STE K                   [ADDRESS REDACTED]                 [ADDRESS REDACTED]
CALABASAS, CA 91302




TARA LOU RUSLING                           TARA MARIE MARTINEZ                TARA N BONAVENTURA
[ADDRESS REDACTED]                         [ADDRESS REDACTED]                 [ADDRESS REDACTED]




TARGET COMMUNICATIONS                      TARTAN TEXTILE SERVICES            TARYN L MOORE
7766 EWING BLVD.,SUITE 200                 9201 CENTER POINT                  [ADDRESS REDACTED]
FLORENCE, KY 41042                         HOUSTON, TX 77054




TASCA/V                                    TAUT INC                           TAUT
13843 HWY 105 WEST SUITE 212               2571 KANEVILLE COURT               TAUT SCIENCE & SERVICES LTD
CONROE, TX 77304                           GENEVA, IL 60134                   RENKENWEG 1
                                                                              KONSTANZ 78464




TAVNE                                      TAX ASSESSOR COLLECTOR             TAXSAVER PLAN FLEXIBLE BENEFIT PLAN
PO BOX 10609                               PO BOX 700                         PO BOX 609002
SAN ANTONIO, TX 78210                      PECOS, TX 79772                    DALLAS, TX 75360
                 Case
TAYLOR CAROLINE RUSSO   19-36300 Document  1 Filed in TXSB on 11/11/19 TAYLOR
                                    TAYLOR COMPANY                      Page CORPORATION
                                                                              211 of 240
[ADDRESS REDACTED]                    TAYLOR PRODUCTS INC                  600 ALBANY STREET
                                      255 RARITAN CENTER PKWY              DAYTON, OH 45417
                                      EDISON, NJ 08837




TAYLOR LINDSEY CARDER                 TAYLOR MED INC                       TAYLOR PAIGE BAILEY
[ADDRESS REDACTED]                    2155 I.H. 10 EAST                    [ADDRESS REDACTED]
                                      BEAUMONT, TX 77701




TAYLOR, FLOY ADELLE                   TAYLOR, JAMES CLIFFORD               TAYLOR, KELSEY-LYN A.
[ADDRESS REDACTED]                    17197 PIONEER TRAILS                 59 LOWERY LANE
                                      CONROE, TX 77302                     HUNTSVILLE, TX 77320




TAYLOR,BRANDI LEIGH                   TB & A HOSPITAL TELEVISION           TCHIAZAH NGWE
3353 THORNWOOD WAY                    20 PINEVIEW DRIVE                    [ADDRESS REDACTED]
HUNTSVILLE, TX 77340                  AMHERST, NY 14228




TCI LIFESAFETY                        TCM PROFESSIONAL SUBSCRIPTION SERV   TDINDUSTRIES
419 LINCOLN STREET                    PO BOX 62121                         PO BOX 300008
MARLBOROUGH, MA 01752                 TAMPA, FL 33662-2121                 DALLAS, TX 75303-0008




TEAGUE, CHRISTIAN                     TEAMLINE LTD                         TEAMSTAFF RX
940 PINETREE LANE                     3117 SKYWAY CIRCLE NORTH             PO BOX 536711
DE SOTO, TX 75115                     IRVING, TX 75038                     ATLANTA, GA 30353-6711




TECH SYSTEMS, INC                     TECHNO-AIDE                          TECHNOLOGY DELIVERY SYSTEMS INC
4942 SUMMER OAK DRIVE                 PO BOX 90763                         1543 DEL PLAZA 8
BUFORD, GA 30518                      NASHVILLE, TN 37209                  BATON ROUGE, LA 70815




TECHNOWIPE, INC.                      TECHOGY                              TECHSMITH CORPORATION
283 MURRAY AVE                        3206 HIGH VALLEY DR.                 2405 WOODLAKE DRIVE
LARCHMONT, NY 10535                   KINGWOOD, TX 77345                   OKEMOS, MI 48664-5910




TECTRIX                               TEJAS MATERIALS                      TEJAS OFFICE PRODUCTS INC
10 TROTTER DRIVE                      1902 WEBER                           1225 W 20TH STREET
MEDWAY, MA 02053                      HOUSTON, TX 77007                    HOUSTON, TX 77008-3315




TEKPLAN SOLUTIONS                     TELCOR INC.                          TELEDATA
1434 W SAM HOUSTON PKWY N STE 190     7101 A STREET                        PO BOX 3930
HOUSTON, TX 77043                     LINCOLN, NE 68510-4202               BRYAN, TX 77805
                  Case 19-36300
TELEFLEX FUNDING LLC              Document
                                     TELEFLEX1LLCFiled in TXSB on 11/11/19 TELEFLEX
                                                                            Page 212   of 240
                                                                                    MEDICAL
3015 CARRINGTON MILL BLVD             3015 CARRINGTON MILL BLVD            550 E SWEDESFORD ROAD SUITE 400
MORRISVILLE, NC 27560                 MORRISVILLE, NC 27560                AYNE, PA 19087




TELEMEDX CORPORATION                  TELEMEDX CORPORATION                 TELE-PRO COMMUNICATIONS, INC
14504 NORTH FREEWAY                   14504 NORTH FREEWAY                  13819 CHARTERHOUSE WAY
HOUSTON, TX 77090                     HOUSTON, TX 77090-6808               SUGARLAND, TX 77498




TELETOUCH                             TEMPTIME CORPORATION                 TEN NINETY SEVEN - WILLIS MONTHLY
PO BOX 1215                           116 AMERICAN ROAD                    10571 ROYAL TRICIA
LIVINGSTON, TX 77351                  MORRIS PLAINS, NJ 07950              CONROE, TX 77303




TENISHA M NED                         TENNANT SALES AND SERVICE            TERESA A SCHULTZ
[ADDRESS REDACTED]                    PO BOX 71414                         [ADDRESS REDACTED]
                                      CHICAGO, IL 60694-1414




TERESA A. SAVOY                       TERMARIA R SHEDD                     TERMARIA SHEDD
[ADDRESS REDACTED]                    [ADDRESS REDACTED]                   [ADDRESS REDACTED]




TERMINIX SERVICES                     TERREYS LAWN SERVICE                 TERRI B SAMFORD
857 S SAM HOUSTON                     PO BOX 975                           [ADDRESS REDACTED]
HUNTSVILLE, TX 77340                  HUNTSVILLE, TX 77342




TERRI JEAN HARDEWAY                   TERRI L ROJAS                        TERRI LYNNE ENER
[ADDRESS REDACTED]                    [ADDRESS REDACTED]                   [ADDRESS REDACTED]




TERRI RUIZ                            TERRY DARREN                         TERRY K HENDERSON
[ADDRESS REDACTED]                                                         [ADDRESS REDACTED]




TERRY L VICKERS                       TERRY THACKERAY                      TERRY WOODS
[ADDRESS REDACTED]                    [ADDRESS REDACTED]                   PO BOX 1477
                                                                           HUNTSVILLE, TX 77342




TERSA D BURR                          TERUMO                               TEST OUT
[ADDRESS REDACTED]                    2101 COTTONTAIL LANE                 50 S MAIN ST
                                      SOMERSET, NJ 08873                   PLEASANT GROVE, VT 08406
TEX CAL INVENTORY Case  19-36300
                  SERVICE, INC.      Document  1 LLC
                                        TEXAN EMS Filed in TXSB on 11/11/19 TEXAN
                                                                             PageFLOOR
                                                                                   213 SERVICE
                                                                                       of 240
PO BOX 6194                             PO BOX 2297                           2055 SILBER RD SUITE 108
KATY, TX 77491                          LIVINGSTON, TX 77351                  HOUSTON, TX 77055




TEXANS ANESTHESIA ASSOCIATES, PLLC      TEXAS A&M AGRILIFE EXTENSION SVC      TEXAS A&M UNIVERSITY HEALTH
PO BOX 421969                           PO BOX 10420                          200 TECHNOLOGY WAY, STE. 200
HOUSTON, TX 77242-1969                  COLLEGE STATION, TX 77842-2147        COLLEGE STATION, TX 77845




TEXAS ACCESS CONTROLS                   TEXAS ALCOHOL AND DRUG TESTING        TEXAS ALLIANCE FOR PAIIENT SERVICES
6000 GARDENDALE                         16903 RED OAK DRIVE, STE 130          PO BOX 140693
HOUSTON, TX 77092                       HOUSTON, TX 77090                     AUSTIN, TX 78714-0693




TEXAS AMBULATORY SURGERY CENTER         TEXAS AND NATIONAL RURAL HEALTH       TEXAS ASSOC OF RURAL HEALTH CLINICS
401 W. 15T STREET                       521 E. 63RD STREET                    PO BOX 203878
AUSTIN, TX 78701                        KANSAS CITY, MO 64110                 AUSTIN, TX 78720




TEXAS ASSOCIATION FOR HEALTHCARE        TEXAS ASSOCIATION FOR HEALTHCARE      TEXAS ASSOCIATION FOR HOME CARE
PO BOX 26498                            PO BOX 27874                          3737 EXECUTIVE CENTER DRIVE,STE.268
AUSTIN, TX 78755                        AUSTIN, TX 78755                      AUSTIN, TX 78731




TEXAS ASSOCIATION OF RURAL HEALTH       TEXAS ASSOCIATION OF VOCATIONAL NUR   TEXAS BOARD OF NURSING
PO BOX 14547                            6522 ITHACA FOREST                    333 GAUDALUPE, TOWER 3, STE 460
AUSTIN, TX 78761                        SAN ANTONIO, TX 78239                 AUSTIN, TX 78701




TEXAS BUS SALES                         TEXAS CARDIOLOGY ASSOCIATED OF        TEXAS CHILD SUPPORT DISBURSEMENT
1605 WEST 34TH STREET                   601 RIVER POINTE DRIVE SUITE 105      PO BOX 659791
HOUSTON, TX 77018                       CONROE, TX 77304                      SAN ANTONIO, TX 78265-9791




TEXAS CHILDREN’S HEALTH PLAN            TEXAS COMMISSION ON                   TEXAS COMMUNICATIONS
PO BOX 301011, WLS-8360                 PO BOX 13088                          1389 N HARVEY MITCHELL PKWY
HOUSTON, TX 77230-1011                  AUSTIN, TX 78711                      BRYAN, TX 77803




TEXAS COMMUNITY BANK                    TEXAS COMPTROLLER OF PUBLIC           TEXAS COMPTROLLER OF PUBLIC
16610 I-45                              ACCOUNTS                              ACCOUNTS
THE WOODLANDS, TX 77384                 REVENUE ACCOUNTING DIVISION           REVENUE ACCOUNTING
                                        BANKRUPTCY SECTION                    DIVISION/BANKRUPTCY
                                        PO BOX 13528 CAPITOL STATION          LYNDON B. JOHNSON STATE OFFICE
                                        AUSTIN, TX 78711                      BUILDING
                                                                              111 EAST 17TH STREET
                                                                              AUSTIN, TX 78711

TEXAS COMPTROLLER OF PUBLIC ACCTS       TEXAS CONFERENCE OF URBAN COUNTIES    TEXAS CYPRESS CREEK HOSPITAL
PO BOX 13528, CAPITOL STATION           500 W 13TH ST                         17750 CALI DRIVE
AUSTIN, TX 78711-3528                   AUSTIN, TX 78701                      HOUSTON, TX 77090
                    Case
TEXAS DEPART OF STATE    19-36300
                       HEALTH        Document  1 Filed inOFTXSB
                                        TEXAS DEPARTMENT           on AND
                                                            LICENSING 11/11/19 TEXAS
                                                                                PageDEPARTMENT
                                                                                     214 of 240OF PUBLIC SAFETY
SERVICES                                 PO BOX 12157                          PO BOX 15999
1100 WEST 49TH STREET                    AUSTIN, TX 78711                      AUSTIN, TX 78761-5999
AUSTIN, TX 78756-3199




TEXAS DEPARTMENT OF STATE HEALTH         TEXAS DEPARTMENT OF STATE HEALTH      TEXAS DEPARTMENT OF STATE
SRVC                                     SRVC                                  1100 WEST 49TH STREET
PO BOX 149347                            THE EXCHANGE BLDG                     PO BOX 149347
AUSTIN, TX 78714-9347                    8407 WALL STREET                      AUSTIN, TX 78714-9347
                                         AUSTIN, TX 78754



TEXAS DEPARTMENT OF STATE                TEXAS DEPT OF STATE HEALTH SERVICES   TEXAS DIRECT COMPUTERS
PO BOX 12190                             PO BOX 149347                         25188 I-45 NORTH 105
AUSTIN, TX 78711-2190                    AUSTIN, TX 78714-9347                 SPRING, TX 77386




TEXAS ELECTRODIAGNOSTICS PLLC            TEXAS EMPLOYER INSURANCE              TEXAS EMS AMBULANCE
9305 PINECROFT STE. 304                  TEXAS DEPARTMENT OF INSURANCE         2200 COMMERCIAL LN
THE WOODLANDS, TX 77380                  333 GUADALUPE                         GRANBURY, TX 76048
                                         AUSTIN, TX 78701




TEXAS EMS, TRAUMA & ACUTE CARE           TEXAS EMS,TRAUMA AND ACUTE CARE FOU   TEXAS GASTRO CONSULTANTS, P.A.
3400 ENFIELD ROAD                        3400 ENFIELD RD                       506 GRAHAM DRIVE, SUITE 100
AUSTIN, TX 78703                         AUSTIN, TX 78703                      TOMBALL, TX 77375




TEXAS GUARANTEED STUDENT LOAN CORP       TEXAS HEALTH AND HUMAN SERVICES       TEXAS HEALTH AND HUMAN SERVICES
PO BOX 83100                             4900 NORTH LAMAR BLVD                 TEXAS MEDICAID PROGRAM
ROUND ROCK, TX 78683-3100                AUSTIN, TX 78751-2316                 BROWN-HEATLY BUILDING
                                                                               4900 N. LAMAR BLVD.
                                                                               AUSTIN, TX 78751-2316



TEXAS HEALTH INFO. MNGT. ASSOC.          TEXAS HEALTHCARE TRUSTEES             TEXAS HEALTHSPRING
18382 FM 306 STE 103                     PO BOX 679010                         2900 NORTH LOOP WEST, SUITE 1300
CANYON LAKE, TX 78133                    AUSTIN, TX 78767                      HOUSTON, TX 77092




TEXAS HOMELAND SECURITY CONFERENCE       TEXAS HOSPITAL ASSOCIATION            TEXAS INSTITUTE FOR KIDNEY AND
PO BOX 4662                              1108 LAVACA, SUITE 700                10 MEDICAL CENTER BLVD, STE A
AUSTIN, TX 78765                         AUSTIN, TX 78701                      LUFKIN, TX 75904




TEXAS INSTRUMENTS                        TEXAS LITHOTRIPSY LP VIII             TEXAS MEDICAID & HEALTHCARE
24500 HWY 290                            9825 SPECTRUM DR. BLDG 3              12357-B RIATA TRACE PARKWAY
CYPRESS, TX 77429                        AUSTIN, TX 78717-4930                 AUSTIN, TX 78727




TEXAS MEDICAL ASSOCIATION                TEXAS MEDICAL ASSOCIATION             TEXAS MEDICAL BOARD
401 W. 15TH ST                           PO BOX 143027                         333 GUADALUPE, TOWER 3, STE 610
AUSTIN, TX 78701                         AUSTIN, TX 78714                      AUSTIN, TX 78701
TEXAS MEDICAL BOARD Case   19-36300 Document  1 Filed
                                       TEXAS MEDICAL    in TXSB
                                                     INSURANCE   on 11/11/19 TEXAS
                                                               COMPANY        PageMEDICAL
                                                                                   215 ofINSURANCE
                                                                                           240     COMPANY
PO BOX 2018                              901 S MOPAC EXPY                     PO BOX 160140
AUSTIN, TX 78768-2018                    BARTON OAKS PLAZA V, STE 500         AUSTIN, TX 78716-0140
                                         AUSTIN, TX 78746-5942




TEXAS MEDICAL LIABILITY TRUST            TEXAS MEDICAL LIABILITY TRUST        TEXAS MICRO OPTICS CORPORATION
901 S MOPAC EXPY                         PO BOX 847512                        5515 MAGNOLIA GREEN
BARTON OAKS PLAZA V, STE 500             DALLAS, TX 75284-7512                LEAGUE CITY, TX 77573
AUSTIN, TX 78746-5942




TEXAS MUSHROOM FESTIVAL, INC             TEXAS MUTUAL INS. CO.                TEXAS NURSES ASSOCIATION
113 W TRINITY                            6210 EAST HIGHWAY 290                8501 N MOPAC EXPY, STE 400
MADIOSNVILLE, TX 77864                   AUSTIN, TX 78723                     AUSTIN, TX 78759




TEXAS OCCUPATIONAL THERAPY               TEXAS ORGANIZATION OF NURSE          TEXAS ORGANIZATION OF RURAL &
1106 CLAYTON LANE                        PO BOX 26496                         505 E. HUNTLAND DR. STE 150
SUITE 516W                               AUSTIN, TX 78755                     AUSTIN, TX 78752
AUSTIN, TX 78723




TEXAS ORTHOPADEIC ASSOCIATION            TEXAS POLITICAL SUBDIVISION          TEXAS PROCESSOR SERVICE
401 WEST 15 STREET, SUITE 820            14990 LANDMARK BLVD, STE 300         3575 LONE STAR CIR. 803
AUSTIN, TX 78701                         DALLAS, TX 75254                     JUSTIN, TX 76247




TEXAS PUBLIC HEALTH ASSOC.               TEXAS SECRETARY OF STATE             TEXAS SELECT STAFFING, LLC
PO BOX 201540                            1019 BRAZOS ST                       PO BOX 577
AUSTIN, TX 78720-1540                    JAMES E RUDDER BLDG                  WEST BEND, WI 53095-0577
                                         AUSTIN, TX 78701




TEXAS SOCIETY FOR MEDICAL SERVICES       TEXAS SOCIETY FOR MEDICAL SERVICES   TEXAS SOCIETY FOR MEDICAL STAFF
4230 LYNDON B JOHNSON FWY, STE 414       PO BOX 721885                        4230 LBJ FREEWAY STE 414
DALLAS, TX 75244                         HOUSTON, TX 77272                    DALLAS, TX 75244




TEXAS SOCIETY FOR RESPIRATROY CARE       TEXAS SOCIETY OF HEALTH-SYSTEM       TEXAS STATE BOARD OF PHARMACY
PO BOX 515239                            3000 JOE DIMAGGIO 30-A               333 GUADALUPE ST., SUITE 3-600
DALLAS, TX 75251-5449                    ROUND ROCK, TX 78665-3994            AUSTIN, TX 78701




TEXAS STATE BOARD OF PHARMACY            TEXAS STATE COMPTROLLER              TEXAS STATE DISBURSEMENT UNIT
WILLIAM P HOBBY BLDG                     PO BOX 12019                         PO BOX 659791
333 GUADALUPE ST STE 3-500               AUSTIN, TX 78711-2019                SAN ANTONIO, TX 78565
AUSTIN, TX 78701




TEXAS STATE OPTICAL SEE MANN             TEXAS STATEWIDE BIOTERRORISM         TEXAS STEAM
1600 FINANCIAL PLAZA                     C/O TEXAS DEPT OF STATE HEALTH       2302 S. BATTLEGROUND RD
HUNTSVILLE, TX 77340                     SERVICES                             LA PORTE, TX 77571-9474
                                         1100 W 49TH ST
                                         AUSTIN, TX 78756-3199
                   Case 19-36300
TEXAS SURGERY CENTER               Document   1 Filed
                                      TEXAS T.E.N.S., INC in TXSB on 11/11/19 TEXAS
                                                                               PageTECH
                                                                                     216UNIVERSITY
                                                                                         of 240 HEALTH
130 MEDICAL CENTER PKWY, 10            PO BOX 367                           3601 4TH STREET, MS 7755
HUNTSVILLE, TX 77340                   HOUSTON, TX 77001                    LUBBOCK, TX 79430




TEXAS TEXTILE SERVICES, LTD            TEXAS TRAUMA COORDINATORS FORUM      TEXAS WORKFORCE COMMISSION
9201 CENTER POINT DR.                  PO BOX 177                           101 E 15TH ST
HOUSTON, TX 77054                      WICHITA FALLS, TX 76307              RM 122
                                                                            AUSTIN, TX 78778-0001




TEXAS WORKFORCE COMMISSION             TEXSTAR LABS                         TGSLC
12455 BEECHNUT                         14210 HIRSCHFIELD ROAD               PO BOX 201755
HOUSTON, TX 77072                      TOMBALL, TX 77377                    AUSTIN, TX 78720-1755




THE ADVISORY BOARD COMPANY             THE ALGER COMPANY, INC               THE ALLSTATE CORPORATION
PO BOX 79461                           320 FLIGHTLINE                       2775 SANDERS RD
BALTIMORE, MD 21279-0461               LAGO VISTA, TX 78645                 NORTHBROOK, IL 60062




THE AMERICAN INSTITUTE OF HEALTH       THE AMERICAN OCCUPATIONAL THERAPY    THE BYRUM CONSULTING GROUP LLC
2400 NILES-CORTLAND RD S.E.            PO BOX 347036                        3201 BANDERA STREET
SUITE 4                                PITTSBURGH, PA 15251-4036            ATHENS, TX 75752-6168
WARREN, OH 44484




THE CANDLE SHOP OF AMERICA             THE CARPET STORE                     THE CENTER FOR MEDICAL EDUCATION,
2919 SHADY LANE                        2801 S. SAM HOUSTON AVE              PO BOX 600
WEBSTER, TX 77598                      HUNTSVILLE, TX 77340                 CREAMERY, PA 19430




THE COST REPORT CHOICE                 THE CRIMSON INITIATIVE               THE DARK INTELLIGENCE GROUP
10778 QUEST DR                         2445 M. STEET, NW                    21806 BRIARCLIFF DRIVE
FRISCO, TX 75035                       WASHINGTON, DC 20037                 SPICEWOOD, TX 78669




THE DAVID GROUP                        THE DOCTORS COMPANY                  THE DOCTORS EXCHANGE
115 WILD BASIN ROAD SUITE 205          185 GREENWOOD ROAD                   19399 HELENBIRG RD, STE 1
AUSTIN, TX 78746                       NAPA, CA 94558                       COVINGSTON, LA 70433




THE DOCTORS EXCHANGE                   THE DYLL REVIEW                      THE ENSEMBLE THEATRE
19399 HELENBIRG RD.,                   12900 PRESTON ROAD STE 623           3535 MAIN STREET
SUITE 1                                DALLAS, TX 75230                     HOUSTON, TX 77002
COVINGTON, LA 70433




THE EXAMINER                           THE FILTER MAN LLC                   THE FILTER MAN LTD.
PO BOX 751                             18924 E. INDUSTRIAL PARKWAY          18924 E. INDUSTRIAL PARKWAY
NAVASOTA, TX 77868                     NEW CANEY, TX 77357                  NEW CANEY, TX 77357
                  Case
THE GALLERY COLLECTION      19-36300 Document  1 Filed in TXSB on 11/11/19 THE
                                        THE GALLERY                         Page  217 of
                                                                               GOLLMAN   240 INC
                                                                                       GROUP,
65 CHALLENGER ROAD                        1421 SAM HOUSTON AVE               6947 FOREST GLEN DR
RIDGEFIELD PARK, NJ 07660                 HUNTSVILLE, TX 77340               DALLAS, TX 75230




THE GREATER HOUSTON NEUROSURGERY          THE GREELEY COMPANY, LLC           THE HANOVER RESEARCH COUNCIL, LLC
9200 NEW TRAILS DRIVE,SUITE 100           5 CHERRY HILL DRIVE, SUITE 200     4401 WILSON BLVD, 4TH FLOOR
THE WOODLANDS, TX 77381                   DANVERS, MA 01923                  ARLINGTON, VA 22203




THE HOMESTEAD ON 19TH                     THE HOUSTON FILE ROOM              THE HUDGINS LAW FIRM
1215 19TH STREET                          4747 RESEARCH FOREST DR 180-207    24 GREENWAY PLAZA SUITE 1707
HUNTSVILLE, TX 77340                      THE WOODLANDS, TX 77381            HOUSTON, TX 77046




THE HUNTSVILLE ITEM                       THE HUNTSVILLE LIONS CLUB          THE ICEE COMPANY
1409 10TH STREET                          PO BOX 67                          DEPT LA 21078
HUNTSVILLE, TX 77320                      HUNTSVILLE, TX 77342               PASADENA, CA 91185-1078




THE JOINT COMMISSION                      THE JOURNAL OF NURSING             THE JUNCTION
ONE RENAISSANCE BOULEVARD                 PO BOX 1590                        2641 ELEVENTH STREET
OAKBROOK TERRACE, IL 60181                HAGERSTOWN, MD 21740               HUNTSVILLE, TX 77340




THE KIDNEY CENTER OF WALKER CO, LLC       THE KREAGER LAW FIRM, P.C.         THE LEAPFROG GROUP
102 MEDICAL PARK LN STE A                 7373 BROADWAY, STE. 500            1660 L. ST. NW, SUITE 308
HUNTSVILLE, TX 77340                      SAN ANTONIO, TX 78209              WASHINGTON, DC 20036




THE LEBANON CORPORATION                   THE LEVIN LAW GROUP, P.C.          THE LINCOLN NATIONAL LIFE INSURANCE
1700 N LEBANON ST                         11 GREENWAY PLAZA, SUITE 500       PO BOX 0821
PO BOX 588                                HOUSTON, TX 77046                  CAROL STREAM, IL 60132-0821
LEBANON, IN 46052




THE LUFKIN DAILY NEWS                     THE MANAGEMENT CORP                THE MCR GROUP, LLC
PO BOX 1089                               8477 S. SUNCOAST BLVD              308 N PETERS ROAD, STE. 220
LUFKIN, TX 75902-1089                     HOMOSASSA, FL 34446                KNOXVILLE, TN 37928




THE MEDICAL LETTER                        THE MEDICAL PROTECTIVE COMPANY     THE MEDICUS FIRM, LLC
1000 MAIN STREET                          23289 NETWORK PLACE                3010 LYNDON B JOHNSON FWY STE 1300
NEW ROCHELLE, NY 10801-7537               CHICAGO, IL 60673-1232             DALLAS, TX 75234




THE MOBILE STORAGE GROUP                  THE NEW RADEBAUGH FETZER CO        THE OFFICE OF THE ATTORNEY GENERAL
3711 OATES RD.                            22400 ASCOA COURT                  PO BOX 13499
HOUSTON, TX 77013                         STRONGSVILLE, OH 44149             AUSTIN, TX 78711-3499
THE ONEILL FIRM LLCCase    19-36300 Document  1 Filed
                                       THE OUTSOURCE   in TXSB on 11/11/19 THE
                                                     GROUP                  Page  218 of GROUP
                                                                               OUTSOURCE 240
440 LOUISIANNA                           39867 TREASURY CENTER                 PO BOX 340699
SUITE 900                                CHICAGO, IL 60694-9800                AUSTIN, TX 78734-0012
HOUSTON, TX 77002




THE PARTHENON CO., INC                   THE PATIENT SAFETY GROUP              THE PERSONAL COMPUTER STORE INC
3311 W 2400 SO.                          PO BOX 644                            707 WEST UNIVERSITY DR
SALT LAKE CITY, UT 84119                 SONOMA, CA 95476                      COLLEGE STATION, TX 77840




THE PROPHET CORPORTION                   THE RETREAT AT ARTESIAN LAKES         THE RUHOF CORPORATION
2525 LEMOND STREET SW                    235 CHAIN-O-LAKES RESORT              393 SAFAMORE AVENUE
OWATONNA, MN 55060-0998                  CLEVELAND, TX 77327                   MINEOLA, NY 11501-1919




THE SAM HOUSTON GROUP, L.P.              THE SHERATON DALLAS HOTEL             THE SOUTHERN EMPRESS
521 I-45 SOUTH, STE 2                    400 N OLIVE                           7041 KINGSTON CORE LANE
HUNTSVILLE, TX 77340                     DALLAS, TX 75201                      WILLIS, TX 77318




THE SPECTRANETICS CORP                   THE SRS GROUP                         THE SSI GROUP INC
PO BOX 12007, STE 4999                   15885 HWY 105 WEST                    PO BOX 991835
CHEYENNE, WY 82003                       SUITE 2-B                             MOBILE, AL 36691
                                         MONTGOMERY, TX 77356




THE TRADESMAN                            THE UNITED STATES ATTORNEYS OFFICE    THE UNIVERISTY OF TEXAS MD
2823 ANGIER RD                           FOR THE SOUTHERN DISTRICT OF TEXAS    1515 HOLCOMBE BOULEVARD
HUNTSVILLE, TX 77340                     ATTN: RICHARD A KINCHELOEFOR          HOUSTON, TX 77030-4009
                                         1000 LOUISIANA STREET
                                         HOUSTON, TX 77002



THE UNIVERSITY OF TEXAS AT AUSTIN        THE UNIVERSITY OF TEXAS HEALTH        THE UPHOLSTERY ROOM
PO BOX 7159                              7000 FANNIN STREET                    526 11TH STREET
INNER CAMPUS DRIVE MAIN BLDG. RM132      HOUSTON, TX 77030                     HUNTSVILLE, TX 77340
AUSTIN, TX 78713




THE VIDEO CONFERENCE STORE               THE VILLAGE HEALTCARE CENTER          THE WEBSTAURANT STORE, INC
10222 W. IDA AVE 228                     1341 BLALOCK                          40 CITATION LANE
LITTLETON, CO 80127                      HOUSTON, TX 77055                     LITITZ, PA 17543




THE WHISTLER BED & BREAKFAST             THE WHITE STONE GROUP, INC            THE WOODLANDS FINANCE LLC
906 AVE M                                100 ASHFORD CENTER NORTH, SUITE 300   2 PETAL PARK PL
HUNTSVILLE, TX 77320                     DUNWOODY, GA 30338                    THE WOODLANDS, TX 77382




THEACADEMY.COM                           THEKEN SPINE, LLC                     THELMA PINAY TAYLOR
10223 MCALLISTER, SUITE 206              1800 TRIPLETT BLVD.                   [ADDRESS REDACTED]
SAN ANTONIO, TX 78216                    AKRON, OH 44306
                 Case 19-36300
THEODORE DAVID CRAWFORD               Document 1 H.Filed
                                         THEODORE   RUBELin TXSB on 11/11/19 THEODORE
                                                          INC.                Page 219   of 240
                                                                                      N. GIOVANIS
[ADDRESS REDACTED]                       5 NEPPERHAN AVENUE, SUITE 2B           PO BOX 130
                                         ELMSFORD, NY 10523                     HIGHLAND, MD 20777




THERACOM LLC                             THERAPEUTIC SOLUTIONS, INC.            THERAPY NETWORK INC.
9717 KEY WEST AVE                        907 BAY STAR BLVD                      217 PARAGON PKWY, 201
ROCKVILLE, MD 20850                      WEBSTER, TX 77598                      CLYDE, NC 28721




THERAS LASHAE GREEN                      THERESA DENISE ELKINS                  THERESA MARIE BUTKOWSKI
[ADDRESS REDACTED]                       [ADDRESS REDACTED]                     [ADDRESS REDACTED]




THERGOOD, YOLANDA                        THERMO ELECTRON CORP (FORMERLY)        THERMO ELECTRON LABORATORY EQUIP
                                         171 INDUSTRY DR                        750 GRANT STREET
                                         PITTSBURGH, PA 15275                   BUFFALO, NY 14213-1000




THERMO FISHER FINANCIAL SERVICE,INC      THERMO FISHER SCIENTIFIC               THERMO FISHER SCIENTIFIC
81 WYMAN STREET                          2555 KERPER BLVD                       308 RIDGEFIELD CT
WALTHAM, MA 02454                        DUBUQUE, IA 52001                      ASHEVILLE, NC 28806




THERMOFISHER - ABBOTT ARCHITECT          THERMOFISHER FINANCIAL SERVICES, INC   THIBODEAUX TROY
81 WYMAN STREET                          81 WYMAN STREET                        7507 PECAN HILL COVE
WALTHAM, MA 02454                        WALTHAM, MA 02454                      TYLER, TX 75703




THIE                                     THOMAS C. KELLER                       THOMAS DISTRIBUTION SOLUTIONS LLC
PO BOX 14626                             3700 MASSACHUSETTS AVE, NW             STATE SURGICAL SUPPLY
AUSTIN, TX 78761                         SUITE L-23                             2000 S LINCOLN ST
                                         WASHINGTON, DC 20016                   SILOAM SPRINGS, AR 72761




THOMAS EMS                               THOMAS FERGUSON                        THOMAS JASON TOOLE
1605 WEST 2100 SOUTH                     [ADDRESS REDACTED]                     [ADDRESS REDACTED]
SALT LAKE CITY, UT 84119




THOMAS NETTIE                            THOMAS P ARSENAULT                     THOMAS W PARKER
697 ELKINS LAKE                          [ADDRESS REDACTED]                     [ADDRESS REDACTED]
HUNTSVILLE, TX 77340




THOMAS, STACEY                           THOMPSON & KNIGHT LLP                  THOMPSON MEDIA GROUP LLC
2103 CHASE                               ONE ARTS PLAZA, 1722 ROUTH ST.         PO BOX 25355
BRYAN, TX 77803                          SUITE 1500                             TAMPA, FL 33633-1620
                                         DALLAS, TX 85201-2532
THOMPSON, JOHN     Case   19-36300 Document 1 Filed in TXSB
                                      THOMPSON,COE,COUSINS      onLLP
                                                           & IRON,  11/11/19 THOMPSONS
                                                                              Page 220COMPUTER
                                                                                       of 240 WAREHOUSE INC
1220 11TH STREET                        700 NORTH PEARL STREET, 25TH FLOOR   6306 BENJAMIN RD STE 610
HUNTSVILLE, TX 77340                    DALLAS, TX 75201-2825                TAMPA, FL 33634




THOMSON HEALTHCARE DMS, INC             THOMSON HEALTHCARE INC               THOMSON LEARNING
PO BOX 2244                             777 E. EISENHOWER PKWY 6TH FLOOR     PO BOX 95999
82 WINTER SPORT LANE                    ANN ARBOR, MI 48108                  CHICAGO, IL 60694-5999
WILLISTON, VT 05495




THOMSON REUTERS (HEALTHCARE) INC        THOMSON REUTERS (HEALTHCARE) INC.    THORNTON, DANA ARTHUR
1007 CHURCH STREET                      39353 TREASURY CENTER                1100 UNIVERSITY
EAVSTON, IL 60201                       CHICAGO, IL 60694-9300               HUNTSVILLE, TX 77340




THREE D ORTHOPEDIC/DEROYAL              THW EMERGENCY MANAGEMENT OF          THYSSEN DOVER ELEVATOR
10520 OLYMPIC DR                        PO BOX 634850                        7240 BRITTMOORE 112
DALLAS, TX 75220                        CINCINNATI, OH 45263                 HOUSTON, TX 77041




THYSSENKRUPP ELEVATOR CORPORATION       THYSSENKRUPP ELEVATOR CORPORATION    TIELKE, MICHELINE
14820 TOMBALL PARKWAY, SUITE 190        7240 BRITTMOORE RD, STE 112          BEDIAS, TX 77831
HOUSTON, TX 77086                       HOUSTON, TX 77041-3225




TIERIKA DESHAUN GRIFFIN                 TIFFANY CARPENTER                    TIFFANY LOUISE DELAURENTIS
[ADDRESS REDACTED]                      [ADDRESS REDACTED]                   [ADDRESS REDACTED]




TIGER INVESTMENT GROUP INC              TIGERDIRECT                          TIM DEAHL, M.D.
PO BOX 19711                            PO BOX 44-001                        [ADDRESS REDACTED]
ATLANTA, GA 30325                       MIAMI, FL 33144-9001




TIMBERLY GRIFFIN                        TIME CLOCK SALES & SERVICE INC       TIME-MASTERS
[ADDRESS REDACTED]                      12040 BEAMER RD                      3235 SAN FERNANDO RD 1D
                                        HOUSTON, TX 77089                    LOS ANGELES, CA 90065




TIMOTHY C. CASPERSON                    TIMOTHY CASPERSON, DPM               TIMOTHY R HORAK
100 MEDICAL CENTER BLVD STE 216         133 MEDICAL PARK LANE, STE A         [ADDRESS REDACTED]
CONROE, TX 77304                        HUNTSVILLE, TX 77340




TINA E FRASER                           TINA RENEE LINTON                    TINA SMITH
[ADDRESS REDACTED]                      [ADDRESS REDACTED]                   [ADDRESS REDACTED]
TIRESHEKA CARTO Case      19-36300 Document   1 Filed
                                      TISSUE REGENIX   in TXSB
                                                     WOUND       on 11/11/19 TITILOLA
                                                           CARE INC.          Page 221    of 240
                                                                                      FADURI
3022 LEGENDS YORK DR                     2611N. LOOP 1604 W SUITE 201          [ADDRESS REDACTED]
SPRING, TX 77386                         SAN ANTONIO, TX 78258




TK SALES                                 TKG MEDSTAFF                          TM BUSINESS LLC
180 MARINO ROAD                          9229 LYNDON B. JOHNSON FWY, STE 200   2321 E 4TH ST STE C-551
BRYAN, TX 77808                          DALLAS, TX 75243                      SANTA ANA, CA 92705




TMC ORTHOPEDIC, LP                       TMF HEALTH QUALITY INSTITUTE          TML HEALTH BENEFITS
1000 SOUTH LOOP W. STE 150               BRIDGEPOINT I, SUITE 300              P.O. BOX 141337
HOUSTON, TX 77054                        5918 WEST COURTYARD DR.               AUSTIN, TX 78714-1337
                                         AUSTIN, TX 78730-5036




TNAA INC                                 TOBY S GILL                           TODD, MEAGAN
111 I-45 SUITE G                         [ADDRESS REDACTED]
HUNTSVILLE, TX 77340




TOLLIVER EILEEN                          TOLULOPE AYODELE OLOWOMEYE            TOMBALL TEXAS HOSPITAL CO LLC
                                         [ADDRESS REDACTED]                    605 HOLDERRIETH BLVD
                                                                               HOUSTON, TX 77375




TOMMY R HOLLAND                          TONI M SCANTLIN                       TONI T MOORE
[ADDRESS REDACTED]                       [ADDRESS REDACTED]                    [ADDRESS REDACTED]




TONIA JEAN BONDS                         TONJA M JOHNSON-TERRELL               TONY GULLO MOTORS ILP
[ADDRESS REDACTED]                       [ADDRESS REDACTED]                    500 INTERSTATE 45 SOUTH
                                                                               CONROE, TX 77304




TONYA M. WILSON                          TOP ECHELON CONTRACTING, LLC          TORNIER INC.
[ADDRESS REDACTED]                       4883 DRESSIER RD NW                   10801 NESBITT AVENUE
                                         CANTON, OH 44716                      BLOOMINGTON, MN 55437




TORONJO M.D., WALTER D.                  TORRES, CHARMAINE                     TOSHIBA AMERICA INFORMATION
521 NIH-45S, SUITE 11                    [ADDRESS REDACTED]                    9740 IRVINE BLVD
HUNTSVILLE, TX 77340                                                           IRVINE, CA 92618




TOSHIBA INTERNATIONAL CORPORATION        TOTAL RADIO PEI,LLC                   TOTAL RENAL LABORATORIES, INC
13131 WEST LITTLE YORK ROAD              6007 SOUTH 31TH                       1991 INDUSTRIAL DR
HOUSTON, TX 77041                        FORT SMITH, AR 72908                  DELAND, FL 32724
                 Case
TOTAL REPAIR EXPRESS, LLC19-36300     Document   1 Filed
                                         TOTAL TRAUMA    inPLLC
                                                      CARE, TXSB on 11/11/19 TOTAL
                                                                              PageVEIN
                                                                                   222   of 240
                                                                                       SYSTEMS
10-7 ILENE COURT                         3500 HILLCRES DRIVE, SUITE 1         901 YALE STREET
HILLSBOROUGH, NJ 08844                   WACO, TX 76708                       HOUSTON, TX 77008




TOTALMED STAFFING INC                    TOUGH SHIRTS INC                     TOWN & COUNTRY CLEANERS
221 W. COLLEGE AVENUE                    1304 SAM HOUSTON AVE, SUITE B        1715 11TH STREET
FLOOR 2                                  HUNTSVILLE, TX 77340                 HUNTSVILLE, TX 77340
APPLETON, WI 54911




TOWN SQUARE PUBLICATIONS, LLC            TOWNLEY, DEAN                        TOWNSEND ASSETS GROUP, INC.
PO BOX 6754                              215 SMITHVILLE 24T                   35 REED BLVD SUITE A
CAROL STREAM, IL 60197-6754              SUGARLAND, TX 77478                  MILL VALLEY, CA 94941




TOYOTA FINANCIAL SERVICES                TRACEY ANN ARMER                     TRACI LYNN WILEY
PO BOX 4102                              [ADDRESS REDACTED]                   [ADDRESS REDACTED]
CAROL STREAM, IL 60197-4102




TRACY LYN JOHNSON                        TRAILBLAZER HEALTH ENTERPRISES LLC   TRAILBLAZER HEALTH ENTERPRISES
[ADDRESS REDACTED]                       PO BOX 9060                          PO BOX 845880
                                         DENISON, TX 75020-9060               DALLAS, TX 75284-5880




TRAILBLAZER HEALTH ENTERPRISES, LLC      TRANS UNION LLC                      TRANSAMERICA ASSURANCE CO.
PROVIDER OUTREACH & EDUCATION DEPT.      555 W ADAMS ST                       FILE NO 5910
3101 S. WOODLAWN BLVD.                   ATTN TAX DEPT                        PASADENA, CA 91051-5910
DENISON, TX 75020                        CHICAGO, IL 60661




TRANSCRIPTION GEAR                       TRANSLITE                            TRANSTATE EQUIPMENT COMPANY,INC
7280 AUBURN RD                           8410 HWY 90A SUITE 150               PO BOX 480005
CONCORD, OH 44077                        SUGARLAND, TX 77478                  CHARLOTTE, NC 28269




TRANSWORLD SYSTEMS INC                   TRAVEL DEPOT                         TRAVEL
150 N FIELD DR STE 200                   1302 A SAM HOUSTON AVE               2128 SAM HOUSTON AVENUE, SUITE E
LAKE FOREST, IL 60045-4853               HUNTSVILLE, TX 77340                 HUNTSVILLE, TX 77340




TRAVIS WILLIAM DIXON                     TREBIE J BRUENING                    TRELLIS COMPANY
[ADDRESS REDACTED]                       [ADDRESS REDACTED]                   PO BOX 659601
                                                                              SAN ANTONIO, TX 78265-9601




TREVINO KAREN                            TREVINO, ELSA                        TRG HEALTH CARE SOLUTIONS
10 W GREENHILL TERRACE PLACE             CONROE, TX 77303                     650 S CHERRY STREET
WOODLANDS, TX 77382                                                           SUITE 625
                                                                              DENVER, CO 80248
                   Case 19-36300
TRI-ANIM FINANCIAL SERVICES INC      Document
                                        TRI-ANIM 1  Filed
                                                 HEALTH   in TXSB
                                                        SERVICES INC on 11/11/19 TRICARE
                                                                                  Page 223    of 240
                                                                                         FOR LIFE
6965 S UNION PARK CENTER                 25197 NETWORK PLACE                     PO BOX 7981
MIDVALE, UT 84047                        CHICAGO, IL 60673-1251                  MADISON, WI 53707-7981




TRICARE SOUTH REGION                     TRICOR DIRECT, INC.                     TRIGON UNITED, LLC
PO BOX 7032                              2491 WEHRLE DRIVE                       20111 WYNDHAM ROSE LANE
CAMDEN, SC 29020-7032                    WILLIAMSVILLE, NY 14221                 SPRING, TX 77379




TRI-MED SPECIALTIES                      TRIMLINE MEDICAL PRODUCTS               TRINITY BIOTECH
PO BOX 23306                             34 COLUMBIA AVE.                        PO BOX 15287
OVERLAND PARK, KS 23306                  BRANCHBURG, NJ 08876                    NEWARK, NJ 07192-5287




TRINITY COMMUNITY FAIR ASSOCIATION       TRINITY PHYSICS CONSULTING, LLC         TRINITY RHC, LLC
PO BOX 2664                              14655 NW FRWY. SUITE 132                314 E. CAROLINE ST.
TRINITY, TX 75862                        HOUSTON, TX 77040-4051                  TRINITY, TX 75862




TRINITY SCHOLARSHIP FUND                 TRINITY STANDARD                        TRINITY STERILE, INC.
PO BOX 929                               PO BOX 712                              201 KILEY DRIVE
TRINITY, TX 75862                        TRINITY, TX 75862                       SALISBURY, MD 21801




TRIREME MEDICAL LLC                      TRI-TECH FORENSICS INC                  TRITON CONSTRUCTION CO
7060 KOLL CENTER PARKWAY SUITE 300       4019 EXECUTIVE PARK BLVD SE             PO BOX 6706
PLEASANTON, CA 94566                     SOUTHPORT, NC 28461                     HUNTSVILLE, TX 77342




TROPHIES & COLLECTIBLES                  TROPHY CASE INC                         TROPICAL NUT & FRUIT CO.
1108 SAM HOUSTON AVE                     2607 S SAM HOUSTON                      1100 CONTINENTAL BLVD.
HUNTSVILLE, TX 77340                     HUNTSVILLE, TX 77340                    CHARLOTTE, NC 28273




TROUADIA T ABRIL                         TROY E MYERS                            TROY GROUP, INC.
[ADDRESS REDACTED]                       [ADDRESS REDACTED]                      3 BRYAN DRIVE
                                                                                 WHEELING, WV 26003




TRU SERVICES, LLC                        TRUBY, DONALD                           TRUDY L DEBOSE
200 CUMMINGS CENTER, STE 272D            HUNTSVILE, TX 77340                     [ADDRESS REDACTED]
BEVERLY, MA 01915




TRUE INNOVATIONS                         TRUGREENCHEMLAWN                        TRUMPF MEDICAL SYSTEMS, INC.
2052 ALTON PKWY                          2421 BLACK GOLD CT                      1046 LEGRAND BLVD.
IRVINE, CA 92606                         HOUSTON, TX 77273                       CHARLESTON, SC 29492
                 Case
TRUPHENA NYANCHAMA       19-36300 Document  1 LLC
                                     TRUSTICO,  Filed in TXSB on 11/11/19 TRUSTMARK
                                                                           Page 224VOLUNTARY
                                                                                    of 240 BENEFIT
[ADDRESS REDACTED]                     UNIT 387 3422 OLD CAPITOL TRAIL       75 REMITTANEDR., STE 1791
                                       WILMINGTON, DE 19808-6192             CHICAGO, IL 60675-1791




TRUVEN HEALTH ANALYTICS INC            TSCPA                                 TSHHRAE
777 E. EISENHOWER PARKWAY              PO BOX 797488                         PO BOX 29686
ANN ARBOR, MI 48108                    DALLAS, TX 75379-7488                 AUSTIN, TX 78755




TSI INCORPORATED                       TSSI HOLDINGS, INC                    T-SYSTEM, INC.
500 CARDIGAN ROAD                      620 HEARST AVE                        4020 MCEWEN DRIVE, 200
SHOREVIEW, MN 55126                    BERKELEY, CA 94710                    DALLAS, TX 75244




TTE LABORATORIES, INC.                 TUCKER, DEBORAH C.                    TUCKER, ROBERT L.
77 MAIN STREET                         [ADDRESS REDACTED]                    [ADDRESS REDACTED]
HOPKINTON, MA 01748




TUCK-WHITE, MELISSA                    TUESDAY CARI RENE BODA                TULLAR, AARON M
12921 N. PUFFIN LANE                   [ADDRESS REDACTED]                    652 FM 2550
WILLIS, TX 77318                                                             HUNTSVILLE, TX 77320




TURCHEN, JOSEPH                        TUREK DEVORE, PC                      TURTLE CREEK MEDICAL
16806 GLENEAGLE DR.N                   1201 LAKE WOODLANDS DRIVE,            102 A MEDICAL PARK LANE
CONROE, TX 77385                       SUITE 4026                            HUNTSVILLE, TX 77340
                                       THE WOODLANDS, TX 77380




TURTLE CREEK MEDICAL                   TV 78 HUNTSVILLE                      TVL HEALTHCARE
PO BOX 4001                            1024 12TH STREET                      6161 BLUE LAGOON DR STE 100
HUNTSVILLE, TX 77342                   HUNTSVILLE, TX 77340                  MIAMI, FL 33126




TWO POINT ADVANTAGE                    TWO WAY DIRECT, INC.                  TX CHILD SUPPORT DISBURSEMENT UNIT
6213 CHARLOTTE AVENUE SUITE 100        3262 GREY HAWK COURT                  ATTN CHERYL CARTWRIGHT
NASHVILLE, TN 37209                    CARLSBAD, CA 92010                    P O BOX 548
                                                                             GROVETON, TX 75845




TX CSDU (FORMERLY) OFF OF ATTY GEN     TX DEPARTMENT OF STATE HEALTH SERV    TX DEPT OF STATE HEALTH SERVICES
TX CHILD SUPPORT SDU                   1100 W. 49TH STREEET                  MAIL CODE 2003-BUDGET ZZ101/FUND152
P O BOX 659791                         ATTN TRAUMA DESIGNATION APPLICATION   PO BOX 149347
SAN ANTONIO, TX 78265-9791             AUSTIN, TX 78756-3199                 AUSTIN, TX 78714-9347




TX DEPT OF STATE HEALTH SERVICES       TX DEPT. OF PUBLIC SAFETY             TX SOCIETY FOR MEDICAL STAFF
PO BOX 12017                           BOX 15999                             12300 FORD RD 135
AUSTIN, TX 78711-2017                  AUSTIN, TX 78761-5999                 DALLAS, TX 75234
TX TREME PROMOTIONSCase   19-36300 Document  1 OFFiled
                                      TX.ASSOC.        in TXSB on
                                                  CARDIOVASCULAR & 11/11/19 TXPAGES
                                                                             Page 225
                                                                                    LLC of 240
PO BOX 2015                             750 LANDA STREET, SUITE A            PO BOX 96
HUMBLE, TX 77347-2015                   NEW BRAUNFELS, TX 78130              BURNET, TX 78611




TXTREME PROMOTIONS                      TXU COMMUNICATIONS FORMERLY          TYCO HEALTHCARE GROUP LP-RADIONICS
PO BOX 2015                             PO BOX 1568                          22 TERRY AVE
HUMBLE, TX 77347-2015                   CONROE, TX 77305-1568                BURLINGTON, MA 01803-2516




TYESHA D POPE                           TYLER ANDREW SWATE                   TYLER MATTHEW CRONIN
[ADDRESS REDACTED]                      [ADDRESS REDACTED]                   [ADDRESS REDACTED]




TYPENEX MEDICAL LLC                     TZ MEDICAL INC.                      U S DEPARTMENT OF EDUCATION
303 EAST WACKER DRIVE, STE 1030         17750SW UPPER BOONES FERRY ROAD      PO BOX 105081
CHICAGO, IL 60601                       SUITE 150                            ATLANTA, GA 30348-5081
                                        PORTLAND, OR 97224




U S DEPARTMENT OF EDUCATION             U S FILTER CORPORATION               U S FOOD SERVICE
PO BOX 4142                             10 TECHNOLOGY DR                     10 SOUTH TRADE CENTER PKWY
GREENVILLE, TX 75403-4142               LOWELL, MA 01851                     CONROE, TX 77385




U S MED DISPOSAL                        U S POSTAL SERVICE                   U S POSTAL SERVICE
PO BOX 1900                             3782B HWY 19                         PO BOX 0566
ATHENS, TX 75751                        RIVERSIDE, TX 77367                  CAROL STREAM, IL 60132-0566




U.S. ANESTHESIA PARTNERS OF TEXAS       U.S. BANK, N.A.                      U.S. CITIZENSHIP & IMMIGRATION SERV
PO BOX 650661                           777 EAST WISCONSIN AVENUE            75 LOWER WELDEN STREET
DALLAS, TX 75265                        MILWAUKEE, WI 53202                  ST. ALBANS, VT 05479-0001




U.S. DEPARTMENT OF COMMERCE             U.S. DEPARTMENT OF TREASURY          U.S. OFFICE PRODUCTS
1401 CONSTITUTION AVE NW                PO BOX 979101                        15402 VANTAGE PARKWAY E.
WASHINGTON, DC 20230                    ST. LOUIS, MO 63197-9000             SUITE 318
                                                                             HOUSTON, TX 77032




U.S. TREASURY DEPARTMENT                U.S. WATER SERVICES                  UARCO INC
1500 PENNSYLVANIA AVENUE,NW             12270 43RD STREET NE                 PO BOX 4975
WASHINGTON, DC 20220                    ST MICHAEL, MN 55376                 CHICAGO, IL 60680




UHC - MEDICARE COMPLETE                 ULINE                                ULTIMATE BIOMEDICAL SOLUTIONS, LLC
(MEDICARE REPLACEMENT HMO) 2718         980 W BETHEL ROAD                    6315-B FM 1488 138
                                        COPPELL, TX 75019                    MAGNOLIA, TX 77354
                  Case
ULTRA RAD CORPORATION      19-36300 Document  1 Filed
                                       ULTRA-CHEM INC in TXSB on 11/11/19 UNDERSTAND.COM,
                                                                           Page 226 of 240LLC
301 PINEDGE DR                           9571 ALDEN                          100 WASHINGTON STREET, SUITE 100
WEST BERLIN, NJ 08091                    LENEXA, KS 66215                    RENO, NV 89503




UNGER, JOHN                              UNICOL, INC.                        UNICOM INDUSTRIES INC.
88 SANDEL RD                             PO BOX 260550                       6607 REGALBLUFF DR
HUNTSVILLE, TX 77340                     PEMBROKE PINES, FL 33026            DALLAS, TX 75248




UNIFIED LIFE INSURANCE CO.               UNIFIRST                            UNIFORM FACTORY OUTLET OF TEXAS
7201 W. 129TH STREET                     12700 SH 30, SUITE 100              PO BOX 1038
300                                      COLLEGE STATION, TX 77845           GAINESVILLE, TX 76241
OVERLAND PARK, KS 66213




UNIMAR                                   UNIPOWER CORP                       UNISYN MEDICAL TECHNOLOGIES
475 DANBURY RD                           1216 WEST 96TH ST                   PO BOX 122392
WILTON, CT 06897                         MINNEAPOLIS, MN 55431               DALLAS, TX 75312-2392




UNITED AD LABEL/WAS VERIAD               UNITED CANVAS AND SLING, INC        UNITED DATA SYSTEM
PO BOX 2216                              PO BOX 657                          270 NORTHPOINTE PARKWAY SUITE 300
650 COLUMBIA STREET                      511 HOFFMAN RD                      AMHERST, NY 14228
BREA, CA 92822                           LINCOLNTON, NC 28092




UNITED HEALTHCARE INSURANCE              UNITED HEALTHCARE INSURANCE         UNITED HEALTHCARE SERVICES INC
COMPANY                                  9900 BREN ROAD                      PO BOX 1459 ROUTE MN010-S155
PO BOX 31352                             MINNETONKA, MN 55343-9664           MINNEAPOLIS, MN 55440-1459
SALT LAKE CITY, UT 84131




UNITED HEALTHCARE SERVICES INC           UNITED MEDICAL SUPPLY               UNITED MEDICAL SYSTEM (DE), INC.
PO BOX 740809                            PO BOX 650290                       1500 WEST PARK DRIVE, SUITE 390
ATLANTA, GA 30374-0809                   DALLAS, TX 75265                    WESTBOROUGH, MA 01581




UNITED PARCEL SERVICE                    UNITED RECOVERY SERVICES INC        UNITED SERVICES
PO BOX 505820                            PO BOX 682228                       1300 E. RICHEY RD
THE LAKES, NV 88905-5820                 FRANKLIN, TN 37068-2228             HOUSTON, TX 77073




UNITED SPECIALTY ADVERTISING             UNITED STATES ATTORNEY GENERAL      UNITED STATES ATTORNEY
PO BOX 150340                            DEPARTMENT OF JUSTICE               CIVIL PROCESS CLERK
FORT WORTH, TX 76108                     950 PENNSYLVANIA AVENUE, N.W.       601 N. W. LOOP 410, SUITE 600
                                         WASHINGTON, DC 20530                SAN ANTONIO, TX 78216




UNITED STATES DEPT OF VETERANS           UNITED STATES ENDOSCOPY GROUP INC   UNITED STATES SURGICAL CORPORATION
AFFAIRS                                  5976 HEISLEY RD                     150 GLOVER AVE
VETERAN AFFAIRS BUILDING                 MENTOR, OH 44060                    NORWALK, CT 06856
810 VERMONT AVENUE NW
WASHINGTON, DC 20005
                  Case 19-36300
UNITED STATES TREASURY              Document   1 Filed
                                       UNITED STATES    in TXSB on 11/11/19 UNITED
                                                     TREASURY                PageVAN
                                                                                   227LINES
                                                                                        of 240
                                                                                            LLC
1500 PENNSYLVANIA AVE NW                OGDEN, UT 84201-0039                 22304 NETWORK PLACE
WASHINGTON, DC 20220                                                         CHICAGO, IL 60673




UNITED VAN LINES, LLC                   UNITED WAY                           UNITEDHEALTH GROUP INCORPORATED
1 UNITED DRIVE                          1600 LAKE FRONT CIRCLE STE 248       JASON RONNING
FENTON, MO 63026                        THE WOODLANDS, TX 77380              185 ASYLUM ST 03B
                                                                             HARTFORD, CT 06103




UNIVERSAL AD COM                        UNIVERSAL CARE                       UNIVERSAL MEDICAL INC
2921 EAST AVE E                         1680E. HILL STREET                   PO BOX 467
ARLINGTON, TX 76011                     SIGNAL HILL, CA 90755                NORWOOD, MA 02062




UNIVERSAL NURSES OF HOUSTON, INC.       UNIVERSAL PROTECTION SERVICE, LP     UNIVERSAL SPRINKLERS
2650 FOUNTAINVIEW, SUITE 318            PO BOX 828854                        7077 WEST 43RD ST
HOUSTON, TX 77057                       PHILADELPHIA, PA 19182-8854          HOUSTON, TX 77092




UNIVERSITY HEIGHTS BAPTIST CHURCH       UNIVERSITY OF ROCHESTER              UNIVERSITY OF TEXAS MEDICAL BRANCH
2400 SYCAMORE AVENUE                    601 ELMWOOD AVENUE                   301 UNIVERSITY BLVD
HUNTSVILLE, TX 77340                    ROCHESTER, NY 14642                  GALVESTON, TX 77555




UNJURY PROTEIN SUPPLEMENTS              UNSPECIFIED REMIT PAYOR              UNSPECIFIED REMIT PAYOR
45975 NOKES BLVD. STE 170               (MEDICARE- PART B) 18500             (X12:4010A MEDICAID-TX SPECIFIC) 18500
STERLING, VA 20166




UPI TEXAS, INC                          UPPTODATE, INC.                      UPSHAW, JUDY
5920 SOUTH GENERAL BRUCE DR.            230 THIRD AVENUE                     1095 ELKINS LAKE
TEMPLE, TX 75602                        WALTHAM, MA 02451                    HUNTSVILLE, TX 77340




UPTODATE,INC                            URESIL LLC                           URMIL SHUKLA, M.D.
230 THIRD AVE                           5418 WEST TOUHY AVE                  [ADDRESS REDACTED]
WALTHAM, MA 02451                       SKOKIE, IL 60077




URO HEALTH                              UROLITHIASIS LABORATORY, INC         UROSOURCE MOBILE MEDICAL SOL
5 CIVIC PLAZA STE 100                   9525 KATHY FREEWAY STE 222           2601 W. KENTUCKY
NEWPORT BEACH, CA 92660                 HOUSTON, TX 77024                    PO BOX 2535
                                                                             PAMPA, TX 79066




US BANK COMMERICAN                      US BUSINESS NETWORK                  US COMPOUNDING, INC
ATTN CUSTOMER SERVICE                   2620 SOUTH MARYLAND PARKWAY          PO BOX 2709
5065 WOOSTER RD                         SUITE 885                            CONWAY, AR 72034
CINCINNATI, OH 45226                    LAS VEGAS, NV 89109
                   Case 19-36300
US DEPARTMENT OF EDUCATION           Document  1 Filed
                                        US DEPARTMENT OF in TXSB on
                                                          HOMELAND    11/11/19 US
                                                                   SECURITY     Page  228 of OF
                                                                                  DEPARTMENT 240LABOR
PO BOX 105081                            2707 MARTIN LUTHER KING JR AVE SE     S-2521
ATLANTA, GA 30348-5081                   WASHINGTON, DC 20528-0525             200 CONSITUTION AVE, NW
                                                                               WASHINGTON, DC 20210




US ELECTRONICS, INC.                     US MED EQUIP LLC                      US MEDICAL DISPOSAL INC
6250 WAYZATA BLVD.                       7028 GESSNER ROAD                     PO BOX 1900
MINNEAPOLIS, MN 55416                    HOUSTON, TX 77040                     ATHENS, TX 75751




US MEDICAL SUPPLIES                      US NEUROLOGICALS, LLC                 US PAIN & SPINE HOSPITAL, LP
8260 NW 27TH ST, STE 403                 17791 FJORD DR NE SUITE 156           5445 LA BRANCH ST
DORAL, FL 33122                          POULSBO, WA 98370                     HOUSTON, TX 77004




US POSTAL SERVICE                        USA FUNDS                             USA MOBILITY WIRELESS, INC
PO BOX 0566                              DEFAULT COLLECTIONS MC E3127          3100 PREMIER DR STE 204
CAROL STREAM, IL 60132-0566              P.O. BOX 6137                         IRVING, TX 75063
                                         INDIANAPOLIS, IN 46206-6137




USBANCORP                                USECO - USE DISTRIBUTOR STOVE PARTS   USI INC
PO BOX 790448                            C/O STAFFALL                          PO BOX 71557
ST LOUIS, MO 63179-0448                  1468 ELMWOOD AVE                      CHICAGO, IL 60694
                                         CRANSTON, RI 02910




USI INSURANCE SERVICES OF TX             USM ANESTHESIA ASSOCIATES, LLC        USPS MEDICAL ASSOCIATES, PLLC
PO BOX 218060                            129 VISION PARK BLVD SUITE 107        PO BOX 4356, DEPT 606
HOUSTON, TX 77218-8060                   SHENANDOAH, TX 77384                  HOUSTON, TX 77210-4356




USSERY JOSEPH D                          UST SERVICED, INC                     UT PHYSICIANS
18855 BETHEL RD                          1141 BRITTMOORE ROAD                  PO BOX 301173
RICHARDS, TX 77873                       HOUSTON, TX 77043                     DALLAS, TX 75303-1173




UTAH MEDICAL                             UTLEY, MICHAEL                        UTMB CORRECTIONAL MANAGED CARE
7043 SOUTH 300 WEST                      5871 FM 2158                          301 UNIVERSITY BLVD
MIDVALE, UT 84047                        MIDWAY, TX 75852                      GALVESTON, TX 77555




UTMB CORRECTIONAL MANAGED CARE           UTMB DEPARTMENT OF ORTHOPAEDIC        UTMB FACULTY GROUP PRACTICE
DONNA K SOLLENBERGER, MA., EVP AND       SPORTS MEDICINE CONFERENCE            301 UNIVERSITY BLVD ROUTE 0566
CEO                                      301 UNIVERSITY BLVD                   GALVESTON, TX 77555
301 UNIVERSITY BLVD                      GALVESTON, TX 77555
GALVESTON, TX 77555



UTMB FACULTY GROUP PRACTICE              UTMB FACULTY GROUP PRACTICE           UTMED PBS
400 HARBORSIDE DRIVE                     PO BOX 650859, DEPT 710               PO BOX 8231
SUITE 105-107                            DALLAS, TX 75265-0859                 GALVESTON, TX 77553
GALVESTON, TX 77555
                  Case
UVA HEALTH SERVICES      19-36300
                    FOUNDATION        Document   1 Filed
                                         V B M MEDICAL INC in TXSB on 11/11/19 VALENTI,
                                                                                Page 229    of 240
                                                                                        MICAELA ESCOBEDO
PO BOX 800394                             524 HERRINEAN COURT                   102 ASHLEY LANE
CHARLOTTESVILLE, VA 22908                 NOBLESILLE, IN 46060                  HUNTSVILLE, TX 77320




VALERIE D DARDEN-DAVIS                    VALLES, JOSE                          VALLEY LABS
[ADDRESS REDACTED]                        1220 11TH ST                          5920 LONGBOW DR
                                          HUNTSVILLE, TX 77340                  BOULDER, CO 80301




VALUE PARTNERS                            VALUES COACH, INC                     VAN BEEK SYSTEMS, INC.
3201 BANDERA STREET                       PO BOX 490                            18445 HWY 105W SUITE 102-121
ATHENS, TX 75752-6168                     SOLON, IA 52333                       MONTGOMERY, TX 77356




VAN SICKLE SURGICAL INSTRUMENTS,INC       VAN WATERS & ROGERS                   VANCULIK, SCOTT
PO BOX 1080                               777 BRISBANE ST                       801 BOWERS BLVD
COLLEYVILLE, TX 76034-1080                HOUSTON, TX 77210                     HUNTSVILLE, TX 77341




VANESSA A PACHECO                         VANGUARD SURGICAL SYSTEM              VANOIRSOUW, MICHELLE
[ADDRESS REDACTED]                        PO BOX 73586                          53 NORTH AVON LEA CIRCLE
                                          HOUSTON, TX 77273                     THE WOODLANDS, TX 77382




VARDEMAN, KATHY                           VARION ISAAC WALTON                   VARIPHY INC.
211 HOLIDAY VILLAGES                      [ADDRESS REDACTED]                    16 BIEHS COURT
POINT BLANK, TX 77364                                                           OAKLAND, CA 94618




VARSITY BRANDS HOLDING CO, INC            VARSITY NEWS NETWORK, INC             VARWIN INC
PO BOX 660176                             PO BOX 2323                           PO BOX 3286
DALLAS, TX 75266-0176                     GRAND RAPIDS, MI 49501                SPRING, TX 77383-3286




VASAMED, INC.                             VASCULAR SOLUTIONS INC                VASCULAR SOLUTIONS
7615 GOLDEN TRIANGLE DRIVE, STE A         6464 SYCAMORE COURT                   6464 SYCAMORE COURT
EDEN PRAIRIE, MN 55344                    MINNEAPOLIS, MN 55369                 MINNEAPOLIS, MN 55369




VATA/SPATS                                VAURIGAUD, RENEE                      VCS MERGER SUB LLC
PO BOX 720598                             [ADDRESS REDACTED]                    616 CYPRESS CREEK PKWY, STE 800
MCALLEN, TX 78504                                                               HOUSTON, TX 77090




VECMAR CORPORATION                        VECTOR ESP INC                        VELOCITY OFFICE PRODUCTS, LLC
7595 JENTHER DRIVE                        PO BOX 4346 DEPT 431                  335 PENNBRIGHT DR., SUITE 104
MENTOR, OH 44060                          HOUSTON, TX 77210-4346                HOUSTON, TX 77090
                  Case
VENDOR CREDENTIALING    19-36300
                     SERVICE  LLC   Document  1 Filed in TXSB
                                       VENDOR CREDENTIALING      on LLC
                                                            SERVICE, 11/11/19 VENITTA
                                                                               Page 230    of 240
                                                                                      ANN BENNETT
616 CYPRESS CREEK PKWY, SUITE 800       315 CAPITOL STREET 100                [ADDRESS REDACTED]
HOUSTON, TX 77090                       HOUSTON, TX 77002




VENTURA EMS                             VERATHON, INC                         VERITIV OPERATING COMPANY
5907 THEALL RD                          20001 NORTH CREEK PKWY                1000 ABERNATHY ROAD NE,BLDG 400
HOUSTON, TX 77066                       BOTHELL, WA 98011-8218                SUITE 1700
                                                                              ATLANTA, GA 30328




VERIZON                                 VERIZON                               VERONICA JOZWIAK
1095 AVENUE OF THE AMERICAS             PO BOX 660108                         [ADDRESS REDACTED]
NEW YORK, NY 07920                      DALLAS, TX 75266-0108




VERONICA N ELLIOTT                      VERSA PRODUCTS, INC                   VERTOS MEDICAL, INC
[ADDRESS REDACTED]                      14105 AVALON BLVD                     101 ENTERPRISE, SUITE 100
                                        LOS ANGELES, CA 90061                 ALISO VIEJO, CA 92656




VETERANS CONFERENCE CENTER              VIACOM OUTDOOR                        VICKERS, TERRY
463 HWY 75 NORTH                        PO BOX 21184 WAS INFINITY             145 FM 2550
HUNTSVILLE, TX 77320                    HOUSTON, TX 77026                     HUNTSVILLE, TX 77320




VICKI PROPEST                           VICKIE L JONES                        VICKIE RENEE FULLER
[ADDRESS REDACTED]                      [ADDRESS REDACTED]                    [ADDRESS REDACTED]




VICKY L. ADAMS                          VICON EQUIPMENT, INC.                 VICTORIA HOPPENS
[ADDRESS REDACTED]                      3945 BRAXTON DRIVE                    [ADDRESS REDACTED]
                                        HOUSTON, TX 77063




VICTORIA RENATA WINKLER                 VIDA G GOLEZ                          VIDACARE CORP
[ADDRESS REDACTED]                      [ADDRESS REDACTED]                    4350 LOCKHILL SELMA RD STE. 150
                                                                              SHAVANO PARK, TX 78249




VIDAL, EDITH                            VIKKI KEITH                           VILEX
[ADDRESS REDACTED]                      [ADDRESS REDACTED]                    111 MOFFITT STREET
                                                                              MCMINNVILLE, TN 37110




VILLA, IGNACIO                          VINCIENT A CRAWFORD                   VIOLETA ABRIL MARTIN
124 SMITH HILL                          [ADDRESS REDACTED]                    [ADDRESS REDACTED]
HUNTSVILLE, TX 77320
VIRGINIA R LAWSON Case   19-36300 Document   1 Filed in SERVICES
                                     VIRTUAL HEALTHCARE TXSB on 11/11/19 VISCOT
                                                                          Page 231 of 240
[ADDRESS REDACTED]                     400 S ZANG BLVD STE 1420          32 WEST ST
                                       DALLAS, TX 75208                  EAST HANOVER, NJ 07936




VISCOUNT SUITE HOTEL                   VISHITKUMAR S PATEL               VISIBLE RECORD SYSTEMS
4855 E. BROADWAY BLVD.                 [ADDRESS REDACTED]                PO BOX 160
TUCSON, AZ 85711                                                         CROZET, VA 22932




VISTA STAFFING SOLUTIONS, INC.         VISTALAB TECHNOLOGIES             VISUALON
275 EAST 200 SOUTH                     2 GENEVA ROAD                     9000 SWEET VALLEY DRIVE
SALT LAKE CITY, UT 84111-2002          BREWSTER, NY 10509                CLEVELAND, OH 44125-4220




VITAL CARE REPS INC                    VITAL CARE REPS, INC              VITAL SIGNS INC
18470 THOMPSON COURT, SUITE 1-B        18470 THOMPSON COURT, SUITE 1-B   PO BOX 402431
TINLEY PARK, IL 60477                  TINLEY PARK, IL 60477             ATLANTA, GA 30384-2431




VITAL STATISTICS UNIT                  VITALITY                          VITA-RX CORP
PO BOX 12040                           8080 N CENTRAL LB 78              PO BOX 8229
AUSTIN, TX 78711-2040                  DALLAS, TX 75206                  COLUMBUS, GA 31908-8229




VITA-STAT MEDICAL                      VIVANTI, LLC                      VMG HEALTH
20 CAMPUS ROAD                         PO BOX 140185                     13155 NOEL ROAD, SUITE 2400
REDMOND, WA 98073                      DALLAS, TX 75214                  DALLAS, TX 75240




VMG HOLDINGS LLC                       VOICE AUTOMATED                   VOLCANO CORPORATION
2515 MCKINNEY AVE                      14115 LOCKE LANE                  2870 KILGORE ROAD
DALLAS, TX 75201                       HOUSTON, TX 77077                 RANCHO CORDOVA, CA 95670




VONKETRA SHANAC DAVIS                  VORIZON LABS                      VORT CORPORATION
[ADDRESS REDACTED]                     PO BOX 362                        PO BOX G
                                       CALLICAOON CTR., NY 12724         MENLO PARK, CA 94026




VOYAGE STAFFING                        VWR FUNDING, INC.                 VYAIRE MEDICAL INC.
1485 INTERNATIONAL PKWY, STE 2051      PO BOX 6660                       26125 N RIVERWOODS BOULEVARD
HEATHROW, FL 32746                     110 MATSONFORD RD, BLD1 STE 200   METTAWA, IL 60045
                                       RADNOR, PA 19087




VYTOPIL, SHARON                        W L GORE & ASSOCIATES INC         W T BOWLING CO
                                       PO BOX 751331                     700 FM 247
                                       CHARLOTTE, NC 28275               HUNTSVILLE, TX 77320
W T FARLEY INC    Case   19-36300 Document    1 Filed
                                     W. L. LASHLEY      in TXSBINC.
                                                   & ASSOCIATES, on 11/11/19 W.I.L.L.
                                                                              PageRANCH
                                                                                      232 of 240
931 VIA ALONDRA                         3215 CLAYMOORE PARK DRIVE             PO BOX 1725
CAMARILLO, CA 93012                     HOUSTON, TX 77043                     TRINITY, TX 75862




WADE, BRENDA                            WADE, SHARON                          WAGAMON PRINTING INC
HUNTSVILLE, TX 77340                    PO BOX 9500                           1628 AVE 0
                                        HUNTSVILLE, TX 77340                  HUNTSVILLE, TX 77340




WAGGONER, JENNIFER                      WAGNER, STACY                         WALCUR
HUNTSVILLE, TX 77340                    HUNTSVILLE, TX                        7720 CLAIRMONT MESA BLVD.
                                                                              SAN DIEGO, CA 92111




WALDROP, WAYNE ELLIOTT                  WALGREEN COMPANY                      WALKER BYRD BUILDING
COURTHOUSE                              PO BOX 90484                          PO BOX 1639
HUNTSVILLE, TX 77340                    CHICAGO, IL 60696-0484                HUNTSVILLE, TX 77342




WALKER CO. FAMILY CONSUMER SCIENCE      WALKER COUNTY ANESTHESIA PA           WALKER COUNTY APPRAISAL DISTRICT
102 TAM ROAD, SUITE B                   HUNTSVILLE, TX 77340                  1819 SYCAMORE AVE
HUNTSVILLE, TX 77320                                                          HUNTSVILLE, TX 77340




WALKER COUNTY APPRAISAL DISTRICT        WALKER COUNTY APPRAISAL DISTRICT      WALKER COUNTY AREA GO TEXAN
1819 SYCAMORE AVE                       PO BOX 1798                           661A FM 2550
PO BOX 1798                             1819 SYCAMORE AVENUE                  HUNTSVILLE, TX 77320
HUNTSVILLE, TX 77340                    HUNTSVILLE, TX 77342-1798




WALKER COUNTY AREA GO-TEXAS             WALKER COUNTY CABLEVISION INC.        WALKER COUNTY DISTRICT CLERK
PO BOX 9783                             PO BOX 1726                           1100 UNIVERSITY AVE
HUNTSVILLE, TX 77342                    HUNTSVILLE, TX 77342-1726             SUITE 209
                                                                              HUNTSVILLE, TX 77340




WALKER COUNTY FAIR ASSOC.               WALKER COUNTY HARDWARE                WALKER COUNTY HOSPITAL DISTRICT
PO BOX 1817                             1006 11ST                             1224 UNIVERSITY AVE SUITE 105
HUNTSVILLE, TX 77342                    HUNTSVILLE, TX 77342                  HUNTSVILLE, TX 77340




WALKER COUNTY HOSPITAL DISTRICT         WALKER COUNTY HOSPITAL DISTRICT       WALKER COUNTY HOSPITAL DISTRICT
1411 11TH STREET                        ANNE WOODARD, CHAIRMAN                ATTN: CHAIRMAN OF THE BOARD
HUNTSVILLE, TX 77340                    PO BOX 1267                           P.O. BOX 1267
                                        HUNTSVILLE, TX 77342                  HUNTSVILLE, TX 77340




WALKER COUNTY HOSPITAL DISTRICT         WALKER COUNTY HOSPITAL DISTRICT       WALKER COUNTY TAX ASSESSOR
FIRST NATIONAL BANK BUILDING            PO BOX 1267                           1301 SAM HOUSTON AVE STE 100
1300 11TH STREET, SUITE 515             HUNTSVILLE, TX 77342                  HUNTSVILLE, TX 77340-4500
HUNTSVILLE, TX 77340
WALKER COUNTY TAXCase     19-36300
                    ASSESSOR-COL     Document  1 Filed
                                        WALKER COUNTY   in TXSB on 11/11/19 WALKER
                                                      TEACHERS               Page 233  of TITLE
                                                                                   COUNTY 240 COMPANY
1301 SAM HOUSTON AVE. STE 100           1330 AVE N                          1109 UNIVERSITY AVENUE
HUNTSVILLE, TX 77340-4500               HUNTSVILLE, TX 77340                HUNTSVILLE, TX 77340




WALKER COUNTY                           WALKER COUNTY                       WALKER COUNTY, TEXAS
PO BOX 1207                             PO BOX 1602                         1100 UNIVERSITY AVENUE
HUNTSVILLE, TX 77342-1207               HUNTSVILLE, TX 77342                HUNTSVILLE, TX 77340




WALKER, DANIEL R DR                     WALKER, MICKIE                      WALKER-MADISON-TRINITY CMS &
100 MEDICAL CENTER BLVD STE 212         HUNTSVILLE, TX                      PO BOX 143027
CONROE, TX 77304                                                            AUSTIN, TX 78714




WALKLEY, CANDACE LYNN MD                WALLACE COMPUTER SERVICE            WALLCUR INC
18818 W. COOL BREEZE LN.                10400 DANNER DRIVE                  7720 CLAIREMONT MESA BLVD
MONTGOMERY, TX 77356                    STREETBORO, OH 44241                SAN DIEGO, CA 92111




WALLER LANSDEN DORTCH & DAVIS           WALLMONKEYS.COM                     WALLS, MICHELLE
511 UNION STREET, SUITE 2700            4212 HOWARE AVE 3RD FLOOR           14894 BURNETT LANE
NASHVILLE, TN 37219-8966                KENSINGTON, MD 20895                WILLIS, TX 77374




WALLYS PARTY FACTORY                    WALMART                             WALTERS, RUTH
1530 11TH STREET                        1716 I 45
HUNTSVILLE, TX 77340                    HUNTSVILLE, TX 77340




WANDA CHASE                             WANDA L ELMS                        WANDA R BENTON
[ADDRESS REDACTED]                      [ADDRESS REDACTED]                  [ADDRESS REDACTED]




WANG, LEI                               WANTROBA, KEVIN                     WARD ELECTRIC SUPPLY
1111 LEXINGTON AVE, APT. 1136           840 FRANCINE DRIVE                  309 S FRAZIER
FLOWER MOUND, TX 75028                  BARTLETT, IL 60103                  CONROE, TX 77301




WARD FURNITURE                          WARD, CAITLIN ANNE                  WARD, JESSE M.D.
1863 I-45                               4730 SERRANO DR.                    129 MEDICAL PARK LANE
HUNTSVILLE, TX 77340                    LEAGUE CITY, TX 77573               HUNTSVILLE, TX 77340-4982




WARD, JESSE S MD                        WARRIER, ANIL                       WASHAM, KYLE
129 MEDICAL PARK                        4065 FOUNTAIN PLAZA DR
HUNTSVILLE, TX 77340-4972               BOOKFIELD, WI 53005
                 Case &19-36300
WASTE EQUIPMENT RENTAL  SALES       Document  1 Filed in TXSB on 11/11/19 WATERS,
                                       WATE PROFESSIONALS                  Page 234   of 240
                                                                                  MICHAEL
PO BOX 5449                            1000 PRIMERA BLVD., SUITE 2150        6009 FALLSVIEW LANE
BRYAN, TX 77805                        LAKE MARY, FL 32746                   DALLAS, TX 75252




WATKINS HAMILTON ROSS ARCHITECTS       WATSON JR, TIMOTHY LEE                WATSON, DAVID
6575 W LOOP S STE 300                  1220 11TH STREET                      HUNTSVILLE, TX
BELLAIRE, TX 77401                     HUNTSVILLE, TX 77340




WATSON, DEBORAH                        WAYNE SCOTT                           WC MAMMOGRAM
HUNTSVILLE, TX 77340                   [ADDRESS REDACTED]                    PO BOX 4001
                                                                             HUNTSVILLE, TX 77342-4001




WCHC VOCATIONAL SCHOOL (FORMERLY)      WEARING, TRACYLEE                     WEBB, KIMBERLY MICHELLE
PO BOX 4001                                                                  1220 11TH STREET
HUNTSVILLE, TX 77342-4001                                                    HUNTSVILLE, TX 77340




WEBBCO ENTERPRISES                     WEBBCO ENTERPRISES,LLC                WEBBS UNIFORMS LLC
3934 FM 1960 ROAD WEST 350             4355 SYLVANFIELD DRIVE, 230           25275 BUDDE RD, STE 1
HOUSTON, TX 77068                      HOUSTON, TX 77014                     SPRING, TX 77380




WEFEN USA LLC                          WEISER SECURITY SERVICE, INC          WELCH ALLEN
180 HARTWELL ROAD                      PO BOX 51720                          8500 SW CREEKSIDE PLACE
BEDFORD, MA 01730-2443                 NEW ORLEANS, LA 70151-1720            BEAVERTON, OR 97008-7107




WELCH ALLYN INC                        WELCH ALLYN PROTOCOL INC              WELLCARE
PO BOX 73040                           8500 SW CREEKSIDE PLACE               8725 HENDERSON ROAD
CHICAGO, IL 60673-7040                 BEAVERTON, OR 97008-7107              TAMPA, FL 33634




WELLMED NETWORKS, INC.                 WELLNESS REPRODUCTIONS & PUBLISHING   WELLS FARGO EQUIPMENT FINANCE INC
8637 FREDERICKSBURG, SUITE 360         PO BOX 760                            200 LOMAS BLVD NW
SAN ANTONIO, TX 78240                  PLAINVIEW, NY 11803-0760              ALBUQUERQUE, NM 87102




WELLS, BRYANT                          WELSH CHERIE                          WELSH, JAMES R
1220 11TH STREET                       HUNTSVILLE, TX 77340                  [ADDRESS REDACTED]
HUNTSVILLE, TX 77340




WELSH, JUDY                            WENDIANA                              WENDY MICHELLE JAMES
2 VICTORIA WAY                         BOX 359                               [ADDRESS REDACTED]
HUNTSVILLE, TX 77320                   DALLAS, TX 75225
                 Case
WENDY MONIQUE RAHMING       19-36300 Document  1 Filed
                                        WENGLIKOWSKI,    in TXSB
                                                      VICTOR J.  on 11/11/19 WERLING
                                                                              Page 235   of 240 INC
                                                                                     ASSOCIATES,
[ADDRESS REDACTED]                        140 ACORN HILL DR.                  11845 IH 10 WEST, SUITE 407
                                          HUNTSVILLE, TX 77320                SAN ANTONIO, TX 78230




WESCO                                     WESLEY R SMITH                      WEST HOUSTON RADIOLOGY ASSOC
225 W STATION SQ DR, STE 700              [ADDRESS REDACTED]                  PO BOX 4346 DEPT 488
PITTSBURGH, PA 15219                                                          HOUSTON, TX 77210-4346




WEST WARD PHARMACEUTICAL CORP.            WEST, CANDACE                       WESTERN LITIGATION, INC.
PO BOX 847385                             6585 FM 1511                        9821 KATY FREEWAY, SUITE 600
DALLAS, TX 75284-7385                     CENTERVILLE, TX 75833               HOUSTON, TX 77024




WESTERN POSTER SERVICE                    WETHERBEE, PATRICIA                 WETZLER, SAVANNAH
PO BOX 1728                               [ADDRESS REDACTED]                  3003 EAST FM 979
JAMESTOWN, TX 76902-3842                                                      FRANKLIN, TX 77856




WEXLER SURGICAL, INC                      WHEEL,TAMI                          WHEELER AMANDA
11333 CHIMNEY ROCK ROAD, SUITE 110        9250 PINECROFT                      315 ELKINS LAKE
HOUSTON, TX 77035                         THE WOODLANDS, TX 77380             HUNTSVILLE, TX 77340




WHEELER, CASIE                            WHEELER, DOUGLAS                    WHITAKER MEDICAL LTD
1220 11TH STREET                          PO BOX 5                            PO BOX 4703
HUNTSVILLE, TX 77340                      HUNTSVILLE, TX 77342                HOUSTON, TX 77210-4703




WHITE SANDS PHYSICAL THERAPY              WHITE STAR MEDICAL                  WHITE, JENNIFER ANNE
600 OPP DRIVE                             10626 GULFDALE STE 4                30 TRESSCAPE CIRCLE
FORT WALTON BEACH, FL 32548               SAN ANTONIO, TX 78216-3652          THE WOODLANDS, TX 77381




WHITE, JOHANNA                            WHITE, SUE                          WHITE, TAMMY
PO BOX 6713                               HUNTSVILLE, TX                      3006 PAUL KNOX RD TRAILER 8
HUNTSVILLE, TX 77342-6713                                                     HUNTSVILLE, TX 77320




WHITE,SUSAN                               WHITECO OUTDOOR ADVERTISING         WHITEMIRE DIST CORP
7807 NORTHWOODS DR                        1000 EAST 80TH PLACE                PO BOX 730386
SUGARLAND, TX 77479                       MERRILLVILLE, IN 46410              DALLAS, TX 75373-0386




WHITNEY M BURCH                           WHITNEY, MATTHEW C.                 WHOLESALE CARRIER SERVICES
[ADDRESS REDACTED]                        2040N. LOOP 336 WEST                PO BOX 934926
                                          SUITE 120                           ATLANTA, GA 31193-4926
                                          CONROE, TX 77304
WHORTON, CONSTANCE Case   19-36300 Document  1 Filed
                                      WHR ARCHITECT,   in TXSB on 11/11/19 WIPage
                                                     INC.                     SCTF 236 of 240
5402 BEVERLY DRIVE                      111 LOUISANA 26TH FLOOR             PO BOX 74400
SAN ANGELO, TX 76904                    HOUSTON, TX 77002                   MILWAUKEE, WI 53274-0400




WIESNER, INC                            WILBANKS, MEGAN                     WILBURN MEDICAL USA
230 I 45 NORTH                                                              146 FURLONG INDUSTRIAL DRIVE
HUNTSVILLE, TX 77320                                                        KERNERSVILLE, NC 27284




WILKERSON ENTERPRISES INC               WILKINSON, JOEL                     WILKINSON,JOEL
11442 JAKE PEARSON ROAD                 38 DARRELL WHITE RD                 38 DARRELL WHITE RD
CONROE, TX 77304-4270                   HUNTSVILLE, TX 77340                HUNTSVILLE, TX 77340




WILL DURHAM                             WILL, CHRISTOPHER ALEXANDER         WILLIAM ALAN WARNER
[ADDRESS REDACTED]                      17623 BROAD BEND DR                 [ADDRESS REDACTED]
                                        CYPRESS, TX 77433




WILLIAM C MONCRIEF                      WILLIAM DAVID PURSLEY               WILLIAM E CARTER
[ADDRESS REDACTED]                      [ADDRESS REDACTED]                  [ADDRESS REDACTED]




WILLIAM E HEITKAMP TRUSTEE              WILLIAM GEORGE CO INC               WILLIAM R OAKS
PO BOX 740                              PO BOX 1387                         [ADDRESS REDACTED]
MEMPHIS, TN 38101-0740                  LUFKIN, TX 75902-1387




WILLIAM R. PEMBERTON                    WILLIAM S MAHONE                    WILLIAM V. MACGILL & CO
PO BOX 1112                             [ADDRESS REDACTED]                  1000 N. LOMBARD ROAD
CROCKETT, TX 75835                                                          LOMBARD, IL 60148




WILLIAM WILKINS                         WILLIAMS DEZANE                     WILLIAMS LATRICIA
14 WESTCHESTER DRIVE                    9529 COUNTRY ROAD 102
CONROE, TX 77304                        NORTH ZULCH, TX 77872




WILLIAMS TINA                           WILLIAMS, BETTY                     WILLIAMS, DR ROBERT
                                        17 BAWDEN RD                        3817 SUMMER LANE
                                        HUNTSVILLE, TX 77320                HUNTSVILLE, TX 77340




WILLIAMS, ERICA DIANNE                  WILLIAMS, JESSICA A.                WILLIAMS, JOYCE
1799 OLD SYCAMORE AVE                   1421 22ND STREET                    240 ROYAL OAKS
HUNTSVILLE, TX 77340                    HUNTSVILLE, TX 77340                HUNTSVILLE, TX 77320
WILLIAMS, SANDRA Case       19-36300 Document   1 Filed
                                        WILLIAMSON,      in TXSB on 11/11/19 WILLIS
                                                    TREVOR                    PageCLINIC
                                                                                    237 of 240
HUNTSVILLE, TX 77340                                                          616 W. LEE AVENUE
                                                                              OSCEOLA, AR 72370




WILLS, ANGELA                             WILMINTON TRUST TETIREMENT AND      WILSIE A JOHNSON
4 DEEPWOOD LN                             2800 N CENTRAL AVENUE, SUITE 900    [ADDRESS REDACTED]
HUNTSVILLE, TX 77320                      PHOENIX, AZ 85004




WILSON & ASSOCIATES, P.C.                 WILSON FIRE EQUIPMENT SERVICE       WILSON JAMES
2100 WEST LOOP SOUTH                      7303 EMPIRE CENTRAL DR              11502 W. JACINTO DR
SUITE 1123                                HOUSTON, TX 77040-3214              HOUSTON, TX 77044
HOUSTON, TX 77027




WILSON JORDAN                             WILSON OPHTHALMIC CORP              WILSON STAFFING NETWORK
                                          PO BOX 496                          1303 NW FREEWAY
                                          MUSTANG, OK 73064                   SUITE 316
                                                                              HOUSTON, TX 77092




WILSON, BILL                              WILSON, DOUGLAS                     WILSON, JOHN ADAM
                                          400 GRAHAM RD                       9760 WHISPERING PINES CEMENTARY RD.
                                          HUNTSVILLE, TX 77340                CUT-N-SHOOT, TX 77303




WILSON, MICHELE                           WILSON, TAMIKA                      WIMBERLY, MARCIE
2830 LAKE RD 212                                                              1224 TEJAS
HUNTSVILLE, TX 77340                                                          MONTGOMERY, TX 77316




WINDSTREAM CORPORATION                    WINDSTREAM CORPORATION              WINDSTREAM CORPORATION
4001 N RODNEY PARHAM RD                   AND/OR PAETEC COMMUNICATIONS        PO BOX 9001908
LITTLE ROCK, AR 72212-2442                4001 RODNEY PARHAM ROAD             LOUISVILLE, KY 40290-1908
                                          LITTLE ROCK, AR 72212-2442




WINEGRASS HOSPICE, LLC                    WINFIELD INDUSTRIES                 WINNCO
3350 RIVERWOOD                            9750 DISTRIBUTION AVE               SIX FANEUIL HALL MARKETPLACE
ATLANTA, GA 30339                         SAN DIEGO, CA 92121                 BOSTON, MA 02109




WINNY CHELANGAT OURO                      WISIACKAS, PHILIP., DR.             WISNOSKIE, NATALIE
[ADDRESS REDACTED]                        DBA DOCTOR PHILAS FAMILY MEDICINE   HUNTSVILLE, TX 77340
                                          7000 HIGHWAY 224
                                          COLDSPRING, TX 77331




WOLF                                      WOLFE, CALUM                        WOLFE, DENISE
                                          11314 SHADY SIDE LN                 HUNTSVILLE, TX 77340
                                          MONTGOMERY, TX 77356
WOLFORD,ANN        Case 19-36300 Document
                                    WOLTERS1KLUWER
                                              FiledFINANCIAL
                                                    in TXSBSERVICES
                                                             on 11/11/19 WOLTERS
                                                                          Page 238  of 240
                                                                                 KLUWER HEALTH
TX                                     8832 INNOVATION WAY                 PO BOX 1610
                                       CHICAGO, IL 60682-0088              HAGERSTON, MD 21740




WOLTERS KLUWER HEALTH, INC.            WOLTERS KLUWER HEALTH, INC.         WOMEN BUSINESS
16522 HUNTERS GREEN PARKWAY            8425 WOODFIELD CROSSING BLVD.       1227 25TH ST. NW, STE 700
HAGERSTOWN, MD 21740                   SUITE 490                           WASHINGTON, DC 20037
                                       INDIANAPOLIS, IN 46240-2495




WOOD SCOTT                             WOODALL TAYLOR                      WOODLANDS FINANCIAL SERVICES, INC
1515 DROP TINE DR.                                                         PO BOX 132499
CEDAR PARK, TX 78613                                                       THE WOODLANDS, TX 77393-2499




WOODLANDS HEART & VASCULAR             WOODLANDS NORTH HOUSTON HEART       WOODLANDS SPORTS MEDICINE CENTER
920 MEDICAL PLAZA DRIVE, SUITE 520     ASSOC                               1441 WOODSTEAD COURT 300
THE WOODLANDS, TX 77380                PO BOX 4248 DEPT 102                THE WOODLANDS, TX 77380
                                       HOUSTON, TX 77210-4248




WOODS CODE 3 PRODUCTS                  WOODS,SARAH                         WOODSMAN
203 RIGGS ST                           14431 BROOK OAKS CT.                18088 TWISTED OAK LANE
CONROE, TX 77301                       WILLIS, TX 77378                    NEW CANEY, TX 77357




WOODSTOCK DIETARY SYSTEM               WOODWORTH, MARY                     WOOTEN, JANNA
955 DIECKMAN STREET                    46 PINE AVE                         171 MEADOW VALLEY DR
WOODSTOCK, IL 60098                    HUNTSVILLE, TX 77340                CONROE, TX 77384




WORK LOSS DATA INSTITUTE LLC           WORK LOSS DATA INSTITUTE            WORKERS COMP /HUNTSVILLE ISD
3006 BEE CAVES ROAD STE A250           169 SAXONY ROAD, SUITE 101          441 FM 2821 EAST
AUSTIN, TX 78746                       ENCINITAS, CA 92024                 HUNSTVILLE, TX 77320




WORKSPACE RESOURCE                     WORKSTEPS, INC.                     WOUND OSTOMY AND CONTINENCE
11133- I 45 SOUTH                      3019 ALVIN DEVANE BLVD., STE 150    NURSES
CONROE, TX 77302                       AUSTIN, TX 78741                    1500 COMMERCE PARKWAY SUITE C
                                                                           MT. LAUREL, NJ 08054




WREN, ROBERT L                         WRG RESEARCH                        WRIGHT EXPRESS
4102 ROLLING RAPIDS ROAD               500 WEST CUMMINGS PARK SUITE 5200   PO BOX 6293
HUMBLE, TX 77346                       ATTN REGISTRATION                   CAROL STREAM, IL 60197-6293
                                       WOBURN, MA 01801




WRIGHT MEDICAL TECH INC                WRIGHT, CHRISTOPHER MD              WRIGHT, STEVEN
PO BOX 503482                          18 DAPPLED SUN PLACE                2435 MONTGOMERY RD APT 240
ST LOUIS, MO 63150-3482                THE WOODLANDS, TX 77381-4357        HUNTSVILLE, TX 77340
WYATT, EBONY       Case   19-36300 Document  1 Filed in TXSB on 11/11/19 WYLIE
                                      WYETH PHARMACEUTICALS               PageCONSULTING
                                                                               239 of 240ENGINEERS
HUNTSVILLE, TX 77340                    PO BOX 951169                       6161 SAVOY SUITE 700
                                        DALLAS, TX 75395                    HOUSTON, TX 77036




XAM BUSINESS SERVICES                   XERON                               XEROX CORPORATION
7676 HILLMONT STREET                    6125 LUTHER LANE, 382               2277 EAST 220TH STREET
HOUSTON, TX 77040                       DALLAS, TX 75225-5323               LONG BEACH, CA 90810




XEROX CORPORATION                       XEROX FINANCIAL SERVICES            XEROX FINANCIAL SERVICES
PO BOX 202882                           201 MERRITT 7                       45 GLOVER AVE
DALLAS, TX 75320-2882                   NORWALK, CT 06851                   NORFOLK, CT 06850




XODUS MEDICAL, INC.                     XPEDX (FORMERLY) NATIONWIDE PAPER   XPEDX P&G MW
702 PROMINENCE DRIVE                    10300 NORTH LOOP EAST               10300 NORTH LOOP EAST
NEW KENSINGTON, PA 15068                HOUSTON, TX 77029                   HOUSTON, TX 77029




X-RITE                                  YALE ENFORCEMENT SERVICES INC       YARBROUGH, JOANN
4300 44TH STREET SE                     3601 NORTH BELT WEST                PO BOX 841
GRAND RAPIDS, MI 49512                  BELLEVILLE, IL 62226                SHEPHERD, TX 77371




YASMINE EARCHELLE SPIVEY                YEAGER, KAREN J                     YELLOW PAGES UNITED
[ADDRESS REDACTED]                      HUNTSVILLE, TX                      PO BOX 50038
                                                                            JACKSONVILLE, FL 32240-0038




YELLOW PAGES                            YELLOW ROSE PRINTING                YILDIZ FATMA MD
PO BOX 50038                            PO BOX 1265                         28 SOUTHWOODS AVE
JACKSONVILLE, FL 32240-0038             MENARD, TX 76859                    APT 33
                                                                            BOARDMAN, OH 45512




YMCA                                    YOLANDA TORRES-REZA                 YOLANDA TORREZ-REZA
291 HWY 75 N                            [ADDRESS REDACTED]                  [ADDRESS REDACTED]
HUNTSVILLE, TX 77320




YOUNG, MENIKA                           YP HOLDINGS LLC                     YP
6401 DEIHL 104                          2247 NORTHLAKE PARKWAY              PO BOX 5010
HOUSTON, TX 77092                       TUCKER, GA 30084                    CAROL STREAM, IL 60197-5010




YUKARI MIYAGI                           YVETTE T SURRELL                    ZACHARY JAMES WATSON
[ADDRESS REDACTED]                      [ADDRESS REDACTED]                  [ADDRESS REDACTED]
                  Case
ZAIDI, SYED MUHAMMAD    19-36300
                     MANSOOR       Document
                                      ZALES 1 Filed in TXSB on 11/11/19 ZAWODZINSKI,
                                                                         Page 240 of   240
                                                                                     MARTA
11 THORNBUSH PLACE                    2 FINANCIAL PLAZA, SUITE 705       5006 HUNNINGTON DR
SPRING, TX 77381                      HUNTSVILLE, TX 77340               CONROE, TX 77303




ZEBRA TECHNOLOGIES INTL LLC           ZEBRAZ CUSTOM SCREEN PRINTING      ZEBRAZ CUSTOM SCREENPRINTING
333 CORPORATE WOODS PARKWAY           2930 OLD HOUSTON RD STE 2          2930 OLD HOUSTON RD STE 2
VERNON HILS, IL 60061-3109            HUNTSVILLE, TX 77340               HUNTSVILLE, TX 77342




ZELENSKY, CORNELIUS, ROGERS,          ZELMA L. LIZTMANN                  ZENECA INC
P O DRAWER 1728                       1117 12TH STREET                   PO BOX 910058
LUFKIN, TX 75901-1728                 HUNTSVILLE, TX 77340               DALLAS, TX 75391




ZENITH ELECTRONICS CORP               ZENPRISE INC                       ZENTNER, BETTY
PO BOX 730062                         1600 SEAPORT BLVD, SUITE 200       1901 KNICKERBOCKER ROAD
DALLAS, TX 75395-1244                 REDWOOD CITY, CA 94063             SAN ANGELO, TX 76904




ZEPTOMETRIX CORPORATION               ZERBEE LLC                         ZETA TAU ALPHA FOUNDATION, INC.
878 MAIN ST.                          6645 JAMES AVENUE NORTH            3450 FOUNDERS ROAD
BUFFALO, NY 14202                     BROOKLYN CENTER, MN 55430          INDIANAPOLIS, IN 46268




ZHEALTH PUBLISHING, LLC               ZIMMER US, INC.                    ZIMMER WILSON-PHILLIPS
839 TREEMONT COURT                    345 E MAIN STREET                  1800 W. CENTER STREET
NASHVILLE, TN 37220                   WARSAW, IN 46580                   WARSAW, IN 46580




ZIXCORP SYSTEMS, INC.                 ZOHO CORPORATION                   ZOLL MEDICAL CORP
2711 N. HASKELL AVENUE, STE 2200      4141 HACIENDA DRIVE                269 MILL ROAD
DALLAS, TX 75204                      PLEASATON, CA 94588-8549           CHELMSFORD, MA 01824




ZOLL SERVICES                         ZONES                              ZULAY M MARS
PO BOX 644321                         1102 15TH ST SW STE 102            [ADDRESS REDACTED]
PITTSBURGH, PA 15264-4321             AUBURN, WA 98001-6509




ZYNXHEALTH
10880 WILSHIRE BLVD. SUITE 300
LOS ANGELES, CA 90024




Total: 6745
